(1 of 288), Page 1 of 288    Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 1 of 288




                                              APPEAL NO. 24-142
                                 UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT
              PAM POE, by and through her parents and next friends Penny and Peter Poe, et al.,
                                                                               Plaintiffs-Appellees,
                                                      v.
              RAÚL LABRADOR, in official capacity as Attorney General of the State of Idaho, et al.,
                                                                            Defendants-Appellants.

                                On Appeal from the United States District Court
                                           for the District of Idaho
                                       Case No. 1:23-cv-00269-BLW

                        SUPPLEMENTAL APPENDIX TO APPELLANTS’
                 RULE 27-3 EMERGENCY MOTION FOR STAY PENDING APPEAL

              RAÚL R. LABRADOR              JONATHAN A. SCRUGGS         DAVID H. THOMPSON
              ATTORNEY GENERAL              HENRY W. FRAMPTON, IV       BRIAN W. BARNES
              ALAN HURST                    ALLIANCE DEFENDING          JOHN D. RAMER
              SOLICITOR GENERAL             FREEDOM                     COOPER & KIRK, PLLC
                                            15100 N. 90th Street        1523 New Hampshire
              JOSHUA N. TURNER              Scottsdale, AZ 85260        Avenue, NW
              CHIEF OF                      (480) 444-0020              Washington, DC 20036
              CONSTITUTIONAL                jscruggs@ADFlegal.org       202-220-9600
              LITIGATION AND POLICY         hframpton@ADFlegal.org      dthompson@cooperkirk.
              JAMES E. M. CRAIG             JOHN J. BURSCH              com
              Chief, Civil Litigation and   LINCOLN DAVIS WILSON        bbarnes@cooperkirk.com
              Constitutional Defense        ALLIANCE DEFENDING          jramer@cooperkirk.com
              OFFICE OF ATTORNEY            FREEDOM
              GENERAL                       440 First Street, NW,
              700 W. Jefferson St.,         Suite 600
              Suite 210                     Washington, DC 20001
              Boise, ID 83720               (202) 393-8690
              (208) 334-2400                jbursch@ADFlegal.org
              alan.hurst@ag.idaho.gov       lwilson@ADFlegal.org
              josh.turner@ag.idaho.gov
              james.craig@ag.idaho.gov
                                              Counsel for Appellants
(2 of 288), Page 2 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 2 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 1 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1                             UNITED STATES DISTRICT COURT
            2                                    DISTRICT OF IDAHO
            3
            4          PAM POE, by and through her          )   Case No.
                       parents and next friends,            )   1:23-cv-00269-CWD
            5          Penny and Peter Poe; PENNY           )
                       POE; PETER POE; JANE DOE, by )
            6          and through her parents and          )
                       next friends, Joan and John          )
            7          Doe; JOAN DOE; JOHN DOE,             )
                                                            )
            8                                Plaintiffs, )
                                                            )
            9          v.                                   )
                                                            )
           10          RAÚL LABRADOR, in his                )
                       official capacity as the             )
           11          Attorney General of the State)
                       of Idaho; JAN M. BENNETTS, in)
           12          her official capacity as             )
                       County Prosecuting Attorney          )
           13          for Ada, Idaho; and the              )
                       INDIVIDUAL MEMBERS OF THE            )
           14          IDAHO CODE COMMISSION, in            )
                       their official capacities,           )
           15                                               )
                                             Defendants. )
           16          _____________________________)
           17
           18
           19               REMOTE VIDEOTAPED DEPOSITION OF CHRISTINE BRADY, Ph.D.
           20                              THURSDAY, AUGUST 31, 2023
           21
                                                                                     EXHIBIT
           22
           23                                                                          B
           24
           25          Reported By: Amy E. Simmons, CSR, RDR, CRR, CRC

                                                                                       Page 1

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0769
(3 of 288), Page 3 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 3 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 2 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1       REMOTE VIDEOTAPED DEPOSITION OF CHRISTINE BRADY, M.D.
            2
            3           BE IT REMEMBERED that the remote videotaped
            4     deposition of CHRISTINE BRADY, M.D., was taken via Zoom
            5     videoconference by the attorney for the Defendants before
            6     Associated Reporting & Video, a Veritext company, Amy E.
            7     Simmons, Idaho CSR No. 685, California CSR No. 14553,
            8     Washington CSR No. 22012915, Oregon CSR No. 22-009, and
            9     Notary Public in and for the County of Ada, State of
           10     Idaho, on Thursday, the 31st day of August, 2023,
           11     commencing at the hour of 10:06 a.m. Mountain time in the
           12     above-entitled matter.
           13
           14
           15     APPEARANCES (remotely):
           16     For the Plaintiffs:         AMERICAN CIVIL LIBERTIES UNION
                                              By:    Li Nowlin-Sohl, Esq.
           17                                        Leslie Cooper, Esq.
                                              125 Broad Street
           18                                 New York, NY 10004
                                              Telephone:       212.549.2584
           19                                 lnowlin-sohl@aclu.org
                                              lcooper@aclu.org
           20
           21                                 GROOMBRIDGE WU BAUGHMAN & STONE
                                              By:    Philip S. May, Esq.
           22                                 801 17th Street, Suite 1050
                                              Washington, D.C. 20006
           23                                 Telephone:       202.539.6620
                                              philip.may@groombridgewu.com
           24
           25

                                                                                    Page 2

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0770
(4 of 288), Page 4 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 4 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 3 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1     APPEARANCES (remotely, continued):
            2
                  For the Plaintiffs:         PAUL WEISS RIFKIND,
            3                                 WHARTON & GARRISON LLP
                                              By: Sheridan Cunningham, Law Clerk
            4                                 1285 Avenue of the Americas
                                              New York, NY 10019
            5                                 Telephone: 212.373.3000
                                              rcunningham@paulweiss.com
            6
                                              WREST COOPERATIVE
            7                                 By: David DeRoin, Esq.
                                              812 West Franklin Street
            8                                 Boise, ID 83702
                                              Telephone: 208.742.6789
            9                                 david@wrest.coop
           10
                  For the Defendants, Labrador and the Individual Members
           11     of the Idaho Code Commission:
           12                           COOPER & KIRK PLLC
                                        By: John Ramer, Esq.
           13                           1523 New Hampshire Ave NW
                                        Washington, D.C. 20036
           14                           Telephone: 202.220.9621
                                        jramer@cooperkirk.com
           15
                                              OFFICE OF THE ATTORNEY GENERAL
           16                                 By: Aaron Green, Esq.
                                              Post Office Box 83720
           17                                 Boise, ID 83720
                                              Telephone: 208.334.2400
           18                                 Facsimile: 208.854.8073
           19
                  For the Defendant, Jan M. Bennetts:
           20
                                              ADA COUNTY PROSECUTOR'S OFFICE
           21                                 By: Dayton P. Reed, Esq.
                                              200 West Front Street, Room 3191
           22                                 Boise, ID 83702
                                              Telephone: 208.287.7700
           23                                 dreed@adacounty.id.org
           24
                  Also Present:               Chris Ennis, Videographer
           25                                 Jocelyn Larsson,
                                              Court Reporting Intern

                                                                                    Page 3

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0771
(5 of 288), Page 5 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 5 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 4 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1                                  I N D E X
            2                            E X A M I N A T I O N
            3
            4     CHRISTINE BRADY, M.D.                                               PAGE
            5
                   By:   Mr. Ramer........................................6
            6
            7
            8
                                             E X H I B I T S
            9
                  NO.                                                                 PAGE
           10
                   Exhibit 1.       Curriculum Vitae of Christine Erin                  12
           11                       Lam Brady, Ph.D. (10 pages)
           12      Exhibit 2.       Expert Declaration of Christine                     16
                                    Brady, Ph.D. (18 pages)
           13
                   Exhibit 3.       "Gender Identity 5 Years After                      98
           14                       Social Transition," Olson (7 pages)
           15      Exhibit 4.       Borderline Personality Disorder                    123
                                    Diagnostic Criteria (1 page)
           16
                   Exhibit 5.       "Guidelines for Psychological                      134
           17                       Practice with Transgender and
                                    Gender Nonconforming People,"
           18                       American Psychological Association
                                    (33 pages)
           19
                   Exhibit 6.       "APA Resolution on the Imposition                  168
           20                       of Death as a Penalty for Persons
                                    Aged 18 Through 20, Also Known as
           21                       the Late Adolescent Class,"
                                    American Psychological Association
           22                       (5 pages)
           23      Exhibit 7.       "Understanding and Supporting                      183
                                    Patients with Dynamic Desires for
           24                       Gender-Affirming Medical
                                    Interventions" (3 pages)
           25

                                                                                    Page 4

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0772
(6 of 288), Page 6 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 6 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 5 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1                              P R O C E E D I N G S
            2
            3                   THE VIDEOGRAPHER:            All right.         So we are
            4     recording, and we are on the record.                     Today's date
            5     is August 31, 2023.           The time is 10:06 a.m.
            6     Mountain time.
            7                   For the record, this is the remote
            8     videotaped deposition of Dr. Christine Brady.                       It
            9     is taken by the Defendants in the matter of Poe,
          10      et al., vs. Labrador, et al., Case No.
          11      1:23-cv-00269-CWD.           It's in the United States
          12      District Court for the District of Idaho.
          13                    The videotaped deposition is being held
          14      remotely via Zoom videoconference.                    The videotaped
          15      deposition is being recorded by Chris Ennis and
          16      reported by Amy Simmons of Associated Reporting &
          17      Video.
          18                    And if counsel will please state their
          19      appearances and any stipulations for the record.
          20                    MR. RAMER:        John Ramer on behalf of
          21      Defendants.
          22                    MS. NOWLIN-SOHL:           Li Nowlin-Sohl with the
          23      ACLU on behalf of Plaintiffs.
          24                    MS. COOPER:        Leslie Cooper, ACLU,
          25      Plaintiffs.

                                                                                    Page 5

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0773
(7 of 288), Page 7 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 7 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 6 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1                  MR. MAY:     Philip May from the law firm of

            2     Groombridge Wu Baughman & Stone on behalf of

            3     Plaintiffs.

            4                  MR. DeROIN:      David DeRoin with Wrest

            5     Collective on behalf of Plaintiffs.

            6                  MR. CUNNINGHAM:       Ridan Cunningham, Paul

            7     Weiss Rifkind, Wharton & Garrison, Plaintiffs, not

            8     yet admitted.

            9                  MR. GREEN:     Aaron Green, Idaho Attorney

           10     General's Office.        I haven't appeared.          I'm just

           11     observing.

           12                  THE VIDEOGRAPHER:        And if the court

           13     reporter will please swear the witness.

           14

           15                             CHRISTINE BRADY, M.D.,

           16     a witness having been first duly sworn to tell the truth,

           17     the whole truth, and nothing but the truth, testified as

           18     follows:

           19

           20                                   EXAMINATION

           21     BY MR. RAMER:

           22           Q.     Hi, Dr. Brady.       My name is John Ramer.

           23     I'm from the law firm of Cooper & Kirk

           24     representing the Defendants in this case.

           25                  And my first question to you is have you

                                                                                    Page 6

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0774
(8 of 288), Page 8 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 8 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 7 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1     ever been deposed before?
            2            A.     Not as an expert witness.
            3            Q.     Okay.     I take that answer as -- that you
            4     have been deposed in a different context; is that
            5     right?
            6            A.     Yes.
            7            Q.     So I assume you have a general
            8     understanding of how it goes.                 I'll just go over
            9     quickly some brief ground rules to make sure we're
          10      all on the same page.
          11                    As you know, I'll ask you questions.                    If
          12      you don't understand my question, please just ask
          13      for an explanation, and I'll attempt to clarify
          14      it.    Otherwise I'll assume that you understood the
          15      question and are answering the question that I
          16      asked.
          17                    As you also know, the proceeding is being
          18      transcribed by the court reporter, so I'll ask
          19      that you respond verbally rather than shaking your
          20      head yes or no.
          21                    And I will do my best not to interrupt
          22      you and just ask that you do your best not to
          23      interrupt me so we can help the court reporter
          24      keep a clean transcript.
          25                    Your counsel may object to a question

                                                                                    Page 7

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0775
(9 of 288), Page 9 of 288   Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 9 of 288
                    Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 8 of 267
                                        Christine Brady, Ph.D. August 31, 2023

            1     that I ask, but unless counsel instructs you not
            2     to answer the question, you should provide an
            3     answer.
            4                   And we can take breaks whenever you want.
            5     Just let me know.          The only request is that you
            6     would answer any pending questions before we break
            7     and then we'll go on the break.
            8                   Does that all make sense?
            9            A.     Yes.
          10             Q.     Okay.     And, Dr. Brady, is anyone other
          11      than counsel in the room with you?
          12             A.     No.
          13             Q.     And do you have any documents open in
          14      front of you?
          15             A.     No.
          16             Q.     And what did you do to prepare for this
          17      deposition?
          18             A.     I read the case filings as well as
          19      pertinent research as it is relevant to my report
          20      and declaration.
          21                    I also reviewed the expert declarations
          22      of the case in Tennessee.
          23             Q.     When you say "the case in Tennessee,"
          24      what do you mean by that?
          25             A.     The similar litigation that was proposed

                                                                                    Page 8

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0776
(10 of 288), Page 10 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 10 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 9 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1    in Tennessee.
            2           Q.     And do you know the status of that
            3    litigation?
            4           A.     I do not.        The current status, no.
            5           Q.     Did you speak with anyone about your
            6    deposition today?
            7           A.     Just my legal counsel.
            8           Q.     And you mentioned you reviewed pertinent
            9    research to prepare for today; is that right?
          10            A.     Yes.
          11            Q.     Can you just give me a general
          12     description of what you mean by "pertinent
          13     research"?
          14            A.     So I'm sorry.          Do you mean prior to today
          15     or just in preparing my report?
          16            Q.     My earlier question is what you had done
          17     to prepare for the deposition.                  And I thought you
          18     had said you reviewed pertinent research.                          And I
          19     was just asking what you mean by that.
          20            A.     Yeah.      So I just reviewed the -- my
          21     report and then the citations that I had used in
          22     my report.
          23            Q.     Did you review any articles or
          24     publications that are not cited in your report?
          25            A.     Not in preparation for today, no.

                                                                                     Page 9

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0777
(11 of 288), Page 11 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 11 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 10 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     Dr. Brady, do you consider yourself to be
            2     an expert?
            3                  MS. NOWLIN-SOHL:            Objection to form.
            4                  THE WITNESS:          I consider myself to have
            5     expertise in clinical psychology.                   And I have a
            6     specialization in treating youth with gender
            7     dysphoria.
            8           Q.     (BY MR. RAMER)           Dr. Brady, are you an
            9     endocrinologist?
          10            A.     No.
          11            Q.     Are you a neurologist?
          12            A.     No.
          13            Q.     Are you a surgeon?
          14            A.     No.
          15            Q.     Are you a social worker?
          16            A.     No.
          17            Q.     Are you a urologist?
          18            A.     No.
          19            Q.     Are you a gynecologist?
          20            A.     No.
          21            Q.     Are you a bioethicist?
          22            A.     No.
          23            Q.     Are you an expert in cognitive
          24      development?
          25                   MS. NOWLIN-SOHL:            Object to form.

                                                                                    Page 10

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0778
(12 of 288), Page 12 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 12 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 11 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                  THE WITNESS:          In my general graduate
            2     school training, I did receive training in child
            3     development, and part of that included cognitive
            4     development.        I also took neuropsychology.
            5           Q.     (BY MR. RAMER)           Are those courses that
            6     you took?
            7           A.     Yes.
            8           Q.     And so do you consider yourself an expert
            9     in neuropsychology?
          10            A.     Not an expert, no.
          11            Q.     Do you consider yourself an expert in
          12      child cognitive development?
          13            A.     I wouldn't -- I received training.                     I
          14      wouldn't consider myself an expert.
          15            Q.     And could you briefly describe your
          16      current position?
          17            A.     So I'm the psychologist at the Pediatric
          18      and Adolescent Gender Clinic at Stanford
          19      University.       That is my full-time position.
          20            Q.     And at just a high level of generality,
          21      could you walk me through your professional
          22      background since you received your bachelor's
          23      degree?
          24            A.     Sure.      So after receiving my bachelor's
          25      degree, I got -- I went to James Madison

                                                                                    Page 11

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0779
(13 of 288), Page 13 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 13 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 12 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     University and received a master's in
            2     psychological sciences with a focus on child
            3     psychology.
            4                  After my terminal master's, I then
            5     attended a Ph.D. program at Ohio University in
            6     clinical psychology.
            7           Q.     And then after that -- is that your
            8     educational background?             Is that right?
            9           A.     Yes.     And then for our degrees, we are
          10      required to do internship and fellowship.                         And so
          11      my internship was one year at Seattle Children's
          12      Hospital with the University of Washington.                         And
          13      then my fellowship was at the University of
          14      Louisville, which was then Kosair Children's
          15      Hospital, now Norton Children's Hospital.
          16                   MR. RAMER:         And, Li, I just tried to send
          17      what I'll call Brady Exhibit 1.
          18                   MS. NOWLIN-SOHL:            I have not yet received
          19      it.   It's through on my phone, so I know it's
          20      coming to my email shortly.                All right.
          21                   THE WITNESS:          I can see it.
          22                  (Deposition Exhibit No. 1 was marked.)
          23            Q.     (BY MR. RAMER)           And, Dr. Brady, does this
          24      appear to be a copy of your CV?
          25            A.     Yes.

                                                                                    Page 12

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0780
(14 of 288), Page 14 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 14 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 13 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1            Q.     And is it up-to-date?
            2            A.     No.
            3            Q.     What should be included on here that is
            4     not?
            5            A.     There might just be a few other talks
            6     that I've given since this was submitted.
            7            Q.     Any publications?
            8            A.     No.
            9            Q.     I'd like to go to page 2.                  And under
          10      Roman Numeral IV, do you see there's "Honors and
          11      Awards"?
          12             A.     Yes.
          13             Q.     And in 2020, it says you received a
          14      "First Place Poster Award."
          15                    Do you see that?
          16             A.     Yes.
          17             Q.     And can you just explain what that award
          18      was for?
          19             A.     So this poster was -- I was last author
          20      on a poster that was submitted to the conference,
          21      the Pediatric Psychology -- sorry, Society of
          22      Pediatric Psychology annual conference in 2020.
          23                    And that poster was done by a student at
          24      Indiana University on -- it was four cases of
          25      gender-diverse youth who also had GI problems.

                                                                                    Page 13

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0781
(15 of 288), Page 15 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 15 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 14 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     Could you explain what "GI" mean?
            2           A.     Gastrointestinal.
            3           Q.     And a question I should have asked
            4     earlier, but are you board certified?
            5           A.     No.
            6           Q.     And, Doctor, you've publish peer-reviewed
            7     original research, correct?
            8           A.     Yes.
            9           Q.     Has any of your peer-reviewed original
          10      research related to transgender medicine?
          11            A.     No.
          12            Q.     And you're a member of the American
          13      Psychological Association; is that right?
          14            A.     Yes.
          15            Q.     Are you a member of the American Medical
          16      Association?
          17            A.     No.
          18            Q.     And are you a member of WPATH?
          19            A.     Yes.
          20            Q.     And are you also a member of USPATH?
          21            A.     Yes.
          22            Q.     Can you just explain the relationship
          23      between WPATH and USPATH?
          24            A.     Sure.      So WPATH is the larger
          25      organization, umbrella organization that's an

                                                                                    Page 14

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0782
(16 of 288), Page 16 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 16 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 15 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     international group.
            2                   And then some countries have developed
            3     their own sub sort of groups, so USPATH being the
            4     United States sort of subgroup within WPATH.
            5     Europe has one as well.
            6            Q.     Is it just one for all of Europe?
            7            A.     I'm not sure.
            8            Q.     On your CV, I'd like to just go to the
            9     final page and down toward the bottom.                        And you
          10      have a Roman Numeral IX for "Trainees."
          11                    Do you see that?
          12             A.     Yes.
          13             Q.     And then it lists "Psychiatry Fellows";
          14      is that right?
          15             A.     Yes.
          16             Q.     And this is my own ignorance, but you're
          17      a psychologist, correct?
          18             A.     Yes.
          19             Q.     Can you just help me understand why you
          20      would have psychiatry fellows?
          21             A.     Sure.      So during their training,
          22      psychiatry fellows do get training in therapy, and
          23      sometimes that is supervised by a psychologist who
          24      has more experience in that area.                     And so when the
          25      psychiatry fellows rotate with me, I'm supervising

                                                                                    Page 15

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0783
(17 of 288), Page 17 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 17 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 16 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     them on their therapy.
            2            Q.    And of your fellows is Jack Turban,
            3     Dr. Jack Turban; is that right?
            4            A.    Yes.
            5            Q.    Is that the same Dr. Turban that you have
            6     published before?
            7            A.    We published one commentary together,
            8     yes.
            9                  MR. RAMER:         And, Li, I tried sending a
          10      little while ago to see if we could move it along,
          11      but I think Connelly Exhibit 2 hopefully you've
          12      received.
          13                   MS. NOWLIN-SOHL:            Yes.
          14                   MR. RAMER:         I'm sorry, Brady Exhibit 2.
          15                   MS. NOWLIN-SOHL:            Yes, we have it.
          16                  (Deposition Exhibit No. 2 was marked.)
          17             Q.    (BY MR. RAMER)           Okay.      And, Dr. Brady,
          18      does this appear to be the expert declaration that
          19      you submitted in this case?
          20             A.    Yes.
          21             Q.    And how did you come to be involved in
          22      this case?
          23             A.    So Li, the ACLU, sent me an email,
          24      reached out to me, and we discussed the potential
          25      of working together.

                                                                                    Page 16

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0784
(18 of 288), Page 18 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 18 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 17 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     Have you ever served as an expert witness
            2     before?
            3           A.     No.
            4           Q.     And what were you -- as a general matter
            5     what were you asked to do?
            6                  MS. NOWLIN-SOHL:            I'm just going to
            7     object to the extent it calls for a legal
            8     communication.
            9                  But you can still answer.
          10                   MR. RAMER:         And I'll clarify the answer.
          11            Q.     (BY MR. RAMER)           Not looking for the
          12      substance of any communications with counsel.
          13      Just as a general matter, what were you asked to
          14      do as an expert in the case?
          15            A.     That I would be submitting this
          16      declaration that we see before us and provide
          17      deposition, which we are doing today, and then
          18      possibly appear in court at a later date.
          19            Q.     And did you personally draft this
          20      declaration?
          21            A.     Yes.
          22            Q.     And did anyone help you at all with the
          23      drafting process?
          24            A.     No.
          25            Q.     Did you personally identify all the

                                                                                    Page 17

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0785
(19 of 288), Page 19 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 19 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 18 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     studies that you cite in this declaration?
            2           A.     Yes.
            3           Q.     And did you speak with anyone other than
            4     counsel about the contents of this declaration?
            5           A.     No.
            6           Q.     And is it -- let me just ask.
            7                  You co-founded a gender clinic at
            8     Hennepin Healthcare; is that right?
            9           A.     Yes.
          10            Q.     And what led you to co-found that clinic?
          11            A.     My original position at that institution
          12      was to be the psychologist embedded into their
          13      pediatrics clinic.           And there were several
          14      programs running out of that pediatrics clinic.
          15                   And there was a pediatrician who
          16      expressed interest in starting a gender program
          17      within that clinic, and he asked if I would be
          18      interested in providing mental health support to
          19      that clinic.
          20            Q.     And you're currently at the Stanford
          21      Pediatric and Adolescent Gender Clinic, right?
          22            A.     Yes.
          23            Q.     And do you treat patients at that clinic?
          24            A.     Yes.
          25            Q.     We'll discuss it in more detail a little

                                                                                    Page 18

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0786
(20 of 288), Page 20 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 20 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 19 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     bit later, but just at a high level of generality,
            2     could you explain what the gender clinic does?
            3           A.     So we provide a variety of services to
            4     gender-diverse youth; some medical, some
            5     nonmedical.       My role is providing therapeutic
            6     services and also mental health consultation to
            7     our larger, integrated team.
            8           Q.     When you say "therapeutic services," what
            9     do you mean?
          10            A.     Psychotherapy.
          11            Q.     Does the clinic serve a particular age
          12      group?
          13            A.     Yes.     So we don't have a lower limit, but
          14      typically our youngest patient has been about
          15      three years old.         And then we do have an upper
          16      limit of 25, but typically most young adults are
          17      transitioning out of our clinic around 22, 23.
          18            Q.     And do you know how many patients the
          19      clinic serves?
          20            A.     The clinic's been open for almost six
          21      years, and my -- the most recent number I was
          22      given was that we have now served over 1,000
          23      patients.
          24            Q.     When you say "have now served," do you
          25      mean in the totality of the clinic's existence?

                                                                                    Page 19

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0787
(21 of 288), Page 21 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 21 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 20 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1             A.   Yes, in the six years that we've been --
            2     yeah.
            3             Q.   Do you know approximately how many
            4     patients are currently receiving treatment at the
            5     clinic?
            6             A.   I do not.
            7             Q.   And you've been there for three years; is
            8     that right?
            9             A.   Almost three.
          10              Q.   And in those almost three years that you
          11      have been there, has the patient population at the
          12      clinic grown?
          13              A.   Could you be more specific?                  What do you
          14      mean by "grown"?
          15              Q.   Have the number of patients receiving
          16      treatment -- excuse me.
          17                   Has the number of patients receiving
          18      treatment increased?
          19              A.   So if you mean, like, the number of new
          20      patients increasing per year, that's actually
          21      remained quite stable.             But it's grown because we
          22      carry the patients that we saw the year before and
          23      we're continuing to see them the next year and the
          24      next year.      So the number has increased over six
          25      years.

                                                                                    Page 20

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0788
(22 of 288), Page 22 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 22 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 21 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1            Q.    When you say the new patients have been
            2     stable, you're referring to patients coming into
            3     the clinic over those three years, the number has
            4     remained stable; is that right?
            5            A.    Yeah, meaning, like, the number of new
            6     referrals we get per week has been pretty stable
            7     over that six years.
            8            Q.    And you say that in the last eight years,
            9     you've treated over a thousand youth and families,
          10      correct?
          11             A.    Yes.
          12             Q.    How many current patients do you have?
          13             A.    What would you consider to be current?
          14             Q.    What would you consider to be current?
          15             A.    So because I have some who, you know, see
          16      me infrequently, and I have others who see me
          17      pretty regularly, so it's sort of hard for me to
          18      say.    And then some, you know, pop in when I
          19      haven't seen them in a long time.
          20                   So I guess what I would say is my active
          21      caseload that I'm seeing fairly regularly and at a
          22      decent frequency, maybe 70.
          23             Q.    70 patients?
          24             A.    Um-hmm.
          25             Q.    Sorry.      Say again.

                                                                                    Page 21

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0789
(23 of 288), Page 23 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 23 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 22 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           A.     I was just saying "yes" instead of
            2     "um-hmm."
            3           Q.     I need to work on that too, so I
            4     appreciate it.
            5                  And you say 100 percent of your patients
            6     are transgender youth; is that right?
            7                  MS. NOWLIN-SOHL:            Object to form.
            8                  THE WITNESS:          Currently all of my
            9     patients are experiencing some sort of gender
          10      questioning.
          11            Q.     (BY MR. RAMER)           Well, I guess let's go to
          12      your paragraph 7 in your declaration, which is
          13      page 2.     I think fourth sentence, kind of middle
          14      of the paragraph.
          15                   Do you see where it says "Currently
          16      100 percent of my clinical practice are
          17      transgender youth"?
          18            A.     Yes.
          19            Q.     And so is that statement accurate?
          20            A.     In this case, I'm using "transgender" as
          21      the umbrella term for gender diversity, so yes,
          22      it's accurate.
          23            Q.     And when you say "youth," do you mean
          24      individuals under the age of 18?
          25            A.     Some are young adults, but a majority are

                                                                                    Page 22

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0790
(24 of 288), Page 24 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 24 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 23 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     under the age of 18.
            2           Q.     When you say "young adults," you're
            3     referring to people who are over 18?
            4           A.     Yes.
            5           Q.     What percentage of your current patients
            6     are over the age of 18?
            7           A.     I would say maybe 10 percent.
            8           Q.     And could you describe -- I think you had
            9     started to describe, but could you explain a
          10      little bit more what happens with patients once
          11      they turn 18 years of age with respect to care at
          12      your clinic?
          13            A.     So because we can follow kids up until --
          14      or young adults until 25, we've sort of -- it's up
          15      to them and their life circumstances whether or
          16      not they want to transfer services.
          17                   So some of our youth go off to college in
          18      other states, making it difficult for us to
          19      continue providing their care.                 So we might find
          20      them care that's, you know, closer to their
          21      college or wherever they end up living.
          22                   Some youth stay local and continue with
          23      us until a time in which they feel ready to
          24      transfer to adult services.
          25                   Sometimes they reach the upper limit and

                                                                                    Page 23

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0791
(25 of 288), Page 25 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 25 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 24 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     they're not necessarily ready, but we sort of
            2     transfer them anyway.
            3             Q.   And was the upper limit 25 years old?
            4             A.   Yes.
            5             Q.   When patients transfer to a new provider,
            6     does your clinic stay in formal communication with
            7     them?
            8                  MS. NOWLIN-SOHL:            Object to form.
            9                  THE WITNESS:          I'm not sure, because
          10      typically that would be the medical provider that
          11      is probably facilitating that communication.                        So
          12      I'm not sure.
          13              Q.   (BY MR. RAMER)           Of your current patients,
          14      have all of them been diagnosed with gender
          15      dysphoria?
          16              A.   No.
          17              Q.   What percentage of your current patients
          18      have been diagnosed with gender dysphoria?
          19              A.   Because a lot of our patients are coming
          20      to gender clinics sort of late in their journeys,
          21      so oftentimes they've been exploring things with
          22      an outside therapist or have been discussing this
          23      with their family for a long time, they're sort of
          24      coming to gender clinic at a point where they've
          25      already explored a lot.             And so I would say a

                                                                                    Page 24

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0792
(26 of 288), Page 26 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 26 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 25 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     majority have gender dysphoria, maybe 75 percent.
            2           Q.     And what was the significance of the
            3     point that they've been on their journey for a
            4     while before they come to the clinic?
            5           A.     That we're sort of seeing a subset of
            6     gender-diverse youth.            You know, it takes a lot
            7     for families to make the decision to come to a
            8     gender clinic, and oftentimes they're speaking
            9     with other professionals and seeking advice from
          10      their pediatrician or seeking advice from their
          11      child's current therapist with regards to where to
          12      go or what to do.
          13                   So my point was that just that, you know,
          14      we are typically not seeing youth who are at the
          15      beginning of their journey.                And so they're more
          16      likely to meet criteria because they've been
          17      persistent, consistent for longer.
          18            Q.     I see.      By "criteria," you mean the
          19      criteria for gender dysphoria; is that right?
          20            A.     Correct.
          21            Q.     And so the point is that because these
          22      are individuals who have progressed in their
          23      journey, the percentage of individuals who are
          24      formally diagnosed with gender dysphoria may be
          25      higher than at other providers?                  Is that what

                                                                                    Page 25

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0793
(27 of 288), Page 27 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 27 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 26 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     you're saying?
            2                   MS. NOWLIN-SOHL:            Object to form.
            3                   THE WITNESS:          I don't know how the
            4     percentages compare, but that might be the case.
            5            Q.     (BY MR. RAMER)           But that's why you were
            6     talking about that, right?
            7            A.     Yes.
            8            Q.     In this field, do you understand a
            9     distinction between a child and adolescent?
          10                    MS. NOWLIN-SOHL:            Object to form.
          11                    THE WITNESS:          Could you specify "this
          12      field"?
          13             Q.     (BY MR. RAMER)           Transgender medicine.
          14                    MS. NOWLIN-SOHL:            Same objection.
          15                    THE WITNESS:          So do I understand the
          16      difference between child and adolescents?
          17             Q.     (BY MR. RAMER)           I'm just asking is there
          18      a difference in the terminology that's -- excuse
          19      me.
          20                    When you use the term "child" or
          21      "adolescent," are you referring to individuals at
          22      different stages of maturity?
          23                    MS. NOWLIN-SOHL:            Object to form.
          24                    THE WITNESS:          Typically when we're
          25      referring to children, we're talking about

                                                                                    Page 26

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0794
(28 of 288), Page 28 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 28 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 27 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     prepuberty.       And when we're talking about
            2     adolescents, we're talking about pubertal or
            3     post-pubertal.
            4           Q.     (BY MR. RAMER)           And at what stage do you
            5     consider the conclusion of the prepubertal phase?
            6           A.     So as a mental health professional, I'm
            7     not able to make that distinction.                    I rely on my
            8     medical team to make that distinction.
            9                  But typically it's with Tanner staging
          10      and with blood work.
          11            Q.     And do you know what Tanner stage?
          12            A.     So typically it's early Tanner Stage II.
          13      Between II and III is when puberty begins.
          14            Q.     Do you have patients who were diagnosed
          15      with gender dysphoria before Tanner Stage II?
          16            A.     Yes.
          17            Q.     Do you have patients who were diagnosed
          18      with gender dysphoria after the beginning of
          19      Tanner Stage II?
          20            A.     Yes.
          21            Q.     Of your patients, which diagnosis is more
          22      common?
          23                   MS. NOWLIN-SOHL:            Object to form.
          24                   THE WITNESS:          Meaning which is more
          25      common, childhood or adolescent gender dysphoria?

                                                                                    Page 27

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0795
(29 of 288), Page 29 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 29 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 28 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1             Q.   (BY MR. RAMER)           Correct.
            2             A.   In our clinic, it's about 30 percent of
            3     our patients are prepubertal, and about 70 percent
            4     are post -- or pubertal or post-pubertal.
            5     Pubertal, excuse me.
            6             Q.   Of your current patients, do you know
            7     what percentage are natal females?
            8                  MS. NOWLIN-SOHL:            Object to form.
            9                  THE WITNESS:          The general -- a general
          10      estimate in our clinic, which we looked at
          11      relatively recently, was that we actually have a
          12      50/50 split of designated females and designated
          13      males in both age groups.
          14              Q.   (BY MR. RAMER)           When did you look at
          15      that?
          16              A.   About a year ago.
          17              Q.   And is that percentage, that 50/50 split,
          18      the same for patients who have been formally
          19      diagnosed with gender dysphoria?
          20              A.   Yes.
          21              Q.   Did the 50/50 split surprise you?
          22              A.   The reason that we looked at it is
          23      because I was interested to know, you know --
          24      given that I've been doing this work for eight
          25      years, I've been interested, you know, to know how

                                                                                    Page 28

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0796
(30 of 288), Page 30 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 30 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 29 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     things have sort of evolved since I first started.
            2                  When I was working in Louisville, we kind
            3     of had different rates, so I was interested to
            4     see.
            5                  It wasn't surprising because clinically,
            6     you know, that's what I was seeing in my office.
            7     If you look at my schedule, it's a pretty 50/50
            8     mix of the designated sex.
            9            Q.    What were the rates in Louisville?
          10                   MS. NOWLIN-SOHL:            Object to form.
          11                   THE WITNESS:          I don't remember exactly,
          12      but it felt as though we were seeing a lot more
          13      binary-identifying individuals and more often
          14      transmasculine.
          15             Q.    (BY MR. RAMER)           When you say "binary,"
          16      you're distinguishing from nonbinary; is that
          17      right?
          18             A.    Nonbinary, agender, genderqueer, gender
          19      fluid.
          20             Q.    And when you say "transmasculine," you're
          21      referring to -- can you explain what you mean by
          22      "transmasculine"?
          23             A.    Designated females who identify as
          24      masculine.
          25             Q.    Of your patient population that has been

                                                                                    Page 29

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0797
(31 of 288), Page 31 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 31 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 30 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     diagnosed with gender dysphoria, what percentage
            2     receive puberty blockers?
            3           A.     That would be hard for me to estimate.
            4     Not all of our youth are seeking medical
            5     intervention, and not all are eligible for medical
            6     interventions, and not all are Tanner Stage --
            7     between Tanner Stage II and III.
            8                  So I mean, I guess if it's prepubertal,
            9     which was your question, it would be none because
          10      they wouldn't be medically ready for pubertal
          11      blockade.
          12            Q.     When you said not all of them are seeking
          13      medical interventions, what did you mean by that?
          14            A.     So some families are coming to our clinic
          15      to just get education, support, resources to
          16      support their child or youth, or the youth
          17      themselves might just be wanting to explore ways
          18      to express gender or socially transition rather
          19      than are coming specifically seeking medical
          20      intervention.
          21            Q.     So are some coming specifically seeking
          22      medical intervention?
          23            A.     Yes.
          24            Q.     As a psychologist, are you the provider
          25      who would actually be making the diagnosis of

                                                                                    Page 30

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0798
(32 of 288), Page 32 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 32 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 31 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     gender dysphoria?
            2             A.   Oftentimes in our clinic that is the
            3     case, but I'm not the only person who can do that.
            4             Q.   Have you ever personally diagnosed a
            5     child with gender dysphoria?
            6             A.   Yes.
            7             Q.   Have you ever personally diagnosed an
            8     adolescent with gender dysphoria?
            9             A.   Yes.
          10              Q.   Do you also determine whether a
          11      patient -- or I guess let me just back up.                        Maybe
          12      you can just kind of explain your role in this
          13      process.
          14                   My general understanding is that the
          15      clinics are interdisciplinary or
          16      multidisciplinary, and so you have different
          17      providers doing different things.
          18                   Could you just explain your role?
          19              A.   Sure.      And it gets complicated too,
          20      because we are in a fairly well-resourced area, so
          21      sometimes it's not even our team that's providing
          22      services.      It might be community providers as
          23      well.
          24                   But when a family comes to our clinic, we
          25      spend a lot of time getting to know the family,

                                                                                    Page 31

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0799
(33 of 288), Page 33 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 33 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 32 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     getting to know the youth, understanding their
            2     gender identity, and kind of goals for why they're
            3     coming to gender clinic.
            4                  And then we will kind of pick a treatment
            5     plan as a team for what will happen next with that
            6     family.
            7                  Sometimes the focus might be more on the
            8     mental health piece, in which case it might be
            9     meetings with myself to provide support around
          10      social transition, resources, education.
          11                   Might be also to just support youth with
          12      gender dysphoria who are struggling with their
          13      dysphoria or other comorbid diagnoses that they
          14      may be experiencing.
          15                   Sometimes they have a therapist in the
          16      community already who we can coordinate and
          17      collaborate with and get collaborative information
          18      from so they don't necessarily have to see a
          19      member of our behavioral health team.                     It can be
          20      done out in the community if they have a provider
          21      with proper training.
          22            Q.     You mentioned social transitioning.                     Can
          23      you explain what you mean by that?
          24            A.     Sure.      So social transition is a pretty
          25      diverse set of actions that some people choose to

                                                                                    Page 32

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0800
(34 of 288), Page 34 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 34 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 33 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     take.        So oftentimes that includes changing name
            2     and pronouns.
            3                     At school, extracurricular activities,
            4     within the family, with peers.
            5                     It could also mean adopting a clothing
            6     style that's more consistent with their affirmed
            7     gender, haircuts, you know, makeup, jewelry, the
            8     kind of, like, external things that other people
            9     can see, and making steps to be more comfortable
          10      with those.
          11              Q.      And I think you said that those are
          12      actions that individuals choose to take; is that
          13      right?
          14              A.      Yes.
          15              Q.      Is there ever a clinical indication that
          16      somebody should social transition?
          17                      MS. NOWLIN-SOHL:            Object to form.
          18                      THE WITNESS:          It's very individualized.
          19      We need to understand the context in which a
          20      person lives.
          21                      So, for example, we are -- our capture
          22      area for our clinic is quite vast, so we have
          23      people coming from several hours away in rural
          24      areas where they might be the only gender-diverse
          25      person in their community or at their school, and

                                                                                      Page 33

                                  Associated Reporting & Video - A Veritext Company
                                      calendar-arv@veritext.com 208-343-4004


                                                App.0801
(35 of 288), Page 35 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 35 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 34 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     it might not be safe for them to take certain
            2     steps towards affirming their gender.                       And so we
            3     certainly don't force anyone, which is why I kind
            4     of said it's their choice if they want to do that
            5     or not.
            6                   There are some instances in which it can
            7     be very helpful.          There's research that shows that
            8     social transition can help in terms of reducing
            9     negative psychological distress.
          10             Q.     (BY MR. RAMER)           And so you said that you
          11      don't force anybody to social -- start again.
          12                    You said you don't force anybody to
          13      socially transition.
          14                    And I guess my question is do you ever
          15      recommend it?
          16             A.     Yeah.
          17             Q.     And what would you observe that would
          18      lead you to recommend socially transition?
          19             A.     There are some situations where, for
          20      example, with certain family members, it's helpful
          21      to, you know, come out and share their identity
          22      with certain people.
          23                    Oftentimes there's distress with being
          24      closeted, and so social transition is an
          25      opportunity to, you know, come out and present

                                                                                    Page 34

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0802
(36 of 288), Page 36 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 36 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 35 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     yourself more authentically.                And so it can
            2     alleviate some of that distress and anxiety.                        So
            3     sometimes it is sort of mentioned as, hey, this
            4     would be helpful.
            5           Q.     Have you ever recommended that a patient
            6     socially transition before Tanner Stage II?
            7           A.     Most of the young kids that are
            8     presenting to our clinic have already socially
            9     transitioned.        So I would say maybe like
          10      90 percent have done that already prior to coming
          11      to us.
          12            Q.     What is the youngest patient you've ever
          13      seen that has socially transitioned?
          14            A.     Four.
          15            Q.     And I think earlier you had mentioned you
          16      have patients as young as three years old; is that
          17      right?
          18            A.     Yes.
          19            Q.     And what kind of care is a patient of
          20      that age receiving at the clinic?
          21            A.     So there are no medical interventions
          22      until that pubertal, post-pubertal period.                        So at
          23      that point we're really just providing supportive
          24      care, maybe recommending support groups for the
          25      caregivers, recommending -- you know, kind of

                                                                                    Page 35

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0803
(37 of 288), Page 37 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 37 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 36 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     giving guidance on how to discuss their child's
            2     gender with the school.               And, you know, just
            3     helping parents to navigate different
            4     conversations or different complex situations that
            5     they might face.
            6            Q.     School at three years old would be
            7     preschool?
            8            A.     Yes.
            9            Q.     And you said "medical interventions," I
          10      believe.
          11                    What do you mean by that?
          12             A.     So puberty blockers, hormones, you know,
          13      menstrual suppression.
          14             Q.     Are there interventions that are not
          15      labeled "medical"?
          16             A.     So, yeah.        It's -- the terminology is
          17      difficult.       As a mental health professional, I
          18      consider therapy to be an intervention.                           And so,
          19      you know, that's what I'm providing is also
          20      support and, you know, therapy.                    I consider that
          21      to be an intervention.
          22             Q.     So do you consider social transition an
          23      intervention?
          24             A.     Yes.
          25             Q.     Can you walk me through the diagnosis

                                                                                     Page 36

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0804
(38 of 288), Page 38 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 38 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 37 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     process from the time a patient walks into your
            2     office?
            3             A.    So by the time I'm seeing a patient, we
            4     already have a wealth of information.                       So
            5     typically families who are referred to us, we have
            6     a kind of pre-intake meeting with just the
            7     caregivers to get background information.
            8     Typically that's an hour or hour and a half.
            9                   And then they meet for the first
          10      appointment.        That's typically an hour and a half
          11      to two hours.
          12                    And we're getting a lot of information
          13      from the youth directly during that meeting.
          14      Sometimes I've met them during that meeting as
          15      well before I have my individual appointment with
          16      them.
          17                    So typically we have, you know, three
          18      hours' worth of information.
          19                    So when a family is working with me, I'm
          20      sort of confirming the information that we've
          21      obtained already, and then asking more detail
          22      about things relevant to mental health and gender
          23      dysphoria specifically so you can use it.
          24                    But I use the DSM criteria, and we just
          25      have a kind of clinical interview regarding a

                                                                                    Page 37

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0805
(39 of 288), Page 39 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 39 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 38 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     youth's experience with those symptoms or not, how
            2     their dysphoria manifests, what distresses it
            3     causes in their life, and what their goals are.
            4           Q.     What did you mean by a "clinical
            5     interview"?
            6           A.     So it's a kind of semi-structured
            7     interview in which I'm asking about each of the
            8     diagnostic criteria and then asking follow-up
            9     questions after the youth has responded.
          10            Q.     And then when you refer to the goals that
          11      the individual has, what do you mean by that?
          12            A.     So depending on the treatment plan, it
          13      might be what are your goals for therapy, right?
          14                   Like, what are you hoping to get out of
          15      our meetings together?
          16                   What supports do you need?
          17                   What would you like to improve?
          18                   Sometimes it is what are your goals for
          19      transition, physical transition?
          20                   Sometimes it's what are your goals for,
          21      you know, helping your family understand you
          22      better.     It just depends on what they're being
          23      referred to me for.
          24            Q.     And I'd like to, in your declaration, go
          25      to page 5, paragraph 18.

                                                                                    Page 38

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0806
(40 of 288), Page 40 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 40 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 39 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                  And here you discuss the diagnostic
            2     criteria for prepubertal children, right?
            3           A.     Yes.
            4           Q.     And so you would use this diagnostic
            5     criteria for children who are pre-Tanner Stage II;
            6     is that right?
            7           A.     Tanner Stage II and below, yeah.
            8           Q.     And in the first sentence after A, it
            9     refers to a "marked incongruence."
          10                   Do you see that?
          11            A.     Yes.
          12            Q.     What does the word "marked" mean there?
          13            A.     Yeah, so this is direct verbiage from the
          14      DSM-5.     But, you know, typically with all of the
          15      diagnoses in the DSM, you have to meet criteria,
          16      but then there also has to be impairment
          17      experience from those symptoms.
          18                   So typically "marked" means, you know,
          19      it's not just there, but it's there and it's
          20      causing some sort of difficulty or impairment in
          21      daily functioning.
          22            Q.     Well, I guess if you look at the bottom
          23      of the page with B -- and I understand this is
          24      just the DSM criteria in the report, but doesn't B
          25      just describe what you just said?

                                                                                    Page 39

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0807
(41 of 288), Page 41 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 41 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 40 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1             A.      Yes.
            2             Q.      And so you're saying that in A, the word
            3     "marked" means B?
            4             A.      I think that's part of it.                   I mean, I
            5     think for me as a clinician, it also means marked
            6     as in noted, right?
            7                     So, you know, and typically -- I should
            8     have mentioned earlier that I'm not just
            9     conducting a clinical interview with the youth,
          10      right?        I'm also talking with caregivers and other
          11      adults and getting their observations and views of
          12      youths over time, and especially in early
          13      childhood when maybe the youth don't remember so
          14      well.        And so, you know, marked incongruence could
          15      mean like observed or noted.
          16              Q.      Okay.      You don't think that that word --
          17      whether we pronounce it marked or marked, I
          18      sincerely don't know --
          19              A.      Sure.
          20              Q.      But you don't think that that is
          21      suggesting a particular degree of incongruence?
          22              A.      Well, I think the criteria below is
          23      referencing the degree being strong in many of
          24      those criteria.
          25              Q.      Can there be an incongruence that isn't

                                                                                      Page 40

                                  Associated Reporting & Video - A Veritext Company
                                      calendar-arv@veritext.com 208-343-4004


                                                App.0808
(42 of 288), Page 42 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 42 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 41 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     marked?
            2           A.     I mean, there are sometimes incongruence
            3     that is not observed by the youth themselves or by
            4     parents.     You know, some kids have very low
            5     insight and so they might not see it as, you know,
            6     an incongruence.
            7           Q.     Have you ever had a patient where you've
            8     concluded that the patient has an incongruence but
            9     it's not marked?
          10                   MS. NOWLIN-SOHL:            Object to form.
          11                   THE WITNESS:          I have had youth who don't
          12      meet criteria for gender dysphoria.                    And that
          13      might be a case in which they don't meet criteria.
          14            Q.     (BY MR. RAMER)           Okay.      So I take it you
          15      don't really think that that word adds much to
          16      this diagnosis; is that right?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          I don't see it as critical,
          19      that word.
          20            Q.     (BY MR. RAMER)           You don't see it as
          21      critical?
          22            A.     In determining my diagnosis.
          23            Q.     So still in A, the DSM-5 requires at
          24      least six-month duration of the incongruence; is
          25      that right?

                                                                                    Page 41

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0809
(43 of 288), Page 43 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 43 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 42 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1            A.    Six-month duration consisting of at least
            2     six of the criteria below.               So they have to have
            3     the six criteria for at least six months, yes.
            4            Q.    Yeah, sorry.          And I'm not trying -- we're
            5     just going to walk through it.                 When I ask
            6     specific questions, I don't want -- I'm not
            7     implying that you're over-focused on that when
            8     you're doing the diagnoses.
            9                  But with respect to the six-month
          10      duration, why is that a requirement?
          11                   MS. NOWLIN-SOHL:            Object to form;
          12      foundation.
          13                   THE WITNESS:          So the duration component
          14      is also very common in other diagnoses within the
          15      DSM.    And typically it's to establish some sort of
          16      pattern and stability in the symptoms.
          17             Q.    (BY MR. RAMER)           And so here, this would
          18      be establishing stability of the incongruence; is
          19      that right?
          20             A.    Yes.
          21             Q.    And so if there were only five months'
          22      duration of incongruence, that incongruence may be
          23      unstable?
          24                   MS. NOWLIN-SOHL:            Object to form;
          25      mischaracterizes testimony.

                                                                                    Page 42

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0810
(44 of 288), Page 44 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 44 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 43 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                  THE WITNESS:          They would just be
            2     subclinical and not meet criteria for gender
            3     dysphoria at this moment in time.
            4           Q.     (BY MR. RAMER)           What do you mean by
            5     "subclinical"?
            6           A.     So they might meet some of the criteria
            7     but not all the criteria.
            8           Q.     And I think let's go to page 12 of your
            9     declaration, paragraph 35.               I think this might be
          10      what you were referring to.                I just want to
          11      confirm.
          12                   The final sentence of paragraph 35 -- and
          13      I'll just read it and ask if I read it correctly.
          14                   It says "Some patients who are evaluated
          15      do not meet the criteria for gender dysphoria
          16      either due to symptom length or lack of symptoms,
          17      in which case a treatment plan may include
          18      nonmedical support and intervention to address
          19      symptoms/distress."
          20                   Did I read that correctly?
          21            A.     Yes.
          22            Q.     And here you refer to symptom length.
          23                   Is that what we were just talking about?
          24            A.     The six-month duration, yes.
          25            Q.     Do you think a six-month duration is a

                                                                                    Page 43

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0811
(45 of 288), Page 45 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 45 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 44 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     good idea?
            2                  MS. NOWLIN-SOHL:            Object to form.
            3                  THE WITNESS:          I think having a duration
            4     criteria is helpful.            I know there was a task
            5     force put together for DSM-5 for revisiting gender
            6     dysphoria diagnosis, and that criterion was based
            7     on research.
            8           Q.     (BY MR. RAMER)           The six-month number was
            9     based on research?
          10            A.     Yes.
          11            Q.     And you refer here to nonmedical support
          12      and intervention.
          13                   Do you see that?
          14            A.     Yes.
          15            Q.     And could you just explain what you mean
          16      by that?
          17            A.     So again, you know, it might be my choice
          18      in terms, but typically that might include
          19      education, psychoeducation.
          20                   It might include working with parents on
          21      how to best support their child.
          22                   It might include social transition or
          23      different changes in gender expression.                       That can
          24      still be supportive for a subclinical
          25      gender-diverse patient.

                                                                                    Page 44

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0812
(46 of 288), Page 46 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 46 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 45 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     Would it include psychotherapy?
            2           A.     If they're in significant distress or if
            3     they have other diagnoses.
            4           Q.     And how does -- sorry.                Go ahead.
            5           A.     I said yes.         I nodded but didn't say yes.
            6           Q.     And how does nonmedical support and
            7     intervention address symptoms/distress?
            8           A.     So sometimes distress is coming from
            9     conflict.      So sometimes as a youth is sort of
          10      exploring gender or, you know, trying to
          11      understand themselves.             They might just have
          12      distress from trying to figure that out.
          13                   Or they might have distress in
          14      communicating about what's going on with them to
          15      caregivers, adults, peers.
          16                   They might also be struggling with some
          17      symptoms, even though they don't meet full
          18      criteria for gender dysphoria.                 They might be, you
          19      know, experiencing gender distress with those
          20      symptoms.
          21                   So psychotherapy is really aimed at
          22      support and also teaching coping skills and
          23      managing some of the distress.
          24            Q.     So psychotherapy can address
          25      symptoms/distress?

                                                                                    Page 45

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0813
(47 of 288), Page 47 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 47 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 46 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                  MS. NOWLIN-SOHL:            Object to form.
            2                  THE WITNESS:          It can help to manage them.
            3           Q.     (BY MR. RAMER)           So you used the phrase
            4     "to address."
            5                  Am I understanding you think -- or you're
            6     using the phrase "to address" to help and manage;
            7     is that right?
            8           A.     Yes.
            9           Q.     Are you distinguishing between helping
          10      and managing symptoms/distress and something else?
          11            A.     Could you say that again?
          12            Q.     Is that different from -- do you consider
          13      helping and managing symptoms/distress to be
          14      different from treating symptoms/distress?
          15            A.     Yes.     So, you know, for -- there is a
          16      difference between sort of like managing and
          17      alleviating symptoms, and there is a difference
          18      between treatment to me.
          19                   So that distinction being, you know --
          20      treatment would seem to suggest that those
          21      symptoms might go away.
          22                   And so I'm more aiming in psychotherapy
          23      at alleviating kind of any distress, but not
          24      necessarily treating symptoms or making symptoms
          25      go away.

                                                                                    Page 46

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0814
(48 of 288), Page 48 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 48 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 47 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1            Q.     Do you think medical interventions are
            2     treatment?
            3            A.     Yes.
            4            Q.     So you think medical interventions are
            5     distinct from psychotherapy with respect to
            6     addressing symptoms and distress?
            7                   MS. NOWLIN-SOHL:            Object to form.
            8                   THE WITNESS:          Here we're talking
            9     specifically about subclinical -- you know, those
          10      who don't meet full criteria for gender dysphoria,
          11      in which case we probably wouldn't be considering
          12      medical intervention if they didn't have full
          13      criteria for gender dysphoria.
          14             Q.     (BY MR. RAMER)           Do you use psychotherapy
          15      on people who have met the criteria for gender
          16      dysphoria?
          17             A.     Yes.
          18             Q.     And is the psychotherapy in that context
          19      a treatment as you use the term?
          20             A.     For those who meet full criteria for
          21      gender dysphoria, it cannot be a stand-alone
          22      treatment.       There is no evidence to suggest that.
          23             Q.     When you say "it cannot be a stand-alone
          24      treatment," what do you mean by that?
          25             A.     So we -- the only evidence we have for

                                                                                    Page 47

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0815
(49 of 288), Page 49 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 49 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 48 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     treating, treating in the sense of truly, like,
            2     alleviating the distress and symptoms of gender
            3     dysphoria are medical interventions.
            4                   And so psychotherapy alone isn't
            5     sufficient to be able to treat full gender
            6     dysphoria.
            7            Q.     And so you said we don't have evidence
            8     that psychotherapy can be a treatment for gender
            9     dysphoria; is that right?
          10                    MS. NOWLIN-SOHL:              Object to form;
          11      mischaracterizes the testimony.
          12                    THE WITNESS:           That psychotherapy isn't
          13      effective treatment of gender dysphoria.
          14             Q.     (BY MR. RAMER)            Is there evidence that
          15      medical interventions alone are an effective
          16      treatment for gender dysphoria?
          17             A.     Yes.
          18             Q.     What evidence is that?
          19             A.     So there are many studies that look at
          20      the benefits.         So medical interventions for
          21      gender-diverse youth and young adults,
          22      specifically that they show improvements in their
          23      psychological functioning like depression and
          24      anxiety, as well as reductions in their symptoms
          25      of gender dysphoria.

                                                                                    Page 48

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0816
(50 of 288), Page 50 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 50 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 49 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1             Q.      And those studies look at medical
            2     interventions alone?
            3             A.      Sorry, I'm thinking.             I would have to --
            4     I'm not sure if it's looking -- if it controls for
            5     receiving therapy or not.
            6             Q.      Do you know if there is any study that
            7     controls for receiving therapy that shows a
            8     benefit?
            9                     MS. NOWLIN-SOHL:           Object to form.
          10                      THE WITNESS:         I think those studies are
          11      hard to conduct, and so I don't -- I don't know if
          12      there's one that looks at medical as stand-alone.
          13                      MR. RAMER:        We've been going almost an
          14      hour.        I don't know, would this be a good time for
          15      a short break?
          16                      MS. NOWLIN-SOHL:           Yeah, that sounds good.
          17                      MR. RAMER:        Do you want to just take five
          18      since we've got the kind of longer break later?
          19                      MS. NOWLIN-SOHL:           Yeah.
          20                      MR. RAMER:        Okay.      So we'll do 10 after
          21      the hour.
          22                      THE WITNESS:         Okay.      Thanks.
          23                      THE VIDEOGRAPHER:            Okay.      So the time is
          24      11:05 a.m. Mountain time, and we are off the
          25      record.

                                                                                      Page 49

                                  Associated Reporting & Video - A Veritext Company
                                      calendar-arv@veritext.com 208-343-4004


                                                App.0817
(51 of 288), Page 51 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 51 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 50 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                (Break taken from 11:05 a.m. to 11:11 a.m.)
            2                   THE VIDEOGRAPHER:            All right.         So we are
            3     recording.      The time is 11:11 a.m. Mountain time,
            4     and we are back on the record.
            5           Q.      (BY MR. RAMER)          Dr. Brady, I'd like to go
            6     to page 5 in your declaration, back to paragraph
            7     18, and specifically going down to what I'll call
            8     subparagraph 6.
            9                   And my question is what are typically
          10      masculine toys?
          11            A.      Yeah.     So the criteria are still not
          12      perfect, but, you know, what DSM is trying to
          13      achieve here, you know, is things that people
          14      stereotypically still think of as masculine or
          15      feminine.
          16                    And so in the case of masculine toys
          17      might be more like sports, trucks, things of that
          18      nature versus girls being more, like, dolls,
          19      crafts, things like that.
          20            Q.      So you said sports are typically
          21      masculine.      I guess you'd say activities?
          22            A.      Yes.
          23            Q.      And you said crafts are typically -- what
          24      are you saying about crafts?
          25            A.      So again, these are just stereotypes of

                                                                                    Page 50

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0818
(52 of 288), Page 52 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 52 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 51 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     how parents might view toys.                  So crafts in that
            2     case might be more typically associated with
            3     females.
            4            Q.     And so if I understand your answer, if a
            5     girl -- no, I'm sorry.
            6                   If a boy has a strong rejection in
            7     sports, that's an indication that the boy may have
            8     gender dysphoria?
            9                   MS. NOWLIN-SOHL:            Object to form;
          10      mischaracterizes testimony.
          11                    Sorry to interrupt.              Real quick, did we
          12      lose Amy?
          13                       (Discussion held off the record.)
          14                    THE WITNESS:          So one of the important
          15      things about the diagnosis of gender dysphoria in
          16      childhood is that you need six of the criteria.
          17      And so that stand-alone criteria, no, would not
          18      indicate that necessarily somebody is transgender
          19      or gender dysphoria.
          20             Q.     (BY MR. RAMER)           Right.       My question was
          21      not whether that standing alone --
          22                    My question was whether under the DSM-5,
          23      if a boy has a strong rejection of sports, that
          24      would indicate the boy potentially has gender
          25      dysphoria; is that right?

                                                                                    Page 51

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0819
(53 of 288), Page 53 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 53 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 52 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                  MS. NOWLIN-SOHL:            Object to form.
            2                  THE WITNESS:          So clinically, I would want
            3     to see more than just one sort of rejection and
            4     activity and then, of course, have to look at all
            5     the other criteria together.
            6                  However, if the designated male is kind
            7     of rejecting all masculine activities, then that
            8     is certainly something of interest.
            9           Q.     (BY MR. RAMER)           Then what are some other
          10      masculine activities?
          11            A.     So it might be things like
          12      rough-and-tumble play.
          13                   It might be things like, you know, again,
          14      like trucks, construction, stereotypical things
          15      like that.
          16                   It might be even, you know, gravitating
          17      towards wanting to play with other girls and not
          18      wanting to play with boys.
          19            Q.     Well, that last one, that's in
          20      subparagraph 5, right?
          21            A.     Yes.
          22            Q.     And so I'm asking specifically about
          23      subparagraph 6 where we're referring to typically
          24      masculine activities.
          25                   And I thought you had said a strong

                                                                                    Page 52

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0820
(54 of 288), Page 54 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 54 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 53 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     rejection of one, like sports, may not be enough,
            2     but a rejection of all typically masculine
            3     activities may be something you take into account.
            4                  And my question was simply this, which is
            5     in addition to sports and I believe you said
            6     rough-and-tumble play, what are some other
            7     typically masculine activities?
            8                  MS. NOWLIN-SOHL:            Object to form; asked
            9     and answered.
          10                   THE WITNESS:          It might be even things
          11      that are marketed towards boys.                  So, for example,
          12      a toy that's in the store and in the typically
          13      kind of boy aisle, you know, youth might say, "I
          14      don't want that because that's for boys."
          15            Q.     (BY MR. RAMER)           What is the boy aisle of
          16      a store?
          17            A.     So toys are typically marketed for either
          18      boys or girls.        So if you go to a Target or any
          19      other store, you might notice that some aisles are
          20      predominately pink and purple still and other
          21      aisles are predominately blue and black and red.
          22      And those are, you know, stereotypically where
          23      they place boys' and girls' toys.
          24            Q.     What's the significance of pink and
          25      purple?

                                                                                    Page 53

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0821
(55 of 288), Page 55 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 55 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 54 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           A.     So these are colors that are typically
            2     associated with girls.             Marketing has shown that
            3     girls have a preference for those colors.
            4           Q.     Do you have expertise in marketing?
            5           A.     No.
            6           Q.     And so what are typically feminine
            7     activities?
            8           A.     On the flip side of our boys examples, it
            9     might be, you know, toys that are marketed towards
          10      girls.     They might have a rejection of those toys,
          11      dolls, you know, games and activities, like I
          12      said, like art or crafts, cooking, you know,
          13      playing house, these kinds of things.
          14            Q.     Did you say art is a typically feminine
          15      activity?
          16                   MS. NOWLIN-SOHL:            Object to form;
          17      mischaracterizes testimony.
          18                   THE WITNESS:          This isn't my -- what I
          19      believe to be typical, but this is just what
          20      society tends to view as feminine and masculine
          21      activities.
          22            Q.     (BY MR. RAMER)           But, Doctor, aren't you
          23      the one who diagnoses individuals with the DSM-5
          24      criteria?
          25                   MS. NOWLIN-SOHL:            Object to form.

                                                                                    Page 54

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0822
(56 of 288), Page 56 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 56 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 55 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                   THE WITNESS:          I do diagnose gender
            2     dysphoria, yes.
            3            Q.     (BY MR. RAMER)           Do you use the DSM-5
            4     criteria?
            5            A.     Yes.
            6            Q.     And does the DSM-5 criteria for
            7     prepubertal children discuss typically feminine
            8     activities?
            9            A.     Yes.
          10             Q.     And I'm asking you when you're doing the
          11      diagnosis and reading the DSM-5, where it says
          12      "typically feminine activities," what are those?
          13      And I'm just confirming what your answer was.
          14                    Did you say that art was a typically
          15      feminine activity?
          16                    MS. NOWLIN-SOHL:            Object to form.
          17                    THE WITNESS:          It can be.         So a lot of
          18      times these -- this criteria in particular and
          19      these activities are not judged or determined by
          20      me, but are, you know, kind of determined by the
          21      family and also the youth themselves.                       So it's
          22      more important if a youth sees something as
          23      feminine or masculine.
          24             Q.     (BY MR. RAMER)           I'm sorry.          The criteria
          25      in the DSM-5 are determined by the youth or the

                                                                                    Page 55

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0823
(57 of 288), Page 57 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 57 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 56 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     families themselves?             Is that what you said?
            2                   MS. NOWLIN-SOHL:            Object to form;
            3     mischaracterizes testimony.
            4                   THE WITNESS:          The judgment of whether or
            5     not something is considered to be masculine or
            6     feminine is more often determined by the youth and
            7     family.     But whether or not they're rejecting of
            8     that is determined by me.
            9            Q.     (BY MR. RAMER)           You said "more often."
          10      Does that mean not always?
          11             A.     I mean, I guess, yeah.                I mean not
          12      always.
          13             Q.     And just -- I want to understand that
          14      answer, which is you were saying the families and
          15      the individuals determine what is a typically
          16      masculine activity within the meaning of the
          17      DSM-5, and then you determine whether there is a
          18      strong rejection of that?
          19                    MS. NOWLIN-SOHL:            Object to form;
          20      mischaracterizes testimony.
          21                    THE WITNESS:          So if a youth is saying,
          22      "Dr. Brady, I don't like this toy or I don't like
          23      this activity because that's a boy activity or
          24      because that's what girls do and I'm not a girl or
          25      I'm not a boy," whether or not that activity or

                                                                                    Page 56

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0824
(58 of 288), Page 58 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 58 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 57 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     that toy is typically or stereotypically seen as
            2     boy or girl is less important than the youth
            3     viewing that as being a boy or a girl activity.
            4           Q.     (BY MR. RAMER)           So I think -- am I wrong
            5     in thinking that what you just described is in
            6     subparagraph 4 on this page?
            7           A.     So it's the reverse of item 6, so
            8     rejecting of one thing but the liking of other
            9     things.
          10            Q.     And so your testimony is that when the
          11      DSM-5 says typically masculine toys, it is not up
          12      to the medical provider to be determining what are
          13      typically masculine toys?               Is that what you're
          14      saying?
          15                   MS. NOWLIN-SOHL:            Object to form;
          16      mischaracterizes testimony.
          17                   THE WITNESS:          I'm not sure how to answer
          18      your question because it's just that what is
          19      considered typical is sort of subjective and
          20      constantly evolving.            So that's why I rely more on
          21      whether our youth sees that or categorizes that.
          22      Because what one youth feels is girl things might
          23      not be true for another youth.
          24            Q.     (BY MR. RAMER)           Do you use these criteria
          25      to diagnose patients?

                                                                                    Page 57

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0825
(59 of 288), Page 59 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 59 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 58 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1            A.     Yes.
            2            Q.     And do you ensure that the marketing
            3     congruence is manifested by at least six of the
            4     criteria?
            5            A.     Yes.
            6            Q.     Have you ever had a patient in which
            7     you've seen a strong rejection of typically
            8     masculine toys?
            9            A.     Yes.
          10             Q.     What were the toys?
          11             A.     So in some cases it could be any toy
          12      that's just the color blue because the, you know,
          13      youth felt that blue was a stereotypical male
          14      color and they were very rejecting of blue.                          So it
          15      could have been any toy that just happened to be
          16      the color blue.
          17                    In other cases it has been, you know,
          18      things like, you know, light cars and trucks.
          19      Again, the youth felt that that was a boy thing
          20      and so they didn't want to necessarily play with
          21      those and were rejecting of those kinds of toys.
          22                    And then for criterion 4, preferred,
          23      sometimes the other gender toys like those.
          24             Q.     Am I wrong in thinking that you seem to
          25      be boiling everything down to the criterion in

                                                                                    Page 58

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0826
(60 of 288), Page 60 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 60 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 59 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     subparagraph 1?
            2                   MS. NOWLIN-SOHL:            Object to form;
            3     argumentative.
            4                   THE WITNESS:          Can you state that again?
            5            Q.     (BY MR. RAMER)           I guess it just seems
            6     like the way you're interpreting these criteria is
            7     that in the end, what really matters is a strong
            8     desire to be of the other gender, which is
            9     criterion A1.
          10                    MS. NOWLIN-SOHL:            Object to form.            Oh,
          11      sorry.
          12                    MR. RAMER:         It's all right.
          13             Q.     (BY MR. RAMER)           I guess I'll just leave
          14      it there and ask, is that wrong?
          15                    MS. NOWLIN-SOHL:            Object to form;
          16      argumentative, mischaracterizes testimony.
          17                    THE WITNESS:          So the way I interpret the
          18      criteria -- you know, somebody could very much
          19      have criterion 6 in my example of, you know, I
          20      don't like blue things because I typically see
          21      them as boy things.            But they might not feel not
          22      boy.     Like, they might not have criterion 1.
          23                    It might just be, I don't like these
          24      things because they're boy things, but they still
          25      identify as a boy.           So I see them as separate.

                                                                                    Page 59

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0827
(61 of 288), Page 61 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 61 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 60 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     (BY MR. RAMER)           Okay.      And just to
            2     confirm, you -- when you are diagnosing
            3     individuals under this part of the DSM-5, you do
            4     not determine what a typically masculine toy,
            5     game, or activity is; is that correct?
            6                  MS. NOWLIN-SOHL:            Object to form; asked
            7     and answered.
            8                  THE WITNESS:          It's never needed to
            9     happen.     I mean, most of my patients will say, "I
          10      don't like this," for this reason.                    And so my
          11      judgment of whether or not that's a typical boy or
          12      girl thing doesn't matter.
          13            Q.     (BY MR. RAMER)           And so it's true that you
          14      do not determine what a typically masculine toy,
          15      game, or activity is when diagnosing individuals
          16      under this part of the DSM-5; is that right?
          17                   MS. NOWLIN-SOHL:            Object to form; asked
          18      and answered.
          19                   THE WITNESS:          I can, but I don't need to
          20      in most cases.
          21            Q.     (BY MR. RAMER)           You can what?
          22            A.     I can determine if something is, in my
          23      opinion, typically masculine or feminine, but I
          24      don't need to in most cases because the youth and
          25      the family are able to determine that within their

                                                                                    Page 60

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0828
(62 of 288), Page 62 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 62 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 61 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     own, you know, culture, within the family of
            2     what's -- you know, every family has different
            3     ideas of what gender things are.
            4           Q.     Okay.      And my questions are now about
            5     what you deem typically masculine or feminine,
            6     which you said you can do, correct?
            7           A.     Yes.
            8           Q.     Okay.      What do you deem typically
            9     masculine toys apart from trucks or blue things?
          10                   MS. NOWLIN-SOHL:            Object to form; asked
          11      and answered.
          12                   THE WITNESS:          I guess in my mind, I might
          13      think about, again, cars, construction-type toys,
          14      building-type toys, activities like sports, like
          15      scouts.
          16            Q.     (BY MR. RAMER)           What about a soccer ball?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          So again, this is difficult
          19      because of course, you know, I believe that a ball
          20      is a ball and anybody can play with a ball.
          21                   But if a youth is saying, "I do not want
          22      to play with this specifically because I associate
          23      it with boy," then it becomes -- it meets that
          24      criterion.
          25            Q.     (BY MR. RAMER)           I understand that part of

                                                                                    Page 61

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0829
(63 of 288), Page 63 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 63 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 62 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     your answer, but we had also just been discussing
            2     how you also can make the determination of what is
            3     a typically masculine toy.
            4                  And my question is do you deem a soccer
            5     ball a typically masculine toy?
            6                  MS. NOWLIN-SOHL:            Object to form; asked
            7     and answered.
            8                  THE WITNESS:          It could be.
            9           Q.     (BY MR. RAMER)           What does it depend on?
          10            A.     Again, so there might be situations in
          11      which a child is rejecting toys, but it might be
          12      for non-gendered reasons, and then there's going
          13      to be times where it's for gendered reasons.
          14                   So if they're rejecting the soccer ball
          15      because they just don't like physical activity,
          16      that's not relevant to me or my diagnosis.
          17                   But if they're rejecting the ball because
          18      they are associating it with a boy, then it is
          19      relevant to me.
          20            Q.     Okay.      What is rough-and-tumble play?
          21            A.     Typically that's categorized as sort of,
          22      like, horseplay, like wrestling.                   Kind of, you
          23      know, more physical forms of play.
          24            Q.     And why is that typically masculine?
          25            A.     So there's studies looking at types of

                                                                                    Page 62

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0830
(64 of 288), Page 64 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 64 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 63 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     play in early childhood between the designated
            2     sexes, and rough-and-tumble play is more
            3     characteristic of designated males.
            4            Q.     Have you read those studies?
            5            A.     Yes.
            6            Q.     Can you name any of them?
            7            A.     Not off the top of my head.
            8            Q.     Moving up to 3 here, it refers to
            9     cross-gender roles in make-believe play.
          10                    What does that mean?
          11             A.     So, for example, if kids are playing
          12      house, if a designated male wants to be the mom in
          13      that scenario or if the designated female wants to
          14      be the dad in that scenario.
          15             Q.     And then in 2, it refers to typical
          16      masculine clothing.
          17                    What is typical masculine clothing?
          18             A.     So this might be being -- it's easier to
          19      discuss this criterion in terms of formal wear.
          20      So it might be, you know, having to attend a
          21      wedding and having to wear, you know, pants,
          22      button-up shirt, tie, jacket.
          23             Q.     That's what criterion A2 is referring to
          24      when it talks about -- sorry.                  I'll just ask the
          25      question and then I assume Li will object and then

                                                                                    Page 63

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0831
(65 of 288), Page 65 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 65 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 64 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     you can have an opportunity to answer.
            2                  But criterion A2, when it refers to
            3     "typical masculine clothing," is referring to
            4     formal wear?
            5                  MS. NOWLIN-SOHL:            Object to form;
            6     mischaracterizes the testimony.
            7                  THE WITNESS:          Not only, but it is a way
            8     to assess for that.
            9           Q.     (BY MR. RAMER)           What else is it referring
          10      to if it's not only referring to formal wear?
          11            A.     So typical masculine clothing, again,
          12      might just be a button-up shirt.                   It might be,
          13      again, the color of that clothing, regardless of
          14      what type of clothing it is.
          15            Q.     And with blue, black, and red being the
          16      masculine colors; is that right?
          17                   MS. NOWLIN-SOHL:            Object to form;
          18      mischaracterizes testimony.
          19                   THE WITNESS:          Commonly, those might be
          20      some of the colors.
          21            Q.     (BY MR. RAMER)           What are some other ones?
          22            A.     It could -- so again, I -- it depends on
          23      what a youth views to be the colors that are
          24      associated with masculine versus the colors that
          25      are associated with feminine.

                                                                                    Page 64

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0832
(66 of 288), Page 66 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 66 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 65 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     Okay.      Let's go to the next page.                 And
            2     this is the DSM-5 diagnostic criteria for
            3     adolescents and adults; is that right?
            4           A.     Yes.
            5           Q.     And down in 6, so criterion A6, it refers
            6     to typical feelings and reactions of the other
            7     gender.
            8                  Do you see that?
            9           A.     Yes.
          10            Q.     What are the typical feelings of the
          11      female gender?
          12                   MS. NOWLIN-SOHL:            Object to form.
          13                   THE WITNESS:          So this criterion is trying
          14      to get at what people might consider to be typical
          15      responses emotionally or behaviorally to certain
          16      situations.
          17                   So, for example, a designated male who's
          18      feminine in identifying might feel that their
          19      emotional responses are more consistent with those
          20      of other girls rather than their designated sex.
          21            Q.     (BY MR. RAMER)           How would emotional
          22      responses be more typical of other girls?
          23            A.     So stereotypically women might -- and
          24      girls might respond to things with more sadness
          25      rather than irritability or anger.

                                                                                    Page 65

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0833
(67 of 288), Page 67 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 67 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 66 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     Are you saying girls might respond to
            2     things with more sadness rather than irritability
            3     or anger than boys would?
            4           A.     Stereotypically that's what people
            5     believe, yeah.
            6           Q.     Is it fair to say a diagnosis under the
            7     DSM-5 turns on stereotypes?
            8                  MS. NOWLIN-SOHL:            Object to form.
            9                  THE WITNESS:          So again, you know, this
          10      criterion is really looking at not only do they
          11      have these feelings and reactions, but the
          12      patients themselves have a strong conviction that
          13      those reactions are more typical of the gender
          14      that they are identifying as.
          15            Q.     (BY MR. RAMER)           But you were referring to
          16      how this is stereotypical feelings and reactions,
          17      right?
          18                   MS. NOWLIN-SOHL:            Objection;
          19      argumentative.
          20                   THE WITNESS:          Can you ask that again?
          21            Q.     (BY MR. RAMER)           We'll move on.
          22            A.     Okay.
          23            Q.     In 6, in the parenthetical, it refers to
          24      some alternative gender different from one's
          25      assigned gender.

                                                                                    Page 66

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0834
(68 of 288), Page 68 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 68 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 67 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                     Do you see that?
            2             A.      Yes.
            3             Q.      And what is that referring to?
            4             A.      So the parentheses are trying to be
            5     inclusive to the range of gender identities.                          So
            6     before the parentheses, it says "other gender,"
            7     which means that, you know, you're born one and
            8     then there's one other gender that you could
            9     identify with.
          10                      And so the parentheses are to indicate
          11      there's more than just the one gender on the other
          12      side.        It doesn't have to be the open side of your
          13      designated sex.
          14              Q.      So what is on the other side apart from
          15      the opposite of your designated sex?
          16                      MS. NOWLIN-SOHL:           Object to form.
          17                      THE WITNESS:         So it may be nonbinary or
          18      agender or gender-fluid.
          19              Q.      (BY MR. RAMER)          I heard "nonbinary" and I
          20      heard "gender-fluid."
          21                      Did you say something in between?                    I just
          22      didn't hear it.
          23              A.      Agender.
          24              Q.      What is agender?
          25              A.      So this is a label that some individuals

                                                                                      Page 67

                                  Associated Reporting & Video - A Veritext Company
                                      calendar-arv@veritext.com 208-343-4004


                                                App.0835
(69 of 288), Page 69 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 69 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 68 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     used -- use to define a gender that -- people use
            2     it in different ways, but most commonly it's used
            3     to sort of describe feeling as though you have a
            4     gender that maybe can't -- there's no label to it.
            5     It's sort of like its own, you know, thing -- it's
            6     its own, like, gender.             It's, like, unique to me,
            7     so I'm kind of agender.
            8                  Others have used it to say that, you
            9     know, I don't necessarily want to be defined by my
          10      gender so I'm -- it's typically just sort of an
          11      androgenous, nonbinary subcategory.
          12            Q.     And you said there how different people
          13      might use the term.
          14                   How do you use the term?
          15            A.     So my -- how am I using it today or how
          16      do I use it clinically?
          17            Q.     Do both.
          18            A.     In the case of just my comment earlier, I
          19      was kind of just using it as an example on another
          20      gender label that people sometimes use.
          21      Clinically I use it sort of interchangeably with
          22      nonbinary.
          23            Q.     What are the typical feelings and
          24      reactions of the nonbinary gender?
          25            A.     So I assume you're referring to

                                                                                    Page 68

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0836
(70 of 288), Page 70 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 70 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 69 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     criterion 6?
            2            Q.    Sorry, yes, still on 6.
            3            A.    Okay.      So the typical feelings and
            4     reactions -- I mean, in this case, it's kind of
            5     saying that I have reactions and feelings that are
            6     not consistent with my designated sex.
            7            Q.    Apart from an individual just saying that
            8     to you, is there any other way you determine
            9     whether A6 is satisfied?
          10             A.    With all the criterion, I do want
          11      examples of how that has played out, you know, in
          12      a person's life.         Certainly also getting examples
          13      from caregivers about how they've seen that
          14      externally and behaviorally.
          15                   So it's not just a yes, I feel that way.
          16      It's a yes, and here are some examples of that.
          17             Q.    Why do you ask for or require examples?
          18             A.    So that's true of any diagnosis in the
          19      DSM.    We always want to confirm with examples to
          20      help really, you know, fill out that diagnosis to
          21      ensure that that is an accurate report.                       So we
          22      don't just rely on someone's self-report of saying
          23      yes or no, I have this.             We want to also have an
          24      example to be able to determine for ourselves yes
          25      or no, you have this.

                                                                                    Page 69

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0837
(71 of 288), Page 71 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 71 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 70 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     So what's an example, then, of a typical
            2     feeling and reaction of somebody who's nonbinary?
            3           A.     So again, a nonbinary person might
            4     report -- let's say they're designated male.                        So a
            5     designated male is in a situation, and it is
            6     stressful, and they believe that, you know, most
            7     guys or most other teens their age would respond
            8     with -- in this way.            So let's say, you know, most
            9     people who are designated male who are my age
          10      would respond by yelling or, you know, getting
          11      upset and, like, going off on a person.
          12                   But I don't react that way.                  I, you know,
          13      want to cry, or I want to withdraw or, you know, I
          14      don't want to -- I feel like the way that I
          15      respond to those types of situations isn't
          16      consistent with how other boys, you know -- how
          17      boys my age react.
          18            Q.     So if adolescent who was, in your words,
          19      designated male said, "I don't want to respond by
          20      yelling or getting upset or going off on a
          21      person," would that individual have satisfied A6?
          22                   MS. NOWLIN-SOHL:            Object to form.
          23                   THE WITNESS:          I expect more than one
          24      example, and so, no, that wouldn't be sufficient
          25      enough.     I would need more examples to be able to

                                                                                    Page 70

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0838
(72 of 288), Page 72 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 72 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 71 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     understand that better.
            2            Q.     (BY MR. RAMER)           But that is an example?
            3            A.     It is an example.
            4            Q.     I'd like to turn to -- in your
            5     declaration to paragraph 12, page 3, paragraph 12.
            6                   And I guess not asking a question about
            7     anything in the text, but just asking you, what
            8     does it mean to be transgender?
            9            A.     Transgender is an umbrella term to
          10      describe people whose designated sex and gender
          11      identity are not congruent.
          12             Q.     Can an individual be transgender without
          13      having gender dysphoria?
          14             A.     Yes.
          15             Q.     So I think I understand the phrase
          16      "umbrella term," but is being transgender
          17      different from being gender-diverse?
          18             A.     So often the terms are used pretty
          19      interchangeably.          Gender-diverse is just another
          20      umbrella term that some people prefer to use.
          21      And, you know, people's taxonomy in terms of
          22      vocabulary are a little bit different.
          23                    So I, you know, tend to prefer
          24      gender-diverse to be a little more inclusive of
          25      the range of possible identities and whether or

                                                                                    Page 71

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0839
(73 of 288), Page 73 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 73 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 72 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     not they have gender dysphoria, but some people
            2     use "transgender" as the umbrella term.
            3           Q.     So is gender-diverse your umbrella term?
            4           A.     Yeah.
            5           Q.     And so an individual can be
            6     gender-diverse but not be transgender?
            7           A.     Correct.
            8           Q.     Can a gender-diverse individual who is
            9     not transgender be diagnosed with gender
          10      dysphoria?
          11            A.     Yes.
          12            Q.     And so a gender-diverse individual who is
          13      not transgender may receive puberty blockers and
          14      cross-sex hormones to treat that gender dysphoria,
          15      correct?
          16                   MS. NOWLIN-SOHL:            Object to form.
          17                   THE WITNESS:          They could.
          18            Q.     (BY MR. RAMER)           Is gender-diverse
          19      different from gender-nonconforming?
          20            A.     So again, sometimes those terms can be
          21      used interchangeably.
          22            Q.     How do you use them?
          23            A.     I use them interchangeably.
          24            Q.     So, sorry.         Just so I can confirm, so you
          25      view the term "gender-diverse" to mean the exact

                                                                                    Page 72

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0840
(74 of 288), Page 74 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 74 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 73 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     same thing as gender-nonconforming; is that right?
            2            A.     Yes.
            3            Q.     Okay.      In your declaration, paragraph --
            4     page 3, same paragraph we're on, paragraph 13,
            5     first sentence, I'm just going to read it, and my
            6     first question will be whether I read it
            7     correctly.
            8                   It says "Gender identity is a person's
            9     core internal sense of gender such as male or
          10      female."
          11                    Did I read that correctly?
          12             A.     Yes.
          13             Q.     And when you say "internal," what do you
          14      mean by that?
          15             A.     Internal meaning within one's self.
          16             Q.     Is an internal sense located somewhere
          17      internally?
          18                    MS. NOWLIN-SOHL:            Object to form.
          19                    THE WITNESS:          I'm not sure what that
          20      means.
          21             Q.     (BY MR. RAMER)           Is this sense you're
          22      referring to, is it, like, in an individual's
          23      brain?
          24                    MS. NOWLIN-SOHL:            Object to form.
          25                    THE WITNESS:          So not necessarily, like,

                                                                                    Page 73

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0841
(75 of 288), Page 75 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 75 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 74 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     located in a specific part of the brain or a
            2     specific part of the body, but it does involve
            3     thoughts and feelings, in which case the brain is
            4     involved.
            5           Q.     (BY MR. RAMER)           Do you think a core
            6     internal sense could be described as a strongly
            7     held belief?
            8                  MS. NOWLIN-SOHL:            Object to form.
            9                  THE WITNESS:          Some may consider it to be
          10      a belief, yes.
          11            Q.     (BY MR. RAMER)           I'm asking you if you
          12      think a core internal sense can be described as a
          13      strongly held belief.
          14                   MS. NOWLIN-SOHL:            Object to form.
          15                   THE WITNESS:          Sure.      Yeah.
          16            Q.     (BY MR. RAMER)           Is the core internal
          17      sense of gender biological?
          18            A.     There are some studies that indicate that
          19      there might be a biological component.
          20            Q.     In your opinion is it biological?
          21                   MS. NOWLIN-SOHL:            Object to form.
          22                   THE WITNESS:          I think it's a combination
          23      of a lot of things, biology being one.
          24            Q.     (BY MR. RAMER)           What else?
          25            A.     So it's biological, cultural, societal.

                                                                                    Page 74

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0842
(76 of 288), Page 76 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 76 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 75 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1             Q.      Sorry.     Were you still going?
            2             A.      No.
            3             Q.      Oh.    The last two, cultural and societal,
            4     is it fair to label those as something external to
            5     the person?
            6                     MS. NOWLIN-SOHL:           Object to form.
            7                     THE WITNESS:         Not necessarily.               I
            8     think -- I wouldn't want to categorize it as
            9     external or internal because I think it can be
          10      both.        Once something is present enough, it
          11      becomes internalized.
          12              Q.      (BY MR. RAMER)          But what is being
          13      internalized?          Something -- let me rephrase that.
          14                      The thing that is being internalized in
          15      the situation you just described is something that
          16      was previously external to the individual,
          17      correct?
          18                      MS. NOWLIN-SOHL:           Object to form.
          19                      THE WITNESS:         There are some theories in
          20      psychology that look at how something can be so
          21      ingrained in a culture that it is just, like,
          22      innately known.           And so it's something that is
          23      internalized even before, like, knowing that it
          24      is --
          25                      So, for example, archetypes and myths.

                                                                                          Page 75

                                  Associated Reporting & Video - A Veritext Company
                                      calendar-arv@veritext.com 208-343-4004


                                                App.0843
(77 of 288), Page 77 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 77 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 76 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     So myths have a very common structure across
            2     cultures and across time, and so they're -- and
            3     then there's just some innate knowledge that we
            4     all have that mishap this structure, but it's not
            5     something necessarily that we were aware of.                          But
            6     that's something that is external and then becomes
            7     somewhat internalized.
            8            Q.     (BY MR. RAMER)           Do you see a distinction
            9     between something that is cultural and societal
          10      and something that is biological?
          11                    MS. NOWLIN-SOHL:            Object to form.
          12                    THE WITNESS:          I'm not sure.
          13             Q.     (BY MR. RAMER)           You're not sure that you
          14      see a distinction between -- if I describe
          15      something as a biological factor or a cultural
          16      and -- excuse me.           Start again.
          17                    If I describe something as a biological
          18      factor and I describe something else as a cultural
          19      or societal factor, you do not see a distinction
          20      between those two categories?
          21                    MS. NOWLIN-SOHL:            Object to form.
          22                    THE WITNESS:          If you presented it to me
          23      that way, yes, I would.
          24             Q.     (BY MR. RAMER)           Okay.       And what is that
          25      distinction?

                                                                                    Page 76

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0844
(78 of 288), Page 78 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 78 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 77 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1             A.    So biological components or variables
            2     being something that, I guess, is like organic in
            3     nature.      It's, like, physical, you know, like
            4     within the physical body, has a physical
            5     manifestation.
            6             Q.    And are you implying that the others do
            7     not have that bodily physical manifestation?
            8             A.    Yes.
            9             Q.    So in that same sentence, you say "core
          10      internal sense."
          11                    And my question is, are there internal
          12      senses that are not core?
          13              A.    Yeah.      Identity is multi-faceted.                  And
          14      there are some aspects that are not core to one's
          15      self.
          16                    And there are also internal senses that
          17      again are not core to one's self.                     You know, for
          18      example, like if I have a feeling, that doesn't
          19      necessarily define who I am.                  It's just a feeling.
          20              Q.    What distinguishes a core internal sense
          21      from a feeling or non-core internal sense?
          22              A.    So something that's at somebody's core
          23      really defines them in every aspect of their life.
          24      So it's kind of cross-cutting in that way and is
          25      essential to how they define themselves.

                                                                                    Page 77

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0845
(79 of 288), Page 79 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 79 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 78 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1             Q.      Can you give me any other examples of a
            2     core internal sense other than gender?
            3             A.      So I strongly identify as a psychologist.
            4     And that is an important part of my identity and
            5     who I am, so I would consider that to be a core
            6     sense of who I am.
            7             Q.      Your identity as a psychologist is a core
            8     internal sense of yours?
            9             A.      Yes.
          10              Q.      Do you have any other examples?
          11              A.      So people might -- of course, sense of
          12      self might be, you know, related to other than
          13      their profession, might be, you know, their skill
          14      sets, so what a person believes to be their
          15      strengths and weaknesses.
          16                      So, you know, it might be like -- with my
          17      teenagers it might be academically, like, I know
          18      I'm good at math.            And that is, like, core to who
          19      I am.        And I, you know, want to maybe major in
          20      math because I know I'm good at that.
          21              Q.      When did you begin to identify as a
          22      psychologist?
          23              A.      So I knew that I wanted to become a
          24      psychologist probably when I was 20.
          25              Q.      Do you think biological factors

                                                                                      Page 78

                                  Associated Reporting & Video - A Veritext Company
                                      calendar-arv@veritext.com 208-343-4004


                                                App.0846
(80 of 288), Page 80 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 80 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 79 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     contributed to that identity?
            2                  MS. NOWLIN-SOHL:            Object to form;
            3     relevance.
            4                  THE WITNESS:          I think it contributed in
            5     some ways in terms of, you know, as I was
            6     considering what I wanted to do in my career, I
            7     had to consider if I was going to be good at it or
            8     not.
            9                  And I think biologically, I was
          10      pre-dispositioned with some strengths that made me
          11      well-suited for psychology.
          12             Q.    (BY MR. RAMER)           Do you think that
          13      cultural factors also contributed to your identity
          14      as a psychologist?
          15             A.    Not so much.
          16             Q.    Do you think societal factors contributed
          17      to your identity as a psychologist?
          18             A.    No.
          19             Q.    Did anything other than biology
          20      contribute to your identity as a psychologist?
          21                   MS. NOWLIN-SOHL:            Object to the form;
          22      relevance.
          23                   THE WITNESS:          Probably my values and
          24      what -- how I wanted to contribute.
          25             Q.    (BY MR. RAMER)           What do you mean by

                                                                                    Page 79

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0847
(81 of 288), Page 81 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 81 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 80 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     "values"?
            2           A.     So the values that I hold for wanting to
            3     help people led me to a profession where I could
            4     help people.
            5           Q.     And where do those values come from?
            6                  MS. NOWLIN-SOHL:            Objection; relevance.
            7                  THE WITNESS:          I don't know.          Just a
            8     self-determined set of values.
            9           Q.     (BY MR. RAMER)           Can an individual have a
          10      sense of gender that is not a core internal sense
          11      of gender?
          12            A.     There are some individuals whose gender
          13      might not be as relevant or important to them as
          14      other individuals.
          15            Q.     And in that situation, is their gender
          16      identity not a core internal sense of gender?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          I think it's still
          19      definitely an internal sense that everyone has.
          20      And it is sort of known for most people.                          Whether
          21      or not it's core is individualized.
          22            Q.     (BY MR. RAMER)           So it may or may not be
          23      core in people; is that right?
          24            A.     Correct.
          25            Q.     How do you determine when it is or is not

                                                                                     Page 80

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0848
(82 of 288), Page 82 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 82 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 81 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     core?
            2                    MS. NOWLIN-SOHL:            Object to form.
            3                    THE WITNESS:          So I would spend time, you
            4     know, understanding just how much of a role that
            5     plays in a person's life and how, you know,
            6     important it is to them and how strongly
            7     identified they are with that.
            8                    So, for example -- and maybe a better
            9     example than me as a psychologist is now you have
          10      racial identity.           So, you know, I identify as
          11      Asian.       Not everybody, you know, who is Asian
          12      strongly identifies that way, but that's something
          13      that is very important to me.
          14              Q.     (BY MR. RAMER)           So gender identity is a
          15      core internal sense for people for whom gender
          16      identity is very important; is that right?
          17                     MS. NOWLIN-SOHL:            Object to form;
          18      mischaracterizes prior testimony.
          19                     THE WITNESS:          Could you say that again?
          20              Q.     (BY MR. RAMER)           Yeah.       So to determine
          21      whether a person's internal sense of gender is
          22      core or not, the question is whether that sense of
          23      gender is something they care significantly about;
          24      is that right?
          25                     MS. NOWLIN-SOHL:            Object to form;

                                                                                     Page 81

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0849
(83 of 288), Page 83 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 83 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 82 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     mischaracterizes prior testimony.
            2                  THE WITNESS:          I'm sorry.         I'm still not
            3     understanding.
            4           Q.     (BY MR. RAMER)           So I thought you said
            5     that the reason your Asian identity is core for
            6     you is that it's something that is very important
            7     to you.
            8                  Am I misremembering that?
            9           A.     That's correct.
          10            Q.     And my question is to decide whether
          11      someone's gender identity is core for them, is the
          12      question whether their gender identity is very
          13      important to them?
          14                   MS. NOWLIN-SOHL:            Same objections.
          15                   THE WITNESS:          Part of the evaluation,
          16      yes, is looking at how strongly that part of them
          17      falls -- is.
          18            Q.     (BY MR. RAMER)           Is what?        Did you finish?
          19            A.     That was the end of my sentence.                     It
          20      wasn't a well-structured sentence, but that was
          21      the end.
          22            Q.     Let's go to paragraph 14, same page.                      And
          23      third sentence in this paragraph.                   And I'll just
          24      read it and ask if I read it correctly.
          25                   It says "Moreover, gender identity is not

                                                                                    Page 82

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0850
(84 of 288), Page 84 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 84 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 83 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     something that can be voluntarily changed."
            2                  Did I read that correctly?
            3           A.     Yes.
            4           Q.     Does an individual's gender identity ever
            5     change?
            6           A.     It can.
            7           Q.     How so?
            8           A.     So there are instances where someone's
            9     gender identity still might be gender-diverse but
          10      fluctuate in terms of the labels they're using or
          11      how they choose to categorize themselves.
          12                   There are other folks who over time do
          13      have congruence with their designated sex.
          14            Q.     What do you mean by that, "over time they
          15      have congruence with their designated sex"?
          16            A.     I have some patients who identify as
          17      gender-diverse and then later on identify as their
          18      designated sex.
          19            Q.     And you're saying that that type of
          20      change is never voluntary; is that right?
          21            A.     Correct.
          22            Q.     What do you mean by that?
          23            A.     It's not necessarily someone is forcing
          24      themselves to identify as a certain identity.                        It
          25      just, you know, over time evolves in alliance for

                                                                                    Page 83

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0851
(85 of 288), Page 85 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 85 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 84 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     them.
            2             Q.   What causes that change?
            3                  MS. NOWLIN-SOHL:            Object to form.
            4                  THE WITNESS:          It's pretty individualized,
            5     so, you know, I think sometimes it's through our
            6     work together and exploration that they're able to
            7     understand themselves differently or understand
            8     just their feelings differently.
            9             Q.   (BY MR. RAMER)           By "work together," do
          10      you mean psychotherapy?
          11              A.   Yes.
          12              Q.   Are you familiar with the term
          13      exploratory therapy?
          14              A.   Yes.
          15              Q.   What is your understanding of that term?
          16              A.   My understanding is creating a safe
          17      environment and a safe place for young people to,
          18      you know, just express their thoughts and feelings
          19      regarding gender and to have a therapist sort of
          20      facilitate that exploration process by asking
          21      questions or probing further and being a sounding
          22      board for those ideas.
          23              Q.   Just going back to this final sentence in
          24      paragraph 14, so are you saying that any change in
          25      gender identity is involuntary?

                                                                                    Page 84

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0852
(86 of 288), Page 86 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 86 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 85 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                   MS. NOWLIN-SOHL:           Object to form;
            2     mischaracterizes prior testimony.
            3                   THE WITNESS:         I guess I think of
            4     voluntary as conscious and intentional versus just
            5     the natural course of the development of someone's
            6     identity.
            7             Q.    (BY MR. RAMER)          What alters the course of
            8     someone's gender identity?
            9                   MS. NOWLIN-SOHL:           Object to form.
          10                    THE WITNESS:         Again, individualized, but
          11      in some cases it might be -- it might be
          12      understanding more about gender diversity and the
          13      spectrum of gender diversity.
          14                    It might be with regards to learning new
          15      information about themselves that they didn't have
          16      before.      I'll stop there.
          17              Q.    (BY MR. RAMER)          Anything else?
          18              A.    Not that I can think of.
          19              Q.    Have you ever heard gender described as a
          20      spectrum?
          21              A.    Yes.
          22              Q.    Do you think gender is a spectrum?
          23              A.    Yes.
          24              Q.    And can you just explain what you mean by
          25      that?

                                                                                    Page 85

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0853
(87 of 288), Page 87 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 87 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 86 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           A.     So gender -- there are lots of ways for
            2     people to kind of describe their gender.                          And I
            3     think of it as a spectrum from -- in the most
            4     simplified way, masculinity to femininity with
            5     sort of androgyny being in the middle.
            6           Q.     Can an individual who I would call a
            7     natal male, you would say assigned male at birth,
            8     have a gender identity that is more masculine than
            9     the individual's body?
          10                   MS. NOWLIN-SOHL:            Object to form.
          11                   THE WITNESS:          I was confused by that.
          12      Could you say that again?
          13            Q.     (BY MR. RAMER)           I guess can you -- what's
          14      your definition of gender dysphoria?
          15            A.     So meeting criteria for gender dysphoria
          16      per the DSM.
          17            Q.     And just as a shorthand, if somebody
          18      said, "What is gender dysphoria?" -- I mean, I
          19      guess we can do it a different way rather than --
          20                   Let's go back to page -- let's go to
          21      page 6 of your declaration.
          22                   And paragraph 19A refers to the marked
          23      incongruence between someone's
          24      experience/expressed gender and assigned gender.
          25                   Do you see that?

                                                                                     Page 86

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0854
(88 of 288), Page 88 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 88 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 87 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           A.     Yes.
            2           Q.     And in your view, it is not binary?                     Or
            3     let me rephrase.
            4                  The gender is not binary, right?
            5                  MS. NOWLIN-SOHL:             Object to form.
            6                  THE WITNESS:          Yes.
            7           Q.     (BY MR. RAMER)           And could an individual
            8     who is assigned male have an experienced or
            9     expressed gender that is more masculine than that
          10      individual's present gender?
          11                   MS. NOWLIN-SOHL:             Object to form.
          12                   THE WITNESS:          So let me just -- I'm going
          13      to rephrase and see if I understood this
          14      correctly.
          15                   So a designated male who has gender
          16      incongruence but still identifies as male?
          17            Q.     (BY MR. RAMER)           Let me ask it a different
          18      way, which is does gender incongruence for an
          19      individual who is assigned male at birth always
          20      involve an incongruence with a more feminine
          21      gender identity?
          22                   MS. NOWLIN-SOHL:             Object to form.
          23                   THE WITNESS:          I see.      So you're wondering
          24      like how far on the spectrum they need to go in
          25      order to have gender incongruence?

                                                                                    Page 87

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0855
(89 of 288), Page 89 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 89 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 88 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     (BY MR. RAMER)           I think my question is
            2     does it always go one way?
            3           A.     Yeah, so I think the oversimplification
            4     there -- I mean, there are lots of different ways
            5     I could go.       But the oversimplified version is it
            6     could be nonbinary, which is not necessarily
            7     feminine.      It's just less masculine.
            8           Q.     Okay.      We'll take that.
            9                  Does it always go one way, meaning less
          10      masculine?
          11                   MS. NOWLIN-SOHL:            Object to form.
          12                   THE WITNESS:          Typically.
          13            Q.     (BY MR. RAMER)           Always?
          14            A.     Yeah, I can't think of a case in which
          15      that hasn't been the direction.
          16            Q.     Do you think it's possible for a male
          17      assigned at birth to say, "My gender identity is
          18      more masculine than what I've been assigned"?
          19                   MS. NOWLIN-SOHL:            Object to form; calls
          20      for speculation.
          21                   THE WITNESS:          I think it would be
          22      difficult to meet the criteria in someone
          23      presenting that way.            So that would be hard for me
          24      to imagine.
          25            Q.     (BY MR. RAMER)           Why would it be difficult

                                                                                    Page 88

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0856
(90 of 288), Page 90 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 90 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 89 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     to meet the criteria for someone presenting that
            2     way?
            3            A.    Because they -- I can't see how they
            4     would necessarily have distress over that if
            5     their, you know, designated sex and masculinity
            6     are part aligned.
            7            Q.    So it is binary, then, and it's not a
            8     spectrum?
            9                  MS. NOWLIN-SOHL:            Object to form;
          10      mischaracterizes prior testimony.
          11                   THE WITNESS:          So again, there's the range
          12      of masculinity to femininity.                 So it's a spectrum
          13      in the sense of it's not just there's one other
          14      option here.       There's a wide range of options and
          15      a range of identity within the spectrum.
          16             Q.    (BY MR. RAMER)           Right.       But the
          17      incongruence for an assigned male based on what
          18      you're saying seems like it can only go -- it only
          19      counts if it goes one direction, which is less
          20      masculine than being assigned male.
          21                   Is that wrong?
          22                   MS. NOWLIN-SOHL:            Object to form.
          23                   THE WITNESS:          I think that's correct.
          24             Q.    (BY MR. RAMER)           I think you've mentioned
          25      the phrase "gender-fluid."

                                                                                    Page 89

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0857
(91 of 288), Page 91 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 91 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 90 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                    Am I remembering --
            2                    MS. NOWLIN-SOHL:            John, real quick.
            3                    MR. RAMER:         Yeah.
            4                    MS. NOWLIN-SOHL:            We've been going for
            5     about an hour.          Were you planning to go straight
            6     up to the long break, or should we take five
            7     minutes?
            8                    MR. RAMER:         Yeah, let's take five and
            9     then come back and then we'll go up until the long
          10      break.
          11                     MS. NOWLIN-SOHL:            Okay.       Sounds good.
          12                     THE WITNESS:          Thank you.
          13                     THE VIDEOGRAPHER:             Okay.      So the time is
          14      12:14 p.m. Mountain time, and we are off the
          15      record.
          16                  (Break taken from 12:14 p.m. to 12:20 p.m.)
          17                     THE VIDEOGRAPHER:             All right.            So we are
          18      recording.        The time is 12:20 p.m. Mountain time,
          19      and we are back on the record.
          20             Q.      (BY MR. RAMER)           Dr. Brady, I believe
          21      earlier today you may have used the phrase
          22      "gender-fluid."
          23                     Am I remembering that right?
          24             A.      Yes.
          25             Q.      And can you explain what that means?

                                                                                      Page 90

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0858
(92 of 288), Page 92 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 92 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 91 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1            A.     So some individuals use this term to
            2     describe -- again, if we're talking about the
            3     simplified spectrum of masculinity to femininity
            4     with androgyny or nonbinary being in the middle,
            5     some people fluidly move within that spectrum.
            6     Typically the identity isn't shifting, but it's
            7     just the expression is what is moving on that
            8     spectrum.
            9            Q.     What do you mean when you say the
          10      identity is not moving but the expression is
          11      moving?
          12             A.     So typically we separate gender identity
          13      and gender expression.              Gender identity being the
          14      internal, core sense of what your gender is versus
          15      the expression is, again, the external things that
          16      people can see, like how you choose to express
          17      your internal gender, so clothing, hairstyles,
          18      accessories, those sorts of things.
          19                    So gender-fluid folks sometimes have a
          20      stable gender identity, but how they choose to
          21      express themselves is more fluid.                     So on some days
          22      they might gravitate towards more feminine
          23      expression or more masculine expression or more
          24      androgenous expression.
          25             Q.     So does gender-fluid ever -- and correct

                                                                                    Page 91

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0859
(93 of 288), Page 93 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 93 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 92 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     me if I'm wrong, but I think I hear you saying
            2     gender-fluid in the context you just described is
            3     fluidity in gender expression; is that fair?
            4           A.     Yes.
            5           Q.     And is there fluidity in any individual's
            6     gender identity?
            7           A.     For some individuals who define
            8     themselves as gender-fluid, there can be also
            9     fluctuations in the identity on that spectrum.
          10            Q.     So gender fluidity is itself an
          11      identification?
          12            A.     Yes.
          13            Q.     When a patient identifies as
          14      gender-fluid, how does that identity manifest
          15      itself?
          16                   MS. NOWLIN-SOHL:            Object to form.
          17                   THE WITNESS:          So it might present itself
          18      in terms of, again, the expressions of wearing
          19      different, you know, types of clothing, or
          20      sometimes it's using different pronouns on
          21      different days, depending on, you know, how
          22      they're identifying that particular day.
          23            Q.     (BY MR. RAMER)           And sorry.         I just want
          24      to make sure I understand gender fluidity, which
          25      is -- and maybe it's helpful if I try to use it in

                                                                                    Page 92

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0860
(94 of 288), Page 94 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 94 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 93 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     a sentence and you tell me if I'm using it wrong,
            2     which is a person says, "I am gender-fluid because
            3     my gender identity often changes."
            4                  Based on your understanding of
            5     gender-fluidity, is that sentence coherent?
            6                  MS. NOWLIN-SOHL:            Object to form.
            7                  THE WITNESS:          The sentence may or may not
            8     characterize every person's experience, but you
            9     did use it correctly, yes.
          10            Q.     (BY MR. RAMER)           Okay.      Maybe an easier
          11      way to ask this is if somebody is gender-fluid, is
          12      it that their gender identity is changing, or is
          13      that there simply is no identity other than the
          14      fluidity?
          15            A.     So again, it depends.               So for some folks
          16      it is that the gender identity is fluid and
          17      moving.     For other folks it might just be the
          18      expression piece that is fluid and moving.                        So it
          19      can be used in different ways depending on the
          20      individual.
          21            Q.     And do you have a particular way that you
          22      use it?
          23            A.     For us it doesn't necessarily -- you
          24      know, the label that people use for their identity
          25      doesn't matter as much as -- for me, whether or

                                                                                    Page 93

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0861
(95 of 288), Page 95 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 95 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 94 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     not they meet criteria for gender dysphoria.
            2           Q.     Well, I guess you have to determine
            3     whether there is a marked incongruence between
            4     their experience/expressed gender and their
            5     assigned gender, right?
            6                  MS. NOWLIN-SOHL:            Object to form.
            7                  THE WITNESS:          As part of the criteria,
            8     yeah, it's determinate.
            9           Q.     (BY MR. RAMER)           And so don't you --
          10      wouldn't the label be critical to understanding
          11      what the individual's experienced/expressed gender
          12      is?
          13            A.     So the -- I would care more about the
          14      description of what that means to them rather than
          15      the actual table that they're using.
          16            Q.     In your declaration, page 3,
          17      paragraph 14, the second sentence -- I'll just
          18      read it and ask if I read it correctly.
          19                   It says "It is an essential part of one's
          20      identity and being."
          21                   Did I read that correctly?
          22            A.     Yes.
          23            Q.     And the "it" there is referring to gender
          24      identity; is that right?
          25            A.     Yes.

                                                                                    Page 94

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0862
(96 of 288), Page 96 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 96 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 95 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1           Q.     With respect to the second sentence, me
            2     saying that gender identity is an essential part
            3     of one's identity and being, what is your
            4     authority for that proposition?
            5           A.     I -- so I believe this to be true because
            6     everybody has a gender identity, and so it's kind
            7     of an essential part of the human condition.
            8           Q.     I mean, don't you think there are other
            9     things that everybody has that are not an
          10      essential part of their identity and being?
          11                   MS. NOWLIN-SOHL:            Object to form;
          12      argumentative.
          13                   THE WITNESS:          Could you give me an
          14      example?
          15            Q.     (BY MR. RAMER)           I guess how are you using
          16      the word "essential"?            Maybe we'll start there.
          17            A.     I think essential is to say that -- you
          18      know, again, much like race.                My earlier example,
          19      much like race, it's something, you know, everyone
          20      has a racial identity.             Everyone has a gender
          21      identity.      And so it's essential in the sense that
          22      everybody has it.
          23            Q.     You think race is an essential part of
          24      one's identity and being?
          25            A.     Yes.

                                                                                    Page 95

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0863
(97 of 288), Page 97 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 97 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 96 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1            Q.     And now turning to -- still in your
            2     declaration -- paragraph 21, which I think is
            3     page 7, can you kind of just walk me through what
            4     you're explaining in this paragraph?
            5            A.     Sure.      So I am discussing sort of the
            6     different -- so I'm trying to figure out how to
            7     summarize this.
            8                   So essentially kind of discussing just
            9     the persistence of gender identity through
          10      development.
          11             Q.     And is it fair to say that in this
          12      paragraph you are criticizing the study you cite
          13      in footnote 4?
          14             A.     There are some methodological concerns
          15      with citation No. 4, yes.
          16             Q.     And what are those methodological
          17      concerns?
          18             A.     So that study is outdated.                    It's rather
          19      old.    And so the criteria that were used for
          20      inclusion into that study were from DSM-4, gender
          21      identity disorder, and the criteria for
          22      prepubertal kids was much lower.
          23                    So DSM-5 has a requirement of six
          24      criterion.       DSM-4 had fewer than that.                       So based
          25      on DSM-5 criterion of gender dysphoria, many of

                                                                                    Page 96

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0864
(98 of 288), Page 98 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 98 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 97 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1     the kids in that study would not have been
            2     included because they don't meet criteria for
            3     gender dysphoria.
            4           Q.     And why is that a limitation of the
            5     study?
            6           A.     Because it overinflates the number of
            7     people who no longer identify as gender-diverse.
            8           Q.     And then is it fair to say you favorably
            9     cite the Olson article in -- that you cite in
          10      footnote 5?
          11                   MS. NOWLIN-SOHL:            Object to form.
          12                   THE WITNESS:          It addresses some of the
          13      limitations of citation 4 in that it is using
          14      DSM-5 inclusion criteria.
          15            Q.     (BY MR. RAMER)           It is using DSM-5?
          16      Sorry, let me rephrase.
          17                   The Olson article is using DSM-5
          18      inclusion criteria?
          19            A.     Yes.
          20                   MR. RAMER:         I've just got about ten
          21      minutes.     Let me try and send an exhibit.
          22                   Okay.      I just hit send.            We shall see
          23      when it arrives.
          24                   Have we gotten the early warning from the
          25      phone yet, Li?

                                                                                    Page 97

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0865
(99 of 288), Page 99 of 288 Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 99 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 98 of 267
                                         Christine Brady, Ph.D. August 31, 2023

            1                  MS. NOWLIN-SOHL:            No, not yet.             Amy, you
            2     usually beat me to it.             Have you received it?
            3                  THE REPORTER:          I did receive it.
            4                  MS. NOWLIN-SOHL:            Okay.      Then I should be
            5     hopefully not too far behind.
            6                  I still do not have it on either device.
            7                  Oh, here we go.
            8                  THE WITNESS:          It was somewhere over
            9     Colorado.
          10                   MS. NOWLIN-SOHL:            Yes.      Okay.
          11                   MR. RAMER:         Is it pulled up?
          12                   MS. NOWLIN-SOHL:            Yes.
          13                  (Deposition Exhibit No. 3 was marked.)
          14            Q.     (BY MR. RAMER)           And, Dr. Brady, is this
          15      the article you cite in footnote 5?
          16            A.     Yes.
          17            Q.     And did you read this article before you
          18      cited it?
          19            A.     Yes.
          20            Q.     I'd like to go to page 2, and middle
          21      column, the first full paragraph.                   And I'll just
          22      read the first sentence and ask if I read it
          23      correctly.
          24                   It says "This study did not assess
          25      whether participants met criteria for the

                                                                                     Page 98

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0866
(100 of 288), Page 100 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 100 of 288
                   Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 99 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1     Diagnostic and Statistical Manual of Mental
            2     Disorders, Fifth Edition, diagnosis of gender
            3     dysphoria in children."
            4                   Did I read that correctly?
            5            A.     Yes.
            6            Q.     And so did this study assess whether the
            7     participants met the criteria of the DSM-5?
            8            A.     This study did not diagnose them.
            9            Q.     Well, you said "diagnose" there.
          10                    My question is whether it assessed
          11      whether they had been diagnosed under the DSM-5.
          12             A.     So they did not do their -- yeah, sorry,
          13      I was just scrolling around.                  They did not do
          14      their own assessment.
          15             Q.     But you think this study accounted for
          16      whether they were diagnosed under the DSM-5?                          Is
          17      that what you're saying?
          18             A.     I would have to read it more thoroughly,
          19      but my understanding is that they did ask, so it
          20      was sort of self-reported diagnosis.
          21             Q.     Okay.      So you're saying the participants
          22      in this study self-reported whether they were
          23      diagnosed under the DSM-5?
          24                    MS. NOWLIN-SOHL:            Object to form;
          25      mischaracterizes the testimony.

                                                                                    Page 99

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0867
(101 of 288), Page 101 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 101 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 100 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                   THE WITNESS:          I believe so.
            2           Q.      (BY MR. RAMER)           Do you know where they
            3    say that in the article?
            4           A.      So I believe that with their recruitment
            5    methodology, they were recruiting individuals who
            6    had socially transitioned.
            7           Q.      Okay.      Sorry.       Can you point me to where
            8    in the article it says that the participants
            9    reported that they had been diagnosed with gender
          10     dysphoria under the DSM-5?
          11            A.      Yeah, I cannot point to that in this
          12     article right now.            I would have to read it more
          13     closely.
          14            Q.      If it's not in there, is it fair to say
          15     your criticism of the article in footnote 4
          16     applies to your criticism of the article in
          17     footnote 5?
          18                    MS. NOWLIN-SOHL:            Object to form.
          19                    THE WITNESS:          The limitations of
          20     citation 4 still stand.                However, you know,
          21     citation 5 still has stronger and more rigorous
          22     scientific inquiry because it is -- has been done
          23     more recently, and is with kids in the United
          24     States.
          25            Q.      (BY MR. RAMER)           Do you think the article

                                                                                    Page 100

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0868
(102 of 288), Page 102 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 102 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 101 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    in footnote 5 is more reliable because it's more
            2    recent and conducted with kids in the United
            3    States?      Is that right?
            4                  MS. NOWLIN-SOHL:            Object to form;
            5    mischaracterizes prior testimony.
            6                  THE WITNESS:          Compared to citation 4,
            7    yes.
            8           Q.     (BY MR. RAMER)           Why is doing a study with
            9    individuals in the United States more reliable
          10     than doing a study with individuals elsewhere?
          11            A.     Perhaps not more reliable, but more
          12     relevant given that all of my patients live in the
          13     United States.
          14            Q.     Do you think the experience of
          15     individuals in the United States is different from
          16     the experience of individuals in Europe?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          Potentially.
          19            Q.     (BY MR. RAMER)           How about with -- do you
          20     think their experience -- do you think the
          21     experience of individuals in the United States
          22     with respect to gender identity is different from
          23     the individuals -- let me restart.
          24                   Do you think the experience of
          25     individuals in the United States with respect to

                                                                                    Page 101

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0869
(103 of 288), Page 103 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 103 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 102 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    gender identity is different from the experience
            2    of individuals in Europe with respect to gender
            3    identity?
            4                  MS. NOWLIN-SOHL:            Object to form.
            5                  THE WITNESS:          They may be.
            6           Q.     (BY MR. RAMER)           What's the basis for the
            7    possibility that they may be different?
            8           A.     So there are, you know, different
            9    experiences of potentially discrimination or there
          10     are different, like, laws protecting trans youth
          11     in different countries.              Different abilities in
          12     terms of, like, legal rights to consent and things
          13     of that nature.
          14            Q.     And the idea there is that -- what effect
          15     do you think more restrictive laws or more
          16     discrimination has?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          I just think the experience
          19     would be different.            And, you know, I don't know
          20     without scientific inquiry if that leads to any
          21     different outcomes.            But, you know, I think when
          22     we're talking about youth in the United States, we
          23     want to know about youth in the United States.
          24            Q.     (BY MR. RAMER)           And so you think a study
          25     out of a country like Sweden, for example, would

                                                                                    Page 102

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0870
(104 of 288), Page 104 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 104 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 103 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    not be relevant to the experience of individuals
            2    in the United States?
            3                  MS. NOWLIN-SOHL:            Object to form;
            4    argumentative, mischaracterizes prior testimony.
            5                  THE WITNESS:          I don't think that it makes
            6    it irrelevant.         I just think that it would be
            7    stronger if it pertains to youth in the United
            8    States if we're talking about youth in the United
            9    States.
          10            Q.     (BY MR. RAMER)           With respect to the Olson
          11     study that we were just looking at, had the
          12     participants in that study socially transitioned?
          13            A.     Yes.
          14            Q.     Do you think there is a possibility that
          15     socially transitioning could affect the likelihood
          16     of desistance?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          Could you phrase that
          19     again?
          20            Q.     (BY MR. RAMER)           Do you think there's a
          21     possibility that socially transitioning could
          22     affect the likelihood of desistance in an
          23     individual?
          24                   MS. NOWLIN-SOHL:            Object to form.
          25                   THE WITNESS:          So I am aware of one other

                                                                                    Page 103

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0871
(105 of 288), Page 105 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 105 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 104 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    study where they looked at social transition and
            2    the strength of identity, and there was no
            3    association with whether or not youth had socially
            4    transitioned on strengthening or weakening their
            5    identity over time.
            6                   Also clinically I've had socially
            7    transitioned youth socially transition again when
            8    their identity has changed, so it's certainly not
            9    something that is creating a barrier to their
          10     identity evolving if that's what's going to
          11     happen.
          12            Q.      (BY MR. RAMER)           So is the answer to the
          13     question, then, no, you do not think there is a
          14     possibility that socially transitioning could
          15     affect the likelihood of desistance?
          16                    MS. NOWLIN-SOHL:            Object to form;
          17     mischaracterizes prior testimony.
          18                    THE WITNESS:          There's -- I'm only aware
          19     of the one study that says that there is no
          20     relationship in either direction.                      And then
          21     clinically I've seen it go -- I've not seen that
          22     to be true.
          23            Q.      (BY MR. RAMER)           Does the existence of
          24     that one study in your expert opinion foreclose
          25     the possibility that social transitioning could

                                                                                    Page 104

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0872
(106 of 288), Page 106 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 106 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 105 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    affect the likelihood of desistance?
            2            A.     I don't think that one study is enough.
            3    But again, clinically, I've seen people be able to
            4    socially transition again, retransition without
            5    difficulties.
            6            Q.     Why don't you think that one study is
            7    enough?
            8                   MS. NOWLIN-SOHL:           Object to form.
            9                   THE WITNESS:         So as a scientist, it
          10     helps, you know, to have replication studies or
          11     more, you know, participants to be able to say for
          12     sure.
          13             Q.     (BY MR. RAMER)          Replication studies or --
          14     what was the last thing?               I missed that.              I'm
          15     sorry.
          16             A.     Increased number of participants.
          17                    MR. RAMER:        And I think we're coming up
          18     on quarter to.         So maybe it's a good time we can
          19     take our break?
          20                    MS. NOWLIN-SOHL:           Yeah, that sounds good.
          21                    THE VIDEOGRAPHER:            Okay.      So then the
          22     time is 12:44 p.m. Mountain time, and we are off
          23     the record.
          24                  (Break taken from 12:44 p.m. to 3:14 p.m.)
          25                    THE VIDEOGRAPHER:            All right.         So we are

                                                                                    Page 105

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0873
(107 of 288), Page 107 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 107 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 106 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    recording.       The time is 3:14 p.m. Mountain time,
            2    and we are back on the record.
            3            Q.    (BY MR. RAMER)           Dr. Brady, do you think a
            4    diagnosis under the DSM-5 should be necessary to
            5    receive gender-affirming medical care?
            6            A.    In my practice, yes.
            7            Q.    Why do you say that?
            8                  MS. NOWLIN-SOHL:             Object to form.
            9                  THE WITNESS:          Because I can't speak for
          10     what other people might feel is appropriate or
          11     not, but that is how we run in our clinic.
          12             Q.    (BY MR. RAMER)           So granting that you do
          13     follow the DSM-5, my question is a little bit
          14     different, which is just do you think that the
          15     diagnosis as articulated in the DSM-5 should be
          16     necessary to receive gender-affirming medical
          17     care?
          18                   MS. NOWLIN-SOHL:             Object to form.
          19                   THE WITNESS:          Yes.
          20             Q.    (BY MR. RAMER)           And that's even though
          21     you described the DSM-5 as -- I think it was
          22     either "not perfect" or "imperfect" earlier today.
          23                   Do you think it is sufficient?
          24                   MS. NOWLIN-SOHL:             Object to form.
          25                   THE WITNESS:          I do.

                                                                                    Page 106

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0874
(108 of 288), Page 108 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 108 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 107 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1            Q.    (BY MR. RAMER)           Do you think that
            2    reducing gender dysphoria is the only purpose for
            3    gender-affirming medical interventions?
            4            A.    I think that is the main goal.                       However,
            5    there are secondary goals that, you know, just
            6    include, like, making someone happier.                       Reducing
            7    their dysphoria but also making them happier.
            8            Q.    So I guess in that answer you're saying
            9    in reducing the gender dysphoria, there are other
          10     benefits that may come along with that reduction?
          11     Is that what you mean?
          12             A.    Yes.
          13                   MS. NOWLIN-SOHL:             Object to form;
          14     mischaracterizes prior testimony.
          15                   THE WITNESS:          Yes.     The primary goal of
          16     medical interventions is to reduce dysphoria.                           And
          17     then there are secondary benefits that come from
          18     that.
          19             Q.    (BY MR. RAMER)           And before we went on the
          20     break, we were discussing desistance.
          21                   Do you recall that, roughly?
          22             A.    Yes.
          23             Q.    And one of the questions I had asked you
          24     was whether you thought social transition could
          25     affect the likelihood of desistance.

                                                                                    Page 107

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0875
(109 of 288), Page 109 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 109 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 108 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                   And my next question is do you think
            2    there's any possibility that medically
            3    transitioning an adolescent could affect the
            4    likelihood of desistance?
            5                   MS. NOWLIN-SOHL:            Object to form.
            6                   THE WITNESS:          To my knowledge, there
            7    isn't any research that looks at that question
            8    specifically.         Clinically I've not had -- seen
            9    that to be the case.
          10            Q.      (BY MR. RAMER)           You're unaware of any
          11     research that looks at that question at all?
          12                    MS. NOWLIN-SOHL:            Object to form.
          13                    THE WITNESS:          Research that looks or
          14     answers the question of does medical intervention
          15     impact the rates of persistence or desistance.
          16            Q.      (BY MR. RAMER)           And so with respect to
          17     scientific research, we don't know the answer to
          18     that question; is that right?
          19                    MS. NOWLIN-SOHL:            Object to form.
          20                    THE WITNESS:          We do not know whether
          21     there is a relationship or isn't, but again,
          22     clinically I've seen that there does not appear to
          23     be a relationship.
          24            Q.      (BY MR. RAMER)           Are you aware of any
          25     study -- this is closely related but a slightly

                                                                                    Page 108

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0876
(110 of 288), Page 110 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 110 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 109 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    different question.
            2                  Are you aware of any study that analyzes
            3    desistance rates for individuals who are diagnosed
            4    with gender dysphoria as adolescents?
            5           A.     Can you ask that one more time?
            6           Q.     Are you aware of any study that analyzes
            7    desistance rates for individuals who are diagnosed
            8    with gender dysphoria as adolescents?
            9           A.     I am not.
          10            Q.     I'd like to go to your declaration to
          11     page 11, paragraph 33.              And my question is
          12     actually going to be about the part of the
          13     paragraph that runs over on to page 12, so maybe
          14     we'll flip to page 12.              And specifically about --
          15     I'll call it subsection -- subparagraph D.
          16                   And there you refer to any other mental
          17     health conditions -- I'm sorry.
          18                   And there you say "Any other mental
          19     health conditions do not interfere with diagnostic
          20     clarity."
          21                   Do you see that?
          22            A.     Yes.
          23            Q.     And what does that mean?
          24            A.     So in some cases an individual might have
          25     comorbid mental health diagnoses that could be

                                                                                    Page 109

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0877
(111 of 288), Page 111 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 111 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 110 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    impacting -- could be overlapping with gender or
            2    could just be interfering with our ability to
            3    fully diagnose gender dysphoria or for us to
            4    elucidate someone's -- that someone's, you know,
            5    decision-making ability is unclouded.                        So, for
            6    example, you know, somebody who has
            7    obsessive-compulsive disorder, for example.
            8                   So I've had patients where someone can
            9    hyper focus as a symptom of their OCD on, for
          10     example, a particular part of the body.                            And that
          11     might, at first blush, look like a symptom of
          12     gender dysphoria, but upon further evaluation and
          13     investigation might be body dysmorphia, not
          14     necessarily gender dysphoria, and because of the
          15     OCD.     So in that case, the OCD is interfering with
          16     the clarity of us being able to assess the gender.
          17            Q.      Are there any other conditions like OCD
          18     that would interfere with diagnostic clarity?
          19            A.      There might be other sort of mental
          20     health conditions.            Off the top of my head, like
          21     someone who suffering from depression and is in a
          22     depressive episode that is impacting their
          23     abilities to, you know, really think clearly about
          24     decision-making because the emotions are running
          25     too high in that particular moment.

                                                                                    Page 110

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0878
(112 of 288), Page 112 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 112 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 111 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  So it's not necessarily because they have
            2    depression, but the depression symptoms are such a
            3    level of severity that it's impacting their
            4    ability to provide informed consent.
            5           Q.     And just to clarify, not only provide
            6    informed consent, but would also interfere with
            7    the diagnosis; is that right?
            8           A.     Potentially.
            9           Q.     Right.      And you mentioned OCD.                   Have you
          10     had experience with other conditions that
          11     potentially interfered with diagnostic clarity?
          12                   MS. NOWLIN-SOHL:            Object to form.
          13                   THE WITNESS:          Sometimes with other
          14     diagnoses it just might take longer to do a
          15     thorough assessment due to the complexity of the
          16     psychosocial evaluation.
          17                   So, you know, for example, someone who
          18     has multiple diagnoses simultaneously, that's
          19     going to take us longer to be able to get the full
          20     history and understand how and if those things are
          21     related to each other.
          22                   So potentially it could be any diagnosis,
          23     but I'm just listing some of the ones that are
          24     more common.
          25            Q.     (BY MR. RAMER)           And so is it possible for

                                                                                    Page 111

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0879
(113 of 288), Page 113 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 113 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 112 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    an individual who is diagnosed with gender
            2    dysphoria to have a co-occurring mental health
            3    disorder that is not related to the gender
            4    dysphoria?
            5           A.     Yes.
            6           Q.     And what are some examples that you've
            7    had in your practice where an individual has been
            8    diagnosed with gender dysphoria but has a
            9    co-occurring mental health disorder that is not
          10     related to the gender dysphoria?
          11            A.     So it can still be the same diagnoses
          12     that I've given as example.                 So sometimes just
          13     because someone has OCD doesn't necessarily mean
          14     that the symptoms are related to gender, and they
          15     could have two separate diagnoses.
          16                   Depression similarly, many of our
          17     patients have gender dysphoria and depression.
          18     Maybe there's some overlap between the two, but
          19     sometimes they are distinct also.
          20            Q.     And what about individuals diagnosed with
          21     gender dysphoria and ADHD?
          22                   MS. NOWLIN-SOHL:            Object to form.
          23                   THE WITNESS:          We do have individuals who
          24     have both of those diagnoses.
          25            Q.     (BY MR. RAMER)           And do you have

                                                                                    Page 112

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0880
(114 of 288), Page 114 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 114 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 113 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    individuals where the ADHD is not related to the
            2    gender dysphoria?
            3            A.      I've never actually had a case where the
            4    two were related.
            5            Q.      That makes sense.
            6                    And then what about with respect to
            7    autism spectrum disorder?                 Have you ever had
            8    patients that have been diagnosed with gender
            9    dysphoria and also been diagnosed with autism
          10     spectrum disorder?
          11             A.      Yes.
          12             Q.      And in those instances, do you have
          13     patients where the autism -- and I guess I'll try
          14     again based on the last one.
          15                     Is autism spectrum disorder ever related
          16     to gender dysphoria?
          17                     MS. NOWLIN-SOHL:           Object to form.
          18                     THE WITNESS:         It can be related.              I'll
          19     just -- yes, it can be related.
          20             Q.      (BY MR. RAMER)          How so?
          21             A.      So this is more common on our prepubertal
          22     kids.        But I've had patients who similar to the
          23     OCD maybe misattribute a set of rules.
          24                     So, for example, I had one patient who
          25     was designated male and he expressed really loving

                                                                                     Page 113

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0881
(115 of 288), Page 115 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 115 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 114 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    the color pink.            And his cognitive rigidity sort
            2    of led him to, well, if I like pink, then I must
            3    be a girl.
            4                    And so he started to question that, and
            5    with further psychotherapy and exploration was
            6    able to determine that, well, anybody can like
            7    pink.        That's not necessarily -- doesn't
            8    necessarily lead to having a female identity.
            9            Q.      And so how do you determine if a
          10     co-occurring mental health condition is related to
          11     gender dysphoria?
          12             A.      So again to that kind of clinical
          13     semi-structure sort of interview process, so
          14     asking questions, getting a response, and delving
          15     deeper and sort of probing about, you know, are
          16     these things related, challenging some of the
          17     thoughts that are presented.
          18                     So in this case with this young person
          19     with ASD, sort of challenging, well, you know, can
          20     boys like pink?            Like, is that a possibility?                   Is
          21     that something that, you know, you could integrate
          22     into your rule-based thinking?
          23                     So it's kind of just that back and forth
          24     of providing information, sort of challenging a
          25     thought and understanding if there's flexibility

                                                                                     Page 114

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0882
(116 of 288), Page 116 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 116 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 115 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    there or not.
            2           Q.      That process that you just described,
            3    would that fall within the umbrella of exploratory
            4    therapy, or am I misunderstanding?
            5           A.      It could be considered exploratory
            6    therapy or it could be considered just part of our
            7    assessment process.
            8           Q.      So same page of your expert declaration,
            9    same page, paragraph 36.                And in the third
          10     sentence in the parenthetical you mention changing
          11     pathopsychology.
          12                    Do you see that?
          13            A.      Yes.
          14            Q.      And could you just explain what that
          15     means?
          16            A.      Give me one moment to read the full
          17     sentence.
          18                    Yeah, so an example being, you know,
          19     maybe we could interchangeably use challenging or
          20     complex psychopathology, so, you know, multiple
          21     diagnoses.
          22                    It could also be, you know, challenging
          23     psychopathology in terms of behaviorally
          24     challenging.          It can be difficult to conduct
          25     therapy or hold evaluations with people who have a

                                                                                    Page 115

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0883
(117 of 288), Page 117 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 117 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 116 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    lot of energy or behavioral problems, so that
            2    could be considered challenging psychopathology as
            3    well.
            4            Q.    And then in that same parenthetical, you
            5    refer to co-occurring neurodiversity.
            6                  Do you see that?
            7            A.    Yes.
            8            Q.    And could you just explain what that is?
            9            A.    Could include ADHD or autism spectrum
          10     disorder or other neurocognitive disorders.
          11             Q.    Do you have any examples of others?                       I'm
          12     familiar with the first two you listed.                        I'm just
          13     curious if there are others.
          14             A.    Like differences of learning, like
          15     learning with dyslexia or...
          16             Q.    And when you referred in this sentence to
          17     further -- at the beginning of the sentence, you
          18     refer to further assessment or testing.
          19                   Is that just what we were talking about
          20     with respect to either exploratory therapy or the
          21     psychosocial screening?              Or is there something
          22     else you're referring to when you say "further
          23     assessment or testing"?
          24             A.    It could include those things.                       It could
          25     also include more extensive psychoeducational

                                                                                    Page 116

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0884
(118 of 288), Page 118 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 118 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 117 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    testing.       So, for example, somebody who is
            2    undiagnosed but we have a suspicion that there
            3    might be neurodiversity or neurocognitive
            4    disorder, we would want to know before proceeding
            5    so we could refer the family for evaluation.
            6            Q.     And in that -- I'll just read the
            7    sentence and then ask if I read it correctly, and
            8    then I'll have kind of a question about it.
            9                   It says "Further assessment or testing
          10     may be needed to fully understand more complex
          11     presentations, e.g., challenging psychopathology,
          12     co-occurring neurodiversity prior to initiating
          13     medical intervention."
          14                    Did I read that right?
          15             A.     Yes.
          16             Q.     And why do you need to fully understand
          17     those situations prior to initiating medical
          18     intervention?
          19             A.     So one of the SOC-8's criteria for
          20     blockers, hormones, and surgery is that an
          21     individual is able to understand the intervention
          22     fully and provide informed consent.
          23                    And so typically we're referring for
          24     these things if there is concern that that
          25     criteria is not being reached so that we can

                                                                                    Page 117

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0885
(119 of 288), Page 119 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 119 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 118 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    understand better why.
            2           Q.      And have you had patients who were
            3    diagnosed with gender dysphoria but were not
            4    eligible for medical intervention due to a
            5    co-occurring mental health issue?
            6           A.      Yes.
            7           Q.      And what happens in that situation?
            8           A.      Typically we're providing referrals or
            9    plugging them into other resources that could
          10     support, you know, getting more information about
          11     what's going on diagnostically or to better manage
          12     any co-occurring mental health problems that are
          13     interfering with our ability to move forward, and
          14     then we would sort of check in maybe six months
          15     later after those things had been done to see
          16     where we are and reevaluate.
          17            Q.      And I guess how do you ultimately make
          18     the judgment when somebody does have a
          19     co-occurring mental health issue that they are
          20     eligible for medical intervention?
          21                    MS. NOWLIN-SOHL:            Object to form.
          22                    THE WITNESS:          So again, through these
          23     series of conversations and assessment and also
          24     gaining collateral information from other people
          25     and the young person's life, we're sort of able to

                                                                                    Page 118

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0886
(120 of 288), Page 120 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 120 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 119 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    put that together and make a determination about,
            2    yes, this person understands.                  This
            3    decision-making is coming from a thoughtful and
            4    logical place rather than an emotional, impulsive
            5    one.
            6                  And then we kind of present whether or
            7    not they meet eligibility criteria.                     But then
            8    ultimately it's up to families and youth to make
            9    the decision about how they want to move forward.
          10            Q.     (BY MR. RAMER)           Are you familiar with the
          11     term "borderline personality disorder"?
          12            A.     Yes.
          13            Q.     And is that sometimes referred to as
          14     "BPD" as a shorthand?
          15            A.     Yes.
          16            Q.     Have you ever diagnosed or treated BPD?
          17            A.     Yes.
          18            Q.     Have you ever had a patient who was
          19     diagnosed with both BPD and gender dysphoria?
          20            A.     Yes.
          21            Q.     And did you deem that patient eligible
          22     for medical intervention?
          23            A.     So BPD can only be diagnosed in patients
          24     who are 18 and older, so it's only been in a
          25     handful of cases because most of my patients are

                                                                                    Page 119

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0887
(121 of 288), Page 121 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 121 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 120 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    under the age of 18 that that has occurred.
            2                   And in those cases, I'm rarely the one
            3    that has given that diagnosis.                    Typically they've
            4    been with a therapist before who has given them
            5    that diagnosis.           But, yes, I have had some
            6    patients who have had both of those diagnoses.
            7           Q.      Why is BPD, why is it a cutoff of 18
            8    years?
            9           A.      So all of the personality disorders in
          10     DSM-5 are 18 and above.                Personality disorders are
          11     an ingrained sort of pattern of behaviors, and so
          12     the mental health community has reserved labeling
          13     people with those diagnoses until they reach
          14     adulthood because there's a lot of development
          15     that's still occurring.
          16                    And so if it's with a younger person,
          17     typically we'll say they have borderline
          18     personality traits, but not borderline personality
          19     disorder.
          20            Q.      Do you see any similarity there between
          21     borderline personality disorder and gender
          22     dysphoria?
          23                    MS. NOWLIN-SOHL:            Objection to form.
          24                    THE WITNESS:          Similarities in what ways?
          25            Q.      (BY MR. RAMER)           Well, did you say that

                                                                                    Page 120

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0888
(122 of 288), Page 122 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 122 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 121 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    the mental health community has decided that a BPD
            2    diagnosis should wait until the individual is over
            3    18 because more development will take place?
            4                    MS. NOWLIN-SOHL:           Objection to form;
            5    mischaracterizes prior testimony.
            6                    THE WITNESS:         So more that it's an
            7    ingrained set of behaviors and a pattern of
            8    behavior.        So a lot of it is very externalized.
            9    It's not necessarily like an internal sense of
          10     self as a BPD person that that person is born with
          11     that.        It is something that develops over time,
          12     that pattern of behavior.
          13             Q.      (BY MR. RAMER)          What's the behavior at
          14     issue with BPD?
          15             A.      What are the diagnostic criteria for BPD?
          16             Q.      Or just generally.            I'm not trying to
          17     quiz you, but when you mention the pattern of
          18     behavior, broadly speaking, what does that mean?
          19             A.      It's kind of a description of a category
          20     of behaviors that people exhibit in interpersonal
          21     interactions that are maladaptive.                      So, you know,
          22     trying to get validation in unhealthy ways is an
          23     example.
          24             Q.      Does BPD also involve some form of
          25     identity disturbance?

                                                                                     Page 121

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0889
(123 of 288), Page 123 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 123 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 122 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  MS. NOWLIN-SOHL:            Object to form.
            2                  THE WITNESS:          No, not necessarily.
            3           Q.     MR. RAMER)         But is that -- I guess I'll
            4    just --
            5                  MR. RAMER:         All right.         This will take a
            6    few minutes while the pigeon flies the exhibit.
            7    In my defense, it is one page, Li, so this one
            8    shouldn't be as long as the others.
            9           Q.     (BY MR. RAMER)           I guess while we're
          10     waiting I can ask you a question, which is what is
          11     the treatment for BPD?
          12            A.     So the most evidence-based therapy for
          13     borderline personality disorder is something
          14     called DBT, which is dialectical behavioral
          15     therapy.
          16            Q.     And what does that entail?
          17            A.     So it's a therapy can be done in a lot of
          18     different formats.            Sometimes it's individual;
          19     sometimes it's groups; sometimes it's both.                          But
          20     it entails learning a particular set of emotion
          21     regulation and de-escalation, coping skills.                          And
          22     then has some specific cognitive restructuring
          23     tasks that are learned over the course of therapy.
          24                   MS. NOWLIN-SOHL:            We have the exhibit
          25     whenever you're ready, John.

                                                                                    Page 122

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0890
(124 of 288), Page 124 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 124 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 123 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  MR. RAMER:         Okay.      And this is, I think,
            2    Brady Exhibit 4.          And I'll just represent this is
            3    from the DSM-5, and it's the diagnostic criteria
            4    for BPD.
            5                 (Deposition Exhibit No. 4 was marked.)
            6           Q.     (BY MR. RAMER)           And I guess my question
            7    is about the third one down.
            8                  Now, I understand that the diagnosis
            9    looks like you need -- it's five or more.                          And so
          10     you could theoretically have one without this
          11     third criterion, but could you just explain what
          12     that criterion is?
          13            A.     Sure.      So typically this presents itself
          14     as, you know, people who are defining their
          15     self-worth based on how others view them.                          And so
          16     there isn't a strong sense of internal kind of
          17     confidence.        And so they value themselves based on
          18     how much other people value them.
          19                   So sometimes we consider that to be
          20     identity diffusion because self-identity is not
          21     very strong.
          22            Q.     Are there other forms of identity
          23     disturbance other than identity diffusion?
          24            A.     I'm not a borderline personality disorder
          25     expert.      I received some training in my graduate

                                                                                    Page 123

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0891
(125 of 288), Page 125 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 125 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 124 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    training, but it's not my area of expertise, so
            2    I'm not sure.
            3           Q.     That's fair.          Do you know if the
            4    treatment for BPD involves any form of medical
            5    intervention?
            6           A.     Sometimes medications are involved,
            7    psychotropic medications.
            8           Q.     And that would be psychiatric medication;
            9    is that right?
          10            A.     Yes.
          11            Q.     And I know you just said you're not a BPD
          12     expert.      If you don't know the answers to these,
          13     that's fine.
          14                   Just out of curiosity, do you know if BPD
          15     is more common in the population than gender
          16     dysphoria?
          17            A.     I do not.
          18            Q.     Do you know if BPD is more common in
          19     natal females or females assigned at birth?
          20                   MS. NOWLIN-SOHL:            Object to form.
          21                   THE WITNESS:          I believe that the ratio
          22     of, like, epidemiologically, I think it is more
          23     commonly diagnosed in assigned females.
          24            Q.     (BY MR. RAMER)           Have you ever considered
          25     the possibility that an individual's identity

                                                                                    Page 124

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0892
(126 of 288), Page 126 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 126 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 125 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    disturbance for BPD could manifest itself as a
            2    disturbance in gender identity?
            3                   MS. NOWLIN-SOHL:            Object to form.
            4                   THE WITNESS:          Could you repeat that?
            5           Q.      (BY MR. RAMER)           Have you ever considered
            6    the possibility that an individual's identity
            7    disturbance for BPD could be experienced as a
            8    disturbance in gender identity?
            9                   MS. NOWLIN-SOHL:            Same objection.
          10                    THE WITNESS:          Through our evaluation
          11     process, we are exploring all aspects of identity,
          12     not just gender.           And it is important that
          13     someone's gender identity is stable.                        I wouldn't
          14     necessarily be more worried with someone who has
          15     also co-occurring BPD.               I would do the same
          16     evaluation as I do with every patient.
          17            Q.      (BY MR. RAMER)           When you say it's
          18     important that gender identity is stable, what do
          19     you mean by that?
          20            A.      You know, that it is persistent, like,
          21     has been present and for a good amount of time.
          22     DSM says six months or more, but more is always
          23     better.
          24                    And that there haven't been any major
          25     fluctuations in that identity, and that it -- you

                                                                                    Page 125

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0893
(127 of 288), Page 127 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 127 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 126 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    know, how it evolved is also important in
            2    understanding how they came to understand that
            3    aspect of themselves.
            4                   And, you know, for example, like, if I
            5    heard that a patient identified as male but then
            6    six months later, you know, or four months later
            7    identified as like goth instead -- I don't know.
            8    I'm just picking like a random personality.                            But,
            9    you know, goes from gender to something else
          10     that's not within gender, that would be something
          11     worth exploring further.
          12            Q.      How can someone who is gender-fluid have
          13     a gender identity that is stable?
          14            A.      So again, the gender identity could be
          15     stable, but it's the expression that is fluid.
          16                    But for the ones whose identity does
          17     fluctuate, they often are fluctuating within a
          18     genderqueer, gender-diverse spectrum.                        So I've not
          19     had a gender-fluid person who one day identifies
          20     as cis female and then a week later is identifying
          21     as trans male.
          22            Q.      In your declaration, page 12 -- I think
          23     we're already there -- paragraph 34, the second
          24     sentence.       I'll just read it and ask if I read it
          25     correctly.

                                                                                    Page 126

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0894
(128 of 288), Page 128 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 128 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 127 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  It says "Assessment procedures can vary
            2    based on the practice setting, discipline of the
            3    provider conducting the assessment, presence of
            4    neurodiversity or other individual patient
            5    considerations/needs."
            6                  Did I read that correctly?
            7           A.     Yes.
            8           Q.     And is there any requirement in the SOC-8
            9    or the Endocrine Society guidelines about how an
          10     assessment must be conducted?
          11            A.     In SOC-8 there's recommendations that it
          12     be conducted by a qualified health professional.
          13            Q.     Does it explain what that means, to be a
          14     qualified health professional?
          15            A.     It does define qualified health
          16     professionals.
          17            Q.     And you say in this sentence that
          18     assessment procedures can vary based on the
          19     discipline of the provider conducting the
          20     assessment.
          21                   Do you see that?
          22            A.     Yes.
          23            Q.     And what does that mean?
          24            A.     So they can -- the format with which this
          25     information is obtained can look different based

                                                                                    Page 127

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0895
(129 of 288), Page 129 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 129 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 128 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    on these factors.
            2                    So in terms of the discipline of the
            3    provider, you know, it might just be the setting
            4    in which this information is obtained.                        It might
            5    be, you know -- in our clinic, our health
            6    providers, for example, can't -- can only bill for
            7    certain things.
            8                    And so, you know, information, for
            9    example, like, can't be obtained through a phone
          10     call.        It has to be a virtual meeting or an
          11     in-person meeting.             And so -- I can bill for a
          12     phone call, however.
          13                     So the format with which we obtain this
          14     information, gather this information, might be
          15     different just based on the discipline.
          16             Q.      Oh, I'm sorry.          The word "discipline"
          17     here is referring to like the --
          18             A.      The letters that come after someone's
          19     name.
          20             Q.      Gotcha.      Okay.      That clarifies it for me.
          21     Thank you.
          22                     Okay.     So in your declaration, let's go
          23     to page 10, paragraph 29.                 And first sentence,
          24     I'll just read the whole thing and ask if I read
          25     it correctly.

                                                                                     Page 128

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0896
(130 of 288), Page 130 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 130 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 129 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                   "As stated above, these guidelines are
            2    widely accepted in the professional community.
            3    They have analyzed all available scientific
            4    research and are widely referenced and endorsed by
            5    all major U.S. medical and mental health
            6    associations."
            7                   Did I read that correctly?
            8           A.      Yes.
            9           Q.      And what guidelines are you referring to
          10     in this paragraph?
          11            A.      The American Psychological Association
          12     guidelines on gender-affirming care and the WPATH
          13     SOC-8 and the Endo Society guidelines.
          14            Q.      And what year were the Endocrine Society
          15     guidelines published?
          16            A.      2017.
          17            Q.      And what year were the APA guidelines
          18     published?
          19            A.      I think it's 2015.
          20            Q.      Looking at footnote 14 -- I think that's
          21     right.      Yeah.
          22                    And so those guidelines did not analyze
          23     any research in the last half-decade, correct?
          24            A.      Yeah, so my understanding is that the
          25     Endo Society and APA are working on that currently

                                                                                    Page 129

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0897
(131 of 288), Page 131 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 131 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 130 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    to update.
            2           Q.     Okay.      But just so -- it's not correct to
            3    say that those guidelines have analyzed all
            4    available scientific research, correct?
            5                  MS. NOWLIN-SOHL:            Object to form.
            6                  THE WITNESS:          They analyzed all available
            7    research at the time of publication.
            8           Q.     (BY MR. RAMER)           And when you say in the
            9    first sentence of this paragraph that these
          10     guidelines are widely accepted in the professional
          11     community, do you mean the American professional
          12     community exclusively?
          13            A.     That's what I have the most knowledge of.
          14     I'm not sure about how other countries -- if other
          15     countries are using the same practices we are.
          16            Q.     Is there a difference between clinical
          17     guidelines and standards of care?
          18                   MS. NOWLIN-SOHL:            Object to form.            Object
          19     to the extent that it calls for a legal
          20     conclusion.
          21                   THE WITNESS:          I'm not sure.
          22            Q.     (BY MR. RAMER)           Do you know whether the
          23     American Psychological Association has ever made a
          24     distinction between standards and guidelines?
          25            A.     I don't know.

                                                                                    Page 130

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0898
(132 of 288), Page 132 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 132 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 131 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     In your declaration on page 1,
            2    paragraph 4, in the second sentence, you state
            3    that the opinions in this declaration are based
            4    on, among many other things, your knowledge of
            5    peer-reviewed research relevant to the treatment
            6    of gender dysphoria; is that right?
            7           A.     Yes.
            8           Q.     And what is the extent of that knowledge?
            9                  MS. NOWLIN-SOHL:            Object to form.
          10                   THE WITNESS:          Because my current position
          11     is 100 percent in the gender clinic and devoted to
          12     this population, a majority of my continuing
          13     education and a majority of the journals that I
          14     subscribe to and the list serves that I'm on are
          15     all gender related.
          16                   So to the extent that I can, I try to
          17     keep up-to-date on recent publications in this
          18     area as it pertains to my work.
          19            Q.     (BY MR. RAMER)           And how do you follow new
          20     developments in the research?
          21            A.     So again, a lot of the -- I have
          22     memberships to things, so I'll get email alerts
          23     when things are published.
          24                   I also have a Google Scholar filter that
          25     alerts me every week about new publications with

                                                                                    Page 131

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0899
(133 of 288), Page 133 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 133 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 132 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    key words.
            2           Q.     And how do you determine what papers are
            3    reliable?
            4                  MS. NOWLIN-SOHL:            Object to form.
            5                  THE WITNESS:          So typically I'm, you know,
            6    being a critical consumer of the research, and so
            7    I'm making my own judgments based on the
            8    methodologies described in the papers, but also
            9    impact factors, which is kind of the reach that a
          10     journal has, like how many people subscribe to it.
          11     All of the things that I read are peer reviewed,
          12     and so that process also ensures that quality is
          13     being published.
          14            Q.     (BY MR. RAMER)           And what are other impact
          15     factors in addition to the number of subscribers?
          16            A.     Yeah, I forget exactly all the variables
          17     that go into an impact factor.                  There's, like, a
          18     formula that creates a number.                  And a number of
          19     subscribers is one variable that goes into that
          20     number, but I'm not sure what the other variables
          21     are.
          22                   MR. RAMER:         And, Li, have you received
          23     Brady Exhibit 5?
          24                   MS. NOWLIN-SOHL:            I have not.
          25            Q.     (BY MR. RAMER)           Doctor, have you ever

                                                                                    Page 132

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0900
(134 of 288), Page 134 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 134 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 133 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    read a research publication that said there was a
            2    lack of evidence to justify gender-affirming
            3    medical interventions for minors?
            4                  MS. NOWLIN-SOHL:            Object to form.
            5                  THE WITNESS:          I would have to see the
            6    article.      I don't know.
            7           Q.     (BY MR. RAMER)           No, I'm just asking if
            8    you've ever read one, ever.
            9                  MS. NOWLIN-SOHL:            Same objection.
          10                   THE WITNESS:          That says what?
          11            Q.     (BY MR. RAMER)           I'll have to start from
          12     the beginning.
          13                   Have you ever read a research publication
          14     that said there was a lack of evidence to justify
          15     gender-affirming medical interventions for minors?
          16                   MS. NOWLIN-SOHL:            Object to form.
          17                   THE WITNESS:          I -- off the top of my
          18     head, I don't know.
          19            Q.     (BY MR. RAMER)           Are you familiar with the
          20     term "systematic review"?
          21            A.     Yes.
          22            Q.     And could you explain your understanding
          23     of that term?
          24            A.     So systematic reviews are combining --
          25     looking at a particular line of inquiry and

                                                                                    Page 133

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0901
(135 of 288), Page 135 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 135 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 134 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    combining all of the studies that look at that
            2    line of inquiry together to create more robust
            3    conclusions about the evidence for or against it.
            4                   MS. NOWLIN-SOHL:            We have 5.
            5                   MR. RAMER:         Okay.      We can pivot back to
            6    that right now if you don't mind pulling that up.
            7                 (Deposition Exhibit No. 5 was marked.)
            8           Q.      (BY MR. RAMER)           And, Doctor, are these
            9    the APA guidelines you cite in your article?
          10            A.      Yes.
          11            Q.      I'm sorry, in your declaration.
          12            A.      Yes.
          13            Q.      And I'd like to go to page 833, which is
          14     the second page, and in particular to the right
          15     column below the bold distinction between
          16     standards and guidelines.
          17                    And I'll just read -- no, because these
          18     citations will mess it up.
          19                    So can you just read the first two
          20     sentences of that paragraph and let me know when
          21     you've finished reading that?
          22            A.      Sure.      Okay.
          23            Q.      Were you aware the APA has made an
          24     important distinction between standards and
          25     guidelines?

                                                                                    Page 134

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0902
(136 of 288), Page 136 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 136 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 135 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  MS. NOWLIN-SOHL:            Object to form.
            2                  THE WITNESS:          Reading this paragraph, I'm
            3    aware now.
            4           Q.     (BY MR. RAMER)           Were you aware before you
            5    read that paragraph?
            6           A.     No.
            7           Q.     Do you understand the distinction it's
            8    drawing in the second sentence?
            9           A.     My understanding of it and my
          10     interpretation of it are that -- and there are
          11     many ways to define standards, but that -- and I
          12     might be wrong, but I think the only standards,
          13     really, that APA has committed to are our ethical
          14     principles in our code of conduct.
          15                   So even within other diagnoses, there
          16     aren't necessarily standards of care because
          17     there's a lot of individual autonomy when it comes
          18     to the delivery of psychotherapy.
          19            Q.     What does it mean when it says
          20     "guidelines are aspirational"?
          21                   MS. NOWLIN-SOHL:            Object to form;
          22     foundation.
          23                   THE WITNESS:          I can't -- I can guess.               I
          24     don't know what the intent was because I wasn't on
          25     the committee that wrote this.

                                                                                    Page 135

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0903
(137 of 288), Page 137 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 137 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 136 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     (BY MR. RAMER)           Yeah, and I guess I'm
            2    just asking as a psychologist, when you read this,
            3    what is your understanding?                 I'm not asking what
            4    the authors meant.
            5                  But as you read it, what is your
            6    understanding of the statement "guidelines are
            7    aspirational"?
            8           A.     I think these are -- these
            9    recommendations are kind of in an ideal world what
          10     we would -- the kind of care we would be
          11     delivering.
          12            Q.     Is the distinction from standards that
          13     you are not required to deliver care in accordance
          14     with the guidelines?
          15                   MS. NOWLIN-SOHL:            Object to form.
          16                   THE WITNESS:          So as it goes on to say in
          17     the paragraph, you know, it's recommended that we
          18     use these guidelines in conjunction with our
          19     ethical principles and code of conduct.                        And there
          20     are some things related to gender care that APA
          21     has deemed to be unethical.
          22            Q.     (BY MR. RAMER)           But those aren't -- okay.
          23                   All right.         We'll go back to systematic
          24     reviews, where we were.
          25                   And have you ever conducted a systematic

                                                                                    Page 136

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0904
(138 of 288), Page 138 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 138 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 137 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    review?
            2            A.    No.
            3            Q.    Have you ever read a systematic review?
            4            A.    About any topic?            Yes.
            5            Q.    As you sit here today, are you able to
            6    name any specific systematic review relating to
            7    the treatment of gender dysphoria that you have
            8    read?
            9            A.    I have read summaries of systematic
          10     reviews but not the systematic reviews themselves.
          11             Q.    What summaries do you recall reading?
          12             A.    So, for example, you know, the SOC-8 was
          13     founded based on a systematic review of the
          14     literature, so that's kind of the combination of
          15     the results of that systematic review.                       But I
          16     didn't read in detail their methodology and
          17     systematic review.
          18                   Endo Society, similarly.
          19             Q.    Do you know what questions the systematic
          20     review for the SOC-8 was investigating?
          21                   MS. NOWLIN-SOHL:            Object to form.
          22                   THE WITNESS:          I don't know specifically.
          23             Q.    (BY MR. RAMER)           Do you know what
          24     questions the systematic reviews for the Endocrine
          25     Society guidelines were investigating?

                                                                                    Page 137

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0905
(139 of 288), Page 139 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 139 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 138 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           A.     No.
            2           Q.     Are you familiar with the term
            3    "evidence-based medicine"?
            4           A.     Yes.
            5           Q.     And can you explain your understanding of
            6    that term for me?
            7           A.     So evidence-based medicine, to my
            8    understanding, is when something has acquired
            9    enough evidence to support doing that
          10     intervention.
          11            Q.     I'm sorry.         Can you say that again?
          12            A.     Sure.      So when enough evidence has been
          13     amassed to support doing an intervention or in
          14     support of an intervention.
          15            Q.     Have you taken any particular courses on
          16     evidence-based medicine?
          17            A.     So in my field, there are evidence-based
          18     therapies.       And so not necessarily medicine, but I
          19     have training in evidence-based therapies.
          20            Q.     So is the training in the therapy itself?
          21     Or is the training in the theoretical principles
          22     of evidence-based medicine?
          23                   MS. NOWLIN-SOHL:            Object to form.
          24                   THE WITNESS:          So in my training, I've
          25     received -- I took courses on research methods and

                                                                                    Page 138

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0906
(140 of 288), Page 140 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 140 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 139 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    statistics and how to conduct scholarly work.
            2                  So in my field, there's a lot of
            3    evidence -- emphasis placed on evidence-based
            4    therapies.       And so, you know, being a data
            5    scientist and, you know, a Ph.D., that was part of
            6    my training is how to conduct that.
            7           Q.     (BY MR. RAMER)           Are you familiar with the
            8    term "observational study"?
            9           A.     Yes.     In the context of my world, yes.
          10            Q.     Yeah, right.          What do you understand that
          11     term to mean?
          12            A.     So typically in mental health, it's --
          13     the most readily available example that comes to
          14     mind is, like, in an educational setting.
          15                   So at a school, for example, they might
          16     go in and observe the behavior of students and
          17     code that data and then use that as their data.
          18     So rather than asking the students specifically
          19     things they just observe and then code that data.
          20            Q.     Were some of your ADHD publications
          21     observational studies?
          22            A.     No.
          23            Q.     Are you familiar with the term
          24     "randomized controlled trial"?
          25            A.     Yes.

                                                                                    Page 139

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0907
(141 of 288), Page 141 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 141 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 140 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1            Q.    And what do you understand that term to
            2    mean?
            3            A.    So it's a type of research wherein
            4    participants are randomly assigned to different
            5    conditions within the experiment.
            6                  And so they're randomly assigned, which
            7    is the random part.
            8                  And then it's controlled because they
            9    control for as many variables as they can to get
          10     clean outcomes and be able to interpret the data.
          11             Q.    With respect to study design, is evidence
          12     from a randomized control trial more reliable than
          13     evidence from an observational study?
          14                   MS. NOWLIN-SOHL:            Object to form;
          15     foundation.
          16                   THE WITNESS:          It is considered to be the
          17     most rigorous type of study.
          18             Q.    (BY MR. RAMER)           Are you familiar with the
          19     term "GRADE methodology"?
          20             A.    No.
          21             Q.    In your declaration, going to page 14,
          22     paragraph 39, and in the third sentence, I'll read
          23     it and ask if I read it correctly.
          24                   You say "Studies have demonstrated
          25     improvements in mental health following

                                                                                    Page 140

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0908
(142 of 288), Page 142 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 142 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 141 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    gender-affirming medical interventions."
            2                   Did I read that correctly?
            3           A.      Yes.
            4           Q.      And what do you mean when you say
            5    "studies have demonstrated improvements following
            6    gender-affirming medical interventions"?
            7           A.      So through various statistical methods,
            8    they have shown to correlate the gender-affirming
            9    medical intervention with improvements in mental
          10     health.
          11            Q.      In your opinion, have you concluded that
          12     gender-affirming medical care causes improvements
          13     in mental health?
          14            A.      The research shows that.                 And clinically
          15     that is what I have seen, so yes.
          16            Q.      The research shows causation?
          17            A.      Not causation, but the statistical data
          18     that is presented plus my clinical experience
          19     leads me to say yes.
          20            Q.      So the research did not show causation,
          21     but when you personally combine the research with
          22     your clinical experience, you have concluded that
          23     gender-affirming medical care causes improvements
          24     in mental health; is that right?
          25                    MS. NOWLIN-SOHL:            Object to form.

                                                                                    Page 141

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0909
(143 of 288), Page 143 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 143 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 142 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  THE WITNESS:          I believe that it leads to
            2    improvements in mental health, yes.
            3           Q.     (BY MR. RAMER)           I asked the question with
            4    the verb "cause" for a reason.                  And I think in
            5    your answer you switched to "lead."
            6                  And I'm just trying to -- you know, I
            7    think in this context the word "cause" -- just to
            8    be clear, have you concluded that gender-affirming
            9    medical care causes improvements in mental health?
          10            A.     And I can share why I'm avoiding the word
          11     "cause" in this case.
          12                   So for me, causation is specifically a
          13     statistical term that is very difficult, even in
          14     our randomized control trials, to prove because
          15     there are so many other variables that account for
          16     change.
          17                   And so to the best of their scientific
          18     ability, I believe these studies to be robust but
          19     aren't statistically showing causation.                        And so
          20     that's why I'm saying "leads to."
          21            Q.     So just to clarify, you are declining to
          22     say that gender-affirming medical care causes
          23     improvements in mental health; is that right?
          24            A.     From a statistical perspective, yes.
          25            Q.     As opposed to what's a non-statistical

                                                                                    Page 142

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0910
(144 of 288), Page 144 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 144 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 143 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    perspective?
            2                  MS. NOWLIN-SOHL:            Object to form.
            3                  THE WITNESS:          So -- which is why I'm
            4    using "clinically" also.               Clinically I have seen A
            5    to B and B to C, and, you know, I've not conducted
            6    this research myself to be able to show that
            7    statistically.         But clinically I do see that it is
            8    directly linked to gender-affirming medical care
            9    that I'm seeing these improvements.
          10             Q.    (BY MR. RAMER)           Back on your declaration,
          11     on this page, you list a number of articles in
          12     footnote 16.
          13                   Are these articles the basis for your
          14     conclusion that studies have demonstrated
          15     improvements following gender-affirming medical
          16     care?
          17             A.    They are samples of those studies, yes.
          18             Q.    There are other articles?
          19             A.    Yes.
          20             Q.    Do you cite them in your declaration?
          21             A.    No.
          22             Q.    Is there a reason you didn't?
          23             A.    I just felt like these were the best
          24     representation, and they summarized the previous
          25     studies within them as well.

                                                                                    Page 143

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0911
(145 of 288), Page 145 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 145 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 144 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1            Q.      Okay.     So now are these the best articles
            2    in footnote 16?
            3                    MS. NOWLIN-SOHL:           Object to form.
            4                    THE WITNESS:         I'm not sure I'm qualified
            5    to say if they're the best or not, but they are
            6    good representations of these relationships.
            7            Q.      (BY MR. RAMER)          Okay.      So are there other
            8    articles that you're not -- I'm sorry.                        I'm going
            9    to start again.
          10                     Are there other articles that you are
          11     relying on for the basis of your expert opinion
          12     that you've not cited in your declaration?
          13             A.      These are the ones I'm most familiar
          14     with.        And again, they include a review of the
          15     other articles that I would have maybe included,
          16     but these are the ones that I'm most familiar
          17     with.
          18             Q.      Okay.     So the universe of articles
          19     includes what you've cited here and then what is
          20     cited within these articles; is that fair?
          21             A.      Yes.
          22             Q.      Okay.     And you cite two articles by
          23     de Vries here.
          24                     Do you see that?
          25             A.      Yes.

                                                                                     Page 144

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0912
(146 of 288), Page 146 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 146 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 145 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     Do you consider de Vries an expert?
            2                  MS. NOWLIN-SOHL:            Object to form.
            3                  THE WITNESS:          I don't know.          I don't know
            4    de Vries personally.
            5           Q.     (BY MR. RAMER)           Yeah.      Fair.      Do you know
            6    what country the de Vries studies come out of?
            7                  MS. NOWLIN-SOHL:            Object to form.
            8                  THE WITNESS:          I would have to look at the
            9    article.      I'm assuming it says in there.
          10            Q.     (BY MR. RAMER)           If the studies involved
          11     participants from the Netherlands, given our
          12     discussion earlier today about your preference for
          13     studies from the United States, does that mean you
          14     deem the de Vries studies less reliable?
          15                   MS. NOWLIN-SOHL:            Objection to form;
          16     mischaracterizes prior testimony.
          17                   THE WITNESS:          I don't necessarily -- I
          18     don't always consider non-U.S. studies to be of
          19     lower quality.         It's just if we have similarly
          20     robust studies that are about kids in the United
          21     States, those might be preferable over other
          22     studies.      But they can be included in the wealth
          23     and averaging and aggregation of data.
          24            Q.     (BY MR. RAMER)           Do you have any knowledge
          25     of systematic reviews regarding the treatment for

                                                                                    Page 145

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0913
(147 of 288), Page 147 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 147 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 146 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    gender dysphoria that have been conducted by
            2    European health authorities?
            3                  MS. NOWLIN-SOHL:            Object to form.
            4                  THE WITNESS:          I don't believe so.
            5           Q.     (BY MR. RAMER)           Have you ever heard of
            6    the Cass report?
            7           A.     No.
            8           Q.     Okay.      Let's go back to your declaration,
            9    back to footnote 16.
          10                   The second article you cite there is
          11     by -- well, the lead author is Amy Green, correct?
          12            A.     Yes.
          13            Q.     Do you recall where the authors of that
          14     article obtained the data they used?
          15            A.     I would have to go back to the article to
          16     confirm that.
          17            Q.     Do you recall whether any of the articles
          18     in footnote 16 isolated medical interventions from
          19     psychotherapy when recording their results?
          20                   MS. NOWLIN-SOHL:            Object to form.
          21                   THE WITNESS:          Off the top of my head, I
          22     cannot recall.         They might have controlled for
          23     other -- you know, if they were receiving therapy
          24     and their analyses, but I would have to check.
          25            Q.     (BY MR. RAMER)           But as you sit here, you

                                                                                    Page 146

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0914
(148 of 288), Page 148 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 148 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 147 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    don't know the answer to that question?
            2           A.     Correct.
            3           Q.     Do you have any knowledge regarding the
            4    neurological effects of pubertal suppression in
            5    adolescents?
            6           A.     Can you repeat that again?
            7           Q.     Do you have any knowledge regarding the
            8    neurological effects of pubertal suppression in
            9    adolescents?
          10            A.     My understanding is that -- I'm not aware
          11     of data, but I'm aware of kind of like theoretical
          12     ideas regarding if there's a relationship between
          13     those two things.
          14            Q.     What kind of theoretical ideas are you
          15     aware of?
          16            A.     So -- and again, I'm not a medical
          17     expert, so usually I'm deferring to my medical
          18     team on these kinds of things, but that there is
          19     kind of two time points in which there's a lot of
          20     neuronal development, one being in very early
          21     childhood; the second being in adolescence, and
          22     that potentially one variable that triggers that
          23     second neuronal development in adolescence is the
          24     presence of sex hormones with puberty.
          25            Q.     And what do you know about -- I guess are

                                                                                    Page 147

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0915
(149 of 288), Page 149 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 149 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 148 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    neurological effects of pubertal suppression
            2    beyond the scope of your expertise?
            3           A.     Yes.
            4           Q.     Okay.      Are you aware of any study
            5    researching the effect of puberty blockers on
            6    neurodevelopment in adolescents with neurodiverse
            7    characteristics?
            8           A.     I am not aware.
            9           Q.     Does that concern you?
          10                   MS. NOWLIN-SOHL:            Object to form.
          11                   THE WITNESS:          Could you repeat the topic
          12     again one more time?
          13            Q.     (BY MR. RAMER)           My previous question was
          14     are you aware of any study researching the effect
          15     of puberty blockers on neurodevelopment in
          16     adolescents with neurodiverse characteristics?
          17                   And then I asked -- and then you said no.
          18                   And then I asked does that concern you?
          19                   MS. NOWLIN-SOHL:            Same objection.
          20                   THE WITNESS:          Not necessarily.               I --
          21     that's a very niche subgroup, and -- yeah.                           That
          22     would be a very small group of our patients, so
          23     that doesn't necessarily concern me that that
          24     inquiry has not been done.
          25            Q.     (BY MR. RAMER)           Adolescents with

                                                                                    Page 148

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0916
(150 of 288), Page 150 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 150 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 149 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    neurodiverse characteristics are a niche subgroup?
            2           A.     Those who have done puberty blockade and
            3    also have ASD and are now adolescents.
            4           Q.     I guess what makes it -- I guess how many
            5    of your patients do you think are neurodiverse?
            6           A.     Very ballpark estimate, maybe 20 percent.
            7           Q.     And then how many of those would receive
            8    pubertal suppression?
            9                  MS. NOWLIN-SOHL:            Object to form.
          10                   THE WITNESS:          So the age makeup of our
          11     clinic is probably -- again, this is a guess, but
          12     would probably be 30 percent are Tanner II-III and
          13     below.
          14            Q.     (BY MR. RAMER)           So the vast majority -- I
          15     think I understand.
          16                   So you're saying the vast majority of the
          17     patients at your clinic are past the stage where
          18     they would have their puberty suppressed; is that
          19     right?
          20            A.     Yes.
          21            Q.     Okay.
          22                   MR. RAMER:         I guess we've been going for
          23     about an hour.         Do you want to take five or ten
          24     minutes?
          25                   MS. NOWLIN-SOHL:            Yeah.      I think this

                                                                                    Page 149

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0917
(151 of 288), Page 151 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 151 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 150 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    could be a good five-minute break.
            2                  MR. RAMER:         Okay.      Let's do that.
            3                  THE VIDEOGRAPHER:             Okay.      So the time is
            4    4:17 p.m. Mountain time, and we are off the
            5    record.
            6                (Break taken from 4:17 p.m. to 4:23 p.m.)
            7                  THE VIDEOGRAPHER:             All right.         So we are
            8    recording.       The time is 4:23 p.m. Mountain time,
            9    and we are back on the record.
          10            Q.     (BY MR. RAMER)           Dr. Brady, I'd like to go
          11     in your declaration to page 11, paragraph 32, and
          12     specifically the second to last sentence.                          And
          13     I'll read it and ask if I read it correctly.
          14                   It says "Pausing puberty with blockers
          15     can help prevent the distress associated with
          16     physical changes inconsistent with an adolescent's
          17     gender identity and also provide the adolescent
          18     more time to understand their gender identity
          19     before considering less-reversible treatments."
          20                   Did I read that correctly?
          21            A.     Yes.
          22            Q.     What do you mean by "less-reversible"?
          23            A.     So other medical interventions such as
          24     hormone therapies have permanent effects and
          25     reversible effects.

                                                                                    Page 150

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0918
(152 of 288), Page 152 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 152 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 151 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     Do you think puberty blockers are
            2    reversible?
            3           A.     Yes.
            4           Q.     And what do you mean by that?
            5           A.     So for patients who choose to come off
            6    the blocker, stop the blockers, puberty --
            7    endogenous puberty will resume as normal.
            8           Q.     Do you think there could be -- in setting
            9    aside that endogenous puberty resumes, do you
          10     think there could be other effects from pubertal
          11     suppression?
          12                   MS. NOWLIN-SOHL:            Object to form.
          13                   THE WITNESS:          There's, to my knowledge,
          14     no research that indicates long-term effects from
          15     puberty blockade.
          16            Q.     (BY MR. RAMER)           Is there any research
          17     that suggests there are not long-term effects from
          18     puberty blockade?
          19            A.     So the majority of research in this area
          20     has been done with precocious puberty, not
          21     necessarily gender.
          22                   In precocious puberty, blockade is
          23     sometimes started at very younger, much younger
          24     than we would do in gender.                 So sometimes 7 or
          25     earlier depending on what's going on pubertally

                                                                                    Page 151

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0919
(153 of 288), Page 153 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 153 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 152 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    for that child.
            2                   So these are youth who are on blockade
            3    for much longer than we would do or recommend for
            4    our patients in gender.                And there are studies
            5    looking at there -- that there are no long-term
            6    consequences of puberty blockade for those youth.
            7           Q.      But individuals who receive puberty
            8    blockers for central precocious puberty eventually
            9    go through their endogenous puberty, correct?
          10            A.      Some do.
          11            Q.      Who does not?
          12            A.      If they're gender-diverse, they might
          13     not.
          14            Q.      Fair.      And earlier we were discussing
          15     potentially neurological effects from pubertal
          16     suppression.
          17                    And are you able to say based on your
          18     knowledge of neurological effects from pubertal
          19     suppression that puberty blockers are reversible?
          20                    MS. NOWLIN-SOHL:            Object to form;
          21     foundation.
          22                    THE WITNESS:          In my clinical experience,
          23     I've not had patients who are on blockers develop
          24     academic struggles or show cognitive impairment.
          25                    I know of several studies that are

                                                                                    Page 152

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0920
(154 of 288), Page 154 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 154 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 153 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    currently being conducted that are looking at that
            2    question specifically.               I don't know of any that
            3    have already been published.
            4           Q.      (BY MR. RAMER)           Don't you lose contact
            5    with most of your patients by the time they're age
            6    22?
            7                   MS. NOWLIN-SOHL:            Object to form.
            8                   THE WITNESS:          It is common when patients
            9    transfer to other clinics that we will not hear
          10     from them.
          11            Q.      (BY MR. RAMER)           And so in other words,
          12     you wouldn't know whether they were suffering any
          13     sort of long-term effects after that point, right?
          14                    MS. NOWLIN-SOHL:            Object to form;
          15     argumentative.
          16                    THE WITNESS:          Clinically, many of my
          17     patients are able to succeed.                   So many go to
          18     college and many are accepted into college; many
          19     are able to get jobs.
          20                    And so from that perspective, they are
          21     not experiencing cognitive impairments at the
          22     point of time of transfer.
          23            Q.      (BY MR. RAMER)           Which is -- for most
          24     patients is 22 years old; is that right?
          25            A.      Yes.

                                                                                    Page 153

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0921
(155 of 288), Page 155 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 155 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 154 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     And what are the permanent -- I guess
            2    backing up.
            3                  I believe you said when you were
            4    referring to less-reversible treatments -- were
            5    you including cross-sex hormones?
            6           A.     Yes.
            7           Q.     And what are the permanent effects of
            8    cross-sex hormones?
            9           A.     For estrogen in particular -- I'll just
          10     start with estrogen.             So for estrogen, permanent
          11     effects would be the development of breast tissue.
          12     So if someone stops their estrogen, that tissue
          13     does not revert or recede.
          14                   Additionally, there might be impacts in
          15     terms of fertility and sperm count on those who
          16     undertake estrogen that is permanent.
          17                   For testosterone, any hair that has grown
          18     is permanent.         Any hair that is lost is also
          19     permanent.       Bottom growth or clitoral enlargement
          20     is also permanent as well as voice changes.
          21            Q.     In your declaration, same page,
          22     paragraph 33, subpart C, you refer to emotional
          23     and cognitive capacity.
          24                   Do you see that?
          25            A.     Yes.

                                                                                    Page 154

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0922
(156 of 288), Page 156 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 156 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 155 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     Could you explain what emotional capacity
            2    is?
            3           A.     So if someone sort of similar to the
            4    example I provided earlier about someone who has
            5    severe depression, if they are too emotional,
            6    sometimes that can cloud their judgment and
            7    ability to make informed decisions.
            8           Q.     And can you explain what "cognitive
            9    capacity" is?
          10            A.     That's the ability to comprehend, the
          11     ability to understand an informed consent model,
          12     the medical intervention that they are wanting to
          13     undertake, the risks, benefits, side effects, and
          14     long-term consequences.
          15            Q.     And how do you determine whether an
          16     adolescent has the emotional and cognitive
          17     capacity to provide informed consent?
          18            A.     So over the course of many sessions, we
          19     provide education regarding the risks, benefits,
          20     side effects, consequences, and have thorough
          21     discussions regarding all of that.                     And then we
          22     sort of assess if a young person is able to absorb
          23     that information, process that information, repeat
          24     back that information, and has given this a lot of
          25     thought and consideration.

                                                                                    Page 155

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0923
(157 of 288), Page 157 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 157 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 156 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     Do different treatments require a
            2    different level of emotional and cognitive
            3    capacity?
            4                  MS. NOWLIN-SOHL:            Object to form.
            5                  THE WITNESS:          Not necessarily.               I think
            6    we want -- you know, I think it varies in terms of
            7    the complexity depending on what medicine or
            8    procedure they're undertaking.                  So some things
            9    have more side effects than others or just more
          10     complex in understanding the ins and outs of a
          11     particular procedure.             So it might just be the
          12     thing that we're talking about is more complex.
          13            Q.     (BY MR. RAMER)           Would a treatment with
          14     more serious side effects require a higher level
          15     of capacity?
          16                   MS. NOWLIN-SOHL:            Object to form.
          17                   THE WITNESS:          Yeah.
          18            Q.     (BY MR. RAMER)           Could an individual under
          19     18 have the emotional and cognitive capacity to
          20     consent to puberty blockers but not cross-sex
          21     hormones?
          22            A.     Yes, possibly.
          23            Q.     And could an individual under 18 have the
          24     emotional and cognitive capacity to consent to
          25     cross-sex hormones but not surgery?

                                                                                    Page 156

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0924
(158 of 288), Page 158 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 158 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 157 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           A.      Yes.
            2           Q.      In your declaration page 15, paragraph
            3    43, in the first sentence you're referring to
            4    irreversible secondary sex characteristics.                            And
            5    you provide the example of chest development,
            6    which I believe you previously mentioned as well.
            7                   And my question is why do you deem chest
            8    development an irreversible secondary sex
            9    characteristic?
          10            A.      So in this particular section, I'm
          11     discussing the changes that come with endogenous
          12     puberty.       And so for someone assigned male, that
          13     would be the deep voice example.                     So once that
          14     voice is deepened for that assigned male, that
          15     cannot can reversed for them, even if they are
          16     female-identifying and go on estrogen.
          17                    Similarly with a designated female who
          18     goes through endogenous puberty, chest development
          19     can't be reversed except for by surgery, but
          20     that's a very significant intervention.                            So if
          21     they were to take testosterone, it can't be
          22     reversed.
          23            Q.      Okay.      And I think I see the point.                     So
          24     the point is if it requires surgery, then you
          25     would view that as an irreversible secondary sex

                                                                                    Page 157

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0925
(159 of 288), Page 159 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 159 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 158 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    characteristic; is that right?
            2           A.     Some things can't be changed even with
            3    surgery, but that can be one of the criteria.
            4           Q.     Page 14, paragraph 40, I'll read the
            5    first sentence and ask if I read it correctly.
            6                  You say, "Moreover, as I have seen in my
            7    experience as a clinician, the use of hormone
            8    blockers and cross-sex hormone therapy during
            9    adolescence can prevent the need for future
          10     medical treatment such as surgeries to remove or
          11     alter secondary sex characteristics and allow for
          12     more favorable future outcomes."
          13                   Did I read that correctly?
          14            A.     Yes.
          15            Q.     And are you saying here that the use of
          16     puberty blockers or hormones can prevent the need
          17     for surgeries later?
          18            A.     So, for example, with a designated female
          19     who has gone through puberty and developed chest
          20     tissue, if they identify as masculine and have
          21     gender dysphoria and want to treat that dysphoria
          22     through surgery, that would be the only way to
          23     treat that area of the body.
          24                   But if that same designated female was on
          25     blockers, did not go through that endogenous

                                                                                    Page 158

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0926
(160 of 288), Page 160 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 160 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 159 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    puberty or develop that chest tissue, they would
            2    not necessarily need or seek that surgery later on
            3    because they have a masculine chest.
            4           Q.     Are there any examples other than the
            5    example of chest development in the natal female
            6    or assigned female at birth?
            7           A.     So in a designated male, it could be as
            8    simple as body hair.             So body hair is also
            9    irreversible except for, you know, permanent laser
          10     electrolysis and different methods like that.
          11                   So puberty blockade can also prevent body
          12     hair from growing and prevent their voice from
          13     deepening as well, which would prevent the need to
          14     manage that with other procedures in the future.
          15            Q.     And why does preventing the need for
          16     future medical treatment such as surgeries allow
          17     for more favorable future outcomes?
          18            A.     Well, I think it minimizes the distress
          19     that can be experienced from developing those
          20     secondary sex characteristics of the assigned sex
          21     from ever developing.             So then they would never
          22     develop the distress that they would have
          23     developing those parts.              But also, you know, we
          24     want to minimize medical intervention as much as
          25     we can.

                                                                                    Page 159

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0927
(161 of 288), Page 161 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 161 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 160 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  And, you know, that creates -- you know,
            2    any procedure, any medicine has risks associated
            3    with it.      And if we can prevent a child from
            4    receiving surgery, that seems like a good outcome.
            5            Q.    And can you just -- I think I understand
            6    the principle, but can you just explain why that
            7    is?
            8            A.    Which part?
            9            Q.    Sorry, why you would -- if you can avoid
          10     medical intervention, why you would want to do
          11     that.
          12             A.    So, for example, if it's surgery, any
          13     surgery has risks associated with it.                      And if we
          14     can avoid someone -- a young person getting
          15     surgery, then we would want to do that.
          16             Q.    And so basically if you have two
          17     procedures that are equally effective but one is
          18     more invasive, you would prefer the less invasive
          19     procedure; is that right?
          20                   MS. NOWLIN-SOHL:            Object to form.
          21                   THE WITNESS:          I think we would weigh, you
          22     know, the pros and cons and the risks and benefits
          23     of all the potential interventions and want to
          24     minimize risk and harm as much as we can.
          25             Q.    (BY MR. RAMER)           Yeah, I guess this is

                                                                                    Page 160

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0928
(162 of 288), Page 162 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 162 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 161 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    more of a theoretical question because I doubt
            2    there are situations where you have procedures
            3    that are perfectly equally effective.
            4                   But the question is if you did have in
            5    theory two procedures that were equally effective,
            6    one was more invasive and one was less invasive,
            7    you would prefer the less invasive procedure,
            8    right?
            9                   MS. NOWLIN-SOHL:             Object to form; asked
          10     and answered.
          11                    THE WITNESS:          Yes.
          12            Q.      (BY MR. RAMER)           In your declaration,
          13     going to page 13, paragraph 37 and the third
          14     sentence -- I'll just read it and ask if I read it
          15     correctly.
          16                    It says "As with all medicine,
          17     information should be presented in a
          18     developmentally appropriate manner to both the
          19     adolescent and caregivers."
          20                    Did I read that correctly?
          21            A.      Yes.
          22            Q.      And why should care be given in a
          23     developmentally appropriate manner?
          24            A.      To ensure that youth are able to absorb
          25     and comprehend to the best of their abilities.

                                                                                    Page 161

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0929
(163 of 288), Page 163 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 163 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 162 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1            Q.      And how do you discuss the risk
            2    associated with fertility, for example, in a
            3    developmentally appropriate manner with an
            4    adolescent?
            5            A.      So we spend a lot of time focusing on
            6    that side effect in particular.                    And we, again,
            7    talk both with the adolescent and the caregivers
            8    and present the information.
            9                    You know, first we sort of discuss how --
          10     whatever the medical intervention is, how that
          11     impacts fertility or what we know regarding the
          12     impacts of fertility.
          13                     We discuss sort of hypothetically the
          14     possibilities in the future of, you know, in
          15     hypothetical scenario 1, you do not want kids.
          16     And hypothetical scenario 2, you do want to have
          17     kids.        And hypothetical scenario 3, you know, you
          18     want to do a donor or adoption.                    So we talk about
          19     the different ways in which, you know, their life
          20     might sort of play out.               And we talk about each of
          21     those situations and how they may deal or cope
          22     with choosing an intervention that impacts their
          23     options later on.
          24                     We also counsel about the options that
          25     are available in terms of fertility preservation

                                                                                     Page 162

                                 Associated Reporting & Video - A Veritext Company
                                     calendar-arv@veritext.com 208-343-4004


                                               App.0930
(164 of 288), Page 164 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 164 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 163 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    and the pros and cons of that and answer
            2    questions.
            3                  And we also provide referrals to
            4    fertility specialists for further counseling if
            5    that's something families are interested in.
            6           Q.     What are the options for fertility
            7    preservation?
            8           A.     So for sperm preservation, the -- there's
            9    kind of three main methods.                 So one is a hospital
          10     visit in which we can obtain a sample.
          11                   Another is just going to a traditional
          12     sperm bank and collecting a sample there to be
          13     frozen.
          14                   There are also mail companies that will
          15     mail you a kit to your home so that you can obtain
          16     a sample and then send it back to the company for
          17     analysis and freezing.
          18                   For egg preservation, we have -- patients
          19     meet with our gyn team, and also we have a
          20     fertility department at Stanford that also meets
          21     with patients to talk about egg retrieval and
          22     preservation.
          23            Q.     I think I understand the retrieval part.
          24     On the preservation part, you had mentioned, I
          25     think with respect to sperm, freezing.

                                                                                    Page 163

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0931
(165 of 288), Page 165 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 165 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 164 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                   And is that the same with respect to
            2    eggs?
            3            A.     Both freezing, yes.
            4            Q.     Both freezing.           Are there any other
            5    options?
            6            A.     Not at Stanford.
            7            Q.     Why did you qualify that with "not at
            8    Stanford"?
            9            A.     Because I believe that there are some
          10     places that can do ovary preservation and testicle
          11     preservation, so removal of the whole organ and
          12     freezing it.
          13             Q.     Do you know anything beyond that, what
          14     you just said?
          15             A.     I don't.
          16             Q.     Do you agree that an individual who
          17     begins taking puberty blockers at Tanner Stage II
          18     and proceeds without interruption to cross-sex
          19     hormones will be infertile?
          20                    MS. NOWLIN-SOHL:            Object to form.
          21                    THE WITNESS:          So it just -- we haven't
          22     had a case of youth who was blocked, went on to
          23     cross-sex hormones, so never had endogenous
          24     puberty who was then -- you know, stopped their
          25     hormones or tried to get pregnant or have a child.

                                                                                    Page 164

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0932
(166 of 288), Page 166 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 166 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 165 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    So that situation has just not come up, so I don't
            2    think we're able to say.
            3           Q.     (BY MR. RAMER)           Would that treatment
            4    regimen of going from puberty blockers to
            5    cross-sex hormones to going off hormones to go
            6    through endogenous puberty be in accordance with
            7    the SOC-8?
            8                  MS. NOWLIN-SOHL:            Object to form.
            9                  THE WITNESS:          I'm not sure I understand
          10     "in accordance."          I'm not sure what you mean.
          11            Q.     (BY MR. RAMER)           Do the guidelines discuss
          12     how to properly do that procedure?
          13                   MS. NOWLIN-SOHL:            Object to form.
          14                   THE WITNESS:          How to do -- how to do
          15     fertility preservation in someone who went on
          16     blockade and then hormones and then stopped?
          17            Q.     (BY MR. RAMER)           Yeah, I think that's my
          18     question.
          19                   That process that you just described,
          20     like, is that in the guidelines?
          21                   MS. NOWLIN-SOHL:            Same objection.
          22                   THE WITNESS:          I think it -- you know,
          23     SOC-8, to the best of my knowledge, doesn't really
          24     have specific scenarios.               So, you know, they have
          25     dosing recommendations for someone who's on

                                                                                    Page 165

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0933
(167 of 288), Page 167 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 167 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 166 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    testosterone but not necessarily like, you know,
            2    more globally somebody who did this and then this
            3    and then this and what to do with that.                            So I
            4    don't believe so.
            5           Q.      (BY MR. RAMER)           And is a natal male or a
            6    male assigned at birth sexually mature by Tanner
            7    Stage II?
            8                   MS. NOWLIN-SOHL:            Object to form.
            9                   THE WITNESS:          I think -- I'm not sure
          10     because I'm not a medical expert, but I think it
          11     depends.       Some might be; some may not be.
          12            Q.      (BY MR. RAMER)           Of all your patients,
          13     have you ever had a case of a natal male or
          14     assigned male at birth who underwent prolonged
          15     cross-sex hormone treatment and subsequently
          16     conceived a child?
          17                    MS. NOWLIN-SOHL:            Object to form.
          18                    THE WITNESS:          I have had cases of both
          19     designated males and designated females.                            They
          20     were not on blockers, but they did -- they were on
          21     both estrogen and testosterone and then did
          22     fertility preservation.                So stopped their hormone
          23     treatments and did fertility preservation after
          24     several years of being on hormone therapies and
          25     then got back on their hormones after doing

                                                                                    Page 166

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0934
(168 of 288), Page 168 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 168 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 167 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    preservation, and that was successful.
            2           Q.     (BY MR. RAMER)           I guess which part of
            3    that was successful?             The retrieval?
            4           A.     So the eggs and the sperm were analyzed
            5    for viability and were deemed to be viable, but in
            6    those two cases they have not become children yet.
            7           Q.     And how long were those individuals on
            8    hormones?
            9           A.     Testosterone, I believe, was about six
          10     years.      And then the estrogen case was about four.
          11            Q.     And is this documented in the literature,
          12     or is this just knowledge in your clinic?
          13            A.     This is just my, yeah, personal
          14     experience.
          15            Q.     And have you had any more other than
          16     those?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          I've not had any other
          19     patients express wanting to do fertility
          20     preservation after starting the medical
          21     interventions, just those two.
          22            Q.     (BY MR. RAMER)           I guess what percentage
          23     of your patients do pursue fertility preservation
          24     options?
          25                   MS. NOWLIN-SOHL:            Object to form.

                                                                                    Page 167

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0935
(169 of 288), Page 169 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 169 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 168 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  THE WITNESS:          So I would guess maybe
            2    30 percent.
            3                  MR. RAMER:         And, Li, do you have -- let's
            4    see.     I guess it's now Brady Exhibit 6?
            5                  MS. NOWLIN-SOHL:            Yes.
            6                  MR. RAMER:         Okay.
            7                 (Deposition Exhibit No. 6 was marked.)
            8           Q.     (BY MR. RAMER)           Doctor, have you ever
            9    seen this document before?
          10            A.     No.
          11            Q.     And you see it's a document by the
          12     American Psychological Association?
          13            A.     Yes.
          14            Q.     And you're a member of the American
          15     Psychological Association, correct?
          16            A.     Yes.
          17            Q.     And I'll just represent to you basically
          18     by reading the top, which says it's an "APA
          19     Resolution on the Imposition of Death as a Penalty
          20     For Persons Aged 18 Through 20, Also Known As the
          21     Late Adolescent Class."
          22                   And do you see it says it was published
          23     in August of 2022?
          24            A.     Yes.
          25            Q.     And my questions for you are not about

                                                                                    Page 168

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0936
(170 of 288), Page 170 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 170 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 169 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    the substance of this or your views on the
            2    imposition of the death penalty, but I have a
            3    question about a couple of statements made in this
            4    and just to get your reaction to the scientific
            5    statements.
            6                   MS. NOWLIN-SOHL:            Could she just have a
            7    second to look at it?
            8                   MR. RAMER:         Yeah, absolutely.
            9                   THE WITNESS:          Thanks.
          10            Q.      (BY MR. RAMER)           And I can tell you where
          11     the questions will be if you want to read those
          12     paragraphs in particular, which is on page 2 on
          13     the left column, the second "whereas" paragraph,
          14     and then in the right column the first full
          15     "whereas" paragraph.              But, please, take your time.
          16            A.      Sorry, you said page 2, right-hand
          17     column, "whereas," second paragraph.
          18                    And what was the second one?
          19            Q.      So page 2, left column, second "whereas"
          20     paragraph.
          21            A.      Okay.
          22            Q.      Same page, right column, first "whereas"
          23     paragraph.
          24            A.      Thank you.         Okay.
          25            Q.      Okay.      So we'll start with the second --

                                                                                    Page 169

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0937
(171 of 288), Page 171 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 171 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 170 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    sorry.      We'll start with left column, second
            2    "whereas" paragraph.              And I'm first just going to
            3    read it without saying the citations.                        So just
            4    effectively read the English, and then I'll ask if
            5    I read that correctly.
            6                   It says "Whereas developmental
            7    neuroscience, including research on both the
            8    structure and function of brain development,
            9    establishes that significant maturation of the
          10     brain continues through at least age 20,
          11     especially in the key brain systems implicated in
          12     a person's capacity to evaluate behavioral
          13     options, make rational decisions about behavior,
          14     meaningfully consider the consequences of acting
          15     and not acting in a particular way, and to act
          16     deliberately in stressful or highly charged
          17     emotional environments, as well as continued
          18     development of personality traits, e.g., emotional
          19     stability and conscientiousness and what is
          20     popularly known as 'character.'"
          21                    Did I read that correctly?
          22            A.      Yes.
          23            Q.      And were you aware that significant
          24     maturation of the brain continues through at least
          25     age 20?

                                                                                    Page 170

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0938
(172 of 288), Page 172 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 172 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 171 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           A.     Yes.
            2           Q.     Okay.      And now I'm just going to read --
            3    let me see if I have another question.
            4                  Were you aware that this maturation
            5    occurs in the key brain systems implicated in a
            6    person's capacity to evaluate behavioral options,
            7    make rational decisions about behavior, and
            8    meaningfully consider the consequences of acting
            9    and not acting in a particular way?
          10            A.     Yes.
          11            Q.     Okay.      So same page, right column and the
          12     first full "whereas" clause.                 And again I'll read
          13     it without the citations and ask if I read it
          14     correctly.
          15                   It says "Whereas it is clear the brains
          16     of 18- to 20-year-olds are continuing to develop
          17     and key brain systems relate to higher-order
          18     executive functions and self-control, such as
          19     planning ahead, weighing consequences of behavior,
          20     and emotional regulation.                Their brain development
          21     cannot be distinguished reliably from that of
          22     17-year-olds with regard to these key brain
          23     systems."
          24                   Did I read that correctly?
          25            A.     Yes.

                                                                                    Page 171

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0939
(173 of 288), Page 173 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 173 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 172 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.      And do you agree that up until an
            2    individual is 20, they are continuing to develop
            3    the key brain systems related to higher-order,
            4    executive functions, and self-control such as
            5    planning ahead, weighing consequences of behavior,
            6    and emotional regulation?
            7           A.      I believe that our brains are always
            8    developing.        I don't necessarily think that it
            9    stops at age 20.
          10            Q.      Do you agree with the statements -- let
          11     me restart.
          12                    Do you agree with the statements in this
          13     paragraph?
          14                    MS. NOWLIN-SOHL:             Object to form; asked
          15     and answered.
          16                    THE WITNESS:          Yes.
          17            Q.      (BY MR. RAMER)           Do the statements in the
          18     paragraphs we just read give you any concern about
          19     whether individuals under 18 can provide informed
          20     consent to a treatment that bears risk of
          21     infertility?
          22                    MS. NOWLIN-SOHL:             Object to form.
          23                    THE WITNESS:          So just because a brain is
          24     continuing to develop doesn't mean it's not able
          25     to do these tasks.            It just means that they are

                                                                                    Page 172

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0940
(174 of 288), Page 174 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 174 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 173 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    still maturing in order to reach their full
            2    capacity to do these tests.                   So it's not to say
            3    they're not able to do them.
            4            Q.     (BY MR. RAMER)            Do you have any concern
            5    about whether adolescents as a category possess
            6    the maturity to provide consent to treatment that
            7    carries risks of infertility?
            8                   MS. NOWLIN-SOHL:              Object to form.
            9                   THE WITNESS:           So everybody develops at
          10     their own pace, and some of within -- some are
          11     precocious; some are delayed.                     And so, you know,
          12     each individual is approached as such, as an
          13     individual.
          14                    And there are some who are not able to
          15     meet the SOC-8 criteria of being able to have the
          16     emotional or cognitive capacity to provide
          17     informed consent, in which case we would not
          18     proceed with any medical intervention for that
          19     youth.
          20                    So it is embedded in our evaluation
          21     process to assess for that.
          22             Q.     (BY MR. RAMER)            And so you think that
          23     there are adolescents who are able to -- excuse
          24     me.
          25                    There are adolescents who are able to

                                                                                    Page 173

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0941
(175 of 288), Page 175 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 175 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 174 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    provide informed consent to that treatment; is
            2    that right?
            3           A.      Yes.
            4           Q.      I'd like to turn in your declaration to
            5    page 12, paragraph 35, first sentence.                         And you
            6    refer in the parenthetical to "evolution of
            7    identity."
            8                   Do you see that?
            9           A.      Yes.
          10            Q.      What do you mean by that?
          11            A.      That's a term that I like to use, but
          12     essentially it means how the identity developed
          13     over time.        So when did it first come into their
          14     awareness that there might be incongruence or
          15     differences?
          16                    When did they finally find the words or
          17     the labels at which they define themselves?
          18                    And what information did they obtain to
          19     be able to use those words and that kind of thing?
          20            Q.      Turning to page 7, paragraph 22, last
          21     sentence on the page -- I'm sorry.                      Yes, last
          22     sentence on the page.              You use the word
          23     "detransitioned" in quotation marks.
          24                    Do you see that?
          25            A.      Yes.

                                                                                    Page 174

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0942
(176 of 288), Page 176 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 176 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 175 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1            Q.     What's your understanding of that word?
            2            A.     My understanding of that word is that
            3    there are many ways to define it, depending on the
            4    study.       So typically it has been used to mean
            5    people who stop their medical interventions,
            6    gender-diverse people who stop their medical
            7    interventions.
            8            Q.     And is that your understanding of the
            9    word?
          10             A.     That is how it's most commonly used and
          11     defined in the research.
          12             Q.     And previous page from this, page 6,
          13     paragraph 20, first sentence, I'll just read it
          14     and ask if I read it correctly.
          15                    It says "For adolescents and adults whose
          16     gender identity differs from their sex assigned at
          17     birth, it is very unlikely that they will later
          18     come to identify with their birth-assigned sex."
          19                    Did I read that correctly?
          20             A.     Yes.
          21             Q.     And this assertion you make here, does it
          22     apply to individuals whose gender incongruence
          23     arose during adolescence?
          24                    MS. NOWLIN-SOHL:           Object to form.
          25                    THE WITNESS:         Can you ask that again?

                                                                                    Page 175

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0943
(177 of 288), Page 177 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 177 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 176 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1            Q.     (BY MR. RAMER)           Yes.      The proposition in
            2    the first sentence here, does that apply to
            3    individuals whose gender incongruence arose during
            4    adolescence?
            5                   MS. NOWLIN-SOHL:            Same objection.
            6                   THE WITNESS:          It includes -- I mean, I
            7    think it -- excuse me.               Let me back up.
            8                   It includes -- it could be they
            9    identified in early childhood.                    It could be they
          10     identified in adolescence, but they are currently
          11     adolescents and adults.
          12             Q.     (BY MR. RAMER)           And I guess if you're
          13     isolating the category that identified as gender
          14     incongruent as adolescents, does it hold true that
          15     it is very unlikely that they will later come to
          16     identify with their birth-assigned sex?
          17                    MS. NOWLIN-SOHL:            Object to form.
          18                    THE WITNESS:          I'm not sure I understood
          19     that.
          20             Q.     (BY MR. RAMER)           Well, I guess in your
          21     answer I thought you were saying it includes --
          22     when you use the word "adolescents" in this
          23     sentence, it includes individuals who identified
          24     as gender incongruent as adolescents and also
          25     individuals who identified as gender incongruent

                                                                                    Page 176

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0944
(178 of 288), Page 178 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 178 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 177 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    during childhood and then aged into adolescence;
            2    is that right?
            3           A.     Correct.
            4           Q.     And my question is specifically about the
            5    first category of individuals who identified as
            6    gender incongruent in adolescence.
            7                  And if you're talking only about that
            8    category, is it true that it is very unlikely that
            9    they will later come to identify with their
          10     birth-assigned sex?
          11                   MS. NOWLIN-SOHL:            Object to form.
          12                   THE WITNESS:          I'm not aware of any
          13     research that indicates that that subgroup has
          14     higher rates of detransition.
          15            Q.     (BY MR. RAMER)           What about higher rates
          16     of desistance?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          If by "desistance" you mean
          19     identified as gender diverse and then now identify
          20     as their assigned sex -- is that how you're
          21     defining "desistance"?
          22            Q.     (BY MR. RAMER)           I guess how do you define
          23     "desistance"?
          24            A.     So sometimes desistance is also just
          25     talking about stopping medical intervention.

                                                                                    Page 177

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0945
(179 of 288), Page 179 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 179 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 178 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  But in my terminology, I guess
            2    "desistance" would be identifying as cisgender or
            3    aligning with the assigned sex at birth later.
            4           Q.     Okay.      Yeah, let's take your definition.
            5                  And are there any studies analyzing
            6    desistance rates for individuals specifically who
            7    identified as gender incongruent during
            8    adolescence?
            9           A.     Not to my knowledge.
          10            Q.     Do you keep statistics of regret at your
          11     clinic?
          12                   MS. NOWLIN-SOHL:            Object to form.
          13                   THE WITNESS:          Keep in what way?
          14            Q.     (BY MR. RAMER)           Do you know how many
          15     patients have ever expressed regret about their
          16     treatment?
          17                   MS. NOWLIN-SOHL:            Object to form.
          18                   THE WITNESS:          Of our clinic patients?
          19            Q.     (BY MR. RAMER)           Yes.
          20            A.     We do not keep record of, like, the
          21     number, no.
          22            Q.     How do you define "regret"?
          23            A.     "Regret" to me would mean someone who has
          24     done a medical intervention and wishes that they
          25     hadn't.

                                                                                    Page 178

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0946
(180 of 288), Page 180 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 180 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 179 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     Has a patient in your clinic ever
            2    expressed regret at having taken puberty blockers?
            3           A.     Not to my knowledge.
            4           Q.     Has a patient in your clinic ever
            5    expressed regret at having taken cross-sex
            6    hormones?
            7           A.     Not to my knowledge.
            8           Q.     Have you ever had any patients receive
            9    what's called a gender-affirming mastectomy?
          10                   MS. NOWLIN-SOHL:            Object to form.
          11                   THE WITNESS:          Masculinizing top surgery?
          12            Q.     (BY MR. RAMER)           Yes.
          13            A.     Yes.
          14            Q.     Have you ever had a patient express
          15     regret about receiving masculinizing top surgery?
          16            A.     No, not to my knowledge.
          17            Q.     In your declaration, page 6 -- we're
          18     there.      Sorry.     Page 6, paragraph 20.
          19                   And the second sentence, you refer to six
          20     individuals who were your patients who later came
          21     to identify with their sex assigned at birth; is
          22     that right?
          23            A.     Yes.
          24            Q.     And do you recall how -- whether these
          25     individuals were diagnosed with gender dysphoria

                                                                                    Page 179

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0947
(181 of 288), Page 181 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 181 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 180 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    during childhood or adolescence?
            2           A.     I believe all six met criteria at some
            3    point.
            4           Q.     Right.      And I'm not suggesting they
            5    didn't.
            6                  I guess my question is when they met the
            7    criteria -- when they were formally diagnosed, do
            8    you recall whether it was their childhood or
            9    adolescence?
          10            A.     So I know for sure two that had received
          11     the puberty blockade in childhood.                     The other four
          12     I'm not sure.         I don't remember.
          13            Q.     Do you recall whether the six were natal
          14     females or females assigned at birth?
          15            A.     I believe it was pretty 50/50 of the six,
          16     three and three.          It might have been two and four,
          17     but...
          18            Q.     And when you say in your declaration that
          19     "none expressed regret around their gender
          20     exploration or care," do you just mean they didn't
          21     tell you that they regretted their care?
          22            A.     No.     So I supported them after they --
          23     you know, I supported them through retransition or
          24     coming off their medications.                  And so we continued
          25     to do therapy with these patients and, you know,

                                                                                    Page 180

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0948
(182 of 288), Page 182 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 182 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 181 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    explored, you know, if they were experiencing any
            2    side effects, whether that be socially or
            3    physically or mentally, and none of them endorsed
            4    any negative side effects and were glad that they
            5    had done the exploration process and glad that
            6    they -- in the case of the two, done the puberty
            7    blockade.
            8           Q.     I think in your answer you had referred
            9    to "retransition."            Is that -- first of all, did
          10     you use that word?
          11            A.     Yes.
          12            Q.     Is that something distinct from
          13     "detransition"?
          14            A.     It's -- it can be used interchangeably, I
          15     just prefer the term "retransition."
          16            Q.     Okay.      Because I've heard --
          17            A.     Sorry.
          18            Q.     It's all right.            Go ahead.
          19            A.     To transition back to the assigned sex.
          20            Q.     Okay.      Because I -- okay.             Got it.
          21                   If a patient regretted a medical
          22     intervention, do you think the patient would
          23     return to the provider who gave them that
          24     intervention to express their regret?
          25                   MS. NOWLIN-SOHL:            Object to form; calls

                                                                                    Page 181

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0949
(183 of 288), Page 183 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 183 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 182 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    for speculation.
            2                  THE WITNESS:          I certainly hope so.               We
            3    create -- we try to create an environment that is
            4    welcoming to all.           We're not a transgender clinic;
            5    we are a gender clinic.              And so we will support
            6    patients regardless of how their identity shifts
            7    and changes.
            8                  And so we, you know, often check in with
            9    patients along the path to make sure that, you
          10     know, are you happy with your medicines?                           Do you
          11     want to stop your medicines for whatever reason?
          12                   And so we welcome that conversation and
          13     we're very open to all the pathways that a youth
          14     might take.        So I would hope we're creating an
          15     environment in which families and patients feel
          16     safe to do so.
          17            Q.     (BY MR. RAMER)           Yeah, and I wasn't asking
          18     the question to cast doubt on your clinic in
          19     particular.        I think I was asking the question
          20     more from the perspective of the psychology of the
          21     individual patient and if the patient regretted a
          22     medical intervention as a psychologist, do you
          23     think that that patient would have reservations
          24     about returning to the provider who gave them that
          25     intervention to express their regret?

                                                                                    Page 182

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0950
(184 of 288), Page 184 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 184 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 183 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  MS. NOWLIN-SOHL:            Object to form; calls
            2    for speculation, foundation.
            3                  THE WITNESS:          Given that these six
            4    reached out to us and wanted my support through
            5    that process, I mean, it's possible that that is
            6    happening.       But in the case of these six, they
            7    felt very comfortable coming back and wanted the
            8    gender clinic to support them through
            9    retransition.
          10                   MR. RAMER:         I'm going to send an exhibit.
          11     It's going to probably take a minute.                      I just sent
          12     it, so just let me know whenever it arrives.
          13                   MS. NOWLIN-SOHL:            Okay.
          14                   MR. RAMER:         Are we looking?
          15                   MS. NOWLIN-SOHL:            Still looking.
          16                   MR. RAMER:         All right.         Well, maybe I can
          17     ask a question to introduce this, and we can deal
          18     with it when it arrives.
          19            Q.     (BY MR. RAMER)           But, Dr. Brady, did you
          20     help author an article entitled "Understanding and
          21     Supporting Patients With Dynamic Desires For
          22     Gender-Affirming Medical Interventions"?
          23            A.     Yes.
          24                   MS. NOWLIN-SOHL:            Okay.      We have it now.
          25                  (Deposition Exhibit No. 7 was marked.)

                                                                                    Page 183

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0951
(185 of 288), Page 185 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 185 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 184 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     (BY MR. RAMER)           And my question will be
            2    is this that article?
            3           A.     Yes.
            4           Q.     And in the second paragraph, you first
            5    highlight a study from the Netherlands.
            6                  Do you see that?
            7           A.     Yes.
            8           Q.     And I assume that even though the study
            9    included participants from the Netherlands, you
          10     still deem it useful with respect to your work in
          11     the United States?
          12            A.     Yes.
          13            Q.     With respect to the last sentence of that
          14     paragraph, I'll read it and ask if I read it
          15     correctly.
          16                   It says "Studies of adolescents who start
          17     pubertal suppression had found that only a few
          18     percent ultimately chose to discontinue
          19     gender-affirming medical care."
          20                   Did I read that correctly?
          21            A.     Yes.
          22            Q.     And so that sentence speaks only about
          23     adolescents who chose to discontinue care, right?
          24            A.     Yes.
          25            Q.     Do you think that metric adequately

                                                                                    Page 184

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0952
(186 of 288), Page 186 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 186 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 185 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    captures regret?
            2                   MS. NOWLIN-SOHL:            Object to form.
            3                   THE WITNESS:          So, no, because not all of
            4    these individuals, such as the two in my clinical
            5    practice who chose not to pursue further
            6    intervention and stopped puberty blockers -- they
            7    did not express regret.                So this doesn't
            8    necessarily -- this number doesn't equate to
            9    regret.
          10            Q.      (BY MR. RAMER)           So you actually think
          11     this is over-counting potentially?
          12            A.      [Indiscernible due to cross-talk.]
          13            Q.      Do you think it's potentially
          14     under-counting?
          15            A.      In many studies some people are lost to
          16     follow-up, and that happens in our clinic as well,
          17     so potentially.
          18            Q.      Well, I mean, even leaving aside lost to
          19     follow-up, just because somebody chooses not to
          20     discontinue the care, does that mean they don't
          21     regret it?
          22                    MS. NOWLIN-SOHL:            Object to form; calls
          23     for speculation.
          24                    THE WITNESS:          Are you saying -- so
          25     somebody who does a blocker and stays on a blocker

                                                                                    Page 185

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0953
(187 of 288), Page 187 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 187 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 186 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    might still be experiencing regret while still on
            2    that blocker?
            3           Q.     (BY MR. RAMER)           I mean, I guess I take a
            4    more advanced example of somebody who was on a
            5    blocker and then took cross-sex hormones and so
            6    has, short of surgery, fully medically
            7    transitioned.
            8                  Isn't it possible for that person to
            9    regret where they currently are, even though they
          10     don't want to go through the process of
          11     retransition?
          12                   MS. NOWLIN-SOHL:            Object to form; calls
          13     for speculation.
          14                   THE WITNESS:          Regret where they currently
          15     are or regret having made the decision to do
          16     hormone therapies?
          17            Q.     (BY MR. RAMER)           I guess what's the
          18     distinction you're drawing there?
          19            A.     Because many people might regret where
          20     they are in life, that might -- may or may not
          21     involve their gender.
          22            Q.     Yes, sorry.         For purposes of the
          23     question, the regret was specific to the
          24     transition.
          25                   MS. NOWLIN-SOHL:            Same objections.

                                                                                    Page 186

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0954
(188 of 288), Page 188 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 188 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 187 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  THE WITNESS:          So it's possible.              Anything
            2    is possible.        However, in my clinical experience,
            3    it would be difficult to hide that level of
            4    distress if I'm working with somebody in a
            5    therapeutic context.             And that might be something
            6    I'd become suspicious of, even if someone is
            7    trying to hide that.
            8           Q.     (BY MR. RAMER)           And you mentioned "lost
            9    to follow-up."
          10                   Can you just explain what that is?
          11            A.     So it can mean a number of different
          12     things, but typically, you know, in the medical
          13     world, it's -- you know, they maybe moved and
          14     didn't tell us they were moving.                    And so we don't
          15     really know where that person is.
          16                   It might be that they transferred care,
          17     even if they didn't move but they just transferred
          18     care to another hospital.
          19                   Maybe insurance changed and they had to
          20     change providers.
          21                   And so people get lost to follow-up in
          22     that way.
          23            Q.     Do you recall as you sit here the
          24     percentage of participants that were lost to
          25     follow-up in this study out of the Netherlands

                                                                                    Page 187

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0955
(189 of 288), Page 189 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 189 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 188 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    that you cite?
            2            A.    Let me look at the citation.
            3                  I shouldn't have touched it.                   If I could
            4    look at the citation form.
            5                  These particular studies I do not
            6    remember what particular percent was lost to
            7    follow-up, no.
            8            Q.    Do you think that particularly with
            9    respect to a study that is assessing regret that
          10     lost to follow-up is a significant limitation?
          11                   MS. NOWLIN-SOHL:            Object to form.
          12                   THE WITNESS:          In all research, you know,
          13     we hope for complete data.                That's often not able
          14     to be obtained.          You know, you do wonder about
          15     the -- those who were not able to participate in
          16     the study and where they are and how they feel,
          17     but we can't know for sure what's going on with
          18     them.
          19             Q.    (BY MR. RAMER)           Would it surprise you to
          20     know that the loss to follow-up in this study you
          21     cite is over 35 percent?
          22             A.    That's not uncommon for research.                      That's
          23     longitudinal.
          24             Q.    Do you think that high of a loss to
          25     follow-up is concerning when the purpose of the

                                                                                    Page 188

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0956
(190 of 288), Page 190 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 190 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 189 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    study is measuring regret?
            2                  MS. NOWLIN-SOHL:            Object to form.
            3                  THE WITNESS:          Given that it's a pretty
            4    standard number with regards to other fields and
            5    other studies, it doesn't necessarily give me
            6    cause for concern.
            7           Q.     (BY MR. RAMER)           Wouldn't the conservative
            8    estimate be that you have to treat that percentage
            9    as individuals who regret the care?
          10                   MS. NOWLIN-SOHL:            Object to form; calls
          11     for speculation.
          12                   THE WITNESS:          That seems like an
          13     inappropriate leap to just consider that whole
          14     group.
          15                   Statistically there might be ways of
          16     applying the rates and percentages that are seen
          17     in those who were able to participate and
          18     translating that to the lost-to-follow-up group
          19     and proportionately applying those percentages.
          20            Q.     (BY MR. RAMER)           You don't see any
          21     methodological issue with taking the .6 percent of
          22     the people who were not lost to follow-up and just
          23     applying that percentage to the lost-to-follow-up
          24     group?
          25                   MS. NOWLIN-SOHL:            Objection to form;

                                                                                    Page 189

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0957
(191 of 288), Page 191 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 191 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 190 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    mischaracterizes prior testimony.
            2                   THE WITNESS:          I mean, I'm just giving
            3    that as an example of maybe something that's a
            4    little more appropriate.                The researchers didn't
            5    choose to do that, so clearly they didn't feel
            6    like that was appropriate to do, nor did they feel
            7    like it was appropriate to assume that that
            8    32 percent experienced regret.
            9           Q.      (BY MR. RAMER)           Do you acknowledge that
          10     that amount of lost to follow-up is a study
          11     limitation of that article?
          12                    MS. NOWLIN-SOHL:            Object to form.
          13                    THE WITNESS:          Yeah, lost to follow-up is
          14     a limitation of any article.
          15            Q.      (BY MR. RAMER)           In your -- oh, no.              On
          16     this article, sorry, first page, fourth paragraph,
          17     in the first sentence you refer to the fact that
          18     some individuals discontinue or reverse
          19     gender-affirming medical or surgical care.
          20                    Do you see that?
          21            A.      Yes.
          22            Q.      And then you say that fact has been,
          23     quote, woefully politicized.
          24                    Do you see that?
          25            A.      Yes.

                                                                                    Page 190

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0958
(192 of 288), Page 192 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 192 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 191 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1            Q.     And can you explain what you mean by
            2    that?
            3            A.     So this concern that those who choose to
            4    discontinue or reverse their gender affirmation or
            5    interventions are seen as a reason not to do this
            6    work, even though that percentage is low, and even
            7    though there are many more who benefit from such
            8    interventions.          And so the few are being used,
            9    unfortunately, to make a case that has a lot of
          10     limitations.
          11             Q.     And so you think that these individuals
          12     are being used; is that what you said?
          13                    MS. NOWLIN-SOHL:            Object to form;
          14     mischaracterizes prior testimony.
          15                    THE WITNESS:          I think the data on these
          16     individuals is being used to make a case that has
          17     limitations.
          18             Q.     (BY MR. RAMER)           Can you explain what you
          19     mean by "a case that has limitations"?
          20             A.     So again, those who discontinue don't
          21     necessarily regret and haven't necessarily
          22     detransitioned.           So many sought medical
          23     intervention because they're happy and have met
          24     their transition goals.
          25                    They still identify as gender diverse,

                                                                                    Page 191

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0959
(193 of 288), Page 193 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 193 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 192 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    and so sometimes those numbers are used to say
            2    that many discontinue or many regret their
            3    decisions, but that's not necessarily the case.
            4           Q.     Do you think we know the percentage that
            5    will ultimately discontinue or regret
            6    gender-affirming medical or surgical care?
            7                  MS. NOWLIN-SOHL:            Object to form.
            8                  THE WITNESS:          We have estimates.
            9           Q.     (BY MR. RAMER)           And what estimates are
          10     you referring to?
          11            A.     So, you know, some of the citations are
          12     included in my declaration talk about the percents
          13     in those studies who detransition or choose to
          14     stop medical care.
          15            Q.     Do you agree that in the last ten years,
          16     there has been a substantial increase in the
          17     number of individuals under 18 who have been
          18     diagnosed with gender dysphoria?
          19            A.     So in the last ten years, I know that the
          20     instance of gender -- excuse me.
          21                   There has been a rise in the number of
          22     individuals who will -- who endorse that they are
          23     transgender or gender diverse, and that's, you
          24     know -- like, the Williams study is .6 percent, .7
          25     percent to 1.4 percent over the last four years --

                                                                                    Page 192

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0960
(194 of 288), Page 194 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 194 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 193 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    sorry, ten years.
            2           Q.      When you say "a rise in the number of
            3    individuals who will endorse that they are
            4    transgender or gender diverse," what did you mean
            5    by that?
            6           A.      So specifically you asked me about
            7    individuals who are diagnosed with gender
            8    dysphoria, and I don't know what the estimates are
            9    in terms of the increase in gender dysphoria.
          10                    All I know is the increase in the number
          11     of people who will self-declare that they are
          12     transgender or gender diverse.
          13            Q.      So you do not know whether the rate --
          14     let me rephrase.
          15                    You do not know whether the number of
          16     minors diagnosed with gender dysphoria in the last
          17     ten years has significantly increased?
          18            A.      I can assume because the number of those
          19     who are self-identifying as transgender or gender
          20     diverse has increased, that the number of people
          21     who are getting diagnosed with gender dysphoria is
          22     also increasing.
          23            Q.      But you're saying that would be an
          24     assumption on your part?
          25            A.      Yeah.      I don't know of any, like,

                                                                                    Page 193

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0961
(195 of 288), Page 195 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 195 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 194 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    specific rates or, you know, numbers.
            2           Q.     Do you agree that the majority of
            3    individuals under 18 who are currently being
            4    diagnosed with gender dysphoria in the last three
            5    years are natal females or females assigned at
            6    birth?
            7                  MS. NOWLIN-SOHL:            Object to form.
            8                  THE WITNESS:          Again, I don't know of any
            9    data that's looking at differential rates in terms
          10     of gender -- like, sex ratio in the diagnosis of
          11     gender dysphoria.           In our clinic it's 50/50, so...
          12            Q.     (BY MR. RAMER)           And you do not know the
          13     ratio outside of your clinic; is that right?
          14            A.     I don't know if there are reports of
          15     gender -- a sex ratio difference.
          16            Q.     In the same paragraph --
          17                   MR. RAMER:         Actually we've been going for
          18     a little over an hour.              Do you just want to take a
          19     quick break?
          20                   MS. NOWLIN-SOHL:            Yeah, let's take five.
          21                   MR. RAMER:         Okay.
          22                   THE VIDEOGRAPHER:             All right.         So the
          23     time is 5:26 p.m. Mountain time, and we are off
          24     the record.
          25                 (Break taken from 5:26 p.m. to 5:36 p.m.)

                                                                                    Page 194

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0962
(196 of 288), Page 196 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 196 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 195 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  THE VIDEOGRAPHER:             So we are recording.
            2    The time is 5:36 p.m., and we are back on the
            3    record.
            4           Q.     (BY MR. RAMER)           Dr. Brady, I'd like to
            5    stick with your article we were previously
            6    discussing.        And specifically I'd like to go to
            7    page 2 and the last paragraph on the page and the
            8    first sentence of that paragraph.
            9                  Do you see where you say, "The field of
          10     gender medicine has historically focused on binary
          11     and static conceptualization of gender identity"?
          12            A.     Yes.
          13            Q.     Do you think the DSM-5 focuses on static
          14     conceptualizations of gender identity?
          15            A.     So DSM-4 certainly did.                I think
          16     improvements were made in DSM-5 to be more
          17     inclusive such as criteria that we were talking
          18     about earlier.
          19            Q.     Do you think there are still improvements
          20     to be made with respect to the eventual DSM-6?
          21                   MS. NOWLIN-SOHL:            Object to form.
          22                   THE WITNESS:          In every iteration of DSM
          23     they're always integrating new research and new
          24     understanding, so every diagnosis gets a facelift
          25     with the next DSM.

                                                                                    Page 195

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0963
(197 of 288), Page 197 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 197 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 196 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           Q.     (BY MR. RAMER)           Do you think there are
            2    improvements that can be made in the DSM-5 with
            3    respect to static conceptualizations of gender
            4    identity?
            5                  MS. NOWLIN-SOHL:            Object to form.
            6                  THE WITNESS:          I think the current DSM
            7    criteria capture gender dysphoria well.
            8           Q.     (BY MR. RAMER)           Same page, the top
            9    paragraph, I think it's the third and fourth
          10     sentences, you refer to a nocebo effect.
          11                   Can you just explain what you're saying
          12     in those two sentences?
          13            A.     Sure.      Let me find it.            I'm sorry.        You
          14     said second page, first paragraph.
          15            Q.     Second page, first paragraph, and I think
          16     it's the third and fourth sentences.                      The third
          17     sentence looks like it starts with "For example."
          18            A.     Okay.      It's difficult for -- I can try.
          19     I didn't write that sentence.                  I have two
          20     coauthors.
          21                   But would you want me to guess what it
          22     is?
          23            Q.     Yeah, I'd just be curious if you -- you
          24     know, to the extent you understand that, what it's
          25     saying.

                                                                                    Page 196

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0964
(198 of 288), Page 198 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 198 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 197 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           A.     Yeah.      So a placebo effect would be, you
            2    know, administering a sugar pill or something that
            3    we know doesn't have an effect and feeling as
            4    though it does have an effect.
            5                  So in this case I think "nocebo" would
            6    mean like knowing that they're without something
            7    feels like it's having an effect when maybe it's
            8    not.
            9                  So having lower testosterone -- just
          10     knowing that your testosterone is lower might make
          11     you feel like you have less energy when you
          12     actually might not have less energy.
          13            Q.     Do you know which one of your coauthors
          14     wrote those sentences?
          15            A.     I believe it's Dr. Turban.
          16            Q.     I think going back to the first page, and
          17     in the fourth paragraph, second sentence, you
          18     refer to "dynamic gender-affirming needs."
          19                   Do you see that?
          20            A.     Yes.
          21            Q.     Could you explain what you mean by
          22     "dynamic gender-affirming needs"?
          23            A.     If you'll just give me a minute, I'm
          24     going to read the whole sentence.
          25            Q.     Please, go ahead.

                                                                                    Page 197

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0965
(199 of 288), Page 199 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 199 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 198 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           A.     So in this case, we're referring to --
            2    so, for example, a nonbinary-identifying
            3    individual, let's say designated female nonbinary
            4    identifying, might want some masculinization from
            5    testosterone but not full masculinization.                          And
            6    they may even from the outset know that they do
            7    not want to stay on testosterone indefinitely.
            8    And so they are going to be on testosterone until
            9    they've acquired some of the changes but not all
          10     of the changes and then choose to discontinue that
          11     intentionally.
          12                   And so that's sort of what we were
          13     considering to be, like, of a dynamic need because
          14     traditionally we think of you start on hormone
          15     therapies and you stay on hormone therapies.                          But
          16     there are kind of -- we're understanding more and
          17     more that there are some more dynamic or maybe
          18     non-traditional ways of doing gender-affirming
          19     medical intervention.
          20            Q.     Were you talking about examples, though,
          21     where the individual knows from the outset what
          22     treatment they're desiring?
          23            A.     In some cases people know, you know, that
          24     "I only want to be on testosterone for however
          25     long it takes to achieve X, Y, Z."

                                                                                    Page 198

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0966
(200 of 288), Page 200 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 200 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 199 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                  For other folks it's something that
            2    evolves over time.
            3                  And while they're on testosterone, if
            4    they become comfortable with the changes and are
            5    happy with the changes, they may choose to
            6    discontinue at that time too, so either case.
            7           Q.     For individuals whose gender identity
            8    changes at some point, do they still satisfy the
            9    criteria for gender dysphoria under the DSM-5?
          10                   MS. NOWLIN-SOHL:            Object to form.
          11                   THE WITNESS:          It depends.         Because again,
          12     they can still identify as gender diverse even
          13     though their identity has evolved or changed, and
          14     they still might meet criteria for gender
          15     dysphoria.
          16            Q.     (BY MR. RAMER)           So -- and maybe it's
          17     easiest if we can go back to your declaration to
          18     page 6, paragraph 19 and just return to 19A where
          19     we're talking about the marked incongruence and
          20     the six months' duration.
          21                   And I guess I'm struggling to understand
          22     how if the gender -- if someone's gender identity
          23     is changing, how they could show a marked
          24     incongruence of six months' duration.
          25                   MS. NOWLIN-SOHL:            Is there a question

                                                                                    Page 199

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0967
(201 of 288), Page 201 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 201 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 200 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    there?
            2           Q.     (BY MR. RAMER)           Can you explain that?
            3                  MS. NOWLIN-SOHL:            Object to form.
            4                  THE WITNESS:          So a lot of things can
            5    qualify as an incongruence.                 So in the case of,
            6    again, let's say again a nonbinary individual who
            7    later identifies as transmasculine.                     So their
            8    identity has evolved and changed, but both of
            9    those identities were incongruent with the
          10     assigned sex at birth.
          11                   And so we don't necessarily need six
          12     months' duration in the new identity to meet
          13     criteria for gender dysphoria.
          14            Q.     (BY MR. RAMER)           So basically all
          15     incongruences are created equal for purposes of
          16     the DSM-5 diagnostic criteria; is that right?
          17                   MS. NOWLIN-SOHL:            Object to form;
          18     mischaracterizes prior testimony.
          19                   THE WITNESS:          In terms of criterion A and
          20     1 where it states "marked incongruence," it can be
          21     any identity, any donor identity that's not
          22     congruent with assigned sex.
          23            Q.     (BY MR. RAMER)           And so your gender
          24     identity could be changing every week, but so long
          25     as at no point during a six-month period your

                                                                                    Page 200

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0968
(202 of 288), Page 202 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 202 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 201 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    gender identity is congruent with your assigned
            2    gender, you still fall within DSM-5 diagnostic
            3    criteria in paragraph A?
            4                  MS. NOWLIN-SOHL:             Object to form;
            5    mischaracterizes prior testimony.
            6                  THE WITNESS:          If they have other criteria
            7    and needs, yes.
            8           Q.     (BY MR. RAMER)           So the duration part of
            9    paragraph A here, the only thing that matters is
          10     that at no point during the six months was your
          11     gender identity congruent with your assigned
          12     gender; is that fair?
          13                   MS. NOWLIN-SOHL:             Object to form;
          14     argumentative, mischaracterizes prior testimony,
          15     asked and answered.
          16                   THE WITNESS:          Yes.
          17            Q.     (BY MR. RAMER)           Have you ever had a
          18     patient whose gender identity goes from being --
          19     let me rephrase.
          20                   Have you ever had a patient who was
          21     gender-fluid and as part of the fluidity at times
          22     would have a gender identity that is consistent
          23     with the individual's assigned gender?
          24            A.     So I've not had a case -- again,
          25     gender-fluid is a more rare identity, so that's

                                                                                    Page 201

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0969
(203 of 288), Page 203 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 203 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 202 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    only a small subset of my patients.
            2                  But I've not had clinically a patient who
            3    part of the fluid identity involved their cis --
            4    like a cisgender identity.
            5           Q.     Have you ever heard of that, though?
            6           A.     Not to my knowledge.
            7           Q.     I think I only have a few more questions,
            8    though it potentially depends on the answers to
            9    the questions.
          10                   But I just want to clarify a few things
          11     from -- for the record, which is with respect to
          12     the Endocrine Society guidelines, you do not
          13     recall ever reading the systematic reviews that
          14     those guidelines commissioned, correct?
          15            A.     Correct.
          16            Q.     With respect to the WPATH guidelines, you
          17     do not recall ever reading the systematic review
          18     that those guidelines commissioned, correct?
          19                   MS. NOWLIN-SOHL:            Object to form.
          20                   THE WITNESS:          Only as it is described in
          21     SOC-8, so the summarization of the systematic
          22     review.
          23            Q.     (BY MR. RAMER)           So in other words you've
          24     not read the separate systematic review; is that
          25     right?

                                                                                    Page 202

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0970
(204 of 288), Page 204 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 204 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 203 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1           A.      Correct.
            2                   MS. NOWLIN-SOHL:            Object to form.
            3                   THE WITNESS:          Correct.
            4           Q.      (BY MR. RAMER)           Have you read any
            5    publication from a European health authority
            6    regarding the treatment for gender dysphoria?
            7           A.      No.
            8                   MR. RAMER:         Okay.      I think that's all
            9    that I have.         Thank you very much, Dr. Brady.                     At
          10     this point I'm going to turn it over to your
          11     counsel.
          12                    And, Li, I understand if you need a few
          13     minutes off the record to prep, but I'll turn
          14     things over to you.
          15                    MS. NOWLIN-SOHL:            Yeah.       I know we just
          16     took a break.         Do you mind if we just take ten
          17     minutes so I can speak with my co-counsel?
          18                    MR. RAMER:         Yeah, not a problem at all.
          19                    MS. NOWLIN-SOHL:            Okay.       Thank you.
          20                    THE VIDEOGRAPHER:             Okay.      So the time is
          21     5:50 p.m. Mountain time, and we are off the
          22     record.
          23                 (Break taken from 5:50 p.m. to 5:56 p.m.)
          24                    THE VIDEOGRAPHER:             All right.            So we are
          25     recording.        The time is 5:56 p.m. Mountain time,

                                                                                    Page 203

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0971
(205 of 288), Page 205 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 205 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 204 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1    and we are back on the record.
            2                  MS. NOWLIN-SOHL:           Okay.     I have no
            3    questions.
            4                  MR. RAMER:        Well, great.         Well, that's it
            5    for me.     Thank you, Dr. Brady, for your time.
            6                  THE WITNESS:         Thank you.
            7                  THE VIDEOGRAPHER:           Okay.      Then this
            8    concludes our video deposition with Dr. Christine
            9    Brady.     It is August 31, 2023.              The time is
          10     5:56 p.m. Mountain time, and we are off the
          11     record.
          12
          13        (Whereupon the deposition was concluded at 5:56 p.m.)
          14                                            ****
          15                               (Signature requested.)
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25

                                                                                    Page 204

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0972
(206 of 288), Page 206 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 206 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 205 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                                   VERIFICATION
            2
                 STATE OF     ______________        )
            3                                       )
                 COUNTY OF ______________           )
            4
            5           I, CHRISTINE BRADY, Ph.D., being first duly sworn on
            6    my oath, depose and say:
            7           That I am the witness named in the foregoing
            8    deposition taken the 31st day of August, 2023, consisting
            9    of pages numbered 1 to 204, inclusive; that I have read
           10    the said deposition and know the contents thereof; that
           11    the questions contained therein were propounded to me;
           12    the answers to said questions were given by me, and that
           13    the answers as contained therein (or as corrected by me
           14    therein) are true and correct.
           15
           16    Corrections Made:        Yes____ No____
           17
           18
                                              __________________________________
           19                                 CHRISTINE BRADY, Ph.D.
           20
           21        Subscribed and sworn to before me this ____ day of
           22    _________________, 2023, at __________________, Idaho.
           23
                                          _____________________________________
           24                             Notary Public for Idaho
                                          Residing at __________________, Idaho
           25                             My commission expires: _____________.

                                                                                    Page 205

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                              App.0973
(207 of 288), Page 207 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 207 of 288
                  Case 1:23-cv-00269-BLW Document 56-2 Filed 09/05/23 Page 206 of 267
                                          Christine Brady, Ph.D. August 31, 2023

            1                            REPORTER'S CERTIFICATE
            2    STATE OF IDAHO            )
                                           )
            3    COUNTY OF ADA             )
            4
            5            I, Amy E. Simmons, Certified Shorthand Reporter and
            6    Notary Public in and for the State of Idaho, do hereby
            7    certify:
            8            That prior to being examined, the witness named in
            9    the foregoing deposition was by me duly sworn to testify
           10    to the truth, the whole truth, and nothing but the truth;
           11            That said deposition was taken down by me in
           12    shorthand at the time and place therein named and
           13    thereafter reduced to typewriting under my direction, and
           14    that the foregoing transcript contains a full, true, and
           15    verbatim record of said deposition.
           16            I further certify that I have no interest in the
           17    event of the action.
           18            WITNESS my hand and seal this 31st day of August,
           19    2023.
           20
                               <%29423,Signature%>
           21
                                 AMY E. SIMMONS
           22                    ID CSR No. 685
                                 CA CSR No. 14453
           23                    WA CSR No. 22012915
                                 OR CSR No. 22-009
           24                    RDR, CRR, CRC,
                                 and Notary Public
           25    My commission expires:          6/13/28.

                                                                                    Page 206

                                Associated Reporting & Video - A Veritext Company
                                    calendar-arv@veritext.com 208-343-4004


                                               App.0974
(208 of 288), Page 208 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 208 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 1 of 177
                                       Jack Turban , M.D., MHS October 16, 2023

            1                             UNITED STATES DISTRICT COURT
            2                                  DISTRICT OF IDAHO
            3
            4           PAM POE, by and through her )           Case No.
                        parents and next friends,    )          1:23-cv-00269-CWD
            5           Penny and Peter Poe; PENNY   )
                        POE; PETER POE; JANE DOE, by )
            6           and through her parents and )
                        next friends, Joan and John )
            7           Doe; JOAN DOE; JOHN DOE,     )
                                                     )
            8                            Plaintiffs, )
                                                     )
            9           v.                           )
                                                     )
           10           RAÚL LABRADOR, in his        )
                        official capacity as the     )
           11           Attorney General of the State)
                        of Idaho; JAN M. BENNETTS, in)
           12           her official capacity as     )
                        County Prosecuting Attorney )
           13           for Ada, Idaho; and the      )
                        INDIVIDUAL MEMBERS OF THE    )
           14           IDAHO CODE COMMISSION, in    )
                        their official capacities,   )
           15                                        )
                                         Defendants. )
           16           _____________________________)
           17
           18
           19             REMOTE VIDEOTAPED DEPOSITION OF JACK TURBAN, M.D., MHS
           20                            MONDAY, OCTOBER 16, 2023
           21
           22
           23
           24
           25           Reported By: Amy E. Simmons, CSR, RDR, CRR, CRC

                                                                                Page 1

                                             Veritext Legal Solutions
                                   Calendar-Idaho@veritext.com 208-343-4004


                                             App.0975
(209 of 288), Page 209 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 209 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 2 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1    REMOTE VIDEOTAPED DEPOSITION OF JACK TURBAN, M.D., MHS                  1                  INDEX
                2                                                                            2                EXAMINATION
                                                                                             3
                3      BE IT REMEMBERED that the remote videotaped
                                                                                             4   JACK TURBAN, M.D.                                         PAGE
                4   deposition of JACK TURBAN, M.D., MHS was taken via Zoom
                                                                                             5
                5   videoconference by the attorney for the Defendants before                     By: Mr. Ramer..................................10, 315
                6   Associated Reporting & Video, a Veritext company, Amy E.                 6
                7   Simmons, Idaho CSR No. 685, California CSR No. 14553,                            Ms. Nowlin-Sohl................................313
                8   Washington CSR No. 22012915, Oregon CSR No. 22-009, and                  7
                                                                                             8
                9   Notary Public in and for the County of Ada, State of
                                                                                             9
               10   Idaho, on Monday, the 16th day of October, 2023,
                                                                                            10
               11   commencing at the hour of 9:06 a.m. Pacific time in the                                      EXHIBITS
               12   above-entitled matter.                                                  11
               13                                                                                NO.                                       PAGE
               14                                                                           12
               15   APPEARANCES (remotely):
                                                                                                  Exhibit 1. Expert Rebuttal Declaration of Jack 11
                                                                                            13             Turban, MD, MHS (49 pages)
               16   For the Plaintiffs: AMERICAN CIVIL LIBERTIES UNION
                                                                                            14    Exhibit 2. Deposition Transcript of Jack      11
                                 By: Li Nowlin-Sohl, Esq.                                                  Turban, M.D., MHS, Taken 5/19/23
               17                   Leslie Cooper, Esq.                                     15             (354 pages)
                                 125 Broad Street                                           16    Exhibit 3. Errata Sheet for Deposition Taken    11
               18                New York, NY 10004                                                        5/19/23 (5 pages)
                                 Telephone: 212.549.2584                                    17
                                                                                                  Exhibit 4. Users' Guides to the Medical                    21
               19                lnowlin-sohl@aclu.org
                                                                                            18             Literature (545 pages)
                                 lcooper@aclu.org
                                                                                            19    Exhibit 5. The Cass Review Document                         29
               20                                                                                          (112 pages)
               21                GROOMBRIDGE WU BAUGHMAN & STONE                            20
                                 By: Philip S. May, Esq.                                          Exhibit 6. Harvard Countway Library Systematic 56
               22                801 17th Street, Suite 1050                                21             Reviews and Meta Analysis (3 pages)
                                 Washington, D.C. 20006
                                                                                            22    Exhibit 7. International Journal of       83
                                                                                                           Transgender Health Chapter 6,
               23                Telephone: 202.539.6620
                                                                                            23             Adolescents (24 pages)
                                 philip.may@groombridgewu.com                               24    Exhibit 8. GenderGP Podcast Transcript       102
               24                                                                                          (14 pages)
               25                                                                           25
                                                                                   Page 2                                                                                  Page 4

                1   APPEARANCES (remotely, continued):                                       1            E X H I B I T S (continued)
                2                                                                            2   NO.                               PAGE
                                                                                             3   Exhibit 9. HHS Public Access Author Manuscript 125
                    For the Plaintiffs: ACLU OF IDAHO FOUNDATION
                                                                                                          (15 pages)
                3                 By: Dina Flores-Brewer, Esq.                               4
                                  Post Office Box 1897                                           Exhibit 10. 2015 Report of the U.S. Transgender 131
                4                 Boise, ID 83701                                            5            Survey (302 pages)
                                  Telephone: 208.344.9750                                    6   Exhibit 11. Plos One "Access to             136
                5                 dfloresbrewer@acluidaho.org                                             Gender-Affirming Hormones During
                                                                                             7            Adolescence and Mental Health
                6
                                                                                                          Outcomes Among Transgender Adults"
                7   For the Defendants, Labrador and the Individual Members                  8            (15 pages)
                    of the Idaho Code Commission:                                            9   Exhibit 12. JAMA Psychology "Association        139
                8                                                                                         Between Recalled Exposure to Gender
                                    COOPER & KIRK PLLC                                      10            Identity Conversion Efforts and
                9                   By: John Ramer, Esq.                                                  Psychological Distress and Suicide
                                                                                            11            Attempts Among Transgender Adults"
                                    1523 New Hampshire Ave NW
                                                                                                          (9 pages)
               10                   Washington, D.C. 20036                                  12
                                    Telephone: 202.220.9621                                      Exhibit 13. "Transgender Conversion Therapy           148
               11                   jramer@cooperkirk.com                                   13            Associated with Severe
               12                   OFFICE OF THE ATTORNEY GENERAL                                        Psychological Distress" (3 pages)
                                    By: Rafael J. Droz, Esq.                                14
               13                   Post Office Box 83720                                        Exhibit 14. Journal of Adolescent Health "Age 151
                                                                                            15            of Realization and Disclosure of
                                    Boise, ID 83720                                                       Gender Identity Among Transgender
               14                   Telephone: 208.334.2400                                 16            Adults" (8 pages)
                                    Facsimile: 208.854.8073                                 17   Exhibit 15. Annalou de Vries and Sabine Hannema 177
               15                   rafael.droz@ag.idaho.gov                                              "Growing Evidence and Remaining
               16                                                                           18            Questions in Adolescent Transgender
                    Also Present:        Chris Ennis, Videographer                                        Care" (3 pages)
                                                                                            19
               17                   Jocelyn Larsson,
                                                                                                 Exhibit 16. Transgender Health "Consensus           194
                                    Court Reporting Intern                                  20            Parameter" Research Methodologies
               18                                                                                         to Evaluate Neurodevelopmental
               19                                                                           21            Effects of Pubertal Suppression in
               20                                                                                         Transgender Youth" (12 pages)
               21                                                                           22
                                                                                                 Exhibit 17. "Evidence Review: Gonadotrophin           213
               22
                                                                                            23            Releasing Hormone Analogues for
               23                                                                                         Children and Adolescents with
               24                                                                           24            Gender Dysphoria" (131 pages)
               25                                                                           25
                                                                                   Page 3                                                                                  Page 5

                                                                                                                                                                  2 (Pages 2 - 5)
                                                                          Veritext Legal Solutions
                                                                Calendar-Idaho@veritext.com 208-343-4004
                                                                                App.0976
(210 of 288), Page 210 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 210 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 3 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1            E X H I B I T S (continued)
                                                                                         1              PROCEEDINGS
                2   NO.                               PAGE
                3   Exhibit 18. "Evidence Review: Gender-Affirming    224                2
                             Hormones for Children and
                4            Adolescents with Gender Dysphoria"
                                                                                         3           THE VIDEOGRAPHER: All right. So we are
                             (156 pages)                                                 4   recording, and we are on the record. Today's date
                5
                    Exhibit 19. ACTA Peadiatrica "A Systematic       230
                                                                                         5   is October 16, 2023. The time is 9:06 a.m.
                6            Review of Hormone Treatment For                             6   Pacific.
                             Children with Gender Dysphoria and
                7            Recommendations for Research"
                                                                                         7           For the record, this is the remote
                             (14 pages)                                                  8   videotaped deposition of Dr. Jack Turban. It's
                8
                    Exhibit 20. Bilaga Till Rapport Article      234                     9   taken by the Defendants in the matter of Poe, et
                9            (2 pages)                                                  10   al. vs. Labrador, et al. It's Case
               10   Exhibit 21. Brignardello-Peterson, et al.    255
                             "Effects of Gender-Affirming                               11   No. 1:23-cv-00269-CWD. It is in the United States
               11            Therapies in People with Gender                            12   District Court for the District of Idaho.
                             Dysphoria: Evaluation of the Best
               12            Available Evidence" (70 pages)                             13           The videotaped deposition is being held
               13   Exhibit 22. Socialstyrelsen "Care of Children 236                   14   remotely via Zoom videoconference. The videotaped
                             and Adolescents with Gender
               14            Dysphoria" (6 pages)                                       15   deposition is being recorded by Chris Ennis and
               15   Exhibit 23. Turban "The Evidence for Trans       258                16   reported by Amy Simmons of Associated Reporting &
                             Youth Gender-Affirming Medical
               16            Care" (10 pages)                                           17   Video, a Veritext Company.
               17   Exhibit 24. Plos One "Correction: Access to     267                 18           And if counsel will please state their
                             Gender-Affirming Hormones During
               18            Adolescence and Mental Health                              19   appearances and any stipulations for the record.
                             Outcomes Among Transgender Adults"                         20           MR. RAMER: John Ramer of the law firm
               19            (7 pages)
               20   Exhibit 25. Tweet by Jack Turban, MD (1 page) 274                   21   Cooper & Kirk representing the State defendants.
               21   Exhibit 26. Tweet by Jack Turban, MD (1 page) 277                   22           MS. NOWLIN-SOHL: Li Nowlin-Sohl with the
               22   Exhibit 27. Tweet by Jack Turban, MD (1 page) 280
               23   Exhibit 28. Tweet by Jack Turban, MD (1 page) 284                   23   ACLU representing Plaintiffs.
               24   Exhibit 29. "One Size Does Not Fit All: In     296                  24           MS. COOPER: Leslie Cooper with the ACLU,
                             Support of Psychotherapy for Gender
               25            Dysphoria" (10 pages)                                      25   Plaintiffs.
                                                                               Page 6                                                              Page 8

                1             E X H I B I T S (continued)                                1           MR. MAY: And Philip May from
                2    NO.                               PAGE                              2   Groombridge, Wu, Baughman & Stone on behalf of
                3    Exhibit 30. LGBT Health "Factors Leading to               299       3   Plaintiffs.
                              'Detransition' Among Transgender                           4           THE VIDEOGRAPHER: And if the court
                4             and Gender Diverse People in the
                                                                                         5   reporter will please swear the witness.
                              United States: A Mixed-Methods
                                                                                         6           THE REPORTER: I think we have a couple
                5             Analysis" (8 pages)
                                                                                         7   more people that need to identify themselves
                6
                7                                                                        8   first. I've got Rafael Droz and Dina Flores.
                8                                                                        9           MS. FLORES-BREWER: Yes. This is Dina
                9                                                                       10   Flores-Brewer. I'm one of the attorneys for ACLU
               10                                                                       11   of Idaho. I am just listening in today.
               11                                                                       12           THE REPORTER: Thank you. And Mr. Droz
               12                                                                       13   is for the State; is that correct? I'm thinking
               13                                                                       14   he's just not on.
               14                                                                       15           MR. RAMER: That's right. He's with the
               15                                                                       16   Idaho Attorney General's Office representing the
               16                                                                       17   State defendants.
               17
                                                                                        18
               18
                                                                                        19              JACK TURBAN, M.D., MHS,
               19
                                                                                        20   a witness having been first duly sworn to tell the truth,
               20
               21                                                                       21   the whole truth, and nothing but the truth, testified as
               22                                                                       22   follows:
               23                                                                       23   ///
               24                                                                       24   ///
               25                                                                       25   ///
                                                                               Page 7                                                              Page 9

                                                                                                                                      3 (Pages 6 - 9)
                                                                Veritext Legal Solutions
                                                      Calendar-Idaho@veritext.com 208-343-4004
                                                                            App.0977
(211 of 288), Page 211 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 211 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 4 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1                   EXAMINATION                             1      Q. (BY MR. RAMER) And then Turban
                2   BY MR. RAMER:                                           2   Exhibit 3, does this document appear to be your
                3       Q. (BY MR. RAMER) Good morning, Dr. Turban.         3   signed errata sheet for your deposition in the
                4       A. Good morning.                                    4   Indiana case?
                5       Q. My name is John Ramer. I'm from the law          5      A. Yes.
                6   firm Cooper & Kirk representing the State               6      Q. And, Dr. Turban, is anyone in the room
                7   defendants in this case.                                7   with you besides Li Nowlin-Sohl?
                8          I know you've been deposed before, but           8      A. Sorry, no.
                9   just as a quick refresher for both of us -- more        9      Q. And do you have any documents open in
               10   for me -- but for the benefit of the court             10   front of you?
               11   reporter, we'll try not to talk over one another.      11      A. Just the exhibits that you sent.
               12          And I'd just ask that you respond               12      Q. Great. Dr. Turban, are you familiar with
               13   verbally when answering questions.                     13   the term "evidence-based medicine"?
               14          If you don't understand anything about my       14      A. Yes.
               15   question, please just let me know; otherwise, I'll     15      Q. And what is your understanding of that
               16   assume you're answering the question asked.            16   term?
               17          And I typically aim for a break every           17      A. The broad term, that refers to using the
               18   hour or so, but if you need a break at any point,      18   existing published research literature when making
               19   just let me know. And my only request would be         19   decisions about medical care.
               20   that you answer any question that's pending before     20      Q. And do you practice evidence-based
               21   we go on a break.                                      21   medicine?
               22          Does that all sound good?                       22      A. Yes.
               23       A. Yes.                                            23      Q. And how does one practice evidence-based
               24          MR. RAMER: And first, I'm just going to         24   medicine?
               25   introduce and mark some documents that we'll           25      A. That's a big question that involves many
                                                                 Page 10                                                    Page 12

                1   likely be referring to throughout the day. The          1   years of medical school and residency and
                2   first one Li should have. It's Turban Exhibit 1.        2   fellowship training, but as a general matter it
                3   I think the file name says "Tab A." When you have       3   involves having a patient in front of you and
                4   it, just let me know.                                   4   referencing the existing research literature to
                5          (Deposition Exhibit No. 1 was marked.)           5   try to make the best decision for that patient
                6           THE WITNESS: I have it.                         6   based on the research that's been published.
                7        Q. (BY MR. RAMER) And, Dr. Turban, is this         7       Q. Are you familiar with the term
                8   a copy of the declaration you submitted in this         8   "systematic review"?
                9   case?                                                   9       A. Yes.
               10        A. Yes.                                           10       Q. And what is your understanding of that
               11        Q. Okay. And attached to the declaration,         11   term?
               12   is your CV attached?                                   12       A. Systematic review is when one predefines
               13        A. Yes.                                           13   search terms that they are going to use when
               14        Q. And I assume there are not any major           14   searching various research databases. Then they
               15   changes over the weekend from when this was filed      15   provide a review of the literature that they
               16   on Friday?                                             16   identify through that search method.
               17        A. Correct.                                       17       Q. When you say "they provide a review of
               18          (Deposition Exhibit No. 2 was marked.)          18   the literature," what do you mean by that?
               19        Q. (BY MR. RAMER) Okay. The next document,        19       A. They would define search terms. They
               20   Turban Exhibit 2, does this appear to be the           20   would put those search terms into the research
               21   transcript of your deposition in the Indiana case,     21   databases. Many papers will come out of there,
               22   K.C. vs. The Individual Members of the Medical         22   but then there's variation in how they may choose
               23   Licensing Board?                                       23   to include or exclude different studies, how they
               24        A. It appears to be, yes.                         24   interpret them, and how they summarize their
               25          (Deposition Exhibit No. 3 was marked.)          25   reading of those papers.
                                                                 Page 11                                                    Page 13

                                                                                                               4 (Pages 10 - 13)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.0978
(212 of 288), Page 212 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 212 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 5 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       Q. And what does the practice of                      1   the manuscript will actually say "These are the
                2   evidence-based medicine say about the role of             2   search terms that we used when searching our
                3   systematic reviews in clinical decision-making?           3   literature databases, and these are the databases
                4           MS. NOWLIN-SOHL: Object to the form.              4   that we used." So it makes it a little bit easier
                5           THE WITNESS: Again, because systematic            5   for another researcher to repeat their search.
                6   reviews can be so broad, there would be systematic        6       Q. Have you ever conducted a systematic
                7   reviews that would be very useful and there would         7   review?
                8   be some other systematic reviews that would be            8       A. Not as a first author, but I've been part
                9   less useful.                                              9   of a team that's conducted a systematic review.
               10           Usually in evidence-based medicine people        10       Q. And what systematic review was that?
               11   are talking about systematic reviews of clinical         11       A. The systematic review of a broad category
               12   trials or of non -- like, observational studies or       12   of functional neurologic disorders among sexual-
               13   comparative studies, but there's not really a            13   and gender-minority people.
               14   straightforward answer. Systematic review is just        14       Q. Do you happen to know the name of that
               15   one way of collecting literature that you may then       15   paper?
               16   use when working through evidence-based medicine.        16       A. I think the first author is Lerario,
               17       Q. (BY MR. RAMER) And do you know how a              17   L-e-r-a-r-i-o, I believe.
               18   systematic review is conducted?                          18       Q. And what was your role in that systematic
               19       A. There are many different ways to conduct          19   review?
               20   a systematic review, but again, in general, one          20       A. I assisted the team with choosing our
               21   would predefine their search terms to find the           21   search terms, choosing the databases, and also in
               22   databases they're going to use, put those search         22   writing the manuscript, editing the manuscript.
               23   terms into those databases, screen abstracts,            23       Q. As you sit here today, are you able to
               24   identify the abstracts that they feel are relevant       24   name any specific systematic reviews relating to
               25   to their questions, and then summarize that              25   literature in your field that you have read?
                                                                   Page 14                                                     Page 16

                1   literature.                                         1                MS. NOWLIN-SOHL: Object to form.
                2       Q. What is the value of a systematic review     2                THE WITNESS: I don't know that I would
                3   over an alternative method of reviewing a body of   3         have, like, a specific title that I could rattle
                4   scientific literature?                              4         off, but there have been many systematic
                5       A. Do you mean comparing a systematic review 5            reviews -- is there a specific part of my field
                6   to, say, a narrative review?                        6         that you're referencing?
                7       Q. Sure. Or any other -- I guess what other     7            Q. (BY MR. RAMER) I guess what field are
                8   types of reviews of the body of scientific          8         you opining upon as an expert in this case?
                9   literature are there besides systematic review and  9            A. The treatment of adolescents with gender
               10   a narrative review?                                10         dysphoria.
               11       A. Those are the two main ones that people     11            Q. So then, yes, I guess I'll talk about
               12   would discuss. So a narrative view is usually      12         that field.
               13   written by an expert who knows the literature      13                Have you -- as you sit here today, are
               14   broadly but they may not include in their          14         you able to name any specific systematic reviews
               15   manuscript what specific search terms they used,   15         relating to literature in that field that you have
               16   what specific databases they used, but they'll     16         read?
               17   summarize what's known about the research, and     17            A. I don't remember the exact titles, but I
               18   they'll go through peer review where other experts 18         know there was one, I believe, in the Journal of
               19   check that material also.                          19         Transgender Health a few years ago.
               20          They would add additional literature if     20                There have been a number of
               21   that individual author has missed something. It    21         non-peer-reviewed systematic reviews.
               22   goes back and forth through the peer-review        22                I believe there were systematic reviews
               23   process until the reviewer, the editor, and the    23         conducted as part of some of the guidelines that
               24   author feel that it's comprehensive.               24         were written.
               25          A systematic review is different in that    25            Q. And I know you said you don't know the
                                                                   Page 15                                                     Page 17

                                                                                                                  5 (Pages 14 - 17)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.0979
(213 of 288), Page 213 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 213 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 6 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   title, but the one that you first referred to in         1          So can you repeat that answer for me,
                2   the Journal For Transgender Health, can you              2   please?
                3   describe it so that we can at least try to               3          THE WITNESS: Yeah, sorry. I'm trying to
                4   identify it?                                             4   see if I can turn up the microphone also.
                5       A. It was a few years ago that it came out,          5          THE REPORTER: Thank you.
                6   but it was I think generally looking at the mental       6          THE WITNESS: I think the microphone is
                7   health impacts of different gender-affirming             7   up all the way. Is this better with it close?
                8   medical interventions for adolescents with gender        8          THE REPORTER: Let's try it.
                9   dysphoria.                                               9          THE WITNESS: I think the question was if
               10           And, as a systematic review generally           10   I've had any coursework in using evidence-based
               11   does, goes through the strengths and weaknesses of      11   medicine?
               12   different studies that have been published.             12       Q. (BY MR. RAMER) That's right.
               13       Q. Do you remember any of the authors on it?        13       A. So certainly that would be part of -- my
               14       A. I don't recall.                                  14   undergraduate degree was in neuroscience from
               15       Q. Of the systematic reviews you described,         15   Harvard College.
               16   did you study them in detail?                           16          And then I received my medical school
               17           MS. NOWLIN-SOHL: Object to form.                17   degree from Yale School of Medicine where we
               18           THE WITNESS: Generally if you are in a          18   talked about evidence-based medicine both in our
               19   specific field where you know most of the research      19   preclinical classroom courses and through our
               20   papers, the thing that's most interesting about         20   clinical courtships when we're working with
               21   systematic review is if it identifies a paper that      21   patients.
               22   you didn't already know about.                          22          And then received a master's of health
               23           The big thing about systematic review is        23   sciences research from Yale also.
               24   that it's using specific search terms and doing         24          I did my adult psychiatry residency at
               25   this really comprehensive search of these large         25   Harvard Medical School at MGH McLean where we had
                                                                  Page 18                                                   Page 20

                1   databases, so it's values that can identify a            1   more courses on it as well as applying it
                2   peer-reviewed research paper that you didn't know        2   practically to seeing patients.
                3   about previously.                                        3           And then similarly in my fellowship in
                4          So probably what I would have done is if          4   child and adolescent psychiatry at Stanford.
                5   there were any papers in there that I didn't know        5           MR. RAMER: Okay. And I'd like to
                6   about, I would have added it to my running list of       6   introduce what will be Turban Exhibit 4. And it
                7   papers that I think are important for me to know         7   should be the Users' Guides to the Medical
                8   and for my fellows to know and others in the             8   Literature Third Edition.
                9   field.                                                   9          (Deposition Exhibit No. 4 was marked.)
               10       Q. (BY MR. RAMER) And this question may not         10        Q. (BY MR. RAMER) Do you see that?
               11   make sense, but have you taken any particular           11        A. Yes.
               12   courses on the evidence-based medicine? Or is it        12        Q. And have you seen this document before?
               13   more it's a set of principles that is infused into      13        A. I do not believe I have.
               14   all of medical education?                               14        Q. Do you recognize the lead author's name,
               15          MS. NOWLIN-SOHL: Object to form.                 15   Gordon Guyatt?
               16          THE WITNESS: Certainly there is some in          16        A. I do not. It looks like he is a
               17   my undergraduate degree in neuroscience that was        17   biostatistician in Ontario.
               18   from Harvard. Also my medical school courses --         18        Q. Where are you getting that information?
               19   [indiscernible].                                        19        A. From the first page.
               20          THE REPORTER: Dr. Turban, I'm sorry to           20        Q. Oh, I see. And I'd like to go to page 4,
               21   interrupt. I'm having a hard time understanding         21   which I think is 33 in the PDF.
               22   you a little bit. I don't know if you can get           22        A. Okay.
               23   closer to the microphone or maybe slow down a tiny      23        Q. The second full sentence on this page,
               24   bit? Some of your words are just cutting out, and       24   I'll just read it and ask if I've read it
               25   I'm struggling with understanding them.                 25   correctly.
                                                                  Page 19                                                   Page 21

                                                                                                                6 (Pages 18 - 21)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.0980
(214 of 288), Page 214 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 214 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 7 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          It says "Efficient and optimally                 1   understand the very last part of what you just
                2   effective evidence-based practice dictates              2   said.
                3   bypassing the critical assessment of primary            3          Could you say that again?
                4   studies and, if they are available, moving              4       A. The word "bypass" is tricky because I
                5   straight to the evaluation of rigorous systematic       5   think -- correct me if I'm wrong, but I think you
                6   reviews."                                               6   were reading "bypass" as meaning you should not
                7          Did I read that correctly?                       7   read the individual studies and you should just go
                8       A. Yes.                                             8   to the systematic review. That's not my
                9       Q. And do you agree with that statement?            9   interpretation.
               10       A. Yeah, I think this is similar to what I         10          I think they're saying that you shouldn't
               11   was saying before, that it wouldn't be a good          11   just read individual studies because you might
               12   practice to just look at one or two individual         12   miss other important studies. So you should read
               13   studies. [Indiscernible] -- of a systematic            13   the studies that you identified, but you should
               14   review is that it's going to identify more studies     14   also go to systematic reviews to make sure you're
               15   that you may not find -- that a more, as they're       15   not missing important information or studies that
               16   saying, quote, rigorous systematic review with a       16   you yourself didn't identify in your search.
               17   certain search approach would potentially              17       Q. And then I'd like to go to page 14, which
               18   identify.                                              18   I think is page 43 in the PDF.
               19          It's basically saying that you don't want       19       A. Okay.
               20   to miss individual studies that might be important     20       Q. And the first full paragraph on this
               21   for your interpretation.                               21   page, I'm just going to read the first two
               22       Q. But it looks like it's discussing that          22   sentences and ask if I read it correctly.
               23   you need to bypass, quote, the critical assessment     23          It says "Rational clinical decisions
               24   primary studies, end quote, and instead proceed to     24   require systematic summaries of the best available
               25   systematic reviews.                                    25   evidence. Without such summaries, clinicians,
                                                                 Page 22                                                     Page 24

                1          And that -- do you agree that seems to be        1   expert or otherwise, will be unduly influenced by
                2   discussing something different than merely              2   their own preconceptions and by unrepresentative
                3   identifying studies?                                    3   and often lower quality evidence."
                4          MS. NOWLIN-SOHL: Object to form.                 4           Did I read that correctly?
                5          THE WITNESS: I may have to read it in            5       A. Yes.
                6   context to see what they mean by "bypass," if you       6       Q. And do you agree with those statements?
                7   give me a moment.                                       7       A. Again, I think what this is saying is
                8          If read in context, this seems to talk           8   that if you only knew some of the research
                9   about how one could read individual studies. It         9   literature and you were missing several research
               10   then goes on to say that there are times where an      10   studies, then you wouldn't have the complete
               11   individual study doesn't give you the full picture     11   picture of the evidence. And I believe that is
               12   because other studies may provide additional           12   true.
               13   information.                                           13       Q. What do you take them to be referring to
               14          Then they're saying, you know, you should       14   when they discuss "lower quality evidence"?
               15   bypass the individual studies and go to the            15           MS. NOWLIN-SOHL: Object to form;
               16   systematic reviews, but I think really what they       16   foundation.
               17   mean is don't only read individual studies because     17           THE WITNESS: They don't -- I don't know
               18   that would put you at risk of missing other            18   if they provided a specific definition earlier,
               19   studies that are important for understanding the       19   but it's a subjective term relevant to others. It
               20   body of research as a whole is how I read that         20   would depend on what you were comparing,
               21   sentence. I don't think they're saying to ignore       21   presumably something lower quality than the other
               22   individual studies or to not consider reading them     22   papers you had not identified in some way. But I
               23   in depth when they're identified in the systematic     23   don't think they're specifying a specific way in
               24   review.                                                24   which one paper is lower quality than another,
               25      Q. (BY MR. RAMER) I'm sorry. I didn't               25   just highlighting that some papers may be higher
                                                                 Page 23                                                     Page 25

                                                                                                               7 (Pages 22 - 25)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                           App.0981
(215 of 288), Page 215 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 215 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 8 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   quality than others.                                1        and we are back on the record.
                2      Q. (BY MR. RAMER) How can one paper be           2               MR. RAMER: Okay. I just tried hitting
                3   higher quality than another?                        3        send again the compressed version. So if that
                4      A. Oh, I would need to give you an entire        4        shows up, Li, just let me know.
                5   course on clinical research and statistical         5           Q. (BY MR. RAMER) While we're waiting,
                6   approaches.                                         6        Dr. Turban, have you ever heard the term the
                7      Q. Okay. So your point -- just to kind of        7        "hierarchy of evidence"?
                8   summarize here, your point is that the value of     8               Sorry. Did you hear me?
                9   the systematic review is really just the value of   9               MR. RAMER: Amy, can you hear me?
               10   identifying relevant studies; is that fair?        10               THE WITNESS: Something just happened
               11      A. The major goal of systematic review is to    11        with our A/V system.
               12   collect the best you can. Systematic reviews are   12               MS. NOWLIN-SOHL: Can you hear us, John?
               13   never perfect. There are intricacies in what       13               MR. RAMER: I just said while we're
               14   search terms you use, which databases you use, how 14        waiting --
               15   you choose to include and exclude different        15               MS. NOWLIN-SOHL: Okay. We cannot hear
               16   studies, so there are many ways that systematic    16        you.
               17   review can be high quality or low quality itself.  17               MR. RAMER: Okay. Let's go off the
               18          But in general the goal, if it's done       18        record again.
               19   well, is that you would identify all the relevant  19               THE WITNESS: Try again now, please.
               20   research, that you could really be making your     20               MR. RAMER: Can you hear me? All right.
               21   summaries of the literature based on a complete    21               THE VIDEOGRAPHER: Okay. I'll take you
               22   picture, that you're not missing important         22        guys off here. One second.
               23   studies.                                           23               So the time is 9:35 a.m. Pacific, and we
               24      Q. So it's just about locating studies; is      24        are off the record.
               25   that right?                                        25                (Brief pause in the proceedings.)
                                                                  Page 26                                                     Page 28

                1          MS. NOWLIN-SOHL: Objection;                       1          THE VIDEOGRAPHER: Okay. So we are
                2   mischaracterizes prior testimony.                        2   regarding. The time is 9:37 a.m. Pacific, and we
                3          THE WITNESS: It's about in a systematic           3   are back on the record.
                4   way, identifying relevant papers and then one            4         (Deposition Exhibit No. 5 was marked.)
                5   generally summarizes them as well.                       5      Q. (BY MR. RAMER) Okay. Dr. Turban, do you
                6          Ideally, a critical reader of a                   6   have Turban Exhibit 5, which says "The Cass
                7   systematic review would go back to those studies         7   Review" at the top in front of you?
                8   and read them as well, if it were feasible.              8      A. Yes. February 2022.
                9          MR. RAMER: And I tried to send what I'll          9      Q. And have you seen this document before?
               10   call Turban Exhibit 5. Did you receive that, Li?        10      A. Yes.
               11          MS. NOWLIN-SOHL: I have not.                     11      Q. Have you read it?
               12          MR. RAMER: Okay.                                 12      A. Yes.
               13      Q. (BY MR. RAMER) Let's do it this way.              13      Q. And when did you first read it?
               14   Dr. Turban, have you ever heard of the pyramid of       14      A. I don't recall. Many months ago.
               15   evidence?                                               15      Q. Do you recall what you thought when you
               16      A. Broadly speaking.                                 16   read it?
               17          MR. RAMER: Hey, Li, do you mind if we go         17      A. My main takeaways were that they --
               18   off the record for just one second to discuss a         18   there's a lot of news coverage of it also.
               19   technical issue?                                        19          My understanding is there were very long
               20          MS. NOWLIN-SOHL: Yeah, that's fine.              20   wait lists for the central gender clinic in the
               21          THE VIDEOGRAPHER: Okay. So the time is           21   U.K. And because of those long waits, there was
               22   9:32 a.m. Pacific time, and we are off the record.      22   concern that the physicians weren't able to
               23          (Brief pause in the proceedings.)                23   provide comprehensive care and be able to see the
               24          THE VIDEOGRAPHER: All right. So we are           24   number of patients they had on their very long
               25   recording. The time is 9:33 a.m. Pacific time,          25   wait list.
                                                                  Page 27                                                     Page 29

                                                                                                                 8 (Pages 26 - 29)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                            App.0982
(216 of 288), Page 216 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 216 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 9 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          So I think the review went in and                1       Q. And why is that of higher value?
                2   ultimately determined it would be better to close       2       A. Because you're looking at all of the
                3   that centralized clinic and open several regional       3   studies instead of looking at just one.
                4   clinics where they'd be able to provide more            4       Q. And so again, you think that what this
                5   comprehensive individualized care.                      5   figure is showing is that systematic reviews are
                6       Q. Okay. And I'd like to go to page 62 of           6   at the top of the pyramid because they identify
                7   this document.                                          7   all the studies?
                8          And just let me know when you're there.          8           MS. NOWLIN-SOHL: Objection;
                9       A. We're there. Figure 3?                           9   mischaracterizes prior testimony.
               10       Q. Yes. And so Figure 3 is entitled                10           THE WITNESS: Yeah, I would say what's at
               11   "Pyramid of Standards of Evidence"; is that right?     11   the top is "Systematic review and meta-analyses,"
               12       A. Yes.                                            12   and that a systematic review with a meta-analysis
               13       Q. And have you seen this image before?            13   is summarizing to the best of its ability with
               14       A. I've seen images like this one before.          14   many caveats as much of the literature as
               15       Q. And have you ever heard the term                15   possible.
               16   "hierarchy of evidence"?                               16       Q. (BY MR. RAMER) Okay. Can you explain
               17       A. In a general sense, yes.                        17   why cohort studies are below randomized controlled
               18       Q. And what's your understanding of that           18   trials on this pyramid?
               19   term?                                                  19       A. So cohort studies are studies where you
               20       A. Just a broad reference to the fact that         20   have a group of patients and you follow them over
               21   some research studies may have fewer potential         21   time. So the realm of gender-affirming medical
               22   interpretive pitfalls than others.                     22   care, this would be something like having
               23       Q. And can you explain why this figure has         23   adolescents with gender dysphoria who are treated
               24   "Systematic reviews" at the top of the pyramid?        24   with testosterone, and you look before and after
               25       A. I think this is going to the point that         25   and you see their mental health is better after.
                                                                 Page 30                                                   Page 32

                1   knowing the body of literature as a whole is more       1   That's a cohort study.
                2   useful than just an individual study.                   2           If you were looking just at an individual
                3           I think it's worth pointing out that it         3   cohort study -- and again, this is why you
                4   actually says "Systematic reviews and                   4   shouldn't look at just one paper -- you might ask,
                5   meta-analyses."                                         5   "Okay. Did their mental health improve because of
                6           And meta-analyses are different. So             6   the testosterone? Or was their mental health
                7   meta-analyses are when you actually take all the        7   going to improve anyway?"
                8   research studies that have been done and conduct        8           Does that make sense?
                9   statistical analyses to create a composite number       9           So in the research, we have other studies
               10   that really tells you in a quantitative way how to     10   that compared those who had access to treatment to
               11   put all the research together instead of some of       11   those who didn't. We have parallel process
               12   these systematic reviews where their description       12   models. We have all these ways to answer that
               13   is narrative; they're just kind of saying their        13   question that aren't on this, like, very basic
               14   interpretation of the data.                            14   teaching tool that's this pyramid.
               15           That's different from a meta-analysis          15           The reason a randomized controlled trial
               16   where they actually apply statistical techniques       16   is above that is because a randomized controlled
               17   to summarize all of the research as a whole.           17   trial in a single paper could answer two
               18           So systematic review and meta-analysis is      18   questions. So it could tell you does mental
               19   a specific kind of paper that's not just a             19   health improve before and after? And also do
               20   systematic review.                                     20   people who get treatment do better than those who
               21           But generally what this figure is getting      21   don't do treatment, which approaches this question
               22   at is that if you have a paper that has all of the     22   of would their mental health have just gotten
               23   research literature, or as much as possible of the     23   better anyway?
               24   research literature together and summarized,           24           So a randomized controlled trial can kind
               25   that's of higher value than individual studies.        25   of hit more things in one study than a cohort
                                                                 Page 31                                                   Page 33

                                                                                                               9 (Pages 30 - 33)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.0983
(217 of 288), Page 217 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 217 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 10 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   study can.                                             1          THE WITNESS: Again, with all due
                2       Q. Do you think this pyramid is saying that        2   respect, I think your question is implying lack of
                3   a randomized controlled trial is of higher quality     3   understanding of how the studies are designed.
                4   than a cohort study?                                   4   You can't put the exact same inputs into a cohort
                5       A. I think that's a broad                          5   study and a randomized controlled trial because
                6   oversimplification, but I think what it's saying       6   they're different study designs.
                7   is that if you had a single randomized controlled      7          So when you're saying "all else being
                8   trial that was well conducted, it would likely         8   equal," I really don't know what you -- I need you
                9   give you more information than a cohort study.         9   to be more specific.
               10       Q. Because it's of higher quality?                10      Q. (BY MR. RAMER) And when you say they're
               11       A. Not necessary -- what do you mean by           11   a different study design, does the design of one
               12   "higher quality"?                                     12   lead to a higher quality study than the design of
               13       Q. Because that study design is of higher         13   the other?
               14   quality than a cohort study.                          14          MS. NOWLIN-SOHL: Object to the form.
               15       A. I would say because it has the benefit of      15          THE WITNESS: I believe I answered that
               16   having a control group, medical cohort study does     16   question.
               17   not, which gives you additional information about     17      Q. (BY MR. RAMER) Could you remind me what
               18   whether or not your outcome would have improved       18   your answer was?
               19   whether or not the introduction was given. It         19          MS. NOWLIN-SOHL: Same objection.
               20   gives you more information.                           20          THE WITNESS: So they're different study
               21           A single randomized controlled trial,         21   designs. A cohort study tells you whether or not
               22   when well conducted, can give more information        22   an outcome changes before and after the
               23   than a cohort study.                                  23   intervention. It does not have a control group.
               24       Q. What about -- and I know this is -- I'm        24          So you could be left with the question of
               25   not -- this question is not about a specific          25   whether or not your outcome improved because of
                                                                Page 34                                                     Page 36

                1   study. It's more about methodology in theory.          1   the intervention or because it was going to
                2           And so my question is looking at this, in      2   improve anyway over time.
                3   theory you have a group of four cohort studies.        3           A randomized controlled trial generally
                4   And if you have a group of four randomized             4   has two groups. One group gets intervention; one
                5   controlled trials, all else being equal, based on      5   group doesn't. So you can see maybe the treatment
                6   the design of those studies, are the randomized        6   group improves and the other group, which could be
                7   controlled trials of higher quality than the           7   many different groups -- let's say it's a placebo
                8   cohort studies?                                        8   in this case -- does not improve, and then that
                9           MS. NOWLIN-SOHL: Object to form.               9   would tell you, okay. It probably wasn't that
               10           THE WITNESS: It's hard to say all else        10   they improved just because of time.
               11   being equal because there are so many variables       11           So in that case, a randomized controlled
               12   that go into how you design a cohort study or how     12   trial can give you more information than a cohort
               13   you design a randomized controlled trial, so I        13   study wouldn't. So it has the potential to give
               14   would really need you to kind of give me specific     14   you more information certainly.
               15   studies to answer that question.                      15        Q. And on this pyramid, on the left side of
               16       Q. (BY MR. RAMER) Well, no. It's a                16   it, the arrow that's adjacent that refers to
               17   hypothetical about the theory and the method of       17   quality, what do you think that's referring to?
               18   it, and so the hypothetical is all else being         18        A. I think it's just a vague reference to
               19   equal -- they have the exact same inputs, the         19   the fact that -- these are all different study
               20   exact same outputs, one is a randomized controlled    20   designs as you go up the pyramid.
               21   trial; one is a group of cohort studies.              21           And as you go up the pyramid, you get --
               22           And my question is is the group of            22   the study designs have the potential to answer
               23   randomized controlled trials of higher quality        23   other kinds of questions, right?
               24   than the group of cohort studies?                     24           So the cohort study can't tell you about
               25           MS. NOWLIN-SOHL: Object to form.              25   whether or not mental health would have improved
                                                                Page 35                                                     Page 37

                                                                                                             10 (Pages 34 - 37)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.0984
(218 of 288), Page 218 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 218 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 11 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   without the treatment. The randomized controlled       1   several other factors that would be important to
                2   trial tells you that.                                  2   consider when -- whether or not to recommend a
                3           And then all randomized controlled trials      3   treatment.
                4   are going to have strengths and benefits, right?       4          But it has two steps in that way. It has
                5   They may have different patient populations. They      5   kind of the grading of the evidence and then
                6   might have different study outcomes. They may          6   determining strength of recommendations.
                7   have different blinding procedures.                    7       Q. And have you ever attempted to apply the
                8           And so a systematic review and                 8   criteria specified by GRADE to assess a study?
                9   meta-analysis would tell you instead of like, oh,      9       A. It's generally recommended that one do
               10   look, I only have this one study I'm looking at,      10   that as part of, like, a full research group. And
               11   you would look at all of them, and that would give    11   I've not been on one of those groups.
               12   you more and more richer information.                 12       Q. And so then you -- you've also never
               13       Q. Okay. I'd like to go back to Turban            13   attempted to do that for any of the studies that
               14   Exhibit 4, which is the Users' Guide to the           14   you cite in your declaration, correct?
               15   Medical Literature.                                   15       A. No, not apply specific GRADE criteria.
               16           And I would like to go to page 6 in the       16   Generally GRADE criteria is used when one is
               17   document. I think it's 35 in the PDF.                 17   writing guidelines.
               18       A. Yes.                                           18       Q. I'm sorry. Say that again?
               19       Q. And I'm just going to read the -- it's         19       A. GRADE is typically used when one is
               20   the sentence at the very bottom that carries over     20   writing clinical practice guidelines.
               21   on to page 7. And I'll just read it and ask if I      21       Q. Is GRADE ever used in a systematic
               22   read it correctly.                                    22   review?
               23           It says "In our discussions of systematic     23       A. Some people might. I have not.
               24   reviews and guidelines, we introduce the GRADE        24       Q. How many systematic reviews have you
               25   (Grading of Recommendations Assessment,               25   done?
                                                                Page 38                                                    Page 40

                1   Development, and Evaluation) approach to           1           A. Just one.
                2   summarizing evidence and developing                2           Q. Can you explain how those who would use
                3   recommendations, an approach that we believe       3       GRADE in a systematic review would use it in the
                4   represents a major advance in EBM," parentheses,   4       process of creating the systematic review?
                5   cross-reference to chapter 15.                     5              MS. NOWLIN-SOHL: Object to the form;
                6          Did I read that correctly?                  6       foundation.
                7       A. Yes.                                        7              THE WITNESS: Yeah, I don't think they
                8       Q. And are you familiar with the GRADE         8       would GRADE the systematic review. I think they
                9   approach that's referenced here?                   9       would have different research questions, and there
               10       A. Broadly, yes.                              10       would be a body of literature they would identify
               11       Q. And could you explain your understanding 11         through their search that they would then look at
               12   of that approach?                                 12       in their specific tables that give you, like, a
               13       A. Yes. So GRADE generally involves looking 13         rough general sense of how to apply the GRADE
               14   at the research literature. And then there's some 14       criteria to different conclusions.
               15   subjectivity to it, but they provide you with     15           Q. (BY MR. RAMER) And then sticking with
               16   general guidelines about how you would -- like,   16       this document, I'd like to go to page 273, which
               17   great level of confidence in the research itself. 17       is 302 in the PDF, I believe.
               18          Then there's a -- and then each of those   18              Are you there?
               19   get GRADE scores. I think it's something like     19           A. Yes.
               20   low, very low, high, very high. I could be wrong  20           Q. Okay. And then the -- well, the only
               21   about the exact names of the categories.          21       full paragraph on the page, it's a little long,
               22          And then there's a separate set of         22       but I'm going to read it and ask if I read it
               23   factors that are applied about strength of        23       correctly.
               24   recommendation. So it takes into account both     24              It says "In contrast to systematic
               25   what the research literature is, but then makes   25       reviews, traditional narrative reviews typically
                                                                Page 39                                                    Page 41

                                                                                                             11 (Pages 38 - 41)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.0985
(219 of 288), Page 219 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 219 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 12 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   address multiple aspects of the disease (e.g.,          1       Q. (BY MR. RAMER) Well, let's suppose you
                2   etiology, diagnosis, prognosis, or management),         2   have a systematic review that does include a
                3   have no explicit criteria for selecting the             3   systematic assessment of the risk of bias
                4   included studies, do not include systematic             4   associated with primary studies.
                5   assessments of the risk of bias associated with         5          Do you agree that would be a valuable
                6   primary studies and do not provide quantitative         6   consideration from that systematic review?
                7   best estimates or rate the confidence in these          7       A. I believe that would be useful
                8   estimates.                                              8   information.
                9          "The traditional narrative review                9       Q. And sticking with this document, I'd like
               10   articles are useful for obtaining a broad overview     10   to go to page 275, which is just a couple pages
               11   of a clinical condition, but may not provide a         11   up.
               12   reliable and unbiased answer to a focused,             12          And specifically Figure 14-2, which is
               13   clinical question."                                    13   entitled "The Process of Conducting a Systematic
               14          Did I read that correctly?                      14   Review and Meta-Analysis."
               15       A. Yes.                                            15          Do you see that?
               16       Q. And then what is your understanding of          16       A. Yes.
               17   how systematic reviews differ from narrative           17       Q. Do you see how this figure divides
               18   reviews with respect to systematic assessment of       18   between a systematic review and a meta-analysis on
               19   the risk of bias associated with primary studies?      19   the right-hand side?
               20       A. A systematic review may or may not              20       A. Yes.
               21   include an assessment of the risk of bias.             21       Q. And as part of the systematic review part
               22          Also, as the paragraph that you skipped         22   of this figure, do you agree that it includes the
               23   over notes, it may or may not include, like, an        23   bullet "Assess risk of bias, abstract data"?
               24   unbiased summary of the literature, like a             24       A. Yes. I believe the point of this
               25   meta-analysis.                                         25   textbook chapter is to tell you the best way --
                                                                 Page 42                                                     Page 44

                1          So systematic reviews can have some of           1   highest quality way to do a systematic review.
                2   these same problems that you're outlining.              2       Q. Okay.
                3      Q. Do narrative reviews include systematic           3       A. I think it's strongly implying you should
                4   assessments of the risk of bias associated with         4   do the meta-analysis as well.
                5   the primary studies?                                    5       Q. So as part of the systematic review
                6      A. Neither a systematic review nor a                 6   process that's outlined here, authors would assess
                7   narrative review necessarily include that.              7   risk of bias, correct?
                8      Q. Does a narrative review ever include              8       A. I believe they're saying ideally you
                9   that?                                                   9   would do that, yes.
               10      A. It could.                                        10       Q. And how does one assess the risk of bias?
               11      Q. And for systematic reviews, can they             11       A. There are a lot of different ways. There
               12   include systematic assessments of the risk of bias     12   are formal ways in which I'm not a statistical
               13   associated with primary studies?                       13   expert, but they can create these kind of summary
               14      A. They could.                                      14   plots and run statistical analyses to try and,
               15      Q. Would that be a value --                         15   like, quantitatively look at the risk of bias.
               16      A. Yes.                                             16          But then also just as you look at
               17      Q. I'm sorry?                                       17   individuals studies by study, there are a lot of
               18      A. Yes.                                             18   different types of bias. There's selection bias;
               19      Q. Well, let me ask this question: Would            19   there's recall bias; there's social desirability
               20   that be a value that comes with conducting a           20   bias. So it's a broad area of technologic
               21   systematic review?                                     21   analysis.
               22          MS. NOWLIN-SOHL: Object to form.                22       Q. And have you ever assessed risk of bias
               23          THE WITNESS: Not necessarily. A                 23   as part of the systematic review that you
               24   systematic review may or may not do that, and a        24   conducted?
               25   narrative review may or may not do that.               25       A. I'd have to go back and look. What we
                                                                 Page 43                                                     Page 45

                                                                                                              12 (Pages 42 - 45)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.0986
(220 of 288), Page 220 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 220 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 13 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   were doing was specifically called a scoping          1   final two sentences of that paragraph.
                2   review. So that's more focused on identification      2       A. Okay. I'm there now.
                3   what has been looked at and what's not been looked    3       Q. Okay. I'll start again.
                4   at.                                                   4           "Even if the results of different studies
                5           And our main conclusion from that was         5   are consistent, determining their risk of bias is
                6   that there hasn't been much research on functional    6   still important. Consistent results are less
                7   neurologic disorders among sexual- and                7   compelling if they come from studies with a high
                8   gender-minority people, so there wasn't a lot of      8   risk of bias than if they come from studies with a
                9   literature to analyze the depth in that way.          9   low risk of bias."
               10       Q. And what is this figure referring to when     10           Did I read that correctly?
               11   it refers to the process of abstracting data?        11       A. Yes.
               12       A. I usually think of that as something more     12       Q. So this is saying even if you have
               13   for the meta-analysis where you're going into the    13   numerous studies showing the same results, you
               14   tables and pulling out summary statistics and        14   still should assess those individual studies for
               15   P-values and confidence intervals so that you can,   15   risk of bias, correct?
               16   like, pull out the most relevant numbers and         16       A. Yes. I think we can broadly always agree
               17   statistics from the paper.                           17   in medicine that anytime you have a research
               18           For a meta-analysis, you then feed that      18   study, you should assess it for risk and bias.
               19   into a different statistical analysis where you're   19           I think I'd also highlight that there are
               20   pulling the data all together.                       20   many different types of bias. I don't know what
               21           But if they're saying just as part of the    21   specific type of bias they're referencing here
               22   systematic review of doing that, I think they're     22   without reading the full chapter and the context.
               23   more just broadly saying pulling out the key         23       Q. And is some bias worse than others?
               24   findings of the research. Because if it's not a      24       A. I don't know that I would say "worse."
               25   meta-analysis, you wouldn't be feeding that          25   They're different.
                                                               Page 46                                                     Page 48

                1   abstracted data into a more sophisticated             1       Q. And for the studies that you cite in your
                2   methodology of summarizing the data                   2   declaration, have you assessed them for risk of
                3   quantitatively.                                       3   bias?
                4       Q. And sticking with this document, I'd like      4          MS. NOWLIN-SOHL: Object to form.
                5   to go to page 283, which I think is page 312 in       5          THE WITNESS: Yes. Any scientific
                6   the PDF. And just let me know when you're there.      6   research paper you read is going to, likely in the
                7       A. Sorry. Which part of page 312?                 7   discussion section, talk about for that individual
                8       Q. So it's page 283 in the book. Page 312         8   paper what biases may come up or what limitations
                9   in the PDF.                                           9   there are to how you interpret that study in
               10       A. Yes. We're on the page.                       10   isolation, which is why, back to your point of why
               11       Q. Okay. And I want to look at the -- in         11   you want the systematic review and identifying all
               12   the middle of the page you see the blue header?      12   of the research, that you always want to look at
               13   It says "Was the risk of bias of the primary         13   all the research as a whole, because every
               14   studies assessed?"                                   14   individual study is going to have strengths and
               15       A. Yes.                                          15   weaknesses. They're pointing out that's true even
               16       Q. And the first full paragraph below that,      16   for randomized controlled trials.
               17   I'm just going to read the final two sentences of    17       Q. (BY MR. RAMER) And so I think you
               18   that paragraph and ask if I read it correctly.       18   discussed that you read the discussion to see
               19          It says "Even if the results of different     19   where the bias is in the study.
               20   studies are consistent, determining their risk of    20          And is that generally how you assess
               21   bias is still important."                            21   studies for risk of bias?
               22       A. Sorry, I thought you were -- Sorry.           22       A. That's a good starting point, because
               23   You're starting halfway down?                        23   often the author of the paper, in the peer-review
               24       Q. So it's the first full paragraph after        24   process, whatever peer reviewer identifies as a
               25   the blue header. And I'm going to be reading the     25   limitation of the study, if that -- that's due to
                                                               Page 47                                                     Page 49

                                                                                                            13 (Pages 46 - 49)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.0987
(221 of 288), Page 221 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 221 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 14 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   something like recall bias, et cetera, that that's       1   wanted to be an expert, you would probably pull
                2   usually the part of the paper where that's going         2   the individual studies that are identified in the
                3   to be written.                                           3   systematic review, analyze them further, see what
                4           But I think most experts are also going          4   additional information can be teased out that
                5   to read the full paper to see if they identify any       5   maybe wasn't teased out by the person who did the
                6   other limitations of the study that weren't              6   initial systematic review where likely their goal
                7   explicitly noted in the discussion section of the        7   was just to give you a sense of the whole of the
                8   paper.                                                   8   literature.
                9        Q. And this will for now be my last question        9           MR. RAMER: All right. I think maybe
               10   on this, and then maybe we can take a break.            10   we're at a breaking point here. Does that sound
               11           But I'd like to go to page 182 in this          11   good?
               12   document. Just let me know if you're there.             12           MS. NOWLIN-SOHL: Yeah, that sounds good.
               13        A. We're there.                                    13   Five minutes?
               14        Q. Okay. And I'd like to look at the last          14           MR. RAMER: Yeah, works for me.
               15   paragraph on the page in the first sentence. And        15           THE VIDEOGRAPHER: Okay. So the time is
               16   I'll just read it and ask if I read it correctly.       16   10:06 a.m. Pacific time, and we are off the
               17           It says "In answering any clinical              17   record.
               18   question, our first goal should be to identify          18        (Break taken from 10:06 a.m. to 10:12 a.m.)
               19   whether there is an existing systematic review of       19           THE VIDEOGRAPHER: So we are recording.
               20   the topic that can provide a summary of the             20   The time is 10:12 a.m. Pacific, and we are back on
               21   highest quality available evidence (see the             21   the record.
               22   summarizing the evidence section)."                     22       Q. (BY MR. RAMER) Dr. Turban, I'd like to
               23           Did I read that correctly?                      23   go to your declaration, which is Turban Exhibit 1,
               24        A. Yes.                                            24   and specifically go to page 15 and paragraph 24.
               25        Q. And do you agree that the first goal in         25           And I just want to read the -- it's
                                                                  Page 50                                                      Page 52

                1   answering any clinical question is to identify           1   toward the end of the paragraph on this page.
                2   whether there is an existing systematic review of        2   I'll read the sentence starting with the word
                3   the topic?                                               3   "but" and then just ask if I read it correctly.
                4          MS. NOWLIN-SOHL: Object to the form.              4           It says "But all a systematic review
                5          THE WITNESS: I think what this is likely          5   means is that the authors of the reports
                6   referencing -- not having read the entire                6   predefined the search terms they used when
                7   textbook, but it looks like it's a textbook about        7   conducting literature reviews in various
                8   teaching clinicians how to conduct evidence-based        8   databases."
                9   medicine -- I think they're saying when you first        9           And did I read that correctly?
               10   come to a topic, so if you're not an expert in a        10        A. Correct. There's a citation to the
               11   topic -- let's say I were going to treat someone        11   Harvard Countway Library.
               12   with -- let's just say it's a hypothetical              12        Q. And based on what we've discussed so far
               13   condition that I don't treat every day but I have       13   today, do you agree that this sentence is wrong?
               14   a patient who I need to help.                           14        A. No.
               15          One of the first things I would look for         15        Q. You maintain that all a systematic review
               16   is yes, a systematic review. If I don't already         16   means is that the authors of the reports predefine
               17   know that literature, that's going to be a really       17   the search terms they used when conducting the
               18   fast way for me to find a summary of a lot of the       18   literature reviews; is that right?
               19   literature that I need to know for that given           19        A. Correct.
               20   situation. So yes, it would be a good place to          20        Q. Okay.
               21   start.                                                  21        A. There are other things one may do as part
               22          I think if your aim is to be an expert in        22   of a systematic review to add to it, but the label
               23   the field, you wouldn't stop there. You would           23   at its face means that the review was systematic,
               24   read the systematic review. You would look at the       24   that you defined your search terms and your
               25   evidence that's in there but then if you really         25   databases for how you identified your literature.
                                                                  Page 51                                                      Page 53

                                                                                                                14 (Pages 50 - 53)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.0988
(222 of 288), Page 222 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 222 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 15 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   Different authors might do different things from    1      predefined your search terms and the databases you
                2   there.                                              2      used for searching.
                3       Q. And so you do not think that a systematic    3              MR. RAMER: Okay. I'd like to go to --
                4   review includes the assessment of the individual    4      yeah, I'd like to go to what I'll call Turban
                5   studies that make up the review?                    5      Exhibit 6 that I just sent. Let me know when you
                6       A. What differentiates a systematic review      6      have it.
                7   from a narrative review or a different type of      7             (Deposition Exhibit No. 6 was marked.)
                8   review -- all of those are going to talk about the  8          Q. (BY MR. RAMER) And is this the web page
                9   literature, but what distinguishes it is that it    9      you're citing in footnote 31?
               10   defines its search terms and the bases that it     10          A. Yes, it appears to be.
               11   uses so that others can repeat that search.        11          Q. Okay. And you cite this page in support
               12       Q. And so you do not think that the            12      of the proposition that all a systematic review
               13   assessment of individual studies for bias is a     13      means is that the authors of the reports
               14   component of a systematic review; is that right?   14      predefined the search terms they used when
               15       A. It may or may not be. Depends on the        15      conducting literature reviews in various
               16   systematic review. Ideally it would, but just      16      databases, correct?
               17   calling something a systematic review doesn't mean 17          A. Correct. This then goes on to say other
               18   it will do that.                                   18      things went in to add to a systematic review to
               19       Q. And so you're not speaking categorically    19      make it a better systematic review, but again,
               20   in that sentence; is that right?                   20      what the phrase "systematic review" means is that
               21           MS. NOWLIN-SOHL: Object to form.           21      you were systematic in how you collected your
               22           THE WITNESS: I'm saying the term           22      literature for the review.
               23   "systematic review" means that the authors of the  23          Q. You don't think that it also includes
               24   reports predefined the search terms they used when 24      being systematic in how you assess the studies
               25   conducting the literature reviews in various       25      that form the systematic review?
                                                                Page 54                                                     Page 56

                1   databases.                                             1       A. Not necessarily. Ideally it would be,
                2       Q. (BY MR. RAMER) Are there systematic             2   but I don't believe all systematic reviews reach
                3   reviews where the authors also include an              3   that level of rigor.
                4   assessment of the individual studies that make up      4       Q. Okay. So on this document, Turban
                5   the systematic review?                                 5   Exhibit 6, there is a -- on page 1 there is a bold
                6       A. Yes.                                            6   question that says "What is a systematic review?"
                7       Q. So then isn't it wrong to say that all a        7   And I'm just going to read the first two sentences
                8   systematic review is is just predefining the           8   under that and ask if I read them correctly.
                9   search terms?                                          9           It says "A systematic review is guided
               10           MS. NOWLIN-SOHL: Object to the form;          10   filtering and synthesis of all available evidence
               11   argumentative, mischaracterizes prior testimony.      11   addressing a specific, focused research question,
               12           THE WITNESS: It says "but all a               12   generally about a specific intervention or
               13   systematic review means is that the authors of the    13   exposure. The use of a standardized, systematic
               14   reports predefined the search terms they used when    14   methods and preselected eligibility criteria
               15   conducting literature reviews in various              15   reduce the risk of bias in identifying, selecting,
               16   databases."                                           16   and analyzing relevant studies."
               17           So if you're calling a paper a systematic     17           Did I read that correctly?
               18   review, that is what the term "systematic review"     18       A. Yes.
               19   means.                                                19       Q. What is your understanding of what this
               20           It's not saying there's nothing else in       20   page is describing when it mentions "analyzing
               21   it but the search terms. There's the search terms     21   relevant studies"?
               22   that the papers identify that they summarize in       22           MS. NOWLIN-SOHL: Object to form.
               23   the literature, but when you're using the term        23           THE WITNESS: So they're saying you use
               24   "systematic review," what you're highlighting is      24   standardized systematic methods in preselected
               25   that -- exactly what I put there, that you            25   eligibility criteria, so those are all things to
                                                                Page 55                                                     Page 57

                                                                                                             15 (Pages 54 - 57)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.0989
(223 of 288), Page 223 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 223 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 16 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   identify the studies you're going to look at.          1   assessment of the validity or risk of bias. And
                2           They're saying that doing that reduces         2   it does go on to tell you how ideally they would
                3   the risk of bias in identifying, selecting, and        3   be conducted.
                4   then reporting out the relevant studies. If            4          But the term "systematic review" means
                5   you -- if you didn't do a systematic review -- and     5   what I noted in my declaration.
                6   again, a systematic review doesn't guarantee that      6       Q. (BY MR. RAMER) But you think the meaning
                7   your search methods are perfect, but it increases      7   of the term you note in your declaration comes
                8   the likelihood that you're not going to miss           8   from what we're looking at right now?
                9   important studies that need to be analyzed.            9          MS. NOWLIN-SOHL: Object to form;
               10           But I don't read this as saying that you      10   argumentative.
               11   necessarily need to have a standardized systematic    11          THE WITNESS: Yes.
               12   method of analyzing the relevant studies, although    12       Q. (BY MR. RAMER) What is this paragraph --
               13   that would be ideal.                                  13   let me rephrase.
               14        Q. (BY MR. RAMER) Well, in the first             14          What is your understanding of what this
               15   sentence then, what is your understanding of what     15   paragraph is discussing in the sentence you were
               16   it's referring to when it is discussing the           16   reading where it says "an assessment of the
               17   synthesis of all available evidence?                  17   validity or risk of bias of each included study"?
               18        A. The general process of taking all the         18          MS. NOWLIN-SOHL: Object to form; asked
               19   studies that you identify and then reporting out      19   and answered.
               20   the summary.                                          20          THE WITNESS: Sorry. I'm not sure which
               21        Q. Would creating a synthesis of all             21   sentence you're referring to.
               22   available evidence require analyzing the relevant     22       Q. (BY MR. RAMER) You were reading the
               23   studies?                                              23   second-to-last sentence in this paragraph, and you
               24        A. There are many ways you could go about        24   got to the point where it says "an assessment of
               25   analyzing the relevant studies.                       25   the validity or risk of bias of each included
                                                                Page 58                                                      Page 60

                1       Q. Like what?                                      1   study."
                2       A. You could read them and give your general       2          And my question is what is your
                3   impression.                                            3   understanding of what that is referring to?
                4          You could, if you were doing a practice         4          MS. NOWLIN-SOHL: Same objections.
                5   guideline, you might be able to create criteria.       5          THE WITNESS: Yeah. So again, that
                6   Those are two examples.                                6   sentence starts "A well-designed systematic review
                7          You might look at the sample size of all        7   includes," and it ends with "an analysis and
                8   of that.                                               8   presentation of the findings of the included
                9          You might look at the inclusion and             9   studies." And before that, "an assessment of the
               10   exclusion criteria.                                   10   validity or risk of bias that each study
               11       Q. Do you agree that this paragraph states        11   included."
               12   that a systematic review is something more than       12          Not all systematic reviews will be well
               13   predefining search terms used when conducting         13   designed.
               14   literature reviews in various databases?              14      Q. (BY MR. RAMER) Why would a well-designed
               15          MS. NOWLIN-SOHL: Object to form.               15   systematic review include an assessment of the
               16          THE WITNESS: I believe it explains that        16   validity or risk of bias of each included study?
               17   the term "systematic review" means that one           17      A. Again, it's useful information.
               18   defines the way that they're defining their search    18   Different -- analyses of different types of bias
               19   terms and their databases. That's what a              19   provide different types of useful information.
               20   systematic review as a whole means.                   20          But for instance, recall bias would be
               21          It goes on to say -- it says -- well, it       21   important to know if people are asked questions
               22   says halfway down a well-designed systematic          22   about the remote past. Right? Like, you'd want
               23   review includes clear objectives, preselected         23   to know if you were asking someone about their
               24   criteria, an explicit methodology, a thorough and     24   childhood how long ago was that? What kind of
               25   reproducible search of the literature, an             25   question was it? Is it likely that they would
                                                                Page 59                                                      Page 61

                                                                                                              16 (Pages 58 - 61)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                           App.0990
(224 of 288), Page 224 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 224 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 17 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   remember something that long ago given the nature        1       A. So I don't know that I would use this
                2   of the event? It's just one example of the many          2   specific citation.
                3   types of bias we may examine.                            3       Q. Okay. And then just going back to your
                4       Q. And why would a well-designed systematic          4   declaration page -- sorry, paragraph 24, but back
                5   review look for bias in the individual studies?          5   to page 15 and the sentence we were previously
                6       A. Because it gets you more information              6   discussing, and so the point of -- I'll just -- to
                7   about what the study actually tells you.                 7   refresh, the sentence says "But all a systematic
                8       Q. Do you agree that assessing bias in the           8   review means is that the authors of the reports
                9   individual studies is an advantage of a systematic       9   predefined the search terms they used when
               10   review over a narrative review?                         10   conducting literature reviews in various
               11          MS. NOWLIN-SOHL: Object to form.                 11   databases."
               12          THE WITNESS: No. I think both can do             12          And you would agree that the description
               13   that.                                                   13   you give there does not define a well-designed
               14       Q. (BY MR. RAMER) Do they both do it                14   systematic review, correct?
               15   systematically?                                         15          MS. NOWLIN-SOHL: Object to form.
               16          MS. NOWLIN-SOHL: Object to form.                 16          THE WITNESS: I think it's a
               17          THE WITNESS: Not necessarily.                    17   rectangle/square situation. I think my definition
               18       Q. (BY MR. RAMER) And why not necessarily?          18   will cover all systematic reviews.
               19       A. Both of them could do it unsystematically        19       Q. (BY MR. RAMER) I think where I'm getting
               20   based on general impression of the authors.             20   hung up with that answer is the beginning of the
               21       Q. And I'd like to go back to your                  21   sentence where you say, "but all a systematic
               22   declaration and the same paragraph but on the next      22   review means," which means to describe the full
               23   page, so the run-over. And the second to last           23   universe of systematic reviews can be defined
               24   sentence, I'll just read it and ask if I read it        24   strictly by the fact that the authors used
               25   correctly.                                              25   predefined search terms.
                                                                  Page 62                                                   Page 64

                1          It says "The primary advantage to a               1           Is there --
                2   systematic review would be its potential, and no         2       A. All systematic reviews will have
                3   guarantee, to identify research publications that        3   predefined their search terms.
                4   had not previously been identified in this               4       Q. And will well-designed systematic reviews
                5   discussion."                                             5   only predefine their search terms?
                6          Did I read that correctly?                        6           MS. NOWLIN-SOHL: Object to form.
                7       A. Yes.                                              7           THE WITNESS: This is my rectangle/square
                8       Q. And you do not cite anything for that             8   comment.
                9   proposition, correct?                                    9           So when you're calling something a
               10       A. Correct. There's no citation on that             10   systematic review, the piece of information you're
               11   sentence.                                               11   communicating is that they predefined their search
               12       Q. Do you think the documents we were               12   terms and the databases they used. So that term
               13   looking at, Turban Exhibit 6 from Harvard that you      13   is telling you that.
               14   cited in footnote 31, could support that                14           There are a million other things that the
               15   proposition?                                            15   term doesn't tell you, right? It doesn't tell you
               16       A. Let me look.                                     16   the author list. It doesn't tell you how long it
               17       Q. And if you don't know, that's fine.              17   is. It doesn't tell you how they went about
               18          Just so I can keep track of time, what           18   analyzing all the studies.
               19   page are you on currently?                              19           That term tells you that they predefined
               20       A. I went through -- I'm not seeing that            20   their search terms in some way, and they tell you
               21   there is a section that explicitly is discussing        21   what databases they used. It doesn't tell you
               22   what the advantage of the systematic review is          22   more than that.
               23   over something else. It's mostly describing what        23       Q. And can we return to Turban Exhibit --
               24   they are.                                               24   let's see -- Exhibit 4, which is the Users'
               25       Q. Okay.                                            25   Guidelines to the Medical Literature?
                                                                  Page 63                                                   Page 65

                                                                                                              17 (Pages 62 - 65)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                            App.0991
(225 of 288), Page 225 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 225 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 18 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          MS. NOWLIN-SOHL: What page, John?               1   expert in this case?
                2          MR. RAMER: Yeah, sorry. Database                2       A. I'm not sure I understand the question.
                3   page 275, which I believe is page 304.                 3       Q. How did you --
                4          MS. NOWLIN-SOHL: Okay. We're there.             4       A. Sorry. Come to be an expert in the
                5       Q. (BY MR. RAMER) And just looking at              5   field, or how did I get involved in the case?
                6   Figure 14-2 again.                                     6       Q. How did you become an expert witness in
                7          It seems as though you are defining a           7   this particular case?
                8   systematic review to be something less than what       8       A. I was asked by one of the attorneys on
                9   Figure 14-2 is defining to be a systematic review;     9   the case.
               10   is that fair?                                         10       Q. And who specifically asked you?
               11          MS. NOWLIN-SOHL: Object to form.               11       A. Leslie Cooper.
               12          THE WITNESS: Could you repeat the              12       Q. And without going into anything that you
               13   question?                                             13   spoke about with counsel, when were you contacted
               14       Q. (BY MR. RAMER) Is it fair to say that          14   to serve as an expert witness in this case?
               15   you were defining systematic review differently       15       A. I don't recall. Sometime recently,
               16   from how this is defining systematic review?          16   perhaps in the past month or so.
               17          MS. NOWLIN-SOHL: Object to form;               17       Q. Was it after August?
               18   mischaracterizes prior testimony.                     18       A. I believe so.
               19          THE WITNESS: I don't think that these          19       Q. Was it after September 5th?
               20   definitions are in conflict with each other.          20       A. I really have to look at my call logs.
               21       Q. (BY MR. RAMER) Do you agree that this          21   I'm not entirely sure when.
               22   figure defines a systematic review to include         22       Q. Do you know whether the Defendants in the
               23   reviewing the full text of possibly eligible          23   case had already submitted their brief opposing
               24   studies and then assessing risk of bias and           24   the preliminary injunction when you were asked to
               25   abstracting data?                                     25   serve as an expert?
                                                                Page 66                                                     Page 68

                1          MS. NOWLIN-SOHL: Object to form.             1          A. I know I received -- I'm not a lawyer. I
                2          THE WITNESS: Again, not all systematic       2      received -- what was it? -- a combined brief, I
                3   reviews would necessarily assess the risk of bias.  3      believe, opposing preliminary injunction,
                4   I think this is describing how you would ideally    4      something, the second half of the goal of the
                5   conduct a systematic review. They will always       5      memorandum that I reviewed at some point.
                6   involve reviewing the text of the studies that you  6             But I don't remember when I received
                7   identify. That's what a review is.                  7      that, so I don't know how the dates lined up. I
                8       Q. (BY MR. RAMER) And so you think that in 8           know I asked to see it at a certain point because
                9   this figure, the bottom two lines that make up the  9      I think it's referenced in something.
               10   systematic review are unnecessary for something to 10          Q. And do you know the other expert
               11   be a systematic review; is that right?             11      witnesses supporting the Plaintiffs in this case?
               12          MS. NOWLIN-SOHL: Object to the form;        12          A. If you named them I could tell you.
               13   mischaracterizes prior testimony.                  13          Q. Dr. Kara Connelly?
               14          THE WITNESS: I don't think all              14          A. I know of Dr. Connelly but do not know
               15   systematic reviews are necessarily going to assess 15      her personally.
               16   the risk of bias.                                  16          Q. Did you read the declaration she
               17          Abstract data -- I'm not sure what          17      submitted in this case?
               18   they're referencing specifically in this figure    18          A. I did not.
               19   since it's a vague term. I do think all            19          Q. Do you know Dr. Christine Brady?
               20   systematic reviews are going to review the studies 20          A. I do. Dr. Brady is a former supervisor
               21   that they identify through their predefined        21      of mine from Stanford.
               22   searches.                                          22          Q. Have you spoken at all with Dr. Brady in
               23       Q. (BY MR. RAMER) And we can kind of shift 23          this case?
               24   gears a little bit and move off that document.     24          A. I speak with Dr. Brady because we have
               25          Dr. Turban, how did you come to be an       25      some shared patients. I don't recall if we
                                                                Page 67                                                     Page 69

                                                                                                             18 (Pages 66 - 69)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.0992
(226 of 288), Page 226 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 226 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 19 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   specifically talked about the case, but it               1   disclosing the contents of the discussion?
                2   wouldn't have been anything more than in passing.        2      A. Li was with me here, Leslie Cooper, and I
                3       Q. Before you were asked to be an expert in          3   believe Philip May.
                4   this case, did you know that Dr. Brady was serving       4      Q. Anyone else?
                5   as an expert?                                            5      A. No, not that I recall.
                6       A. I think I knew that Dr. Brady -- I knew           6      Q. And, Dr. Turban, what does it mean to be
                7   of another case she'd done in Louisiana, and I           7   transgender?
                8   think I knew she was considering doing other             8      A. One has a gender identity different from
                9   cases. But I don't know if I knew she was doing          9   their sex assigned at birth.
               10   this one specifically.                                  10      Q. And what is gender dysphoria?
               11       Q. What is the case in Louisiana you're             11      A. Gender dysphoria is a diagnosis in the
               12   referring to?                                           12   DSM-5 -- now DSM-5 text revision that involves
               13       A. I believe it was a case related to the           13   having a gender identity different from one's sex
               14   gender clinic that she worked in. Sorry,                14   assigned at birth, and then having clinically
               15   what's -- was it Louisville? University of              15   relevant distress related to that that causes some
               16   Louisville, I think. I'm forgetting the details.        16   impairment in social, occupational, or other
               17   I talked to her about it years ago.                     17   functioning.
               18       Q. And she was serving as an expert in that         18          There are two sets of criteria. One set
               19   case?                                                   19   for prepubertal children, and another set for
               20       A. I don't know if she was an expert or             20   adolescents and adults.
               21   because she was in the clinic was deposed, but          21      Q. Can an individual be transgender but not
               22   there was some forensic component to it where I         22   experience gender dysphoria?
               23   think they were asking her about care for               23      A. Yes.
               24   adolescent gender dysphoria.                            24      Q. Is gender dysphoria different from
               25       Q. Did I freeze?                                    25   anxiety?
                                                                  Page 70                                                     Page 72

                1       A. Yeah. You're back up, though.                     1       A. "Anxiety" is a very broad, untechnical
                2       Q. Okay.                                             2   term. There are a series of anxiety disorders
                3          MR. RAMER: Amy, could you read back the           3   that are specified in the DSM, like generalized
                4   last answer for me?                                      4   anxiety disorder or social anxiety disorder.
                5         (The record was read by the reporter.)             5       Q. And are those different from gender
                6       Q. (BY MR. RAMER) And, Dr. Turban, before            6   dysphoria?
                7   you were asked to be an expert in this case, did         7       A. Those are different diagnoses, yes.
                8   Dr. Brady ever contact you about the process of          8       Q. And what is the difference between
                9   serving as an expert witness?                            9   generalized anxiety disorder and gender dysphoria?
               10       A. We may have spoken about it, like the            10       A. In generalized anxiety disorder, one
               11   general process of doing expert witness work when       11   typically has anxiety in several different
               12   I was at Stanford, but I don't remember specific        12   domains. So for instance, they might be anxious
               13   conversations.                                          13   about their health and anxious about their grades
               14       Q. And what did you do to prepare for this          14   and anxious about being late.
               15   deposition?                                             15          One classic thing we say in psychiatry is
               16       A. I reviewed my own declaration. I earlier         16   people with generalized anxiety disorder sometimes
               17   reviewed the declarations of Dr. Cantor and             17   become anxious that they will become anxious, so
               18   Dr. Weiss, and I read the State's memorandum that       18   just highlighting that there are many, many
               19   I think was -- I keep forgetting. I think it was        19   different types of things that they become anxious
               20   a combined memoranda and opposition to preliminary      20   about.
               21   injunction, maybe motion to dismiss.                    21          And then again, that needs to lead to
               22       Q. Did you do any prep for the deposition?          22   some sort of clinic-basing assent impairment. So
               23       A. I had two meetings with the lawyers from         23   all of us have day-to-day worries, but that
               24   the ACLU to go through my declaration and prepare.      24   wouldn't necessarily meet the criteria for
               25       Q. And who was in those meetings, without           25   generalized anxiety disorder.
                                                                  Page 71                                                     Page 73

                                                                                                               19 (Pages 70 - 73)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                            App.0993
(227 of 288), Page 227 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 227 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 20 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          Gender dysphoria is different in that the        1   does not change over time, but the language
                2   distress is specifically related to an                  2   someone uses to describe it can change over time?
                3   incongruence, if you will, which means their            3       A. That's how I conceptualize it given the
                4   gender identity and their sex assigned at birth.        4   biological literature that we have.
                5      Q. And is gender dysphoria different from            5       Q. If an individual identifies as a male at
                6   some form of clinical depression?                       6   age 16 and later identifies as a female at age 22,
                7          MS. NOWLIN-SOHL: Object to form.                 7   has that person's gender identity changed?
                8          THE WITNESS: Those are different                 8       A. It would be really difficult to know. So
                9   diagnoses. So there's major depressive disorder,        9   I think I cited in my declaration a paper we wrote
               10   for instance, that requires two weeks of a number      10   in the Journal of the American Academy of Child
               11   of symptoms related to depression. It would be         11   and Adolescent Psychiatry about thinking about
               12   different combinations of the symptoms, but            12   changes in the way people conceptualize their
               13   generally depressed mood, loss of ability to enjoy     13   gender identity or people's evolution of interests
               14   things, disturbances in sleep, disturbances in         14   in gender-affirming medical care. And in it, we
               15   appetite, delayed psychomotor movements,               15   describe that that could be due to internal
               16   impairments of concentration.                          16   factors or external factors.
               17          Then again separately, gender dysphoria         17          So what we often see -- we call this
               18   is more about the psychological distress related       18   [indiscernible] -- is that if you are constantly
               19   to one's sex assigned at birth being different         19   told that your gender identity or you're harassed
               20   from their gender identity.                            20   for being transgender or you're discriminated
               21      Q. (BY MR. RAMER) And what is gender                21   against, you can certainly internalize a lot of
               22   identity?                                              22   those messages and then -- which -- or state that
               23      A. Gender identity is one's psychological           23   you are now cisgender.
               24   understanding of their gender broadly in terms of      24          We talked about it can also be an
               25   masculinity, femininity.                               25   internal factor where without those external
                                                                 Page 74                                                     Page 76

                1       Q. Can gender identity change over time?            1   negative pressures, you may evolve on your own to
                2       A. So there's research showing that there's         2   have a different conceptualization of your gender
                3   a strong innate biological basis for gender             3   identity.
                4   identity that forms kind of the base, if you will.      4          The thing that's further complicated is
                5   That's what I think of as the person's gender           5   minority stress framework explains the ways in
                6   identity.                                               6   which people internalize negative messages that
                7          But in the same way that we, with other          7   might minoritize people from the commute. So you
                8   parts of ourselves, kind of describe language to        8   can imagine if you are a young trans person who's
                9   that and conceptualize it, put words to it, that        9   constantly told that trans people are invalid or
               10   can evolve over time.                                  10   being trans is a result of trauma or you're a
               11       Q. And so the latter that you just described       11   danger to people on sports teams or you're a
               12   can change over time, but can the former category,     12   danger to people in bathrooms, they might start to
               13   the gender identity itself, change over time?          13   internalize those negative views of trans people
               14       A. It seems no. It seems that there's -- we        14   and then kind of push yourself to present as
               15   have twin studies, for instance, I think are the       15   cisgender.
               16   strongest piece of data that we have for that,         16          I think it's similar to what we saw with
               17   that are usually what we use for determining if        17   the ex-gay movements in the past. But again, this
               18   something has an innate biological determinate.        18   is seeking broadly and I think we'd have to kind
               19   And those show that gender identity has a strong       19   of look person by person because it's such a
               20   biological component, particularly trans               20   complex question.
               21   identities is what the studies looked at.              21       Q. But those examples that you just gave,
               22          But certainly we see patients where the         22   those are examples of the way the language they're
               23   language they ascribe to their gender identity or      23   using to describe their gender identity changes.
               24   their understanding of it could evolve over time.      24   But their actual gender identity has not changed,
               25       Q. So is it fair to say that gender identity       25   correct?
                                                                 Page 75                                                     Page 77

                                                                                                              20 (Pages 74 - 77)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.0994
(228 of 288), Page 228 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 228 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 21 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1           MS. NOWLIN-SOHL: Object to form;            1   identity does not change over time, could alter
                2   mischaracterizes prior testimony.                   2   the answer to the question.
                3           THE WITNESS: Yeah, I think I gave           3       A. So I think your question was the person
                4   examples, both in which the language they used      4   had a gender identity at one point and then had a
                5   changes but also the ways in which their            5   different gender identity at the other points, but
                6   understanding of their gender identity has evolved  6   I would want to know from you what you mean by
                7   potentially through those internal or external      7   their gender identity was different at one point
                8   factors.                                            8   in time or two.
                9           But I would go back to the fact that        9          Did their understanding change? Did
               10   there are these data showing this strong           10   something happen? Were they told something? Or
               11   biological determinate of our gender identities.   11   even assessing this based on what they are telling
               12   But obviously the human psyche is complex in how 12     you?
               13   it understands and evolves in its understanding of 13       Q. But so your view is, though, that at time
               14   itself.                                            14   point 1 and time point 2, there is never a change
               15       Q. (BY MR. RAMER) So are you saying that 15         in gender identity, correct?
               16   there are examples where because they have --      16          MS. NOWLIN-SOHL: Object to form;
               17   individuals have. Let me rephrase.                 17   argumentative, mischaracterizes prior testimony.
               18           Are you saying there are examples where    18          THE WITNESS: What I'm saying is there is
               19   internal and external factors do in fact change    19   strong evidence of an innate biological
               20   someone's gender identity?                         20   determinate of gender identity that appears to be
               21       A. The external factors can drive internal     21   stable throughout time, but there is extreme
               22   factors, which can subsequently change one's       22   complexity in how people think about themselves,
               23   understanding of their gender identity.            23   and they ascribe language to that and feel
               24       Q. And is there a distinction between gender   24   comfortable sharing it or not at various times.
               25   identity and one's understanding of their gender   25       Q. (BY MR. RAMER) So can you -- are you
                                                              Page 78                                                   Page 80

                1   identity?                                         1     able to say that the evidence shows that gender
                2       A. I believe so. I think it's important to    2     identity does not change over time?
                3   differentiate with what we know about the brain   3            MS. NOWLIN-SOHL: Object to form.
                4   and these innate biological factors from the      4            THE WITNESS: If you're defining "gender
                5   influence of how people ascribe language and      5     identity" as those innate biological factors, then
                6   understanding to themselves over time.            6     yes, because they're innate biological factors,
                7       Q. And so when you're discussing examples     7     that they would be unlikely to change over time.
                8   where an individual's understanding of their      8            And if you look at clinical experience,
                9   gender identity has changed, that does not mean   9     I've not had any patients who identified as
               10   that their gender identity has changed, correct? 10     transgender and then subsequently identified as
               11       A. That's how I would conceptualize it. I    11     cisgender.
               12   think that's fair.                               12            I have had patients who have kind of had
               13       Q. And so just going back to my question, if 13     this core transgender identity but have kind of
               14   an individual identifies as a male at age 16 and 14     shifted the way they conceptualize it between,
               15   later identifies as a female at age 22, that     15     say, transmasculine or nonbinary.
               16   individual's gender identity has not changed,    16            I've had patients who moved somewhere or
               17   correct?                                         17     studied abroad and felt that they weren't safe
               18          MS. NOWLIN-SOHL: Object to form; asked 18        being out as trans so they went into the closet.
               19   and answered.                                    19     To everyone around them, they presented as being
               20          THE WITNESS: Are you thinking of a        20     cisgender for that period of time.
               21   person that you have more detail where we can    21            I hope that helps provide context.
               22   discuss it in depth?                             22         Q. (BY MR. RAMER) Do you ever think it
               23       Q. (BY MR. RAMER) I don't understand. I      23     would be appropriate to provide puberty blockers
               24   guess I don't understand how the question -- how 24     to a patient who was not formally diagnosed with
               25   the answer, based on your view that gender       25     gender dysphoria under the DSM-5?
                                                              Page 79                                                   Page 81

                                                                                                          21 (Pages 78 - 81)
                                                     Veritext Legal Solutions
                                           Calendar-Idaho@veritext.com 208-343-4004
                                                         App.0995
(229 of 288), Page 229 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 229 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 22 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1      A. Perhaps if they had central precocious             1       Q. And have you read it?
                2   puberty.                                                 2       A. Yes.
                3      Q. Would the exception of central precocious          3       Q. Okay. I'd like to go to page S43, which
                4   puberty -- I'll just rephrase it differently.            4   is page 45 in the PDF.
                5          Do you think it is appropriate to provide         5           MS. NOWLIN-SOHL: So, John, we have an
                6   puberty blockers as a treatment for gender               6   excerpt that starts at S43, and it's only a
                7   dysphoria to a patient who was not formally              7   24-page PDF.
                8   diagnosed with gender dysphoria under the DSM-5?         8           MR. RAMER: Yes. I apologize. So that's
                9          MS. NOWLIN-SOHL: Object to form.                  9   my fault, so let's just stick with this. So page
               10          THE WITNESS: I guess I don't understand          10   S43, the page we're on.
               11   how the patient has gender dysphoria if they don't      11           MS. NOWLIN-SOHL: Okay.
               12   meet the criteria for gender dysphoria.                 12           MR. RAMER: Sorry about that.
               13      Q. (BY MR. RAMER) Well, would you -- do you          13       Q. (BY MR. RAMER) And this chapter is about
               14   think it's appropriate to give puberty blockers to      14   adolescents, correct?
               15   a patient who meets the classification of gender        15       A. Correct.
               16   incongruence under the ICD-11?                          16       Q. Okay. And I'd like to go down to S48,
               17      A. But does not meet the criteria for gender         17   which is page 6 in the PDF.
               18   dysphoria?                                              18           And these are WPATH statements of
               19      Q. Correct.                                          19   recommendations regarding care for adolescents,
               20          MS. NOWLIN-SOHL: Object to form.                 20   correct?
               21          THE WITNESS: No. In the United States,           21       A. Yes.
               22   that would not be appropriate practice.                 22       Q. So about partway down this box, there's
               23      Q. (BY MR. RAMER) Is the primary purpose of          23   an italics that says -- I'll just read it and ask
               24   gender-affirming medical interventions to reduce        24   if I read it correctly.
               25   the distress associated with gender dysphoria?          25           It says "The following recommendations
                                                                  Page 82                                                      Page 84

                1       A. Yes.                                         1        are made regarding the requirements for
                2       Q. And so a treatment that does not reduce      2        gender-affirming medical and surgical treatment
                3   the distress associated with gender dysphoria       3        (all of them must be met)."
                4   cannot be deemed an effective treatment for gender 4                 Did I read that correctly?
                5   dysphoria, correct?                                 5            A. Yes.
                6           MS. NOWLIN-SOHL: Object to form.            6            Q. And then I'd like to go to 6.12.C in this
                7           THE WITNESS: The caveat I would add is      7        box just a few lines down. And I'll read that and
                8   that generally in actual history of gender          8        ask if I read it correctly.
                9   dysphoria is that it worsens over time.             9                It says "The adolescent demonstrates the
               10           So if there were a treatment that could    10        emotional and cognitive maturity required to
               11   prevent the worsening of the distress, that would  11        provide informed consent/assent for the
               12   be an improvement as well, and a notable goal.     12        treatment."
               13       Q. (BY MR. RAMER) Oh, I see. You're saying 13                    Did I read that correctly?
               14   like -- you're referring to, like, maintaining the 14            A. Yes.
               15   baseline is what you're saying?                    15            Q. And am I right in thinking that as a
               16       A. Yeah. If you can prevent it from getting    16        general matter, minors do not actually consent to
               17   worse, that would also be a good goal.             17        treatments but rather their parents provide
               18           MR. RAMER: And, Dr. Turban, I'd like to    18        informed consent and then the minor provides
               19   introduce what we'll call Turban Exhibit 7.        19        informed assent?
               20          (Deposition Exhibit No. 7 was marked.)      20                MS. NOWLIN-SOHL: Object to the extent
               21       Q. (BY MR. RAMER) And I'll just represent 21             that it calls for a legal conclusion.
               22   to you that this is Chapter 6 of the WPATH         22                THE WITNESS: In general, that is
               23   Standards of Care, Version 8.                      23        correct. I'll say this is a very conservative
               24           And have you seen this document before?    24        area of medicine, and generally when assessing
               25       A. Yes.                                        25        capacity, which is kind of the medical version of
                                                                  Page 83                                                      Page 85

                                                                                                                22 (Pages 82 - 85)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.0996
(230 of 288), Page 230 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 230 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 23 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   ability to consent, we use something called the          1   criteria that are kind of separate from the
                2   Applebaum criteria for adults.                           2   consent criteria would likely make them unable to
                3          And I think I and many apply those                3   be able to provide the consent.
                4   Applebaum criteria for being able to provide             4       Q. (BY MR. RAMER) Okay. Well, let's take
                5   informed consent to minors, but technically              5   that and with respect to 6.12.b.
                6   because they are minors, even if they have -- they       6          Do you think that if an individual has
                7   meet those Applebaum criteria that we would use          7   not experienced gender diversity or incongruence
                8   for adults saying that they could give informed          8   for a marked and sustained period of time that
                9   consent, we would call it assent because of their        9   they would not be able to provide informed assent?
               10   minor status. Their parents would need to provide       10       A. Oh, sorry. I thought you were only
               11   the consent for them to be able to access care.         11   referencing the text within d and e.
               12       Q. (BY MR. RAMER) Would you ever provide --         12       Q. Sorry. Do you want me to back out? Can
               13   let me rephrase.                                        13   I ask the question again?
               14          Would you ever provide the treatment             14       A. Sure.
               15   described in Chapter 6 when a minor provides            15       Q. All I'm asking is so we have this
               16   informed assent but you do not have informed            16   requirement of informed consent/assent in 6.12.c.
               17   consent from the parent?                                17          And my question is simply based on this
               18          MS. NOWLIN-SOHL: Object to form.                 18   list and the statement above it that says all of
               19          THE WITNESS: No, I can't imagine I would         19   these criteria must be met, doesn't that mean that
               20   do that.                                                20   there can be a situation where adolescent can
               21          And the latest guidelines I think have a         21   provide informed assent or consent and thus
               22   statement in there that you need informed consent       22   satisfy 6.12.c and yet nevertheless not be
               23   from parents. I think it says something like            23   eligible for treatment based on one of these other
               24   unless that would be dangerous. I think that            24   requirements?
               25   means, you know, like a noncustodial parent or a        25       A. Yes.
                                                                  Page 86                                                    Page 88

                1   parent who is physically abusive or a parent who         1        Q. And have you ever heard the terms
                2   is not in the child's life that you would need a         2   "assessment model" and "informed consent model"
                3   legal guardian to provide the informed consent.          3   used to describe a treatment protocol?
                4       Q. (BY MR. RAMER) And I want to look still           4        A. Yes.
                5   in this box. I want to look at first read 6.12.b         5        Q. What is the difference between an
                6   and ask if I read it correctly, and then I'll read       6   assessment model and an informed consent model?
                7   d.                                                       7        A. They're not as clearly delineated as I
                8           So 6.12.b says "The experience of gender         8   think one would like, but I can kind of describe
                9   diversity/incongruence is marked and sustained           9   the two broad concepts.
               10   over time."                                             10           So an informed consent model, this is
               11           Did I read that correctly?                      11   what we do pretty much in all of medicine where we
               12       A. Yes.                                             12   provide individuals with the risks of a treatment,
               13       Q. And then 6.12.d says "the adolescent's           13   the potential benefits of a treatment, unknowns of
               14   mental health concerns (if any) that may interfere      14   the treatment, just everything that's important to
               15   with diagnostic clarity, capacity to consent, and       15   know, like, when making a decision about the
               16   gender-affirming medical treatments have been           16   treatment.
               17   addressed."                                             17           And then they decide -- in pediatric
               18           And did I read that correctly?                  18   medicine -- again, in the vast majority of the
               19       A. Yes.                                             19   cases it's not actually the adolescent deciding;
               20       Q. So based on these guidelines, could there        20   it's the parents deciding and the adolescent
               21   be times where an adolescent is able to provide         21   agreeing -- but I think generally most doctors,
               22   informed assent for a treatment but a provider          22   particularly for their adolescent patients, really
               23   still should not provide the treatment?                 23   want the patients to have about as strong of an
               24           MS. NOWLIN-SOHL: Object to form.                24   understanding of the treatment as their parents
               25           THE WITNESS: I think most of these other        25   do.
                                                                  Page 87                                                    Page 89

                                                                                                              23 (Pages 86 - 89)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.0997
(231 of 288), Page 231 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 231 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 24 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1           The assessment model is a little bit           1   think these have elements of both models? Or do
                2   ill-defined, but it involves still informed            2   you think this is better described as an
                3   consent because you're giving them all the             3   assessment model? Or how would you characterize
                4   information.                                           4   these particular guidelines?
                5           But in particular for gender-affirming         5          MS. NOWLIN-SOHL: Object to form.
                6   medical interventions, the guidelines require the      6          THE WITNESS: My understanding is that
                7   biopsychosocial assessment, where in addition to       7   they require a comprehensive biopsychosocial
                8   making sure that they have all the information         8   assessment prior to initiating any
                9   about the treatments to make the decision, you as      9   gender-affirming medical or surgical care for a
               10   the provider want to know more so that you're         10   minor.
               11   making sure you're supporting them in all the ways    11      Q. (BY MR. RAMER) And if there are
               12   that they need to be supported.                       12   requirements over and above informed consent or
               13           So you want to know their family history.     13   informed assent such as the provider needs to
               14   You want to know genetic predispositions they         14   confirm the length of time of the gender
               15   have. That's kind of the bio -- you want to know      15   incongruence or the provider needs to address
               16   any medications they're on. You would want to         16   particular comorbidities before providing
               17   know any medical conditions they have, bio.           17   treatment, wouldn't those be aspects of an
               18           Psycho is understanding the way their         18   assessment model?
               19   mind works. Do they have certain personality          19          MS. NOWLIN-SOHL: Object to form.
               20   characteristics? Do they have certain typical         20          THE WITNESS: This is what I was saying.
               21   thought patterns? We try and vary all psychiatry,     21   The distinction is not always entirely cut and
               22   but it's safe to say there are many different         22   dried in that way, because to be able to -- in my
               23   psychological dynamics that you can evaluate.         23   opinion, to be able to give true informed consent,
               24           And then social is particularly important     24   you would -- you as the provider would need to
               25   for these kids because you want to understand         25   understand a lot of those dynamics about the
                                                                Page 90                                                   Page 92

                1   their family environment. You want to understand    1      person so that you could properly educate them on
                2   their peer environment. You want to understand      2      how to make the decision and the relevant things
                3   how their teachers are treating them. You want to   3      that they need to consider.
                4   know if there's potential for bullying or violence  4         Q. (BY MR. RAMER) So I guess -- sorry. Go
                5   or harassment, all of these things that can affect  5      ahead.
                6   mental health.                                      6         A. So I think, you know, informed consent is
                7          So you want to have the comprehensive        7      not the model in pediatrics, I'll say, first and
                8   biopsychosocial assessment so you can know all the 8       foremost. But I think just the concept of
                9   ways you can help the person, right? So maybe       9      informed consent requires asking the person a lot
               10   they need us to talk to their school to make sure  10      of questions in a focused assessment kind of way
               11   there's a bathroom where they feel safe.           11      because you need to understand them well to be
               12          Maybe we need them to talk to their         12      able to counsel them on informed consent.
               13   families, help their families understand their     13         Q. So you could not accurate -- let me
               14   experience. Or if there's communication breaking 14        rephrase.
               15   down, getting everyone together to make sure       15             You could not accurately describe the
               16   they're on the same page so everyone can feel      16      guidelines in Chapter 6 as an informed consent
               17   loved and respected.                               17      model, correct?
               18          And maybe in some of the those cases the    18             MS. NOWLIN-SOHL: Object to form; asked
               19   medical interventions will be in part to consider  19      and answered.
               20   also, but that assessment model takes a very broad 20             THE WITNESS: I think they involved
               21   look at the young person, but ultimately does      21      informed consent, but I think they moved past that
               22   involve a lot of the informed consent work as      22      into more of an assessment as well. But again,
               23   well.                                              23      they're not clean distinctions between those two
               24      Q. And do you think Chapter 6, these            24      terms.
               25   guidelines that we've been looking at, do you      25         Q. (BY MR. RAMER) And I'd like to go to
                                                                Page 91                                                   Page 93

                                                                                                            24 (Pages 90 - 93)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.0998
(232 of 288), Page 232 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 232 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 25 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   page S62, which is page 20 in the PDF.                 1          So I had a patient once who came to me
                2           And then in the right column it appears        2   wanting to better understand his gender identity.
                3   there is a section discussing statement 6.12.d in      3   He had autism and somewhat rigid thinking. And
                4   more depth; is that fair?                              4   really enjoyed -- is it okay if I change some of
                5       A. Yes.                                            5   the details to protected the patient's
                6       Q. Okay. And I'd like to go to the next            6   confidentiality if the theme is the same?
                7   page and the left column and specifically the          7       Q. We can just say we're talking about a
                8   paragraph that is numbered 2. And I'll just read       8   hypothetical, but sure, go ahead.
                9   this full paragraph and ask if I read it               9       A. So let's say he enjoyed ballet, like a
               10   correctly, and then we can go from there.             10   stereotypical female activity, and wondered if
               11           It says "Second, mental health can also       11   that meant that he was trans.
               12   complicate the assessment of gender development       12          The more we talked to him, we realized
               13   and gender identity related needs. For example,       13   that no, he just likes that particular activity,
               14   it is critical to differentiate gender                14   but still very much identified as male and
               15   incongruence from specific mental health              15   certainly didn't actually have a disconnect
               16   presentations such as obsessions and compulsions,     16   between his gender identity and his sex assigned
               17   special interests in autism, rigid thinking,          17   at birth. Certainly didn't have any problem with
               18   broader identity problems, parent/child               18   his physical body or primary or secondary sex
               19   interaction difficulties, severe developmental        19   characteristics.
               20   anxieties, (e.g., fear of growing up and pubertal     20          And the more we talked through it, it
               21   changes unrelated to gender identity), trauma or      21   seemed clear, you know, he didn't have gender
               22   psychotic thoughts. Mental health challenges that     22   dysphoria. But maybe at first glance he did have
               23   interfere with the clarity of identity development    23   suspicion for it because of how he was describing
               24   and gender-related decision-making should be          24   this rigid thinking around gender roles' behavior.
               25   prioritized and addressed."                           25       Q. If -- and this is another hypothetical.
                                                                Page 94                                                     Page 96

                1          Did I read that correctly?                      1          If the adolescent is at the beginning of
                2       A. Yes.                                            2   Tanner Stage II has been diagnosed with gender
                3       Q. And what is diagnostic clarity?                 3   dysphoria and wants puberty blockers, but the
                4       A. Sorry, I'm just going to see where it           4   adolescent is expressing suicidal ideation, in
                5   came up in that paragraph.                             5   your opinion, is that adolescent eligibility to
                6       Q. Sorry. I think it's in -- let's see             6   receive puberty blockers as a treatment?
                7   here. It actually might be in the statement            7          MS. NOWLIN-SOHL: Object to form.
                8   itself. Yeah, sorry.                                   8          THE WITNESS: It depends. Suicidal
                9          So going back another page -- going back        9   ideation is a broad construct. That kind of
               10   another page, right column, so this is S62,           10   ranges from what some people will call passive
               11   Statement 6.12.d.                                     11   suicidal ideation, something like, I'd rather not
               12          It says "The adolescent's mental health        12   be alive. I'm so miserable. But I don't have any
               13   concerns parentheses (if any) that may interfere      13   plan or intent to harm myself.
               14   with diagnostic clarity."                             14          Another end of the spectrum might be, you
               15          And my question is just what is                15   know, active suicidal ideation with intent to
               16   diagnostic clarity?                                   16   plan, where somebody wants to die and they have a
               17       A. I think in their instance, they're             17   plan to act on it and they plan to act on it soon.
               18   referencing clarity around a gender dysphoria         18   If you were on that side of the spectrum, then
               19   diagnosis.                                            19   we're not going to start talking about puberty
               20       Q. And do you agree that mental health            20   blockers. We're going to work towards an
               21   concerns can interfere with diagnostic clarity?       21   inpatient hospitalization to make sure that that
               22       A. Yes.                                           22   person is safe and stabilized, and then they could
               23       Q. How so?                                        23   potentially be a candidate in the future.
               24       A. In many of the ways listed. One example        24          Another end of the spectrum I would
               25   that you gave was autism.                             25   really want to understand the nature of the
                                                                Page 95                                                     Page 97

                                                                                                             25 (Pages 94 - 97)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                           App.0999
(233 of 288), Page 233 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 233 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 26 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   suicidality, you know, if it was not acute             1          MR. RAMER: Okay.
                2   suicidality, the person doesn't have a physical        2          THE VIDEOGRAPHER: Okay. So the time is
                3   safety risk but they're so unhappy that they're        3   11:17 a.m. Pacific time, and we are off the
                4   expressing a desire not to live even though they       4   record.
                5   wouldn't act on that, and a lot of that is related     5        (Break taken from 11:17 a.m. to 11:23 a.m.)
                6   to gender dysphoria and the fear of puberty            6          THE VIDEOGRAPHER: All right. So we are
                7   progressing. And that's a patient where you might      7   recording. The time is 11:23 a.m. Pacific, and we
                8   do more work towards understanding if they would       8   are back on the record.
                9   be a candidate for pubertal suppression.               9       Q. (BY MR. RAMER) Dr. Turban, I'd like to
               10       Q. (BY MR. RAMER) If the patient is               10   return to Turban Exhibit 7, which is Chapter 6,
               11   expressing passive suicidal ideation, are you         11   the "Adolescents" chapter of the SOC8. And going
               12   saying they would not be eligible until after         12   back to page S48, which is 6 in the PDF.
               13   you've done the further assessment? Or are you        13          I want to look again at statement 6.12.B,
               14   saying if the patient is expressing passive           14   which requires that the experience of gender
               15   suicidal ideation, they would be eligible?            15   diversity/incongruence is marked and sustained
               16       A. If they're expressing passive suicidal         16   over time.
               17   ideation, that wouldn't make them immediately         17          And my question is based on your review
               18   ineligible but they would need to go through the      18   of the evidence, do you agree with that
               19   full biopsychosocial assessment, meet all the         19   requirement as a precondition for adolescent
               20   other criteria.                                       20   receiving treatment?
               21          And if they had -- if their suicidality        21          MS. NOWLIN-SOHL: Object to form;
               22   was being driven by other things that aren't          22   foundation.
               23   gender dysphoria, we would want to treat those as     23          THE WITNESS: Yes.
               24   well. And we'd likely work on safety planning,        24       Q. (BY MR. RAMER) And then with 6.12.d,
               25   the standard approaches that we take for patients     25   same page, do you -- let me rephrase.
                                                                Page 98                                                    Page 100

                1   who are having suicidal thoughts.                  1              Also based on your review of the
                2       Q. So is passive suicidal ideation, for lack   2       evidence, do you agree with that requirement as a
                3   of a better term, less serious than active         3       precondition for receiving treatment?
                4   suicidal ideation?                                 4              MS. NOWLIN-SOHL: Object to form.
                5       A. Do you have a better term?                  5              THE WITNESS: Yes, as well as based on
                6       Q. I'm asking you. You're saying you treat     6       clinical experience.
                7   people differently based on whether they have      7           Q. (BY MR. RAMER) Do you think there's an
                8   passive suicidal ideation or active, and I guess   8       argument that a less rigorous mental health
                9   the question is how do you justify treating them   9       assessment could be better because patients would
               10   differently?                                      10       not have to go untreated for gender dysphoria as
               11           MS. NOWLIN-SOHL: Object to form.          11       long?
               12           THE WITNESS: So if a person has active    12              MS. NOWLIN-SOHL: Object to form.
               13   suicidal ideation with intent to plan, we need to 13              THE WITNESS: I'm aware that argument has
               14   get them somewhere where they can be watched and 14        increased.
               15   supervised and make sure they're not going to act 15           Q. (BY MR. RAMER) And do you agree with
               16   on that plan and die.                             16       that argument?
               17           If the person is confident they're not    17           A. I see the theoretical basis for it. That
               18   going to act on it; they don't have a plan, then  18       being said, it wouldn't be in line with current
               19   wouldn't necessarily need to be in that type of   19       guidelines. It's a balance, right? Like, the
               20   restrictive setting.                              20       level of assessment, make sure someone's making a
               21           MR. RAMER: I think we've been going just 21        very good, informed decision.
               22   a little over an hour. Do you want to -- could    22              The longer the assessment is,
               23   you use a break? I could if you couldn't, but     23       particularly for pubertal suppression, the longer
               24   either way, do you want to take a break?          24       people are waiting and progressing through
               25           MS. NOWLIN-SOHL: That sounds good.        25       puberty, which is worsening their gender
                                                                Page 99                                                    Page 101

                                                                                                            26 (Pages 98 - 101)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1000
(234 of 288), Page 234 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 234 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 27 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   dysphoria. So it's a complex balance between            1          THE WITNESS: So what I was referencing
                2   those two factors.                                      2   here -- and you'll see at the top I mentioned
                3           MR. RAMER: And I'd like to turn to              3   adult, quote, gatekeeping models, was that there
                4   Turban -- or introduce Turban Exhibit 8.                4   was a history within psychiatry where there was an
                5           MR. RAMER: Do you have that, Li?                5   extensive assessment process prior to adults being
                6           MS. NOWLIN-SOHL: Not yet.                       6   able to start gender-affirming medical
                7           MR. RAMER: Okay.                                7   interventions, and some of the assessment criteria
                8       Q. (BY MR. RAMER) And I can start while             8   were not very reasonable. You know, if the
                9   we're waiting and just ask, Dr. Turban, have you        9   psychiatrist felt that the trans woman's outfit
               10   appeared on an episode of the GenderGP podcast?        10   was not particularly feminine or felt that her
               11       A. Perhaps I'm not sure which podcast that         11   makeup was done well or that she didn't have the
               12   is, but it sounds like a podcast I did appear on.      12   sexual orientation that the psychiatrist thought
               13           MR. RAMER: And are you still waiting on        13   she should have, they would refuse to provide the
               14   it, Li?                                                14   person with care.
               15           MS. NOWLIN-SOHL: We just got it.               15          And then also what happened was the trans
               16           (Deposition Exhibit No. 8 was marked.)         16   community just learned the questions that some of
               17           THE WITNESS: I see. Yes, I do recall           17   those physicians were asking, and they would go in
               18   this one.                                              18   and address the way the person wanted and answer
               19       Q. (BY MR. RAMER) Okay. And I'll just              19   the questions the way they were [indiscernible]
               20   represent to you that this is a transcript that is     20   and it really stifled the relationship.
               21   posted on GenderGP's website.                          21          You know the person wasn't actually
               22           And on page 1, is that your photo?             22   answering the questions honestly to the physician
               23       A. That is quite the photo of me, yes.             23   because the things that were being asked weren't
               24       Q. I'd like to go to page 6. And at the top        24   really so much about whether or not decision was
               25   of this page, there is a response attributed to        25   right for the person, and was more about the
                                                                Page 102                                                   Page 104

                1   you. And I'll just read the first, the first part  1        therapist's views around what women should look
                2   of this paragraph, and ask you a question about    2        like.
                3   it.                                                3               I do think there's a role for assessment
                4           And it says "Yeah, I think that's a huge   4        in pediatrics, but I think it shouldn't be that
                5   question that especially in pediatrics people are  5        kind of thing. I don't think they should be
                6   grappling with -- I think people have had an       6        sitting judging a patient's physical appearance,
                7   easier time in adult medicine kind of recognizing  7        but rather really trying to understand them in a
                8   that these, like, assessment/gatekeeping were a    8        collaborative way so they feel comfortable
                9   little bit ridiculous and damaging. And it's       9        speaking with me, so I really understand them, the
               10   interesting that not all of the lessons from that 10        whole spectrum of their lives, all the ways I can
               11   have made it into pediatrics yet because people   11        support them and guide them and their family
               12   don't trust kids to make decisions in the same    12        through these decisions about whether they will
               13   way, obviously, but, like, things people are      13        benefit from puberty blockers or gender-affirming
               14   familiar with, right? Like, if you're -- if you   14        hormones.
               15   set up this assessment, gatekeeping protocol,     15            Q. Do you think that acquiring a diagnosis
               16   people are just going to figure out the answers   16        of gender dysphoria on the DSM-5 before an
               17   and then tell you what you want to hear. And      17        adolescent can obtain gender-affirming medical
               18   you've set up this really kind of like argument   18        interventions is an assessment model?
               19   representative with your patient or client.       19            A. I think it's somewhat semantics, but
               20   (Unclear time stamped 1407). And you're like why? 20        determining the diagnosis is an assessment.
               21   Why even bother? You know?"                       21        You're doing a diagnostic assessment to come to
               22           And do you think there's any reason to    22        that diagnostic conclusion.
               23   bother with an assessment model for               23            Q. Do you think there's a risk that
               24   gender-affirming medical interventions?           24        individuals would be able to figure out the
               25           MS. NOWLIN-SOHL: Object to form.          25        answers to obtain a diagnosis of gender dysphoria
                                                                Page 103                                                   Page 105

                                                                                                           27 (Pages 102 - 105)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1001
(235 of 288), Page 235 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 235 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 28 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   on the DSM-5 and then tell the providers what they     1       A. Correct.
                2   want to hear?                                          2       Q. And you're talking about the diagnosis
                3          MS. NOWLIN-SOHL: Object to form; calls          3   for gender dysphoria here; is that right?
                4   for speculation.                                       4       A. In the context of psychiatric
                5          THE WITNESS: I think less so in minors          5   appointments.
                6   because we're usually interviewing their parents       6       Q. So what do you mean when you say, "The
                7   and other people in their lives as well, so we         7   only argument for the diagnosis existing is
                8   want to have fairly consistent answers between the     8   insurance coverage"?
                9   different members of the family.                       9       A. I believe this was in the context of
               10          And when answers seem to be discordant         10   arguments about whether or not gender dysphoria
               11   with each other, we usually facilitate family         11   should be in the DSM. And there have been
               12   therapy sessions to try to come to a shared           12   arguments on both sides. Some people have
               13   understanding of what's going on to make sure we      13   highlighted concerns that because gender dysphoria
               14   have a clear understanding of the picture.            14   is in the DSM, that the general public will
               15      Q. (BY MR. RAMER) So you think parents'            15   misinterpret that to think that trans identities
               16   observations or conclusions regarding the gender      16   are a mental illness and that that will promote
               17   identity of their children is relevant to this        17   stigma, which I think is something that we've
               18   assessment?                                           18   seen.
               19      A. I think the parents' experience and             19           My philosophy on that is that we just
               20   perception is a piece of the puzzle, yes.             20   shouldn't stigmatize mental health conditions
               21      Q. And are you aware of any providers in the       21   broadly. I wouldn't stigmatize someone with major
               22   United States who use only an informed consent        22   depressive disorder in the same way that I
               23   model to provide gender-affirming medical             23   wouldn't stigmatize someone with gender dysphoria,
               24   interventions?                                        24   but I understand that stigma exists.
               25          MS. NOWLIN-SOHL: Object to form.               25           Another side of the spectrum, people have
                                                               Page 106                                                   Page 108

                1          THE WITNESS: For minors or adults?              1   made arguments that it should be in the DSM, and
                2      Q. (BY MR. RAMER) Minors.                           2   there are plenty of peer-reviewed publications
                3      A. No. But again, it's this what do you             3   that highlight that for psychiatrists, the main
                4   mean by informed consent?                              4   reason it's in the DSM is for insurance billing.
                5          So what I would say, which hopefully            5   So that if I'm talking to someone about
                6   answers the question, is that everyone I know          6   gender-affirming medical care, for instance, and
                7   conducts this comprehensive biopsychosocial            7   doing that biopsychosocial evaluation, I need some
                8   evaluation prior to initiating care, and that that     8   diagnostic code to put down, otherwise I wouldn't
                9   biopsychosocial assessment involves ensuring the       9   be able to do that work theoretically.
               10   patient can provide informed consent or assent and    10      Q. And here you say the only argument for
               11   that the parents can provide informed consent.        11   the diagnosis existing is insurance coverage.
               12      Q. In sticking with this same document, I'd        12          Is that what you think?
               13   like to move to page 11. And on this page there       13          MS. NOWLIN-SOHL: Object to form.
               14   are two answers attributed to you. One is very        14          THE WITNESS: Again, I think that's in
               15   short. I'm looking at the second one further          15   the context of psychiatric events. Like, on a
               16   down.                                                 16   broader level, it's a useful diagnosis for
               17          And in particular in that paragraph, I         17   establishing that somebody could be a candidate
               18   just want to read the third to last sentence that     18   for gender-affirming medical intervention.
               19   begins with the words "And right." And I'll           19          But, you know, you could get at a similar
               20   ask -- I'm sorry. Maybe the fourth to last -- the     20   concept of gender dysphoria without using that
               21   sentence that begins with the words "And right,"      21   specific term that many find stigmatizing.
               22   and then I'll ask if I read it correctly.             22      Q. (BY MR. RAMER) So, I mean, what do
               23          It says "And right. The only argument          23   you -- how would you do it without using that
               24   for the diagnosis existing is insurance coverage."    24   term? You'd just call it something else?
               25          Did I read that correctly?                     25          MS. NOWLIN-SOHL: Object to form.
                                                               Page 107                                                   Page 109

                                                                                                          28 (Pages 106 - 109)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1002
(236 of 288), Page 236 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 236 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 29 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          THE WITNESS: I mean, you could describe        1   this end.
                2   that the person has a gender identity that's          2          Did you say you could not picture a case?
                3   incongruent with their sex assigned at birth and      3       A. I cannot picture a case where that would
                4   have for many years, and that's creating              4   be a reasonable practice.
                5   clinically relevant distress. Maybe describe the      5       Q. And I want to skip the next sentence and
                6   different elements of typical gender dysphoria        6   then read the one after that and ask if I read it
                7   that they have. But the way insurance billing is      7   correctly.
                8   set up, you would need to actually generally bill     8          It says "Never once have I had a" --
                9   that kind of diagnostic code.                         9   sorry. I'll start again.
               10          Similarly, a lot of insurance companies       10          "Never once have I had a treatment plan
               11   won't cover, I think, some of the medical            11   for someone's, like, gender dysphoria. But I've
               12   appointments as well unless there's a diagnostic     12   had treatment plans to help them with their
               13   code.                                                13   anxiety or their depression or trauma-related
               14       Q. (BY MR. RAMER) Do you think that an           14   symptoms."
               15   individual who has distress resulting from --        15          Did I read that correctly?
               16   well, no, let me rephrase.                           16       A. Sorry. I'm just finding where you are.
               17          Do you think there are instances where an     17          Yes.
               18   individual can desire gender-affirming medical       18       Q. And is it true that you have never once
               19   interventions but not meet the criteria for a        19   had a treatment plan for someone's gender
               20   diagnosis of gender dysphoria under the DSM-5?       20   dysphoria?
               21       A. It's theoretically possible.                  21       A. So again, this is talking in the context
               22       Q. And do you think that those individuals       22   of a psychiatric treatment plan. So I wouldn't
               23   should receive gender-affirming medical              23   have -- there's no evidence psychotherapy is to
               24   interventions?                                       24   try and push someone to identify with their sex
               25          MS. NOWLIN-SOHL: Object to form; calls        25   assigned at birth.
                                                              Page 110                                                     Page 112

                1   for speculation.                                    1            I might try and work with their school
                2          THE WITNESS: No. That would be               2     around bullying or work with their family around,
                3   practicing outside of guidelines.                   3     like, communication and validation skills or --
                4      Q. (BY MR. RAMER) Don't the guidelines           4     what I'm getting at here is there's not an
                5   create exceptions? Or are they rigid rules?         5     evidence-based psychotherapy or psychiatric
                6      A. They're a general set of guidelines for       6     medication that's evidence based for gender
                7   care.                                               7     dysphoria.
                8          But that would be an extreme departure,      8         Q. I guess I thought we were just discussing
                9   to provide the intervention to somebody in the      9     that the only reason for the diagnosis is so that
               10   United States where we use the DSM who doesn't 10         you can enter a code for health insurance
               11   meet the criteria for gender dysphoria. It's hard  11     purposes.
               12   for me to imagine that situation happening.        12            And I guess I don't understand if you
               13      Q. And just as a -- you know, an expert in      13     don't have treatment plans for gender dysphoria
               14   this field, do you think the guidelines should     14     because you're a psychiatrist, what is the need
               15   prevent those individuals from receiving           15     for the diagnosis?
               16   gender-affirming medical interventions?            16            MS. NOWLIN-SOHL: Object to form;
               17          MS. NOWLIN-SOHL: Object to form. Also 17           mischaracterizes prior testimony.
               18   objection to the extent that it calls for a legal  18            THE WITNESS: So for instance, if I were
               19   conclusion.                                        19     doing the biopsychosocial assessment for somebody
               20          THE WITNESS: Yeah, I mean, I'm hesitant 20         to consider starting pubertal suppression for
               21   to make broad characterizations of all of medicine 21     gender dysphoria, I would conceptualize that as
               22   not knowing, like, all the specific details of a   22     the treatment is the pubertal suppression, and I'm
               23   given case. But I can't picture a case where that  23     conducting the biopsychosocial assessment to
               24   would be a reasonable practice.                    24     broadly support them in many areas of their life
               25      Q. (BY MR. RAMER) I couldn't hear you at        25     and then also, you know, pass them on to the next
                                                              Page 111                                                     Page 113

                                                                                                          29 (Pages 110 - 113)
                                                     Veritext Legal Solutions
                                           Calendar-Idaho@veritext.com 208-343-4004
                                                         App.1003
(237 of 288), Page 237 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 237 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 30 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   step to actually get them treatment, which is the  1         describing there, there actually is a different
                2   pubertal suppression. So it's a bit of semantics   2         diagnostic code for purposes of health insurance,
                3   in that way.                                       3         right? You're treating anxiety or you're treating
                4          I think another problem that comes up       4         depression?
                5   sometimes -- and, again, with the insurance        5                MS. NOWLIN-SOHL: Object to form.
                6   issue -- is let's say I do an assessment and the   6                THE WITNESS: If I were treating someone
                7   person doesn't meet the criteria for a gender      7         who had that. But not everyone who comes to see
                8   dysphoria, then you're also left with, you know,   8         me as part of gender-related care is going to have
                9   what do we bill insurance in this instance?        9         those other diagnoses.
               10          But it's just kind of a technicality of    10            Q. (BY MR. RAMER) So do you see patients
               11   how insurance billing works.                      11         who are receiving gender-affirming medical
               12       Q. (BY MR. RAMER) So is the only thing that 12           interventions after you have conducted the
               13   you as a psychiatrist do for the treatment for    13         biopsychosocial assessment with them?
               14   gender dysphoria is the initial biopsycho -- let  14            A. Like, do I continue to see them?
               15   me rephrase.                                      15            Q. Yes.
               16          Is the only thing that you, as a           16            A. Yes.
               17   psychiatrist, do for the treatment of gender      17            Q. And what are you doing during those
               18   dysphoria the initial biopsychosocial assessment? 18         meetings?
               19          MS. NOWLIN-SOHL: Object to form.           19            A. It depends on the patient.
               20          THE WITNESS: Yes. In terms of the          20            Q. Can you provide me some examples?
               21   distress the person's having related to their     21            A. If they also had -- generally if they --
               22   physical body not aligning with their gender      22         for someone who ultimately did start the
               23   identity, our primary role is to do that          23         gender-affirming medical intervention, I would
               24   biopsychosocial assessment.                       24         check with them to see how they're feeling about
               25          If they had something else going on, if    25         the intervention, making sure that they're
                                                                 Page 114                                                   Page 116

                1   they had major depressive disorder or generalized        1   comfortable continuing with it, seeing if they
                2   anxiety disorder, I would treat that as well. And        2   have any questions or if there are any worries
                3   I'll also do general psychosocial intervention so        3   that are coming up around it.
                4   family therapy or working with the school or             4          If they also had generalized anxiety
                5   trying to prevent bullying.                              5   disorder, I might be offering an evidence-based
                6           But those things don't work to get rid of        6   medication or an evidence-based psychotherapy for
                7   the fact that the person's distressed about their        7   generalized anxiety disorder like cognitive
                8   body not aligning with their gender identity,            8   behavioral therapy.
                9   which is the gender dysphoria.                           9       Q. Was there more?
               10        Q. (BY MR. RAMER) Are there individuals who        10       A. I don't know how many examples --
               11   have gender dysphoria but do not have anxiety that      11       Q. That's fine. That's fine. Let's -- so
               12   rises to the level of general anxiety disorder?         12   same page, toward the bottom, and just there's a
               13        A. Generalized anxiety disorder is not             13   statement attributed to Dr. Helen Webberley.
               14   defined by the level of anxiety but rather the          14          In this paragraph she's discussing
               15   types of things about which one has anxiety.            15   Johanna Olson-Kennedy, correct?
               16        Q. So in this sentence when you say "But           16       A. Do you want me to --
               17   I've had treatment plans to help them with their        17       Q. Sure, you can. And just as a reminder,
               18   anxiety or their depression," are you referring to      18   my question is just simply if she is discussing
               19   actual diagnoses of an anxiety disorder or a            19   Johanna Olson-Kennedy.
               20   depression disorder?                                    20       A. Looks like she's referencing
               21        A. Yeah. Those are colloquialisms for              21   Dr. Olson-Kennedy as well as -- I don't know who
               22   anxiety disorders, which there are many, or             22   Darlene Tando is. I don't know Aiden's last name,
               23   depression which can have many different diagnoses      23   but I believe Aiden is a psychotherapist who works
               24   that cause it.                                          24   with trans youth.
               25        Q. And so for that treatment you're                25       Q. And do you know Dr. Olson-Kennedy?
                                                                 Page 115                                                   Page 117

                                                                                                            30 (Pages 114 - 117)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1004
(238 of 288), Page 238 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 238 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 31 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1      A. Yes.                                               1   mental health treatment.
                2      Q. And on page 12, Dr. Webberley -- so top            2           The good thing that's unique about their
                3   of page 12, second and third full sentences,             3   model versus other models is it's not necessarily
                4   Dr. Webberley says, "And basically Johanna has           4   like an LMFT or a social worker or a psychologist.
                5   just said, 'Look, if your kid -- if your kid tells       5   It's this medical doctor who has special training
                6   you that they're trans, they most likely are.            6   in conducting biopsychosocial assessments, whereas
                7   Just believe it.'"                                       7   other places it's more, you know, a psychologist
                8          Did I read that correctly?                        8   or a psychiatrist.
                9      A. Yes.                                               9           And then what they've told me is that if
               10      Q. Do you agree that Dr. Olson's -- well,            10   it is particularly complex and they feel that they
               11   sorry.                                                  11   need someone like a Ph.D. or psychologist, those
               12          Do you agree that Dr. Olson-Kennedy's            12   individual patients they'll refer over. So if
               13   practice is that if your kids tell you that             13   someone has complex autism or trauma or psychosis.
               14   they're trans, you should just believe it?              14       Q. And you used an acronym, "LMFT."
               15          MS. NOWLIN-SOHL: Object to form;                 15           What is that?
               16   foundation.                                             16       A. It's a licensed marriage and family
               17          THE WITNESS: I think probably that's             17   therapist.
               18   mostly glib. I don't think that's her actual            18       Q. And at Brown University, you said -- did
               19   practice.                                               19   you say Dr. Forcier?
               20          My understanding is that she conducts the        20       A. Yes. F-o-r-c-i-e-r.
               21   biopsychosocial evaluation, and that Aiden --           21       Q. But in this passage, you say that, quote,
               22   again, whose last name I forget -- is a therapist       22   they don't have a lot of mental health
               23   who similarly conducts those evaluations.               23   involvement, end quote.
               24      Q. (BY MR. RAMER) And then same page down            24           What did you mean by that?
               25   to your response which follows. And I'll just           25       A. Yeah, that in their clinics, there are
                                                                 Page 118                                                      Page 120

                1   read the first few sentences and ask if I read it        1   these adolescent medicine physicians who have kind
                2   correctly.                                               2   of broader training. So they -- they can
                3          It says "Yeah, I was really talking               3   prescribe hormones and puberty blockers, but they
                4   around it and not naming names, but that model           4   also are the pediatric medical specialty that
                5   does exist in the U.S., right? So Dr. Olson,             5   focuses the most on mental health. So they're not
                6   that's her model. Brown University's clinic has a        6   pure psychiatrists the way that I am, so there's
                7   similar model. And I think we're now starting to         7   not necessarily a psychologist or psychiatrist
                8   have the conversations like, great. Those models         8   involved in every single case. Sometimes it's an
                9   have now been around for a little while where they       9   adolescent medicine physician who has mental
               10   don't have a lot of mental health involvement.          10   health expertise.
               11   They don't have a gatekeeping model. They have          11        Q. And so that model results in less mental
               12   this informed consent model, and so far it seems        12   health involvement; is that right?
               13   to be going fine."                                      13           MS. NOWLIN-SOHL: Object to form.
               14          Did I read that correctly?                       14           THE WITNESS: Yeah, I guess I'm saying
               15      A. Yes.                                              15   less mental health involvement. I just mean that
               16      Q. And are you, in this response, accurately         16   it's an adolescent medicine doctor who has mental
               17   describing the model that Dr. Olson-Kennedy uses?       17   health training that is different than, say, a
               18      A. Again, I think it's a little tricky               18   psychiatrist or a psychologist who only has mental
               19   between these terms, assessment and gatekeeping         19   health training.
               20   and informed consent being somewhat unclear.            20           So for them, it could be the same person
               21          But my understanding, especially talking         21   doing the biopsychosocial mental health assessment
               22   to Dr. Olson and -- Dr. Forcier is the one at the       22   and also providing the hormones, whereas in other
               23   Brown University clinic -- is that they do conduct      23   models you have a specified, separate person.
               24   these biopsychosocial assessments as adolescent         24        Q. (BY MR. RAMER) So are there patients
               25   medicine physicians who are trained in doing            25   receiving fewer mental health interventions as a
                                                                 Page 119                                                      Page 121

                                                                                                              31 (Pages 118 - 121)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1005
(239 of 288), Page 239 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 239 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 32 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   result?                                                   1   psychiatrist, so I am the one doing mental health
                2          MS. NOWLIN-SOHL: Object to form; calls             2   assessment, but I can't remember if there's
                3   for speculation.                                          3   specific language in the old guidelines versus the
                4          THE WITNESS: No, I think it's fewer                4   new guidelines that said whether it could be an
                5   practitioners that they're seeing but not                 5   adolescent medicine physician doing the mental
                6   necessarily fewer mental health interventions.            6   health biopsychosocial evaluation versus another
                7      Q. (BY MR. RAMER) And what's the benefit of            7   type of medical professional.
                8   having fewer practitioners that they're seeing?           8      Q. (BY MR. RAMER) And you don't know the
                9      A. I think their logic is that it would be             9   answer to that question with respect to the
               10   more streamlined. So for instance, in our model,         10   current guidelines either?
               11   a patient has to wait many months to be able to          11          MS. NOWLIN-SOHL: Object to form.
               12   come in to see me. You know, there's, like, the          12          THE WITNESS: I believe the current
               13   delay going from provider to provider having more        13   guidelines say "mental health professional," but I
               14   and more appointments.                                   14   would have to go back and look. It hasn't been
               15          So in our model, we do often have                 15   relevant since I am a mental health professional.
               16   patients who are progressing through puberty while       16      Q. (BY MR. RAMER) Yeah. Yeah. Okay. That
               17   their mental health is worsening while we try and        17   makes sense.
               18   work on logistics of getting that biopsychosocial        18          MR. RAMER: Li, did you receive Turban
               19   assessment done. But in their model, because it's        19   Exhibit 9?
               20   the same doctor, it's more streamlined.                  20          MS. NOWLIN-SOHL: No.
               21          And again, I don't work in these clinics.         21          MR. RAMER: Still no?
               22   I'm giving you my understanding from talking to          22          MS. NOWLIN-SOHL: Still no.
               23   them to the best of my ability. But take it with         23          MR. RAMER: Well, I'll just -- we can get
               24   a grain of salt, having not actually worked in           24   started and then we can confirm the document.
               25   there or seen their exact protocols.                     25      Q. (BY MR. RAMER) But what I'm going to be
                                                                  Page 122                                                     Page 124

                1      Q. And at the beginning of this answer you       1         bringing up, Dr. Turban, is your article entitled
                2   say you were talking around it and not naming       2         "Pubertal" -- "Pubertal Suppression For
                3   names.                                              3         Transgender Youth and Risk of Suicidal Ideation,"
                4           Why were you not naming names?              4         which is published in Pediatrics.
                5      A. I don't remember. I'd have to go through      5                MR. RAMER: You still do not have the
                6   the rest of the --                                  6         document?
                7      Q. That's fine. If you don't know --             7                MS. NOWLIN-SOHL: Just arrived.
                8      A. Probably because I was just speaking in       8                THE WITNESS: Okay.
                9   general terms and not talking about the specific    9               (Deposition Exhibit No. 9 was marked.)
               10   clinics.                                           10             Q. (BY MR. RAMER) And is this that
               11      Q. And so it doesn't have something to do       11         document, Doctor?
               12   with the fact that the type of model they're using 12             A. Yes.
               13   would somehow be controversial?                    13             Q. And where did the data for this article
               14           MS. NOWLIN-SOHL: Object to form.           14         come from?
               15           THE WITNESS: I don't know what you mean 15                A. This data is from the 2015 U.S.
               16   by "controversial."                                16         Transgender Survey.
               17      Q. (BY MR. RAMER) Well, I guess that it         17             Q. And looking -- sticking with your
               18   would be inconsistent with the WPATH guidelines. 18           article, going to page 3 under "Methods," and just
               19           MS. NOWLIN-SOHL: Object to form.           19         at a high level of generality, I'm trying to
               20           THE WITNESS: I would have to go back and 20           understand what the study does. And basically --
               21   look at when this interview was and look at how    21         tell me if I have this generally correct.
               22   the guidelines evolved, because I think it was     22                Basically the study takes two different
               23   during Standards of Care 7.                        23         groups. The first group is individuals who wanted
               24           And I can't remember -- it's something     24         puberty blockers and received them; and the second
               25   that's irrelevant to me because I am a             25         group is individuals who wanted puberty blockers
                                                                  Page 123                                                     Page 125

                                                                                                              32 (Pages 122 - 125)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1006
(240 of 288), Page 240 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 240 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 33 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   but did not receive them.                           1     the sentence that says "P less than .05 defines
                2          Is that fair?                                2     statistical significance."
                3      A. Yes.                                          3             Is that right?
                4      Q. And then you compared those two groups on 4                 MS. NOWLIN-SOHL: Object to form.
                5   a number of different metrics, correct?             5             THE WITNESS: That's talking about one
                6      A. Yes.                                          6     specific -- but the way you build these models,
                7      Q. And on this page, moving down to "Study       7     there are different statistical thresholds for
                8   Population," I just -- the second and third         8     different parts in how you build the model.
                9   sentences I'm going to read and ask if I read them  9         Q. (BY MR. RAMER) And is a P-value of less
               10   correctly.                                         10     than .05, is that a standard P-value for a
               11          It says that "Given that pubertal           11     threshold of statistical significance?
               12   suppression for transgender youth was not          12         A. It depends on what you're doing.
               13   available in the United States until 1998, only    13         Q. And so like what? What does it depend
               14   participants who are 17 or younger in 1998 would 14       on?
               15   have had healthcare access to GnRHa for pubertal 15           A. For instance, if you were running a study
               16   suppression. We thus restricted the analysis to    16     that had, like, hundreds and hundreds of
               17   participants who were 36 or younger at the time of 17     comparisons, you'd want to do a correction for
               18   the survey resulting in a sample of 20,619         18     multiple comparisons and do it using a lower
               19   participants."                                     19     P-value.
               20          Did I read that correctly?                  20             If you were deciding which variables to
               21      A. Yes.                                         21     build into a logistic progression model, you would
               22      Q. And the basic idea there is that it's        22     probably use a higher P-value like the .2 that we
               23   highly unlikely, if not impossible, that anyone    23     used.
               24   over the age of 36 at the time of the survey would 24         Q. When you have a threshold of statistical
               25   have had access to puberty blockers to treat       25     significance of less than .05, what do you make of
                                                              Page 126                                                    Page 128

                1   gender dysphoria; is that right?                      1   a finding with a P-value of .07 or .08 just as a
                2       A. I wouldn't say it's impossible. There          2   theoretical manner?
                3   have been some historical studies done by Jules       3       A. Theoretically it would tell you nothing
                4   Gill-Peterson, who I think is at the University of    4   one way or another.
                5   Pittsburgh now, that found that individual            5       Q. Have you heard people use the term
                6   physicians were offering pubertal suppression in      6   "substantial finding" or "important finding" for
                7   the United States earlier than this.                  7   something like that where the P-value doesn't
                8           But this is a rough guideline based on        8   fully reach the threshold of statistical
                9   what we knew from the published literature. This      9   significance?
               10   was then in the published literature. The first      10          MS. NOWLIN-SOHL: Object to form.
               11   time it seemed to be offered was at the Gender       11          THE WITNESS: I've heard people use the
               12   Management Service at Boston Children's Hospital,    12   term "trend" toward whatever the recitation
               13   it made a publication that -- roughly 1988 is when   13   they're looking at is. I was trying not to do
               14   they started.                                        14   that.
               15       Q. And then going to the next page,              15       Q. (BY MR. RAMER) And sticking with page 4,
               16   statistical analysis, about three-quarters of the    16   going up to the top, the first full paragraph but
               17   way down the paragraph, it states that your          17   then the last two sentences in that paragraph,
               18   threshold for statistical significance was a         18   just read and ask if I read it correctly.
               19   P-value of less than .05; is that right?             19          It says "Those who reported beginning
               20       A. I believe that's just for when we were        20   treatment after age 17 were excluded to only
               21   comparing demographic differences. In the            21   include participants who likely had pubertal
               22   multivariable logistic progression, we chose         22   suppression during the active endogenous puberty.
               23   anything with a P-value of less than .2 to include   23   The vast majority of adolescents would have
               24   in the model.                                        24   reached Tanner 5, the final stage of puberty, by
               25       Q. Okay. That's fair. And I'm just reading       25   age 17."
                                                              Page 127                                                    Page 129

                                                                                                          33 (Pages 126 - 129)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1007
(241 of 288), Page 241 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 241 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 34 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          Did I read that correctly?                      1   like to go to page 100.
                2       A. Yes.                                            2          And in the right column there's a blue
                3       Q. Why would someone report receiving              3   header it says "See puberty blocking hormones,"
                4   pubertal suppression after age 17?                     4   and there's one paragraph below it. And the final
                5       A. For birth-assigned males, estrogen alone        5   sentence of that paragraph says "However, less
                6   is not strong enough to suppress your endogenous       6   than 1 percent of respondents reported ever having
                7   testosterone, so you often need a second               7   them." And then there's an endnote 12.
                8   medication on board. You could use a puberty           8          Do you see that?
                9   blocker or GnRH agonist to do that. They're            9      A. Yes.
               10   expensive, so generally they're not. Generally        10      Q. And then if we go to page 126, the left
               11   one uses something like spironolactone.               11   column is endnote 12. And I'd just like to read
               12          But want to really be looking at it in         12   the middle sentences here and ask if I read them
               13   people who are using it to suppress active puberty    13   correctly.
               14   rather than, you know, suppress testosterone for      14          It says "While puberty-blocking
               15   someone who was already past the pubertal             15   medications are usually used to delay physical
               16   adolescent window.                                    16   changes associated with puberty and youth ages 9
               17       Q. So you excluded participants who reported      17   to 16 prior to beginning hormone replacement
               18   beginning pubertal suppression after age 17           18   therapy, a large majority, 73 percent of
               19   because you didn't want to look at that particular    19   respondents who reported having taken puberty
               20   treatment?                                            20   blockers in Q.12.9, reported doing so after age 18
               21          MS. NOWLIN-SOHL: Object to form.               21   in Q.12.11. This indicates that the question may
               22          THE WITNESS: Our clinical question here        22   have misinterpreted by some respondents who
               23   was pubertal suppression during adolescence rather    23   confused puberty blockers with the hormone therapy
               24   than, you know, blocking endogenous testosterone      24   given to adults and older adolescents."
               25   as an adult.                                          25          Did I read that correctly?
                                                               Page 130                                                      Page 132

                1        MR. RAMER: And, Li, do you have Turban        1          A. Yes.
                2   Exhibit 10?                                        2          Q. Would you agree that 73 percent is a
                3        MS. NOWLIN-SOHL: Yes.                         3       large percentage of these respondents?
                4                                                      4          A. Yes. And again, these are the
                5          (Deposition Exhibit No. 10 was marked.)     5       respondents that we excluded from our study
                6       Q. (BY MR. RAMER) And, Dr. Turban, is this 6           because we didn't want to look at those who
                7   the survey that you used for this paper?           7       potentially misinterpreted the question or had
                8       A. This looks like the report of the full      8       accessed puberty blockers later as adults.
                9   survey, yes.                                       9          Q. Do you agree with the second statement I
               10       Q. Fair. And I'd like to go to page 271 and   10       read that "Respondents may have misinterpreted
               11   specifically question 12.9 on that page.          11       this question and confused puberty blockers with
               12           And is this the question that you used to 12       the hormone therapy given to adults and older
               13   determine the number of participants who received 13       adolescents"?
               14   pubertal suppression?                             14              MS. NOWLIN-SOHL: Object to form;
               15       A. Yes.                                       15       foundation.
               16       Q. And then they would have, for -- I guess   16              THE WITNESS: Potentially for those older
               17   let's go to 272 now.                              17       respondents who we excluded. I think it's less
               18           And then if they had selected puberty     18       likely for younger people who would be more aware
               19   blocking hormones in 12.9, they would be sent to  19       of what pubertal suppression is.
               20   question 12.11; is that right?                    20          Q. (BY MR. RAMER) If that many people
               21       A. Yes.                                       21       misunderstood the question, how can you assume the
               22       Q. And then they would have a drop-down and 22         other 27 percent correctly understood the
               23   report their age; is that right?                  23       question?
               24       A. Correct.                                   24              MS. NOWLIN-SOHL: Object to form.
               25       Q. Okay. Sticking with this document, I'd     25              THE WITNESS: There is no way to be
                                                               Page 131                                                      Page 133

                                                                                                            34 (Pages 130 - 133)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1008
(242 of 288), Page 242 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 242 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 35 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   certain, but I think for younger people who are     1       and after and find all that's improved after the
                2   closer to when pubertal suppression was around and 2        treatment, then there's the study that compares
                3   available and in conversation, they would know the 3        those who did receive treatment to those who
                4   difference between the two. But there's no way to   4       didn't at a single time point. And this is one of
                5   be sure.                                            5       those latter studies.
                6       Q. (BY MR. RAMER) And so this error that's 6                   MR. RAMER: I'm going to send now, see
                7   described in footnote 12 does not give you pause    7       when it reaches you, what I'll mark as Turban
                8   in relying on this data?                            8       Exhibit 11. And this will be --
                9       A. Not extreme pause again, because these       9             (Deposition Exhibit No. 11 was marked.)
               10   people were all excluded from the study, all of    10           Q. (BY MR. RAMER) This will be your article
               11   the adults who would have said they accessed it    11       in Plos One -- sorry, I guess clarification.
               12   late.                                              12              Do you say "Plos One"?
               13       Q. I'd like to go back to page 271, and in     13           A. I do.
               14   the right column, question 12.8.                   14           Q. Okay. This will be your article in Plos
               15          And this is the question you used to        15       One entitled "Access to Gender-Affirming Hormones
               16   define the group of people who have ever wanted    16       During Adolescence and Mental Health Outcomes
               17   pubertal suppression, correct?                     17       Among Transgender Adults."
               18       A. Correct.                                    18              And the method in this article is similar
               19       Q. And did you adjust the results for this     19       to the article we just looked at, right?
               20   question based on the same error that affected the 20              MS. NOWLIN-SOHL: John, we don't actually
               21   results for question 12.9?                         21       have the exhibit quite yet. Can we actually just
               22          MS. NOWLIN-SOHL: Object to form.            22       hang on a second?
               23          THE WITNESS: We similarly excluded all 23                   MR. RAMER: I mean, does he not --
               24   older individuals who wouldn't have been able to   24           Q. (BY MR. RAMER) Doctor, is the method you
               25   access them, which would have gotten rid of a lot  25       used in accessing gender-affirming hormones with
                                                                Page 134                                                    Page 136

                1   of the older people who answered the question.          1   respect to the U.S. Transgender Survey similar to
                2       Q. (BY MR. RAMER) In the relevant time              2   what you did in the article we just looked at?
                3   periods -- I'm sorry.                                   3       A. The methodology of the Plos One paper is
                4          First let's go back to your article,             4   similar to the Pediatrics paper.
                5   which is Turban Exhibit 9. And it's page 4 where        5       Q. And the major difference is this paper
                6   it says "Outcomes."                                     6   that we're going to be looking at is focused on
                7          And the relevant time periods for the            7   cross-sex hormones, whereas the prior one was
                8   metrics in this paragraph were the past month, the      8   focused on pubertal suppression; is that right?
                9   past year, and lifetime, correct?                       9       A. Generally, yes.
               10       A. Yes.                                            10           MR. RAMER: And are we still waiting on
               11       Q. And with respect to the time periods for        11   it, Li?
               12   the past month and the past year, those dates are      12           MS. NOWLIN-SOHL: Yes.
               13   from the date the survey was taken, right?             13       Q. (BY MR. RAMER) I guess I'll just ask you
               14       A. Correct.                                        14   a general question, Doctor, about what an odds
               15       Q. And so with you excluding anybody 36            15   ratio is. And here's what I think it is, and
               16   years old and older, your data would still include     16   please tell me if I have this wrong.
               17   a 35-year-old who said he had suicidal ideation in     17           Basically an odds ratio of one tells us
               18   the last month, right?                                 18   there is no relationship between an exposure and
               19       A. Correct.                                        19   an outcome. And an odds ratio of greater than one
               20       Q. And this paper does not report the change       20   tells us that the exposure is associated with
               21   in these metrics based on the purported inability      21   higher odds of that particular outcome. And an
               22   to access pubertal suppression, correct?               22   odds ratio of less than one tells us that the
               23       A. No. So as I explained in the                    23   exposure is associated with lower odds of that
               24   declaration, there are two types of studies            24   particular outcome.
               25   generally for this area, studies that look before      25           Is that close to being right?
                                                                Page 135                                                    Page 137

                                                                                                           35 (Pages 134 - 137)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1009
(243 of 288), Page 243 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 243 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 36 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       A. Yes, with the caveat that you would also           1   JAMA Psychiatry about association between exposure
                2   want to look at the key value and the confidence          2   to gender identity conversion efforts and mental
                3   intervals.                                                3   health outcomes.
                4          MS. NOWLIN-SOHL: We have the document              4       Q. And on page 69, which I think is page 2
                5   now, John.                                                5   of the article, in the second paragraph, second
                6          MR. RAMER: Okay. Great.                            6   sentence, you say, "Gender identity conversion
                7       Q. (BY MR. RAMER) And just to confirm,                7   therapy refers to psychological interventions with
                8   Doctor, is this your Plos One article titled              8   a predetermined goal to change a person's gender
                9   "Access to Gender-Affirming Hormones During               9   identity to align with their sex assigned at
               10   Adolescence and Mental Health Outcomes Among             10   birth."
               11   Transgender Adults"?                                     11          Did I read that correctly?
               12       A. It is. I would just be careful because            12       A. Yes. Citation 8, so it looks like that
               13   we published a correction on this paper later.           13   definition is from Byne, et al., but it's also the
               14   The overall conclusions didn't change, but some of       14   general definition from the American Academy of
               15   the numbers changed.                                     15   Child and Adolescent Psychiatry.
               16       Q. And did the numbers change -- well, let's         16       Q. And would a psychological intervention
               17   go to page 9, Table 2. And if the numbers I'm            17   with a predetermined goal of affirming a person's
               18   going to ask about did change, maybe we'll take          18   gender identity constitute gender identity
               19   our longer break a little earlier.                       19   conversion therapy?
               20          But did the numbers change with respect           20       A. What do you mean by the predetermined
               21   to the age 16 or 17 group?                               21   goal of affirming their gender identity?
               22       A. I don't think so, but I would want to             22       Q. I guess what do you mean by the
               23   look to be sure.                                         23   predetermined goal to change a person's gender
               24          MR. RAMER: Okay. Well, we're almost               24   identity in this passage?
               25   coming up on an hour, and then maybe I'll track          25       A. I guess make it different than it is, or
                                                                  Page 138                                                     Page 140

                1   down the corrected version of that.                       1   force it to change.
                2          And so do we want to break until --                2          Affirming would be accepting the identity
                3   what's good for you, Doctor and Li?                       3   they currently have.
                4          MS. NOWLIN-SOHL: Yeah, I think we need             4      Q. What about a psychological intervention
                5   to go get lunch, so 45 minutes would probably be          5   with a predetermined goal of consolidating a
                6   best. We can come back right around 1:00 Pacific          6   person's gender identity? Would that constitute a
                7   time.                                                     7   gender identity conversion therapy?
                8          MR. RAMER: Top of the hour?                        8          MS. NOWLIN-SOHL: Object to form.
                9          MS. NOWLIN-SOHL: Yeah.                             9          THE WITNESS: I don't know what you mean
               10          MR. RAMER: That sounds good to me.                10   by "consolidate."
               11          THE VIDEOGRAPHER: Okay. So the time is            11      Q. (BY MR. RAMER) Is any psychological
               12   12:17 p.m. Pacific time, and we are off the              12   intervention with a predetermined goal ethical?
               13   record.                                                  13          MS. NOWLIN-SOHL: Object to form.
               14        (Break taken from 12:17 p.m. to 1:05 p.m.)          14          THE WITNESS: Yes. For instance, if the
               15          THE VIDEOGRAPHER: All right. So we are            15   goal was to make someone's major depressive
               16   recording. The time is 1:05 p.m. Pacific time,           16   disorder go into remission, that would be
               17   and we are back on the record.                           17   appropriate.
               18         (Deposition Exhibit No. 12 was marked.)            18      Q. (BY MR. RAMER) And are you familiar with
               19       Q. (BY MR. RAMER) Dr. Turban, I'd like to            19   the term "exploratory therapy"?
               20   introduce Turban Exhibit 12. If you'd let me know        20      A. Yes.
               21   when you have that in front of you.                      21      Q. And what is your understanding of that
               22       A. Is it the JAMA Psychiatry paper?                  22   term?
               23       Q. That's correct. And can you tell me what          23      A. My understanding of exploratory
               24   this document is?                                        24   psychotherapy is working with a person in a
               25       A. This is a research paper we published in          25   nondirective way to explore their gender identity
                                                                  Page 139                                                     Page 141

                                                                                                              36 (Pages 138 - 141)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1010
(244 of 288), Page 244 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 244 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 37 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   and help them understand it without having a        1   trans?
                2   predetermined goal in mind.                         2          MS. NOWLIN-SOHL: Object to form; calls
                3          So you wouldn't be doing therapy to try      3   for speculation.
                4   and make them be cisgender; you wouldn't be doing 4            THE WITNESS: No. I think that would be
                5   the therapy to try and make them transgender, but   5   a stretch.
                6   rather helping them explore to understand           6       Q. (BY MR. RAMER) Why?
                7   themselves.                                         7       A. I routinely talk to my patients about the
                8      Q. And if you had a psychological                8   risks and benefits of treatments. They never
                9   intervention with a predetermined goal of making    9   think that I'm trying to force them to stop being
               10   someone transgender, would that constitute         10   trans.
               11   transgender identity conversion therapy?           11          They understand that I am informing them
               12      A. Essentially, yes.                            12   about important risks and benefits to consider
               13      Q. And do you engage in exploratory therapy     13   about medical treatments they're considering.
               14   with your patients?                                14       Q. If a provider tells a patient that the
               15      A. Yes.                                         15   patient may not access gender-affirming medical
               16      Q. And why do you engage in exploratory         16   interventions until the patient completes a
               17   therapy with your patients?                        17   biopsychosocial assessment, do you think it's
               18      A. I think of it as part of the                 18   possible the patient will view that limitation as
               19   biopsychosocial evaluation to make sure the person 19   the provider trying to stop the patient from being
               20   has a clear understanding of their identity and    20   trans?
               21   the many ways in which they can exist in this      21          MS. NOWLIN-SOHL: Object to form; calls
               22   world and understanding themselves.                22   for speculation.
               23      Q. Can exploratory therapy reduce stress        23          THE WITNESS: I do not.
               24   related to an individual's gender incongruence?    24       Q. (BY MR. RAMER) And why not?
               25          MS. NOWLIN-SOHL: Object to form.            25          MS. NOWLIN-SOHL: Same objections.
                                                             Page 142                                                  Page 144

                1          THE WITNESS: I'm not familiar with any       1          THE WITNESS: That's my routine practice,
                2   evidence that that is the case.                     2   and I've never had a patient think that I was
                3       Q. (BY MR. RAMER) You're not familiar with 3        trying to force them to be cisgender when
                4   any evidence that exploratory therapy can reduce    4   describing to them the treatment guidelines that I
                5   stress related to an individual's gender            5   would follow.
                6   incongruence?                                       6       Q. (BY MR. RAMER) Do you think your
                7       A. Correct.                                     7   patient -- if one of your patients thought that
                8       Q. Are you aware of any evidence that           8   you were trying to stop them from being trans, do
                9   exploratory therapy -- I'll move on.                9   you think that they would tell you?
               10          The data for this article also came from    10          MS. NOWLIN-SOHL: Object to form; calls
               11   the 2015 U.S. Transgender Survey, correct?         11   for speculation.
               12       A. Yes.                                        12          THE WITNESS: My patients don't usually
               13       Q. And then if we could go back to             13   hold back if they're unhappy with me about
               14   Exhibit 10, which is the report of the survey, and 14   something. I think they would usually tell me.
               15   I'd like to go to page 273. And specifically       15       Q. (BY MR. RAMER) Do you think that belief
               16   question 13.2 in the left column.                  16   holds true for the majority of adolescents
               17          And is this the question you used to        17   expressing gender dysphoria?
               18   represent conversion therapy?                      18          MS. NOWLIN-SOHL: Object to form;
               19       A. We use the term "gender identity            19   foundation, speculation.
               20   conversion efforts," but yes.                      20          THE WITNESS: Could you repeat the
               21       Q. And if a provider informs a patient about   21   question?
               22   the risks associated with gender-affirming medical 22       Q. (BY MR. RAMER) I thought you said you
               23   interventions, do you think it's possible the      23   don't believe that if your patients thought you
               24   patient would construe that information as the     24   were trying to stop them from being trans that
               25   provider trying to stop the patient from being     25   they would tell you.
                                                             Page 143                                                  Page 145

                                                                                                       37 (Pages 142 - 145)
                                                     Veritext Legal Solutions
                                           Calendar-Idaho@veritext.com 208-343-4004
                                                         App.1011
(245 of 288), Page 245 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 245 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 38 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          I'm sorry. You said that -- in effect,         1   or internalized transphobia, which would have been
                2   you said they would tell you; is that fair?           2   basically due to experiencing transphobia that
                3       A. I believe they would tell me or their          3   they start to internalize in terms of self-hatred,
                4   parents would tell me. If they were really angry      4   that people who are exposed to these ideas that
                5   and thought I was trying to force them to be          5   they should be forced to be cisgender because
                6   cisgender, they would probably not want to keep       6   maybe trans is bad might be more likely to seek
                7   seeing me, in which case the parents would            7   out these conversion efforts than other types of
                8   probably tell me if they didn't want to keep          8   therapy that don't try and force them to be
                9   seeing me, and I would ask why.                       9   cisgender.
               10          I think generally that would come to my       10          But that would imply that a societal
               11   attention in some way.                               11   rejection is leading to that internalized
               12          MR. RAMER: And, Li, do you have Turban        12   transphobia and other bad mental health outcomes.
               13   Exhibit 13?                                          13          MR. RAMER: And, Li, do you have Turban
               14          MS. NOWLIN-SOHL: Not yet.                     14   Exhibit 13?
               15          MR. RAMER: Okay. Well, we'll stick with       15          MS. NOWLIN-SOHL: We do.
               16   this document and go to -- I think it's page 75.     16          MR. RAMER: Okay. Let's bring that up.
               17          MS. NOWLIN-SOHL: And this is still the        17         (Deposition Exhibit No. 13 was marked.)
               18   U.S. Trans Survey?                                   18       Q. (BY MR. RAMER) And, Dr. Turban, I'll
               19          MR. RAMER: No, I'm sorry. Return to           19   represent that this is an NBC news article
               20   Turban Exhibit 12, the -- Dr. Turban's paper. I      20   entitled "Transgender Conversion Therapy
               21   apologize. You can go to page 75 in that             21   Associated with Severe Psychological Distress."
               22   document.                                            22          And have you seen this article before?
               23          MS. NOWLIN-SOHL: Okay. We are there.          23       A. Yes.
               24       Q. (BY MR. RAMER) Okay. And in the left          24       Q. And toward the top, do you see the date
               25   column below "Strengths and Limitations," the        25   and time -- or actually just the date.
                                                              Page 146                                                   Page 148

                1   third sentence says "It is possible that those        1          Do you see the date that this article was
                2   with worse mental health or internalized              2   published?
                3   transphobia may have been more likely to seek out     3       A. Yes.
                4   conversion therapy rather than non-GICE therapy,      4       Q. And do you recall what day you published
                5   suggesting that conversion efforts themselves are     5   the article we were just looking at in Turban
                6   not causative of these poor mental health             6   Exhibit 12?
                7   outcomes.                                             7       A. I do not.
                8          Did I read that correctly?                     8       Q. If we go back to Turban Exhibit 12 and go
                9        A. It's part of a -- I think the next            9   to the first page, which is page 68, and then
               10   sentence would be important to read.                 10   towards the bottom, do you see where it says
               11        Q. Okay. But that sentence I read, I read       11   "Published online September 11, 2019"?
               12   that correctly, for the record?                      12       A. Yes.
               13        A. You read the words correctly without the     13       Q. And so the news article in Turban
               14   context, yes.                                        14   Exhibit 13 was published the same day that you
               15        Q. Okay. And do you say -- do you say           15   published this article in Turban Exhibit 12
               16   "GICE"? Do you pronounce that or do you say          16   online; is that correct?
               17   "GICE"?                                              17       A. That seems to be the case. That's
               18        A. I usually just say gender identity           18   generally how news outlets cover new research
               19   conversion efforts.                                  19   articles is they get them ahead of time while
               20        Q. Okay. And here's an opportunity to add       20   they're under embargoes so they have time to read
               21   context.                                             21   them and conduct interviews so that they can
               22          Can you just explain what you're saying       22   publish them around the same time that the paper
               23   in that sentence?                                    23   comes out.
               24        A. Yes. The first sentence you read said        24       Q. How do the news organizations become
               25   it's possible that those with worse mental health    25   aware of the article when it's embargoed?
                                                              Page 147                                                   Page 149

                                                                                                        38 (Pages 146 - 149)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1012
(246 of 288), Page 246 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 246 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 39 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       A. I'm not sure if they sign up for it or --         1   published in the Journal of Adolescent Health in
                2   but essentially most of the major high-impact            2   2023.
                3   medical journals send out press releases about           3      Q. And just as a general matter for me to
                4   articles that are coming out in their future             4   understand the method in this article, basically
                5   editions that aren't out yet to journalists so           5   you're identifying two relevant time periods.
                6   that the journalists have a chance to request an         6          And the first is when -- the first time
                7   embargoed version of the article with the                7   period is when participants realize their
                8   agreement that they don't talk about it publicly         8   transgender identity, correct?
                9   until the article is officially posted online.           9      A. Correct.
               10       Q. And then in this NBC article, which is           10      Q. Sorry?
               11   Turban Exhibit 13, I'd like to go to page 2 of the      11      A. Correct.
               12   PDF. And about halfway down before this blank           12      Q. And the second time point is when
               13   space, there's a quote attributed to you.               13   participants share that identity with others,
               14          And it says "We hope our findings                14   correct?
               15   contribute to ongoing legislative efforts to ban        15      A. Correct.
               16   gender identity conversion efforts."                    16      Q. And so you measure the period between
               17          Do you see that?                                 17   those two points. And as a general matter, if the
               18       A. Yes.                                             18   time period between those two points is longer,
               19       Q. And do you think that's an accurate              19   that tends to undermine the ROGD hypothesis,
               20   quote?                                                  20   right?
               21       A. Yes.                                             21          MS. NOWLIN-SOHL: Object to form.
               22       Q. And before you conducted this study, did         22          THE WITNESS: I wouldn't say the ROGD
               23   you want to ban gender identity conversion              23   hypothesis was a major part of this study. It's
               24   efforts?                                                24   been -- I don't think there are many people who
               25       A. They were labeled dangerous and unethical        25   take that hypothesis seriously, and the American
                                                                 Page 150                                                   Page 152

                1   by all major medical organizations, including the        1   Psychological Association has emphasized that it's
                2   American Psychiatric Association and the American        2   not a valid diagnosis and shouldn't be used in
                3   Academy of Child and Adolescent Psychiatry. And          3   assessment or clinical context.
                4   there was broad consensus prior to this research         4           So I think that's an interesting, like,
                5   that they were dangerous and ineffective.                5   extra thing to think about with this paper, but I
                6           And anytime there's broad consensus that         6   think what was most interesting about this paper
                7   the practice is harmful towards children in              7   was that a substantial proportion of trans adults
                8   particular, I would be in favor of children not          8   don't come to realize their gender identity until
                9   being exposed to that practice.                          9   later, after age 10, and that for those who
               10       Q. And so yes, you did want to ban gender           10   realize in childhood before age 10 that there is a
               11   identity conversion efforts before you conducted        11   very long period of time before they tell someone
               12   this study, correct?                                    12   else, 14 years.
               13       A. I am personally not in a position to ban         13           The reason that's interesting for that
               14   practices, but I was in agreement with the              14   survey from 2018 about rapid onset gender
               15   position statements of the American Psychiatric         15   dysphoria is the way they determined in that study
               16   Association and the American Academy of Child and       16   that the person's gender identity or gender
               17   Adolescent Psychiatry.                                  17   dysphoria was rapid in onset was based on when
               18           MR. RAMER: Let's turn to -- I'd like to         18   parents came to know that the child had gender
               19   introduce Turban Exhibit 14. Do you have that?          19   dysphoria or a trans identity.
               20           MS. NOWLIN-SOHL: We do.                         20           And this is just highlighting that there
               21           MR. RAMER: Okay.                                21   are many years. The median was 14 years between
               22          (Deposition Exhibit No. 14 was marked.)          22   somebody knowing their gender identity and telling
               23       Q. (BY MR. RAMER) And, Dr. Turban, do you           23   it to another person when they realized as
               24   recognize this document? And if so, what is it?         24   children, highlighting that using parent report
               25       A. Yes. This is a research article we               25   alone the way that survey did is not reliable.
                                                                 Page 151                                                   Page 153

                                                                                                           39 (Pages 150 - 153)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1013
(247 of 288), Page 247 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 247 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 40 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       Q. Yeah. And so the reason that the             1         gender identity after the onset of puberty that
                2   findings here tend to undermine the ROGD            2         they are less likely to continue to have that
                3   hypothesis is because of how long that -- in part   3         identity in adulthood.
                4   because of how long that time period was between    4                 So it's interesting to see that among
                5   the point that the individual identified as         5         trans adults. It's actually not an uncommon
                6   transgender and the point that the individual       6         experience.
                7   disclosed that information, correct?                7              Q. (BY MR. RAMER) Right. And the reason
                8       A. Yes. It undermines the notion, one of        8         it's interesting is it undercuts the idea that,
                9   many notions in the hypothesis that when a parent   9         you know, late realization is some sort of new
               10   comes to understand that their child is trans that 10         experience, correct?
               11   that coincides with when the child themselves came 11                 MS. NOWLIN-SOHL: Object to form.
               12   to understand that.                                12                 THE WITNESS: I suppose, or that the
               13       Q. Right. Okay. And so yeah, the longer        13         later realization, you know, is synonymous --
               14   the time period, the more it tends to undermine    14         [indiscernible].
               15   the hypothesis.                                    15                 THE REPORTER: Dr. Turban, I'm sorry to
               16           And that's why the 14 years is relevant,   16         interrupt. I couldn't understand you.
               17   right?                                             17                 THE WITNESS: Oh, sorry. How far back do
               18           MS. NOWLIN-SOHL: Object to form.           18         you want me to go?
               19           THE WITNESS: I don't know that I really    19                 THE REPORTER: Just repeat your answer,
               20   agree with that characterization that, you know,   20         if you wouldn't mind.
               21   if it were 16 versus 14, that would be a matter,   21                 THE WITNESS: So just saying the thing
               22   or if it would be 14 versus 30. Just the fact      22         that's interesting to me is that there was this
               23   that there is a substantial period of time I think 23         notion, less so in the field, but sometimes out
               24   is what undermines it.                             24         among the general public, that if one comes to
               25       Q. (BY MR. RAMER) And for this study, the 25              understand their trans identity after puberty,
                                                                  Page 154                                                  Page 156

                1   data you used again comes from the U.S.                   1   that it will not persist into adulthood.
                2   Transgender Survey; is that right?                        2           But here we saw that among adults, it was
                3       A. Yes.                                               3   actually a fairly common experience for them to
                4       Q. And so on page 1 here under "Results,"             4   first come to understand their gender identity
                5   the first sentence says "Of 27,497 participants,          5   after age 10, which is a rough cutoff for puberty.
                6   40.8 percent reported 'later realization' of TGD          6       Q. (BY MR. RAMER) Well, I guess if the 40.8
                7   identities."                                              7   percent is relevant in the context of persistence
                8          Did I read that correctly?                         8   or desistance, wouldn't you need to know the
                9       A. Yes.                                               9   individuals who had later realization but then
               10       Q. And so you're saying there that -- I              10   did, in fact, come to identify as cisgender?
               11   mean, the upshot of this is that later realization       11       A. Yeah, I think you're pointing out there
               12   was common among the adult survey participants --        12   are different studies that could be done. You
               13          MS. NOWLIN-SOHL: Objection.                       13   could follow people longitudinally and then you
               14          MR. RAMER: I'm sorry.                             14   could find a desistance rate, if that's the term
               15          MS. NOWLIN-SOHL: I'm sorry, go ahead.             15   you wanted to use.
               16   Continue.                                                16           This study wasn't that since we didn't
               17       Q. (BY MR. RAMER) Okay. Well, I guess why            17   follow people longitudinally. We didn't have that
               18   is that relevant with respect to the ROGD                18   data available.
               19   hypothesis?                                              19           So this was just showing that among trans
               20          MS. NOWLIN-SOHL: Object to form.                  20   adults, this isn't an uncommon experience. But it
               21          THE WITNESS: It's not necessarily. I              21   doesn't tell you how many people would continue to
               22   think it's more relevant that there's the                22   identify that way longitudinally.
               23   misconcept, I think, less within the field, but          23       Q. And then still on the same page in the
               24   more kind of in, like, media and public policy           24   same results paragraph, the second and third
               25   debates that if one comes to understand their            25   sentences, you say, "Within the 'childhood
                                                                  Page 155                                                  Page 157

                                                                                                            40 (Pages 154 - 157)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1014
(248 of 288), Page 248 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 248 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 41 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   realization' group, the median age of sharing       1   came to know.
                2   one's gender identity with another person was 20.   2           So I think one author called it rapid
                3   In this group, the median time between realization  3   onset parental notification, like the parents
                4   of one's gender identity and sharing this with      4   found out all of a sudden in adolescence, but that
                5   another person was 14 years."                       5   it's actually pretty typical for children to
                6          And did I read that correctly?               6   withhold this information from their parents for
                7       A. Yes.                                         7   many years, in my clinical experience, due to fear
                8       Q. Did you also record the median age of        8   that their parents won't accept them.
                9   participants sharing their gender identity for the  9        Q. And I'd like to go back to Turban
               10   later realization group?                           10   Exhibit 10, which is the U.S. -- the report of the
               11       A. We did. We didn't have room in this         11   U.S. Transgender Survey. And go to page 259. And
               12   paper because it wasn't the focus. But we          12   left column, Section 3 --
               13   recently published a response to the letter to the 13        A. Yes, we have it.
               14   editor where we provided that additional data. I   14        Q. So question 3.1 says "At about what age
               15   would have to pull it up to get the numbers.       15   did you begin to feel that your gender was
               16       Q. What letter to the editor are you           16   'different' from your assigned birth sex?"
               17   referring to?                                      17           Did I read that correctly?
               18       A. I forget the author of the letter, but      18        A. Yes.
               19   someone wrote in to the journal asking for more    19        Q. And this is the question you used to
               20   information and analyses, and so we provided them. 20   collect data for determining when the participants
               21       Q. And so the -- and this is just a            21   first realized their transgender identity,
               22   clarification, not a trick question.               22   correct?
               23          So in the last sentence here, you're        23           MS. NOWLIN-SOHL: Object to form.
               24   talking about the median time. That is only        24           THE WITNESS: Let me double-check.
               25   referring to the childhood realization group; is   25   Sorry. I'm looking at the underlying question
                                                             Page 158                                                  Page 160

                1   that right?                                        1    because I just want to make sure I'm telling you
                2       A. Correct. The letter author asks for what    2    correct.
                3   you're asking, and so we had it published in the   3        Q. (BY MR. RAMER) I guess it's page -- in
                4   letter response, but I don't have it in front of   4    your article, page 54, left column under "Age of
                5   me.                                                5    sharing" -- oh, no, that's the other one. Sorry.
                6       Q. Okay. And do you think it's fair to say     6            Yeah, so page 853, right column, very
                7   that -- granting that you disagree with any sort   7    bottom. "Age of TGD identity realization."
                8   of ROGD hypothesis, do you think it's fair to say  8            And you say, "As outlined above,
                9   that people who think the ROGD hypothesis may be 9      participants were asked the age at which they felt
               10   worth investigating, that the hypothesis is       10    that their gender was different from societal
               11   focused on adolescents and not children?          11    expectations based on their sex assigned at birth
               12       A. I think you're missing the point of it in  12    and were provided with a drop-down list of integer
               13   that the reason this childhood question is        13    ages from 1 to 99 years."
               14   relevant is that the rapid onset gender dysphoria 14        A. Yes, question 3.1.
               15   study survey used the time that parents heard     15        Q. And so returning to -- sorry, if you
               16   about their child's gender identity as when the   16    can -- and so returning to Exhibit 10 in the same
               17   children came to recognize their gender identity. 17    page we were on, 259, and same left column,
               18           What this paper is showing is that those  18    Section 3, I'm going to read question 3.2 and ask
               19   people where the parents first found out in       19    if I read it correctly.
               20   adolescence may have known 12 years earlier,      20            It says, "At about what age did you start
               21   right? Because there's a mean 12 years between    21    to think you were trans (even if you did not know
               22   realizing and telling another person.             22    the word for it)?"
               23           So for what was, from the parents'        23            Did I read that correctly?
               24   perspective, the onset of time was actually much, 24        A. Yes.
               25   much later potentially than when the young person 25        Q. So why did you use question 3.1 instead
                                                             Page 159                                                  Page 161

                                                                                                       41 (Pages 158 - 161)
                                                     Veritext Legal Solutions
                                           Calendar-Idaho@veritext.com 208-343-4004
                                                         App.1015
(249 of 288), Page 249 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 249 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 42 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   of 3.2?                                               1   thoughts about it. And my reading of that paper
                2       A. We thought that 3.1 was a bit broader,         2   is that I think that she did think that it had
                3   even though they're quite similar.                    3   something to do with social media influence. But
                4       Q. Why would you use the broader question,        4   I think you would have to ask her.
                5   then?                                                 5       Q. (BY MR. RAMER) Would you agree that as a
                6       A. Because it captures -- they're really          6   general matter you would probably have to be born
                7   similar questions. We did not design the survey.      7   in the 1990s to have grown up with social media as
                8   We were doing secondary data analyses of the          8   an adolescent?
                9   surveys, so we were in a position to try and pick     9       A. I don't know enough about the history of
               10   which question we thought was best.                  10   social media to give you an answer.
               11           The second one says "When did you think      11       Q. Do you think there's a chance that social
               12   you were trans (even if you didn't have the word     12   media existed in its current form before 1990?
               13   for it)," and then 3.1 basically asks without the    13           MS. NOWLIN-SOHL: Object to form.
               14   word, the feeling of it.                             14           THE WITNESS: You're making me think back
               15           So we felt that 3.1 was just a cleaner       15   to when I first got social media. To be honest, I
               16   question even though they asked quite similar        16   don't know. Was MySpace first? I honestly don't
               17   things. We felt like 3.2 was a little bit more       17   know when social media began. I don't know that
               18   about, like, ascribing language to it, like the      18   this is within my area of expertise.
               19   word "trans" or maybe someone had a word like        19       Q. (BY MR. RAMER) And what year was the
               20   "trans" whereas we thought 3.1 captured more like    20   data collected for the U.S. Transgender Survey?
               21   the gender identity experience rather than the       21       A. 2015.
               22   language they were ascribing to it. But they're      22       Q. And an individual had to be 18 years old
               23   very similar.                                        23   to take the survey, correct?
               24       Q. Do you know how the data would have           24       A. Correct.
               25   changed if you had used question 3.2 instead of      25       Q. All right. Sticking with your article,
                                                              Page 162                                                     Page 164

                1   3.1?                                                1     I'd like to go to page 855, Table 1.
                2       A. No. We tried not to run a ton of             2            MS. NOWLIN-SOHL: Sorry, we might have
                3   analyses in that way that we think are going to be  3     gotten a little bit lost.
                4   similar. Because when you do that, you're more      4            Which exhibit are we in right now?
                5   likely to find a statistical finding due to chance  5            MR. RAMER: Turban Exhibit 14, the "Age
                6   called P-hacking that's commonly criticized in      6     of Realization" -- sorry, it's hard in the virtual
                7   statistical research. Usually the cleaner, fewer    7     setting to keep track of what's pulled up. So
                8   comparisons you make, the better.                   8     Turban Exhibit 14, the "Age of Realization" paper.
                9           So we did not repeat the analysis with      9            MS. NOWLIN-SOHL: Okay.
               10   3.2. One could do that.                            10            MR. RAMER: And page 855, which has
               11       Q. Would you agree that a component of the     11     Table 1.
               12   ROGD hypothesis, as those individuals who suggest 12             MS. NOWLIN-SOHL: Okay. We are there.
               13   it might be legitimate would view it, concerns the 13         Q. (BY MR. RAMER) Okay. And for this
               14   effect of social media on adolescents?             14     article, you included all age groups in the data,
               15           MS. NOWLIN-SOHL: Object to form.           15     correct?
               16           THE WITNESS: I don't have any colleagues 16           A. Sorry. What do you mean by "all age
               17   who are experts in the field who do believe in     17     groups"?
               18   that hypothesis.                                   18         Q. Did you exclude anybody from the data
               19           Again, the American Psychological          19     based on their age?
               20   Association has argued against using it            20         A. Based on their age at the time of the
               21   clinically, the correction on the paper            21     survey?
               22   highlighted that it's not a formal valid mental    22         Q. Yes.
               23   health diagnosis.                                  23         A. No.
               24           All I can go off of is that one paper      24         Q. And so it looks like there's about
               25   where that single author was describing her        25     roughly 800 people in the dataset who are 65 and
                                                              Page 163                                                     Page 165

                                                                                                          42 (Pages 162 - 165)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1016
(250 of 288), Page 250 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 250 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 43 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   older, correct?                                         1   mental health diagnosis. It doesn't have support,
                2        A. Yeah. Looks like that would account for         2   and the American Psychological Association
                3   about 5 or 6 percent of the total study.                3   recommended against using it. So we weren't
                4        Q. And then for 45 to 64, about --                 4   designing the study around that hypothesis in a
                5        A. Maybe 27 percent of the study.                  5   single paper.
                6        Q. And I appreciate I'm having you do math         6       Q. (BY MR. RAMER) Sorry. I didn't mean to
                7   on the fly, so I'm not looking for it precise.          7   cut you off.
                8            But and then from 25 to 44 it looks like       8           And so for this -- sticking with this
                9   it's -- I'll put myself up -- well, I guess I           9   article and page 855, Table 1, you have two
               10   don't know. What percentage of the study?              10   columns here with one for childhood realization
               11        A. Were in the 25 to 44 group?                    11   and one for late realization, correct?
               12        Q. Yeah.                                          12       A. Correct.
               13        A. About 77 percent.                              13       Q. And starting with the 65-plus group, is
               14        Q. Well, maybe this is why we shouldn't do        14   it fair to say the vast majority fall into the
               15   math on the fly. Because you're just adding those      15   childhood realization category?
               16   parentheses, but I don't think that would --           16           MS. NOWLIN-SOHL: Object to form.
               17        A. Oh, wait. Sorry, yeah.                         17           THE WITNESS: I'd have to -- I'd have to
               18        Q. Well, let's just step back. This is not        18   add the numbers and then divide it -- I don't want
               19   the point of the question.                             19   to do the math.
               20        A. To get to your whole point, the most were      20       Q. (BY MR. RAMER) Fair. I'll ask it this
               21   very young, so mostly the 18 to 24 group.              21   way.
               22        Q. Okay. Yeah. Would you agree that it's          22           You would agree that 573 is larger than
               23   highly unlikely if not impossible that individuals     23   215?
               24   in the 45 to 64 age group used social media as         24       A. That, I can do in my head, yes.
               25   adolescents?                                           25       Q. And for the 45 to 64 group, you would
                                                                Page 166                                                      Page 168

                1       A. Probably, but they're a small portion of         1   agree that 3,224 is significantly larger than 825,
                2   the study.                                              2   correct?
                3       Q. Would you agree it's highly unlikely, if         3          MS. NOWLIN-SOHL: Object to form.
                4   not impossible, that the majority of the 25 to 44       4          THE WITNESS: Yes.
                5   age group used social media as adolescents?             5       Q. (BY MR. RAMER) And for the 25 to 44
                6       A. We'd have to know the distribution of how        6   group, you would agree that 7,043 is much larger
                7   many were closer to 25, how many were closer to         7   than 3,856, correct?
                8   44.                                                     8          MS. NOWLIN-SOHL: Object to form.
                9       Q. But it didn't occur to you to make an            9          THE WITNESS: Yes.
               10   adjustment for that based on -- sorry.                 10       Q. (BY MR. RAMER) But then when you get to
               11       A. I mean, this paper was not --                   11   the 18 to 24 group, do you see that it looks like
               12          MS. NOWLIN-SOHL: Object to form;                12   the numbers flip for the first time?
               13   argumentative.                                         13          MS. NOWLIN-SOHL: Object to form.
               14          MR. RAMER: I'll re-ask it. Let me               14          THE WITNESS: Yeah, I would caution
               15   re-ask it, and then we'll try again.                   15   against making any of the comparisons you're
               16       Q. (BY MR. RAMER) It didn't occur to you to        16   making because the statistics weren't applied in
               17   make an adjustment for that given the fact that        17   that way, and so we don't know the degree to which
               18   the first sentence of the purpose in your paper is     18   those would be meaningfully different.
               19   discussing rapid onset gender dysphoria?               19       Q. (BY MR. RAMER) I guess why didn't you
               20          MS. NOWLIN-SOHL: Object to form;                20   apply the statistics in that way?
               21   argumentative.                                         21          MS. NOWLIN-SOHL: Object to form.
               22          THE WITNESS: Though it's the first              22          THE WITNESS: Our statistician elected to
               23   sentence, I wouldn't say this paper was really         23   do these large kind of square analyses so that we,
               24   primarily focused on the rapid onset gender            24   as I referenced earlier, wouldn't be running a ton
               25   dysphoria hypothesis. That, again, is not a valid      25   of analyses that leads you to the potential of
                                                                Page 167                                                      Page 169

                                                                                                            43 (Pages 166 - 169)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1017
(251 of 288), Page 251 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 251 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 44 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   that P-hacking concern. Otherwise you would be            1          MS. NOWLIN-SOHL: Object to form; calls
                2   doing a statistical test on every single row in           2   for speculation.
                3   this table, which you can see would progressively         3          THE WITNESS: I don't think they would
                4   become a large number of comparisons.                     4   actually be in -- let me look.
                5       Q. (BY MR. RAMER) Did that data that we               5          Because the USTS isn't a sample of trans
                6   were just discussing, the fact that is -- in the          6   people, if there were a cisgender person who was
                7   18 to 24 group for the first time, based on these         7   just generally nonconforming, they wouldn't be in
                8   raw numbers, that a majority of the group fell            8   this study.
                9   into the later realization group, did that                9       Q. (BY MR. RAMER) Isn't gender expression a
               10   interest you?                                            10   major part of living out your gender identity?
               11          MS. NOWLIN-SOHL: Object to form.                  11       A. It could be a major part, but there are
               12          THE WITNESS: It wasn't the focus of the           12   people who have gender expressions that you might
               13   paper, and I wouldn't recommend drawing                  13   think of as feminine who would have cisgender
               14   conclusions based on raw numbers.                        14   identities.
               15       Q. (BY MR. RAMER) Yeah, I'm not drawing              15          If you've ever seen a cisgender man wear
               16   conclusions or trying to say what the focus of the       16   nail polish, you might think of that as a feminine
               17   paper was. I'm just -- I mean, as a non-expert           17   gender expression, but it doesn't mean that person
               18   looking at that table, like, that struck me. I           18   is transgender.
               19   found that striking.                                     19       Q. I guess what I'm trying to understand is
               20          And I'm curious if you found that                 20   for the second time point in this study, you
               21   interesting and whether you're going to research         21   focused on when the individual's transgender
               22   it more or, you know, you've seen enough.                22   identity was, like, expressly disclosed to
               23          MS. NOWLIN-SOHL: Object to form.                  23   somebody else, whereas it seems like much more
               24          THE WITNESS: You could go back and run            24   common that an individual is going to be living
               25   the individual T tests on those lines.                   25   out their transgender identity with their gender
                                                                  Page 170                                                  Page 172

                1       Q. (BY MR. RAMER) Well, I could not because           1   expression and people are going to understand, or
                2   I do not have the expertise you have.                     2   like, for lack of a better term, have a hunch of
                3       A. I also would need to harass my                     3   their gender identity --
                4   statistician to do it and give her time, but it's         4       A. Absolutely.
                5   a publicly available data set also, so anyone             5          MS. NOWLIN-SOHL: Hold on. Let him
                6   would be able to request the numbers and run those        6   finish.
                7   analyses.                                                 7       Q. (BY MR. RAMER) Well, no, go ahead. I
                8       Q. And stepping back from the table now, do           8   was meandering. Please.
                9   you think it's possible for a parent to observe           9          MS. NOWLIN-SOHL: Object to form. Was
               10   that their child is transgender before the child         10   there a question?
               11   expressly states it?                                     11          MR. RAMER: Well, he was going to give an
               12       A. There can maybe be suggestions, but it's          12   answer. So please.
               13   hard to know somebody's internal experience              13          THE WITNESS: I lost track -- I lost
               14   without them telling you.                                14   track of the question, honestly. What was the
               15           For instance, I'd caution against making         15   question?
               16   assumptions that, you know -- I think we referred        16       Q. (BY MR. RAMER) I guess it's just isn't
               17   to assigned male wanted to play with dolls or wear       17   the premise of your paper that parents would not
               18   dresses, that doesn't mean that the young person         18   know that their child has a transgender identity
               19   is transgender. They could be cisgender and like         19   until the child expressly discloses it to them?
               20   dolls and dresses.                                       20          MS. NOWLIN-SOHL: Object to form.
               21           So it's drawing the conclusions based on         21          THE WITNESS: I think that's very common,
               22   observations without the person telling you their        22   that young trans people live in a world where they
               23   experience is limited.                                   23   know that trans identities are stigmatized, and
               24       Q. Well, that example you just gave, how             24   trans people are commonly bullied and harassed.
               25   would that person have answered 3.1?                     25          Often these kids when they're young have
                                                                  Page 171                                                  Page 173

                                                                                                            44 (Pages 170 - 173)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1018
(252 of 288), Page 252 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 252 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 45 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   expressed some small amount of gender diverse       1       told another person. So the parents would have
                2   expression. So, say, the young kid who played       2       found out 12 years after the young person knew.
                3   with dolls or played with dresses, and they're      3              And as I said earlier, you can't presume
                4   usually yelled at or socially sanctioned -- I       4       someone's gender identity by observing their
                5   think the message very early on is that's not       5       gender expression, as many cisgender people may
                6   acceptable. So it's actually very common that       6       like things that you may not consider gender
                7   they go to great lengths to hide that for a long    7       typical. Like a cisgender man who likes musicals,
                8   time.                                               8       I wouldn't recommend assuming that person is
                9          So no, it's usually not apparent to other    9       transgender.
               10   people because the kids are trying to hide it      10           Q. (BY MR. RAMER) Switching gears a little
               11   because they're afraid of the consequences if      11       bit, how do you stay up-to-date on the literature
               12   people were to know.                               12       in your field?
               13       Q. (BY MR. RAMER) Right. And that was my 13                 A. A lot of ways. We have conferences. I
               14   question.                                          14       use Google Scholar notifications so when new
               15          Isn't the premise of your paper that        15       peer-reviewed papers are published they come to my
               16   parents wouldn't know the child has a transgender 16        inbox. Conversation with colleagues.
               17   identity until the child expressly disclosed it to 17           Q. Are there any particular authors you
               18   them?                                              18       trust in the field?
               19          MS. NOWLIN-SOHL: Object to form.            19              MS. NOWLIN-SOHL: Object to form.
               20          THE WITNESS: I wouldn't say it's the        20              THE WITNESS: I'm not really sure what
               21   premise of the paper. I would say it's a finding   21       you mean by, like, "trust" or "distrust."
               22   of the paper that the young people didn't feel     22           Q. (BY MR. RAMER) Sure. Do you think that
               23   comfortable sharing it with another person for 12  23       Annelou de Vries is a leading expert in the field?
               24   years. Why would they not feel comfortable?        24           A. Yes.
               25       Q. (BY MR. RAMER) But the reason the paper 25               Q. Do you think Diane Chen is a leading
                                                                Page 174                                                  Page 176

                1   is relevant to the ROGD hypothesis is the parents       1   expert in the field?
                2   didn't know until a later time, correct?                2       A. Yes.
                3          MS. NOWLIN-SOHL: Object to form.                 3           MR. RAMER: And, Li, if you have it, I'd
                4          THE WITNESS: Again, I think you're               4   like to introduce Turban Exhibit 15.
                5   over-indexing on how important that one survey          5           MS. NOWLIN-SOHL: We are still waiting on
                6   paper is about ROGD. And again, this paper isn't        6   that.
                7   a direct response to that 2018 single survey, but       7           MR. RAMER: Please just let me know when
                8   if you want to tie it to that question of rapid         8   it arrives.
                9   onset, then yes, the point of this paper is that        9           MS. NOWLIN-SOHL: Still waiting. Is
               10   often young people don't tell another person for       10   it -- no, just got it.
               11   many years. And so at the time point when parents      11          (Deposition Exhibit No. 15 was marked.)
               12   are being told, that does not necessarily coincide     12       Q. (BY MR. RAMER) Okay. Dr. Turban, have
               13   with when the young person first realized.             13   you seen this editorial before?
               14       Q. (BY MR. RAMER) Sorry to keep going back         14       A. Yes.
               15   to this, but the point is that the parents would       15       Q. And when was the last time you read it?
               16   not know until they are told, correct?                 16       A. Probably when it first came out.
               17          MS. NOWLIN-SOHL: Object to form; asked          17       Q. And this editorial is coauthored by
               18   and answered.                                          18   Annelou de Vries, correct?
               19          THE WITNESS: I think I answered the             19       A. Yes.
               20   question.                                              20       Q. And if you turn to page 277, which I
               21       Q. (BY MR. RAMER) And what was the answer?         21   think is the third page in the PDF, and you look
               22          MS. NOWLIN-SOHL: Same objection. Asked          22   at footnote 1 --
               23   and answered.                                          23       A. Sorry. What page again?
               24          THE WITNESS: That the study found that          24       Q. 277 in the pagination, but I think the
               25   there were median 12 years before the young people     25   last page of the PDF. Or it's an endnote. Sorry,
                                                                Page 175                                                  Page 177

                                                                                                          45 (Pages 174 - 177)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1019
(253 of 288), Page 253 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 253 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 46 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   endnote 1.                                             1   would have provided more data along that same
                2       A. The first citation?                             2   line. I think they could have adjusted for that
                3       Q. Yes.                                            3   variable the way some of the other studies have
                4       A. Yes.                                            4   that I cite in my declaration.
                5       Q. And that is the Chen article that you           5       Q. Why would you need to adjust for that
                6   cite in your declaration, correct?                     6   variable?
                7       A. Yes. I think the exhibit you sent is an         7       A. So I think there's been this question
                8   editorial on that paper that came out at the time      8   raised, like the experts' declarations of whether
                9   the paper was published.                               9   or not the improvement that you see when
               10       Q. And so I'd like to go back to -- back one      10   adolescents with gender dysphoria get medical
               11   page to page 276, and left column and second full     11   interventions is that improvement from the
               12   paragraph. And I'll just read the first two           12   medication like the puberty blocker or the
               13   sentences and ask if I read them correctly.           13   hormones? Or is it from therapy they're getting
               14          It says "Yet the study leaves some             14   at the same time?
               15   concerns unanswered. Although overall                 15          So I cited, I believe, three studies in
               16   psychological functioning in the study                16   my declaration that looked at that question. This
               17   participants improved, there was substantial          17   was one of them. The way they looked at it was by
               18   variation among participants. A considerable          18   this parallel process analysis that showed that
               19   number still had depression, anxiety, or both at      19   the improvement tracked with their physical gender
               20   24 months, and two died by suicide."                  20   incongruence improving as opposed to it not being
               21          Did I read that correctly?                     21   related to the actual physical impact of the
               22       A. Yes.                                           22   hormones.
               23       Q. And were you aware of these facts before       23       Q. So is the idea that de Vries is
               24   you cited the Chen article?                           24   discussing here the possibility that mental health
               25       A. Yes.                                           25   care could be a confounding variable in this
                                                               Page 178                                                      Page 180

                1       Q. And so same paragraph, two sentences            1   study?
                2   later, it says "However, other possible                2          MS. NOWLIN-SOHL: Object to form.
                3   determinates of outcomes were not reported,            3          THE WITNESS: She's highlighting they did
                4   particularly the extent of mental health care          4   a specific analysis to look at that, and it
                5   provided throughout GAH treatment."                    5   suggested that the improvements were from not
                6           Did I read that correctly?                     6   mental health, especially how there's another
                7       A. You skipped a sentence in between, but          7   additional way they could have looked at it.
                8   yes.                                                   8       Q. (BY MR. RAMER) And so yes, it could be a
                9       Q. Yeah. And what is your understanding of         9   confounding variable?
               10   what de Vries is saying in that sentence I just       10          MS. NOWLIN-SOHL: Object to form;
               11   read?                                                 11   mischaracterizes his prior testimony.
               12       A. So the sentence that you skipped, which I      12          THE WITNESS: Yeah, I think that's a
               13   explained in my declaration, is that they looked      13   mischaracterization of what I just said.
               14   at the correlation between appearance congruence      14       Q. (BY MR. RAMER) No, I wasn't trying to
               15   in mental health outcomes and found that degree of    15   repeat what you were saying.
               16   physical congruence predicted the improvement in      16          I was asking the question of is the
               17   mental health, which is suggesting that it was        17   concerns that are unanswered that de Vries is
               18   actually the physical effects of the intervention     18   talking about in this paragraph where she
               19   resulting in the mental health outcomes rather        19   references that the extent of mental health care
               20   than something like psychotherapy.                    20   provided throughout GAH treatment was not reported
               21           Then going to the sentence that you read,     21   have to do with the fact that mental health care
               22   they're highlighting that, so that that provides      22   is potentially a confounding variable?
               23   evidence that it was from the intervention. It        23          MS. NOWLIN-SOHL: Object to form.
               24   would have been nice if they also collected data      24          THE WITNESS: That line is pretty far
               25   about the degree of mental health involvement that    25   removed from when she uses that phrase
                                                               Page 179                                                      Page 181

                                                                                                           46 (Pages 178 - 181)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1020
(254 of 288), Page 254 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 254 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 47 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   "unanswered."                                           1   are there separate from any impact of
                2          And again, they did the parallel process         2   psychotherapy.
                3   modeling that found that the mental health              3          And the Costa study that I cited gets at
                4   improvement tracked along with adherence                4   that question as well.
                5   congruence, suggesting that it was the physical         5       Q. (BY MR. RAMER) So the answer is that --
                6   effects of the gender-affirming hormones leading        6   well, I guess I'm not totally clear.
                7   the person phenotype to align more with their           7          Is the answer that mental health care
                8   gender identity that was driving the improvements       8   does not -- let me rephrase.
                9   in mental health as opposed to it being from            9          You can say that the evidence does not
               10   therapy.                                               10   support the proposition that mental health care
               11      Q. (BY MR. RAMER) Why do you need to                11   can improve the distress associated with gender
               12   control for mental health care, though, if it's        12   dysphoria?
               13   not a potentially confounding variable?                13       A. Now I'm unclear with your question. So
               14          MS. NOWLIN-SOHL: Object to form.                14   the thing that is being brought up in this
               15          THE WITNESS: You -- they looked at it in        15   editorial was brought up in some of the State's
               16   a different way using this parallel process            16   expert reports in which they asked this question:
               17   monitoring to separate out the impact of the           17   In these studies where people are receiving
               18   physical effects of the hormones from other            18   gender-affirming medical interventions, they're
               19   potential things like therapy.                         19   also often receiving therapy. So is their mental
               20      Q. (BY MR. RAMER) And I understand that             20   health improving because of the therapy or it's
               21   you're describing what they did.                       21   improving because of the gender-affirming
               22          I guess my question is why do you need to       22   hormones?
               23   control for mental health care --                      23          This study, the Tordoff study, and the
               24          MS. NOWLIN-SOHL: Object to form.                24   Costa study provide evidence that their mental
               25          THE WITNESS: The reason why --                  25   health isn't just improving from the therapy.
                                                                Page 182                                                  Page 184

                1       Q. (BY MR. RAMER) Okay. Why do you need to          1   Their mental health is improving from the
                2   control for mental health care if it is not a           2   gender-affirming hormones.
                3   potentially confounding variable?                       3       Q. And my question is about the word "just"
                4          MS. NOWLIN-SOHL: Object to form.                 4   that you're using there in your answer.
                5          THE WITNESS: The reason they did that is         5           Because you say, "It shows that it's not
                6   to address the potential of it being a confounding      6   improving just because of the mental health
                7   variable, that they wanted to see was the               7   therapy."
                8   improvement in mental health from the physical          8           And my question is can you say that the
                9   effects of the gender-affirming hormones as             9   evidence shows that mental health care is not
               10   opposed to potential things like mental health,        10   effective in reducing the distress associated with
               11   like you're implying, or psychotherapy.                11   gender dysphoria?
               12          And they found that it was from the             12           MS. NOWLIN-SOHL: Object to form.
               13   physical effects of the hormones, answering this       13           THE WITNESS: So that's not -- these
               14   question of whether or not it could have just been     14   studies are looking -- are not asking that
               15   from any psychotherapy they were receiving.            15   question.
               16       Q. (BY MR. RAMER) And in your view, given          16           These studies are asking do
               17   the body of evidence, can we rule out mental           17   gender-affirming hormones improve mental health?
               18   health care as a potentially confounding variable?     18           You're asking does what psychotherapy
               19          MS. NOWLIN-SOHL: Object to form.                19   improve gender dysphoria?
               20          THE WITNESS: So this study provides             20       Q. (BY MR. RAMER) Say again.
               21   evidence that it's not just from -- that the           21       A. What psychotherapy are you asking me if
               22   improvements we see from gender-affirming hormones     22   it -- there's evidence that it improves gender
               23   aren't just from therapy provided in time.             23   dysphoria?
               24          The Tordoff study that I cited similarly        24       Q. The psychotherapy that's a potentially
               25   looked at that question and found that the effects     25   confounding variable that they're controlling for
                                                                Page 183                                                  Page 185

                                                                                                          47 (Pages 182 - 185)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1021
(255 of 288), Page 255 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 255 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 48 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   in these studies.                                         1   because there is not a clean measure for that.
                2       A. Again, the de Vries study didn't take              2       Q. You can't use the UGDS?
                3   that statistical approach of controlling for a            3       A. Not really. You'd have to flip the
                4   potential confounder of psychotherapy. They did           4   scores the way the Dutch have done it
                5   it through parallel process models.                       5   intermittently, but it's not really a good measure
                6       Q. Do you mean the Chen study?                        6   of those things, more measure the degree to which
                7       A. Yes.                                               7   you don't identify with your sex assigned at
                8       Q. Why is it significant if you have a study          8   birth. They're not really designed to track
                9   where the patients are receiving both                     9   improvements in the distress related to that over
               10   gender-affirming medical interventions and               10   time.
               11   psychotherapy to control for the psychotherapy?          11       Q. Okay. Well, let's go back to the
               12          MS. NOWLIN-SOHL: Object to form.                  12   hypothetical -- and if you'll just allow me to
               13          THE WITNESS: Because you want to know if          13   finish, and then I'll give you the opportunity to
               14   the improvement was from the hormones or from the        14   answer -- which is you have a study. The patients
               15   psychotherapy.                                           15   are receiving both gender-affirming medical
               16       Q. (BY MR. RAMER) And my question for you            16   interventions and psychotherapy. The outcome is
               17   is does the evidence show that psychotherapy is          17   improvement in quality of life.
               18   ineffective at reducing the distress associated          18          Do you think that that study provides
               19   with gender dysphoria?                                   19   evidence that gender-affirming medical
               20          MS. NOWLIN-SOHL: Object to form.                  20   interventions are effective in improving quality
               21          THE WITNESS: So to say that something is          21   of life?
               22   ineffective, you would need to do something like a       22          MS. NOWLIN-SOHL: Object to form.
               23   noninferiority study, which has not been done.           23          THE WITNESS: So you're describing the
               24          But I'm not aware of any research that            24   Costa study from 2015 essentially which does
               25   shows that psychotherapy is effective in                 25   exist, which did show that pubertal suppression
                                                                  Page 186                                                   Page 188

                1   alleviating gender dysphoria.                             1   improved mental health, whereas for the group that
                2       Q. (BY MR. RAMER) What about studies where            2   got six months of therapy and then got a year of
                3   they are giving the patients both gender-affirming        3   therapy plus puberty blockers, they did not
                4   medical interventions and psychotherapy and they          4   improve when they just got therapy, but when they
                5   are not controlling for psychotherapy?                    5   got therapy with the blockers, they improved,
                6          Do you think that those studies suggest            6   suggesting that the blockers improved their
                7   that the gender-affirming medical interventions           7   health --
                8   can reduce distress associated with gender                8      Q. (BY MR. RAMER) Sorry, go ahead.
                9   dysphoria?                                                9      A. For that immediately eligible group they
               10          MS. NOWLIN-SOHL: Object to form.                  10   got six months of therapy, but therapy did not
               11          THE WITNESS: Sorry. Can you repeat the            11   improve their mental health in a statistically
               12   question?                                                12   significant way with the caveat to not interpret
               13       Q. (BY MR. RAMER) So maybe it's more of a            13   one statistical finding as valid. But then once
               14   hypothetical about a theory, which is you have a         14   they got pubertal suppression with the therapy,
               15   study. In the study, the patients are receiving          15   their mental health did improve.
               16   both gender-affirming medical interventions and          16      Q. And so I'm not describing the Costa study
               17   psychotherapy. The outcome of the study is               17   because in my hypothetical the study is not
               18   improvement on all scores.                               18   distinguishing between patients who received only
               19          What?                                             19   psychotherapy and patients who received
               20       A. Scores on what?                                   20   psychotherapy and then proceeded on to
               21       Q. On all metrics that you're -- depression,         21   gender-affirming medical intervention.
               22   anxiety, distress associated with gender                 22          My hypothetical is a study where the
               23   dysphoria.                                               23   patients received both for the entire time, and
               24       A. It would be hard to have a scale to               24   they show improvement.
               25   measure distress associated with gender dysphoria        25          And my question is does that type of
                                                                  Page 187                                                   Page 189

                                                                                                             48 (Pages 186 - 189)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1022
(256 of 288), Page 256 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 256 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 49 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   study in my hypothetical constitute evidence that        1   correctly.
                2   gender-affirming medical interventions are               2          It says "Finally, benefits of early
                3   effective in improving that quality of life              3   medical intervention, including puberty
                4   metric?                                                  4   suppressions, need to be weighed against possible
                5          MS. NOWLIN-SOHL: Object to form.                  5   adverse effects -- for example, with regard to
                6          THE WITNESS: In that study, you would --          6   bone and brain development and fertility."
                7   in that theoretical study, you would want to             7          Did I read that correctly?
                8   disentangle what was from therapy and what was           8      A. Yes.
                9   from the pubertal suppression. If that were the          9      Q. And you see where de Vries mentions
               10   only study that existed and that was the study          10   possible adverse effects on brain development?
               11   that you were looking at and you had this question      11      A. Just in that sentence?
               12   of whether or not therapy alone was effective,          12      Q. In that sentence.
               13   then you would want to separate it.                     13      A. Yes.
               14       Q. (BY MR. RAMER) What if the question is           14      Q. What do you know about the risk of
               15   whether or not gender-affirming medical                 15   adverse effects on brain development from pubertal
               16   interventions are effective? Is that study also         16   suppression?
               17   worthless in that context?                              17      A. So there's only one study that looked at
               18          MS. NOWLIN-SOHL: Object to form.                 18   potential impacts on effective functioning that
               19          THE WITNESS: I wouldn't call it                  19   seemed to suggest no adverse impact.
               20   worthless. I think it would be interesting. But         20          I think Dr. de Vries mentions something
               21   I think it would be more informative if you             21   here, educational achievements are expected given
               22   adjusted for -- separated out the impacts of            22   their pretreatment status is reassuring.
               23   therapy from puberty blockers.                          23          I'm not aware of any convincing clinical
               24       Q. (BY MR. RAMER) And so if you don't               24   data that says there's an adverse impact on brain
               25   separate it out, can you cite that hypothetical         25   development.
                                                                 Page 190                                                    Page 192

                1   study as evidence that gender-affirming medical          1          Certainly the delay in bone density
                2   interventions are effective?                             2   accrual is well known with pubertal suppression,
                3          MS. NOWLIN-SOHL: Object to form; calls            3   but to be honest, I'm not sure what she's
                4   for speculation.                                         4   referencing with brain development.
                5          THE WITNESS: It would be a piece of               5       Q. Is adolescence associated with
                6   evidence. I wouldn't recommend using it in               6   significant neurodevelopment?
                7   isolation but look at the full body of literature        7       A. Yes.
                8   where they've done some other things to try to           8       Q. And do you agree that adolescence is
                9   tease apart those two interventions.                     9   associated with an increase in capabilities for
               10          MR. RAMER: Okay. I think we've been              10   abstraction and logical thinking?
               11   going for just about an hour if you all want to         11       A. Yes.
               12   take a break.                                           12       Q. And is puberty linked to developmental
               13          MS. NOWLIN-SOHL: Yeah, that sounds good.         13   changes in social and emotional processing?
               14          MR. RAMER: Let's go off the record.              14       A. I'm not an expert on the intricacies of
               15          THE VIDEOGRAPHER: Okay. So the time is           15   that research, but I can say as a clinical matter
               16   2:13 p.m. Pacific time, and we are off the record.      16   in terms of cognitive development for my
               17         (Break taken from 2:13 p.m. to 2:19 p.m.)         17   patients -- I mean, I have a handful of patients
               18          THE VIDEOGRAPHER: All right. So we are           18   who are now at Ivy League universities who are
               19   recording. The time is 2:19 Pacific time, and we        19   doing quite well, so there doesn't seem to be an
               20   are back on record.                                     20   apparent, clear negative path on cognition.
               21       Q. (BY MR. RAMER) And, Dr. Turban, I'd like         21       Q. So you are not an expert on cognitive
               22   to stick with the article we were just discussing.      22   development; is that right?
               23   And I'd like to look on page 276 and the right          23       A. I am broadly, but I wouldn't be able to
               24   column and the second full paragraph, first             24   dive into the depths of the study of -- like,
               25   sentence. And I'll read it and ask if I read it         25   neuroimaging studies that look at different
                                                                 Page 191                                                    Page 193

                                                                                                            49 (Pages 190 - 193)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1023
(257 of 288), Page 257 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 257 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 50 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   neuroimaging paths throughout adolescence.             1           But I think the sentence you read is too
                2        Q. In this case are you opining as an expert      2   vague to say a lot from.
                3   on cognitive development?                              3       Q. And what are the two studies you're
                4           MS. NOWLIN-SOHL: Object to form.               4   referencing?
                5           THE WITNESS: At the level of being a           5       A. I have to remember the -- I think the one
                6   child in adolescent psychiatry, yes, but not at        6   that was the meta-analysis looking among young
                7   the level of being somebody who spends my whole        7   adults I believe was in the Journal of Psycho
                8   career doing things like neuroimaging studies,         8   Neurologic Chronology I think in 2021.
                9   looking at neural pathway development.                 9           The executive functioning one I believe
               10           MR. RAMER: And, Li, do you have Turban        10   was by the Dutch, but I don't know the name of the
               11   Exhibit 16 yet?                                       11   first author.
               12           MS. NOWLIN-SOHL: I do.                        12       Q. Is the executive functioning one the one
               13           MR. RAMER: Oh, great.                         13   with the Tower of London test?
               14          (Deposition Exhibit No. 16 was marked.)        14       A. Yes.
               15        Q. (BY MR. RAMER) And, Dr. Turban, have you      15       Q. I'd like to go to page -- stick with this
               16   seen this article before?                             16   article, go to page 249, and right column and
               17        A. No.                                           17   first full paragraph. And I'd like to just read
               18        Q. Do you recognize the lead author?             18   it and ask if I read it correctly.
               19        A. Yes.                                          19           It says "We employed a two-round Delphi
               20        Q. And I'd like to go to page 254 in this        20   procedure to obtain expert consensus regarding the
               21   article, and specifically the left column under       21   most efficacious research design elements
               22   "Discussion," and the second sentence in that         22   addressing the following research question: What,
               23   paragraph following the discussion header. And        23   if any, real world impact does pubertal
               24   I'll read it and ask if I read it correctly.          24   suppression have on transgender children's
               25           It says "However, puberty is a major          25   cognitive and neural development?"
                                                               Page 194                                                   Page 196

                1   developmental process. And the full consequences,      1          Did I read that correctly?
                2   both beneficial and adverse of suppressing             2      A. Yes.
                3   endogenous puberty, are not yet understood."           3      Q. Do you know the answer to that question?
                4          Did I read that correctly?                      4          MS. NOWLIN-SOHL: Object to form.
                5       A. Yes.                                            5          THE WITNESS: I think it's too broad of a
                6       Q. Do you agree that the full consequences         6   question to have a straightforward answer. I
                7   of suppressing endogenous puberty are not yet          7   don't know that I could answer any question for
                8   understood?                                            8   any medical intervention.
                9       A. This is a somewhat vague sentence. I            9      Q. (BY MR. RAMER) Do you think that
               10   think the thing that's difficult when talking         10   question is unanswerable?
               11   about the impact of any medication on cognition is    11          MS. NOWLIN-SOHL: Object to form.
               12   that there are really infinite cognitive domains      12          THE WITNESS: I think it's too broad to
               13   one could look at. So in many ways, it's an           13   really be able to answer. It kind of would
               14   unanswerable question.                                14   involve nearly infinite subquestions. So it would
               15          People have looked at different                15   be interesting to see the results of this Delphi
               16   questions, for instance, impact on executive          16   procedure to see what they thought were the
               17   functioning. It does not seem that there's an         17   important subquestions to be answered.
               18   adverse impact.                                       18      Q. (BY MR. RAMER) Do you agree that
               19          There is also a meta-analysis that looked      19   learning the answer to that question could have
               20   mostly at young adults, not adolescents, so           20   important clinical implications?
               21   different, that did find an adverse impact on         21          MS. NOWLIN-SOHL: Object to form.
               22   several cognitive things they looked at.              22          THE WITNESS: Again, it's such a broad
               23          They found an improvement in visual            23   question. I certainly could imagine that there
               24   spatial reasoning among people that took              24   would be subquestions that come out of it that
               25   testosterone.                                         25   would be interesting, but nothing this paper
                                                               Page 195                                                   Page 197

                                                                                                          50 (Pages 194 - 197)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1024
(258 of 288), Page 258 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 258 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 51 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   ultimately does. But I have not seen this           1             "In addition, cognitive/behavioral
                2   particular paper.                                   2      flexibility, a component of executive functioning,
                3       Q. (BY MR. RAMER) So are you -- just to         3      should be measured, given that studies in rodents
                4   understand, are you criticizing the question        4      show ovarian hormones, acting during puberty,
                5   that's in italics there?                            5      program cognitive flexibility by exerting
                6           MS. NOWLIN-SOHL: Object to form;            6      long-lasting effects on excitatory and inhibitory
                7   mischaracterizes prior testimony.                   7      balance in the prefrontal cortex."
                8           THE WITNESS: I think it's a broad           8             Did I read that correctly?
                9   question that is likely designed from more          9          A. Yes.
               10   specific questions.                                10          Q. Do you agree that rodent studies have
               11       Q. (BY MR. RAMER) Do you know -- can you 11            shown that ovarian hormones can have long-lasting
               12   describe any impact -- let me put it this way:     12      effects in brain development?
               13   What can you tell me about the effect of pubertal  13             MS. NOWLIN-SOHL: Object to form;
               14   suppression on transgender children's cognitive    14      foundation.
               15   and neural development?                            15             THE WITNESS: Whether or not a research
               16           MS. NOWLIN-SOHL: Object to form.           16      finding from rodents is going to translate to
               17           THE WITNESS: It appears to result in       17      humans is always very up in the air. I'd have to
               18   improved anxiety, depression, and from the data we 18      look at the specific citation to know the details
               19   have, not impact executive functioning in that     19      of this rodent study.
               20   clinically these young people don't seem to have   20          Q. (BY MR. RAMER) Well, I guess following
               21   major issues in academic functioning.              21      up on that, if a scientist is faced with animal
               22       Q. (BY MR. RAMER) Would you agree that 22              studies reporting that pubertal hormones have
               23   anxiety, depression, executive functioning, and    23      long-lasting effects on brain development,
               24   academic functioning are not necessarily the same 24       shouldn't that scientist conclude there was some
               25   thing as neural and cognitive development?         25      possibility that pubertal hormones may also have
                                                               Page 198                                                   Page 200

                1          MS. NOWLIN-SOHL: Object to form.                1   long-lasting effects on brain development in
                2          THE WITNESS: I think they're aspects of         2   humans?
                3   cognitive development. Again, this is kind of my       3          MS. NOWLIN-SOHL: Object to form.
                4   overall point here, that cognitive neural              4          THE WITNESS: Not necessarily a high
                5   development is such a broad term that it could         5   probability because rodent studies often don't
                6   encompass nearly infinite things.                      6   translate into clinically meaningful measures in
                7       Q. (BY MR. RAMER) So you think -- sorry.           7   humans, but potentially.
                8   So just to confirm that I understand, you think        8       Q. (BY MR. RAMER) I'd like to go to --
                9   that the question that was developed by these          9   well, I guess before seeing this article, which
               10   researchers is so broad that it encompasses an        10   you said you've seen for the first time today,
               11   infinite number of things?                            11   were you aware of references in literature
               12          MS. NOWLIN-SOHL: Object to form;               12   regarding the effect of pubertal suppression on
               13   mischaracterizes prior testimony.                     13   brain development in animals?
               14          THE WITNESS: I don't think this is the         14          MS. NOWLIN-SOHL: Object to form.
               15   question that came out of the Delphi procedure.       15          THE WITNESS: I believe there is one
               16   It looks like this is the question they used to       16   study in sheep that's been referenced.
               17   prompt their Delphi procedure to then see what        17          I mean, the way I think about this
               18   their more specific questions would be.               18   clinically is that these medications have been
               19          I haven't read this paper, but from the        19   around for decades. And generally, anytime
               20   section you showed me, that's what it looks like.     20   there's a medication that's FDA approved and on
               21       Q. (BY MR. RAMER) Let's go to page 253 in         21   the market, there's market surveillance.
               22   this document. Right column, about halfway down       22          And we will often identify if there is a
               23   there's a sentence that begins with "In addition."    23   really serious consequence, and there haven't been
               24   And I'll just read it and ask if I read it            24   any apparent serious -- when I say "apparent,"
               25   correctly.                                            25   adverse consequences from pubertal suppression
                                                               Page 199                                                   Page 201

                                                                                                          51 (Pages 198 - 201)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1025
(259 of 288), Page 259 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 259 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 52 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   that I'm aware of.                                     1       Q. Well, what about the second sentence that
                2          But certainly it's reasonable to do             2   says "any GnRHa-related difference in brain
                3   research to study this more in depth to see if         3   structure is likely to be observed over the long
                4   maybe there are finer, less clinically significant     4   term rather than immediately"?
                5   or obvious impacts.                                    5       A. It's somewhat imprecise. I don't know
                6       Q. (BY MR. RAMER) When you say the                 6   what they mean "over the long term" versus
                7   medications have been around for a while -- I'm        7   "immediately," but I don't have any specific
                8   paraphrasing -- but the use of puberty blockers in     8   objection to the sentence.
                9   particular, the FDA approval is for central            9       Q. And going to 255 in this document, left
               10   precocious puberty, correct?                          10   column, second full paragraph about halfway down
               11       A. Correct.                                       11   that paragraph, there's a sentence that starts
               12       Q. And when treating central precocious           12   with "Yet." And I'll just read these two
               13   puberty, you will eventually cease giving the         13   sentences in this paragraph and ask if I read them
               14   patient puberty blockers and then the patient will    14   correctly first.
               15   then proceed through endogenous puberty, correct?     15          "Yet, evidence suggests an
               16       A. Correct.                                       16   over-occurrence of neurodiversity characteristics,
               17       Q. And so if the question is suppressing          17   (especially related to autism) among
               18   endogenous puberty permanently, and what effect       18   gender-referred youth. The neurodevelopmental
               19   that has on cognition, the fact that puberty          19   impact of pubertal suppression on neurodiverse
               20   blockers have been FDA approved for central           20   gender-diverse youth might well be different than
               21   precocious puberty is irrelevant, correct?            21   in neurotypical gender-diverse youth given
               22          MS. NOWLIN-SOHL: Object to form.               22   variations in neurodevelopmental trajectories
               23          THE WITNESS: I wouldn't call it                23   observed across neurodevelopment conditions."
               24   irrelevant. I think in both circumstances people      24          Did I read that correctly?
               25   are exposed to the medications for a period of        25       A. Yes.
                                                               Page 202                                                   Page 204

                1   time that puberty is suppressed. And then they go      1      Q. Are you aware of any studies researching
                2   through either estrogen or testosterone puberty.       2   the effect of pubertal suppression on
                3      Q. (BY MR. RAMER) Well, you're saying               3   neurodevelopment in adolescents with neurodiverse
                4   estrogen or testosterone puberty. That is not the      4   characteristics?
                5   same thing, necessarily, as endogenous puberty,        5      A. Yes. So the research on the relationship
                6   correct?                                               6   between autism and gender dysphoria has been
                7      A. For any given person, yeah, their                7   controversial about whether or not there is a true
                8   endogenous -- or endogenous puberty, it would be       8   relationship between the two.
                9   estrogen or testosterone puberty, depending on         9          So we published a paper in the Journal of
               10   their sex assigned at birth.                          10   the American Academy of Child and Adolescent
               11      Q. I'd like to go to page 252 in this              11   Psychiatry a few years ago where we looked at the
               12   document. And the left column just about over         12   different studies that looked at whether or not
               13   halfway down the paragraph there's a sentence that    13   there was a co-occurrence between gender dysphoria
               14   starts with the words "The effects." And I'll         14   and autism or vice versus, and pointed out that
               15   read it and ask if I read it correctly.               15   there were a lot of issues with that research.
               16          "The effects of pubertal suppression may       16          So for the research, looking at those
               17   not appear for several years. Any GnRHa-related       17   with gender dysphoria, they would often use
               18   difference in brain structure is likely to be         18   screening instruments like the social
               19   observed over the long term rather than               19   responsiveness scale or the autism quotient. And
               20   immediately."                                         20   they found that trans youth with gender dysphoria
               21          Did I read that correctly?                     21   were more likely to score in the clinical range on
               22      A. Yes.                                            22   those instruments than youth without gender
               23      Q. Do you agree with those statements?             23   dysphoria.
               24      A. I mean it says "may," so hard to argue          24          The problem, as you know, is those
               25   with the sentence.                                    25   instruments are very nonspecific, so as many as
                                                               Page 203                                                   Page 205

                                                                                                         52 (Pages 202 - 205)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1026
(260 of 288), Page 260 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 260 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 53 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   80 percent of the kids who just have social              1   different cognitive outcomes. It could be the
                2   anxiety will score in the clinical range.                2   social responsiveness scale that they looked it.
                3          So for that reason we didn't know are             3   It can look at neuroimaging techniques.
                4   these young people scoring in the clinical range         4       Q. Okay. Exclude the social responsiveness
                5   because they truly have autism? Or is it because         5   scale.
                6   they have other conditions that they're screening        6          Are you aware of any study researching
                7   for in this range too.                                   7   the effect of pubertal suppression on
                8          So that prompted some people to wonder if         8   neurodevelopment in adolescents with neurodiverse
                9   these, quote, autism results were truly a result         9   characteristics?
               10   of autism or if they were a result of minority          10       A. I have to look back at what other
               11   stress or gender dysphoria. So it raised the            11   outcomes that study looked at, but I can't recall.
               12   question of whether or not these supposed autism        12       Q. Okay. Let's go back to -- it was a while
               13   symptoms would improve following gender-affirming       13   ago -- Turban Exhibit 5, which I believe is the
               14   medical care.                                           14   Cass interim report.
               15          And I know there was at least one study          15          And specifically I'd like to go to
               16   that only looked at pubertal suppression for, I         16   page 38. And in the right column there is a
               17   forget how long, a year or two, and looked at how       17   paragraph numbered 3.32. I'm just going to read
               18   the social responsiveness scale changed over time       18   the first sentence and ask if I read it correctly.
               19   after gender-affirming medical treatment.               19          MS. NOWLIN-SOHL: Can you give us one
               20       Q. What is the social responsiveness scale?         20   second, John?
               21       A. Screening instrument for autism that             21          MR. RAMER: Oh, sorry. Yep.
               22   again is somewhat nonspecific, because people with      22          MS. NOWLIN-SOHL: You said 3.32?
               23   other conditions like social anxiety disorder will      23          MR. RAMER: Yeah, so page 38, right
               24   often screen in the clinical range.                     24   column, paragraph numbered 3.32.
               25       Q. So in your previous answer, what question        25          MS. NOWLIN-SOHL: Okay. We are there.
                                                                 Page 206                                                   Page 208

                1   were you answering?                                1             Q. (BY MR. RAMER) Okay. I'll read the
                2       A. You asked if I was aware of any studies     2         first sentence of that paragraph and ask if I read
                3   looking at the impact of gender-affirming medical  3         it correctly.
                4   care among those with neurodivergent               4                 It says "A closely linked concern is the
                5   characteristics like autism.                       5         unknown impacts on development, maturation, and
                6       Q. Well, it was actually specifically are      6         cognition if a child or young person is not
                7   you aware of any study researching the effect of   7         exposed to the physical, psychological,
                8   pubertal suppression on neurodevelopment in        8         physiological, neurochemical, and sexual changes
                9   adolescents with neurodiverse characteristics?     9         that accompany adolescent hormone surges."
               10       A. Autism is a -- neurodiversity is a         10                 Did I read that correctly?
               11   category that includes autism. People often use   11             A. Yes.
               12   "neurodiversity" to reference people who have     12             Q. And do you agree that the impact of
               13   autism characteristics. And so that was a study   13         puberty blockers on the child's developmental
               14   of looking at people who were neurodiverse and    14         cognition is currently unknown?
               15   that they had presumably autism. And they         15                 MS. NOWLIN-SOHL: Object to form.
               16   followed them after pubertal suppression.         16                 THE WITNESS: There are elements of
               17       Q. And so I appreciate that "neurodiverse"    17         neurocognition that have been studied, but we
               18   includes people who have autism.                  18         don't know for every domain of neurocognition.
               19          My question is the study about the effect  19         And I think the same is probably true for the vast
               20   of pubertal suppression on neurodevelopment       20         majority of medications.
               21   specifically in adolescents who are neurodiverse. 21             Q. (BY MR. RAMER) What's your basis for
               22          Aware of any study researching that?       22         that conclusion?
               23       A. What do you mean by "neurodevelopment"? 23                A. That we don't routinely study every
               24       Q. What do you understand that term to mean? 24          medication for every way in which it could impact
               25       A. It's a broad term that could look at       25         every domain of neurocognitive development.
                                                                 Page 207                                                   Page 209

                                                                                                           53 (Pages 206 - 209)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1027
(261 of 288), Page 261 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 261 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 54 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          You know, there's impact to their                 1   hormones?
                2   functioning; there's visual/spatial reasoning;           2          MS. NOWLIN-SOHL: Object to form.
                3   there's verbal fluency; there's different measures       3          THE WITNESS: I can say clinically most
                4   of mathematical ability. There's just so many            4   patients who get pubertal suppression -- well,
                5   different ways you can measure neurocognitive            5   essentially all of them, will later either stop
                6   development, and we don't routinely -- we just           6   pubertal suppression and go through endogenous
                7   don't have research for the vast majority of             7   puberty, or they'll start gender-affirming
                8   medications and how they impact all those                8   hormones.
                9   different domains because there are so many.             9          Generally clinical experience has been
               10       Q. In your testimony --                             10   that those patients do quite well, and we don't
               11       A. If there were -- again, like a                   11   see that they have major cognitive impairments
               12   post-medication surveillance signal that came up        12   that are clinically significant, but I'm not aware
               13   from the FDA showing, wow, we have a lot of             13   of a specific peer-reviewed study looking at that
               14   patients who took this specific medication, and it      14   question, and again would point out that this term
               15   seems like they're having clinically significant        15   "brain maturation" is very vague and not a very
               16   impairment in their neurocognitive domain, that         16   technical term. And so I'm not sure exactly what
               17   would probably prompt that research.                    17   metric of brain maturation you're referencing.
               18          But that's not routinely done for every          18      Q. (BY MR. RAMER) You read this when --
               19   medication. It would be nice if it were, but it's       19   well, when did you read this?
               20   a lot of research and really intensive research to      20      A. I don't remember. Many months ago.
               21   do.                                                     21      Q. And if you thought that the phrase "brain
               22       Q. And so you're saying that for the vast           22   maturation" was vague, did it lead you to want to
               23   majority of medications, we do not know the             23   investigate further what they were talking about?
               24   neurocognitive outcomes from taking those               24          MS. NOWLIN-SOHL: Object to form.
               25   medications; is that right?                             25          THE WITNESS: From this specific
                                                                 Page 210                                                     Page 212

                1           MS. NOWLIN-SOHL: Object to form.                 1   international report, no.
                2           THE WITNESS: We might know some                  2       Q. (BY MR. RAMER) Did anything in this
                3   neurocognitive outcomes, but we don't know the           3   report lead you to do additional investigation?
                4   full range of neurocognitive outcomes.                   4       A. What do you mean by "investigation"?
                5       Q. (BY MR. RAMER) And for pubertal                   5       Q. I mean, did you read something in this
                6   suppression, do we know some neurocognitive              6   report and say, "Oh, that's a valid concern. I
                7   outcomes?                                                7   should look into that"? Or no?
                8       A. I would say we have some mental health            8          MS. NOWLIN-SOHL: Object to form.
                9   outcomes, and we have executive functioning. And         9          THE WITNESS: I don't recall this report
               10   those are the ones that I'm aware of.                   10   bringing up anything relevant to my practice that
               11       Q. So same paragraph, final sentence at the         11   was new or interesting or present any new or
               12   bottom starting with "If." I'll read it and ask         12   interesting data to my practice.
               13   if I read it correctly first.                           13          I remember the most interesting thing
               14           "If pubertal sex hormones are essentially       14   being the description of how care is delivered in
               15   to these brain maturation processes, this raises a      15   the U.K. and how they're changing that. But it
               16   secondary question of whether there is a critical       16   didn't -- I don't recall it presenting any new
               17   time window for the processes to take place or          17   research or concepts that I wasn't previously
               18   whether catch-up is possible when estrogen or           18   familiar with.
               19   testosterone is introduced later."                      19          MR. RAMER: Okay. I'd like to go to
               20           Did I read that correctly?                      20   Turban Exhibit 17. Let me know when you have that
               21       A. Yes.                                             21   in front of you.
               22       Q. Are you aware of any study that addresses        22          MS. NOWLIN-SOHL: Okay.
               23   whether a negative impact on brain maturation due       23          (Deposition Exhibit No. 17 was marked.)
               24   to pubertal blockade can be corrected later if the      24       Q. (BY MR. RAMER) Dr. Turban, do you
               25   child is exposed to either endogenous or cross-sex      25   recognize this document?
                                                                 Page 211                                                     Page 213

                                                                                                             54 (Pages 210 - 213)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1028
(262 of 288), Page 262 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 262 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 55 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       A. Yes.                                              1       A. Yes.
                2       Q. What is it?                                       2       Q. And the fourth one down on this table,
                3       A. I believe this was a report by a U.K.             3   the de Vries study, do you recall, is that also a
                4   government agency looking at the research related        4   study you cite in your declaration?
                5   to pubertal suppression for adolescent gender            5       A. Yes.
                6   dysphoria.                                               6       Q. And the next page, third from the bottom,
                7       Q. And do you understand this to be a                7   the Turban article. And do you recall is this a
                8   systematic review?                                       8   study you cite in your declaration?
                9       A. Yes.                                              9       A. Yes.
               10       Q. And is this something that you've read           10       Q. And did you know the review excluded
               11   before?                                                 11   these studies?
               12       A. Yes.                                             12       A. Yes.
               13       Q. And did you read it in some detail or did        13       Q. And do you disagree with the review's
               14   you skim it?                                            14   conclusion to exclude these studies?
               15       A. When I initially read it, I read it in           15       A. I call it a decision, not a conclusion,
               16   detail.                                                 16   but yes.
               17       Q. And what did you think when you read it?         17       Q. And why?
               18       A. It's been a while, but I remember that --        18       A. Because I think the studies give you
               19   to our point earlier that all a systematic review       19   valuable information. The Achille study, though
               20   really means is that they define their search           20   it doesn't separate GnRH analogues out from the
               21   terms. But then subsequent decisions about which        21   other interventions because it's underpowered when
               22   research you include or don't include can be very       22   it does that, I do think it's valuable information
               23   subjective. I recall them excluding studies that        23   to know when they look at the group that received
               24   I thought were important to include.                    24   gender-affirming medical interventions including
               25       Q. And did this review reach conclusions            25   blockers and hormones that their mental health
                                                                 Page 214                                                  Page 216

                1   that you disagree with?                                  1   improved. I think that that's useful information.
                2        A. It's been a while since I read it, so I'd        2          The de Vries study they excluded, I think
                3   have to ask you if there's a specific line you're        3   may be okay since this report was just interested
                4   referencing.                                             4   in pubertal suppression, but I do think that's an
                5        Q. Well, when you -- the comment you just           5   important paper to know about because it looks at
                6   made about them excluding studies that you thought       6   pubertal suppression followed by gender-affirming
                7   were important, so do you have reason to doubt           7   hormones followed by gender-affirming surgery. So
                8   that the analysis in this document is reliable?          8   it gives you a lot of fresh informational, albeit
                9           MS. NOWLIN-SOHL: Object to form.                 9   not just about puberty blockers.
               10           THE WITNESS: I recall them not including        10          And then our study where it says they
               11   all the studies that they should have included.         11   excluded because it doesn't report separately from
               12        Q. (BY MR. RAMER) And do you know whether          12   other interventions, I'd have to pull up our paper
               13   this systematic review assessed any of the studies      13   again but I'm pretty sure that's not true. I
               14   that you rely on in your declaration?                   14   believe we adjusted for access to gender-affirming
               15        A. I presume it reviews some of them, but          15   hormones.
               16   it's been a while since I've read it.                   16       Q. You don't know as you sit here whether
               17        Q. Okay. Let's go to page 74. And kind of          17   you adjusted for --
               18   middle of the page, you see appendix D entitled         18       A. I just don't want to say on the record
               19   "Excluded Studies Table"?                               19   without double-checking, but do you want to pull
               20        A. Yes.                                            20   up the --
               21        Q. And do you recall whether you cite the          21       Q. No, I think my question is actually,
               22   first study -- let me rephrase.                         22   like, as you sit here, you don't know the answer
               23           Do you recall whether in your declaration       23   to that?
               24   you submitted in this case that you cite the first      24       A. I'm pretty sure, but want to
               25   study listed here?                                      25   double-check.
                                                                 Page 215                                                  Page 217

                                                                                                           55 (Pages 214 - 217)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1029
(263 of 288), Page 263 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 263 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 56 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       Q. Okay. That's sufficient.                        1   subjective and there are different ways you can
                2          Okay. I'd like to go to -- let's stick          2   decide to up score or down score each thing.
                3   with this document and go to page 99. And at the       3          I'd really have to sit down with them and
                4   top it says "Appendix G Grade Profiles."               4   go through it in detail to see how they decided
                5          Do you see that?                                5   for each of the columns. But it doesn't surprise
                6       A. Yes.                                            6   me that on the GRADE supporting system that
                7       Q. And the first study in Table 2 here is          7   prioritizes randomized controlled trials that it
                8   de Vries 2011 study.                                   8   would have ended up in a low, very low category
                9          And you cite that in your declaration,          9   according to that term of art of GRADE scoring.
               10   correct?                                              10       Q. (BY MR. RAMER) If you don't use GRADE,
               11       A. Yes.                                           11   what tool are you using to assess the degree of
               12       Q. And in that table, there's a little            12   bias in this study?
               13   footnote 2. And then you go down to footnote 2        13          MS. NOWLIN-SOHL: Object to form.
               14   and it says "Downgraded one level -- the cohort       14          THE WITNESS: GRADE is not really just
               15   study by de Vries, et al. (2011) was assessed as      15   about bias. I think one part of the GRADE
               16   at high risk of bias (poor quality overall, lack      16   criteria is they look at risk of bias. But I
               17   of binding, and no control group)."                   17   generally look at study by study to go into more
               18          Do you see that?                               18   detail on different types of bias and how they
               19       A. Yes.                                           19   impact the results.
               20       Q. And do you disagree with that assessment?      20       Q. (BY MR. RAMER) Do you use a particular
               21       A. No.                                            21   methodology to assess the degree of bias in a
               22       Q. And then I'd like to go to page 101.           22   study?
               23   Actually, I'm sorry, 102. The following page.         23       A. Depends on the type of bias that you're
               24          And do you see they refer to the Costa         24   looking at. It could be recall bias, selection
               25   2015 study in this table?                             25   bias. They're all managed differently.
                                                               Page 218                                                    Page 220

                1      A. Yes.                                             1          The other thing about the GRADE criteria
                2      Q. And you also cite the Costa 2015 study,          2   is that they -- they grade each individual study,
                3   right?                                                 3   but I find it's useful to look at the body of
                4      A. Yes.                                             4   research as a whole because certain studies are
                5      Q. And if you go to page 106, down at the           5   going to have weaknesses that other studies
                6   very bottom there's another little footnote 1.         6   complement with their strengths, so it's important
                7   And it says "Downgraded one level -- the cohort        7   to look at the full body of research as a whole
                8   study by Costa, et al. (2015) was assessed as at       8   where these individual GRADE scores for different
                9   high risk of bias (poor quality overall, lack of       9   individual studies are true because studies are
               10   binding, and no control group."                       10   going to have strengths and limitations. But it's
               11          Do you see that?                               11   useful within the body of literature as a whole.
               12      A. Yes.                                            12       Q. (BY MR. RAMER) And you mention there
               13      Q. And do you agree with that assessment?          13   were different tools to assess different types of
               14      A. I agree with the lack of binding. I             14   bias.
               15   don't think it's fully accurate to say there          15          What tools do you use?
               16   wasn't a control group.                               16       A. Is there a specific type of bias you're
               17      Q. Do you agree it's at high risk of bias?         17   interested in?
               18      A. It depends on how they're defining that         18       Q. Any of the examples you provided.
               19   term.                                                 19       A. So recall bias, for instance, you would
               20      Q. What if they're defining it in accordance       20   look at the amount of time between when you're
               21   with the GRADE methodology?                           21   asking the person the survey question and when
               22          MS. NOWLIN-SOHL: Object to form.               22   that happened.
               23          THE WITNESS: The thing about GRADE             23          You would look at the salience of the
               24   methodology is there are several categories to go     24   event. People are more likely to have more
               25   through each one, and then it's somewhat              25   intense recall bias if it was a relatively mundane
                                                               Page 219                                                    Page 221

                                                                                                          56 (Pages 218 - 221)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1030
(264 of 288), Page 264 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 264 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 57 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   event from the distant past than they are if it           1   "subjective" talking about the GRADE methodology.
                2   were a very notable event from the somewhat recent        2           What were you referring to?
                3   past.                                                     3      A. That when you go through the categories,
                4       Q. I guess do you use a method to assess              4   like, for instance, bias, indirectness, and
                5   bias? Or do you just read the study and reach a           5   inconsistence, there's subjectivity in how you
                6   conclusion based on your expertise?                       6   apply those criteria on each of those and
                7           MS. NOWLIN-SOHL: Object to form.                  7   discretionary decisions that are made based on the
                8           THE WITNESS: It depends on the type of            8   general guidance that the GRADE system creates.
                9   bias. So if it's recall bias, you're looking, for         9           MR. RAMER: I'd like to turn to Turban
               10   instance, at the number of years between the             10   Exhibit 18, if you have that, Li.
               11   recall and the event, which is quantitative.             11           MS. NOWLIN-SOHL: Yes.
               12           And then secondarily you're assessing how        12          (Deposition Exhibit No. 18 was marked.)
               13   salient that event is.                                   13      Q. (BY MR. RAMER) Okay. And, Dr. Turban,
               14       Q. (BY MR. RAMER) What about a bias for a            14   do you recognize this document?
               15   confounding variable? How do you assess that when        15      A. Yes.
               16   you're reading an individual study?                      16      Q. And what is it?
               17       A. Let's say it's a logistic regression              17      A. This is a report from a U.K. agency
               18   model. You would look at whether or not they             18   looking at the research of gender-affirming
               19   collected that -- the data point for that                19   hormone treatments for adolescent gender
               20   potential confounder and built it into their             20   dysphoria.
               21   statistical model. If they didn't, then there's a        21      Q. And do you understand this to be a
               22   risk of confounding.                                     22   systematic review?
               23       Q. And so do you agree that the evidence             23      A. Yes.
               24   quality for the use of puberty blockers to treat         24      Q. And is this by the same organization as
               25   gender dysphoria is very low on the GRADE scale?         25   the one we were just previously looking at?
                                                                  Page 222                                                      Page 224

                1           MS. NOWLIN-SOHL: Object to form.                  1   Correct?
                2           THE WITNESS: Again, GRADE scaling is a            2       A. Yes.
                3   little difficult because you go through -- and            3       Q. And is this something you've read before?
                4   really you're supposed to have a committee where          4       A. Yes.
                5   you go through each individual one and it's               5       Q. And did you study it closely?
                6   somewhat subjective because there are many                6       A. At the time.
                7   determinations for deciding how to score each             7       Q. And what did you think when you read it?
                8   category, but I will say the way the GRADE scoring        8       A. What I recall, it reviewed studies that I
                9   system is set up, it does really prioritize things        9   generally was already aware of, and I believe
               10   like randomized controlled trials.                       10   similarly had excluded a handful of studies.
               11           So I would expect any group that went            11           I think when I was reading it, it was --
               12   through the GRADE scoring would find that it would       12   it had been published for a while, so I also
               13   be in the low, very low categories.                      13   noticed that there understandably was not
               14       Q. (BY MR. RAMER) And you say GRADE scoring          14   inclusion of important studies that were published
               15   was somewhat subjective.                                 15   after it came out.
               16           Do you think it's more or less subjective        16       Q. Okay. I'd like to go to page 70. And
               17   than you just reading individual studies?                17   toward the bottom there's a bold blue header that
               18           MS. NOWLIN-SOHL: Object to form.                 18   says "Appendix D Excluded Studies Table."
               19           THE WITNESS: I don't understand the              19           Do you see that? Sorry. I missed you.
               20   question.                                                20   Did you see that?
               21       Q. (BY MR. RAMER) What don't you understand          21       A. Yes.
               22   about it?                                                22       Q. And then I'd like to go to page 72. And
               23           MS. NOWLIN-SOHL: Object to form.                 23   the second study listed there, the de Vries 2014
               24           THE WITNESS: Subjective in what way?             24   study. That's a study that you cite in your
               25       Q. (BY MR. RAMER) Well, you used the term            25   declaration, correct?
                                                                  Page 223                                                      Page 225

                                                                                                               57 (Pages 222 - 225)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1031
(265 of 288), Page 265 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 265 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 58 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       A. Correct.                                        1      Q. Do you agree that it will take longer
                2       Q. And then I'd like to go to -- well, and         2   than 5.8 years for some of the effects associated
                3   you were aware that the publishers of this             3   with these hormonal interventions to become
                4   systematic review excluded that study from             4   apparent?
                5   consideration before you cited it in your              5          MS. NOWLIN-SOHL: Object to form.
                6   declaration, correct?                                  6          THE WITNESS: Hard to know. I guess I
                7       A. It's years ago that I read this, but yes,       7   would point out that this isn't uncommon in
                8   I would have at some point been aware of that.         8   medicine. Any medication that was approved by the
                9       Q. And let's go to page 77. And that's             9   FDA in the past few years we're not going to have,
               10   entitled "Appendix E, Evidence Tables."               10   you know, years and years of follow-up data for.
               11          Do you see that?                               11   That's not really unusual in medicine.
               12       A. Yes.                                           12          And it would be unusual to ban the
               13       Q. And there they are discussing the Achille      13   treatment because we didn't have more than six
               14   article that you cite, correct?                       14   years of treatment. It would make it so you had
               15       A. I believe that's how you pronounce it.         15   to ban every treatment every time it was approved
               16       Q. But that's the article that you cite,          16   essentially.
               17   correct?                                              17          But I can't tell you with 100 percent
               18       A. Yes.                                           18   certainty about years past, the data we have.
               19       Q. And then go to page 79. And toward the         19      Q. (BY MR. RAMER) And going to the next
               20   bottom, that's the Allen study that you cite,         20   paragraph below that, the first sentence, just
               21   correct?                                              21   read it, ask if I read it correctly.
               22       A. Correct.                                       22          It says "Most studies included in this
               23       Q. And then 81. And that's the Kaltiala           23   review did not report comorbidities (physical or
               24   study that you cite, correct?                         24   mental health) and no study reported concomitant
               25       A. Yes.                                           25   treatments in detail."
                                                               Page 226                                                   Page 228

                1       Q. And then two more. Page 97. I'm sorry,          1          Did I read that correctly?
                2   page 92, I apologize.                                  2      A. Yeah. I think that's true because this
                3          And that is the Cooper study that you           3   was published prior to some of those other studies
                4   cite, correct?                                         4   that looked at psychotherapy as a potential
                5       A. Yes.                                            5   confounder.
                6       Q. And then page 97 and toward the bottom,         6      Q. But for the record, I read that
                7   that is the de Lara study that you cite, correct?      7   correctly?
                8       A. Yes.                                            8      A. Yes.
                9       Q. I'd like to go back to page 13 of this          9      Q. Okay. And what do you -- well, let me
               10   document. And just above the middle of the page       10   read the next sentence, and then I'll -- my first
               11   there is a bold blue header that says                 11   question will be did I read it correctly.
               12   "Discussion." And then the third paragraph after      12          "Because of this, it is not clear whether
               13   that starts with the words "The included studies."    13   any changes seen were due to gender-affirming
               14   And I'd just like to read that, and I'll ask if I     14   hormones or other treatments the participants may
               15   read it correctly.                                    15   have received."
               16          "The included studies have relatively          16          And did I read that correctly?
               17   short follow-up with an average duration of           17      A. Yes.
               18   treatment with gender-affirming hormones between      18      Q. And is this paragraph describing a
               19   around one year and 5.8 years. Further studies        19   confounding variable like we discussed earlier?
               20   with a longer follow-up are needed to determine       20          MS. NOWLIN-SOHL: Object to form.
               21   the long-term effect of gender-affirming hormones     21          THE WITNESS: Yes.
               22   for children and adolescents with gender              22      Q. (BY MR. RAMER) And the, quote, other
               23   dysphoria."                                           23   treatments in that last sentence could include
               24          Did I read that correctly?                     24   psychotherapy, correct?
               25       A. Yes.                                           25      A. Theoretically, yes. I can't be sure what
                                                               Page 227                                                   Page 229

                                                                                                          58 (Pages 226 - 229)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1032
(266 of 288), Page 266 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 266 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 59 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   they meant, but...                                      1   insufficient?
                2      Q. Well, when you read this, what did you            2          MS. NOWLIN-SOHL: Object to form.
                3   understand it to mean?                                  3          THE WITNESS: I would need a precise
                4      A. That was my best guess, but they didn't           4   definition of what they mean by "insufficient."
                5   say.                                                    5       Q. (BY MR. RAMER) When you read this, did
                6      Q. Could it also include psychiatric                 6   you try to figure out what they meant by
                7   medication?                                             7   "insufficient"?
                8      A. Potentially.                                      8       A. Probably at the time. I don't recall
                9         MR. RAMER: I'd like to now go to Turban           9   what their definition was.
               10   Exhibit 19. And do you have that, Li?                  10       Q. And so you said the article included a
               11         MS. NOWLIN-SOHL: We do.                          11   lot of hyperlinks to very long appendices; is that
               12         MR. RAMER: Great.                                12   right?
               13        (Deposition Exhibit No. 19 was marked.)           13       A. Yes.
               14      Q. (BY MR. RAMER) And, Dr. Turban, have you         14       Q. And did you ever try to analyze those?
               15   seen this document before?                             15       A. I started to, but didn't have time. But
               16      A. I think yes. It's a review article that          16   as I mentioned earlier, a lot of what happens with
               17   was published in, I think, a Swedish medical           17   the systematic review is there are subjective
               18   journal.                                               18   choices made in how you define your search
               19      Q. And have you read this?                          19   terminology, how you decide to exclude and
               20      A. I did read it. It has, if I remember             20   include.
               21   correctly, a lot of hyperlinks to very long            21          So my intention was to go through and
               22   appendices that I have not fully read in detail.       22   better understand their full methodology, but
               23      Q. I'd like to go to page 2280, which is the        23   ultimately I did not have time.
               24   second page of the article. And right column           24       Q. Okay. I'd like to go to -- maybe we're
               25   under Section 2.1, I'll read the first sentence.       25   still on 2280. And in the right column there is a
                                                                Page 230                                                  Page 232

                1          It says "This systematic review                  1   box with key notes and then some bullets below it.
                2   originated from a two-year commissioned work from       2          And the last bullet says "GnRHa treatment
                3   the governmental body of the Swedish agency for         3   in children with gender dysphoria should be
                4   health, technology, assessment, and assessment of       4   considered experimental treatment of individual
                5   social services (SBU)."                                 5   cases rather than standard procedure."
                6          Did I read that correctly?                       6          Did I read that correctly?
                7      A. Yes.                                              7       A. Yes.
                8      Q. And do you understand this article to be          8       Q. And do you disagree with that conclusion?
                9   a systematic review commissioned by the Swedish         9          MS. NOWLIN-SOHL: Object to form.
               10   government?                                            10          THE WITNESS: Again, the terminology they
               11      A. I believe so, yes.                               11   use doesn't have clear definitions, from my
               12      Q. So same page in the very top in the fully        12   perspective, by calling it an experimental
               13   gray box, there is a conclusion. And I'll read it      13   treatment.
               14   and ask if I read it correctly.                        14          I think that we always in medicine are
               15          It says "Evidence to assess the effects         15   considering treatments on a case-by-case basis,
               16   of hormone treatment on the above fields in            16   and for the individual patient we're weighing
               17   children with gender dysphoria is insufficient.        17   risks, benefits, and unknowns, including for
               18   To improve future research, we present the GENDHOR     18   puberty blockers.
               19   checklist, a checklist for studies in gender           19          So it's in line with my clinical practice
               20   dysphoria."                                            20   and I think most people's clinical practices that
               21          Did I read that correctly?                      21   treatment is individualized, and we take things
               22      A. Yes.                                             22   into account for the individual patient.
               23      Q. Do you disagree with the conclusion that         23          I'm not sure what they would mean by
               24   evidence to assess the effects of hormone              24   "standard procedure."
               25   treatment on children with gender dysphoria is         25       Q. (BY MR. RAMER) I'd like to go to 2281 to
                                                                Page 231                                                  Page 233

                                                                                                          59 (Pages 230 - 233)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1033
(267 of 288), Page 267 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 267 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 60 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   the next page, right column, 3.1. And the final        1           Do we want to take a break here?
                2   sentence of that paragraph in 3.1 says "A list of      2           MS. NOWLIN-SOHL: Yeah.
                3   excluded studies is provided at the SBU web page,"     3           THE VIDEOGRAPHER: Okay. So the time is
                4   and then includes a hyperlink.                         4   3:20 p.m. Pacific time, and we are off the record.
                5          Do you see that?                                5         (Break taken from 3:20 p.m. to 3:27 p.m.)
                6      A. Yes.                                             6           THE VIDEOGRAPHER: All right. So we are
                7      Q. All right.                                       7   recording. The time is 3:27 p.m. Pacific time,
                8          MR. RAMER: I'd like to now introduce            8   and we are back on the record.
                9   Turban Exhibit 20 if you have that, Li.                9           MR. RAMER: Okay. Dr. Turban, I'd like
               10          MS. NOWLIN-SOHL: Yes.                          10   to introduce Turban Exhibit 21 if that has
               11         (Deposition Exhibit No. 20 was marked.)         11   arrived.
               12      Q. (BY MR. RAMER) And, Dr. Turban, I will          12           MS. NOWLIN-SOHL: It has not.
               13   represent to you that this document is located at     13           MR. RAMER: Then we'll hold that as
               14   the hyperlink that we just read.                      14   Turban Exhibit 21 just to keep the numbering
               15          And is this one of the long appendices         15   clear, and I'll introduce Turban Exhibit 22.
               16   you were referring to?                                16           MS. NOWLIN-SOHL: Okay. We have that up.
               17      A. It looks a lot nicer than the one I             17           MR. RAMER: Okay. Great.
               18   remember. I wonder if they fixed some of the          18          (Deposition Exhibit No. 22 was marked.)
               19   formatting in translation.                            19       Q. (BY MR. RAMER) And, Dr. Turban, have you
               20      Q. It could be.                                    20   seen this document before?
               21      A. But no, that's fine. It's not very long.        21       A. Yes.
               22      Q. And the -- let's see here.                      22       Q. I'm sorry?
               23          Okay. Can you see in the light blue -- I       23       A. Yes.
               24   won't ask you to read Swedish -- but after the        24       Q. And did you read it?
               25   backslash, it says "Appendix 2 studies excluded       25       A. Yes.
                                                               Page 234                                                    Page 236

                1   due to high risk of bias."                             1       Q. And when was the last time you read it?
                2      A. Yes.                                             2       A. I read this one recently, a few days ago
                3      Q. And do you cite -- let me rephrase.              3   when I was writing my statement.
                4         The first study listed is the Achille            4       Q. And I'd like to go to page 3. And
                5   study you cite, correct?                               5   under -- there's a blue header that says "Caution
                6      A. Yes.                                             6   in the use of hormonal and surgical treatment."
                7      Q. And the second study listed is the Allen         7   And I'll just read the first sentence and ask if I
                8   study you cite, correct?                               8   read it correctly.
                9      A. Yes.                                             9          It says "At group level (i.e., for the
               10      Q. And the third study listed is one of the        10   group of adolescents with gender dysphoria as a
               11   de Vries studies that you cite, correct?              11   whole) the National Board of Health and Welfare
               12      A. Yes.                                            12   currently assesses that the risk of puberty
               13      Q. And at the bottom of this page is the de        13   blockers and gender-affirming treatment are likely
               14   Lara study that you cite, correct?                    14   to outweigh the expected benefits of these
               15      A. Yes.                                            15   treatments."
               16      Q. Dr. Turban, are you aware of any                16          Did I read that correctly?
               17   systematic reviews that have been able to draw        17       A. Yes.
               18   conclusions about the effects of gender-affirming     18       Q. And a little further down on this page,
               19   hormone therapy on suicide?                           19   the second full paragraph -- I guess, sorry. Let
               20      A. Like death from suicide?                        20   me ask first, do you agree that the risks of
               21      Q. Yes.                                            21   puberty blockers and gender-affirming treatment
               22      A. No.                                             22   are likely to outweigh the expected benefits of
               23         MR. RAMER: I think this is a good               23   those treatments?
               24   breaking point. I also think I've been going for      24          MS. NOWLIN-SOHL: Object to form.
               25   about an hour.                                        25          THE WITNESS: They have a strange clause
                                                               Page 235                                                    Page 237

                                                                                                           60 (Pages 234 - 237)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1034
(268 of 288), Page 268 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 268 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 61 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   of "at a group level (i.e., for the group                 1   some other questions we can ask, but you think
                2   adolescents with gender dysphoria)" as a whole.           2   that that first sentence is consistent with the
                3   They say risks likely outweigh the benefits.              3   practice in the United States currently?
                4          This document later goes on to note that           4          MS. NOWLIN-SOHL: Object to form. Object
                5   you should consider these interventions on a              5   to prior mischaracterization of testimony.
                6   case-by-case basis for the individual patient,            6      Q. (BY MR. RAMER) And if that sentence is
                7   which, in my view, is very similar to WPATH               7   just not relevant, that's fine, but just following
                8   guidelines and how we practice. So we conduct             8   up on your answer.
                9   these biopsychosocial evaluations to determine if,        9      A. I think I answered the question that it's
               10   for an individual person, the potential benefits         10   similar between what's written here and what's
               11   outweigh the potential risks.                            11   practiced in the U.S., that we don't, without a
               12          So I would say that sentence, I agree.            12   thoughtful biopsychosocial evaluation, routinely
               13       Q. (BY MR. RAMER) You think that the policy          13   provide gender-affirming medical interventions
               14   set forth by this document is consistent with the        14   without carefully weighing the potential risks
               15   WPATH guidelines?                                        15   against potential benefits for individuals.
               16          MS. NOWLIN-SOHL: Object to the form;              16      Q. On the same page a little further down,
               17   mischaracterizes prior testimony.                        17   second paragraph, there's a sentence that begins
               18          THE WITNESS: I think in that it                   18   with "In revising its recommendations." I just
               19   recommends being very thoughtful about who               19   want to read it and first ask if I read it
               20   receives gender-affirming medical interventions          20   correctly.
               21   but still considering them. I think that's a             21          "In revising its recommendations, the
               22   theme of both.                                           22   National Board of Health and Welfare has taken
               23       Q. (BY MR. RAMER) If Sweden's policy were            23   account of the fact that the efficacy and safety,
               24   implemented in the United States, would treatment        24   benefits, and risks of treatments are not proven,
               25   change at all?                                           25   and that three factors have shifted the balance
                                                                  Page 238                                                      Page 240

                1          MS. NOWLIN-SOHL: Object to form.                   1   between benefit and risk in a negative direction."
                2          THE WITNESS: You'll have to give me a              2          Did I read that correctly?
                3   minute to read it in detail again for any                 3       A. Yes.
                4   potential --                                              4       Q. And the first bullet they list is --
                5      Q. (BY MR. RAMER) Sorry. To read what in               5   refers to "the uncertainty resulting from the lack
                6   detail? That sentence?                                    6   of clarity about the causes that the number of
                7      A. This document of the guidelines. You                7   people diagnosed with gender dysphoria has
                8   wanted me to tell you if the guidelines are               8   continued to rise since the publication of the
                9   essentially identical to what's practiced in the          9   guidelines in 2015, particularly in the 13 to 17
               10   U.S.                                                     10   age group, and especially among people whose
               11      Q. Well, the question I originally asked was          11   registered sex at birth is female."
               12   about the first sentence. Do you agree that the          12          Do you see that?
               13   risks of puberty blockers and gender-affirming           13       A. Yes.
               14   treatment are likely to outweigh the expected            14       Q. And do you agree there's uncertainty
               15   benefits of these treatments?                            15   resulting from the lack of clarity about the cause
               16          And I thought your answer was, well,              16   for the increase of gender dysphoria among
               17   they're talking about the group level. They have         17   adolescents whose registered sex at birth is
               18   this strange clause about the group level. And we        18   female?
               19   don't practice medicine any different here in the        19          MS. NOWLIN-SOHL: Object to form.
               20   United States because we go on an individualized         20          THE WITNESS: I believe I wrote this in
               21   basis.                                                   21   my declaration, but most experts think that the
               22          And so I guess you were extrapolating             22   reason for the increase in referrals to gender
               23   from the first sentence to the practice of care          23   clinics is due to increased public knowledge that
               24   here, and that's why I asked the question. So I          24   these interventions exist.
               25   frankly do not want to take -- you know, I have          25          I believe I cited a paper from the Dutch
                                                                  Page 239                                                      Page 241

                                                                                                              61 (Pages 238 - 241)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1035
(269 of 288), Page 269 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 269 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 62 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   group that noted that the number of referrals that  1             The Brick, et al. study, I'm not sure if
                2   they received increased, but the percentage of      2     I referenced that one or not, that one found of
                3   individuals who presented to the clinic and         3     those who started pubertal suppression, a few of
                4   actually received gender-affirming medical          4     them did not go on to gender-affirming hormones
                5   interventions was low, highlighting that despite    5     for various reasons. Some of them still
                6   the increase of referrals, there's still a          6     identified as transgender; some did not.
                7   stringent process and evaluation on an individual   7             There's also the Wiepjes study where
                8   basis, as I noted, for who actually receives        8     1.9 percent of adolescents who started pubertal
                9   gender-affirming medical interventions.             9     suppression did not go on to gender-affirming
               10          The question of the sex ratio, I believe    10     hormones.
               11   I discussed also. When we look at large data sets  11             So again there is more data known than is
               12   in the United States of community samples, it's    12     provided in this bullet point, and I think the
               13   actually quite close to one to one among trans     13     bullet point is confusing and that it contradicts
               14   youth, how many are sex assigned at birth, male    14     itself. I don't know if it's a translation issue.
               15   versus female.                                     15         Q. Well, with respect to the contradiction,
               16          So there's a lot of research on this        16     you agree there is a distinction between knowing
               17   question.                                          17     the number of individuals who would detransition
               18       Q. (BY MR. RAMER) And so you disagree that 18         and knowing how common it would be for people to
               19   there's a lack of clarity about that?              19     later detransition, correct?
               20          MS. NOWLIN-SOHL: Object to form.            20         A. Would you repeat the question?
               21          THE WITNESS: I think there's more known 21             Q. Is there a distinction between a number
               22   than is explained here.                            22     and a probability is basically the question?
               23       Q. (BY MR. RAMER) In the second -- flipping 23            A. The probability is a number. Sorry. I'm
               24   to the next page, the second bullet states "The    24     not understanding.
               25   documented prevalence among young adults of        25         Q. I guess you're saying the first sentence
                                                              Page 242                                                  Page 244

                1   medical detransition, which is the process by         1   of the bullet point is contradictory because the
                2   which a person discontinues gender-affirming          2   first sentence says "The documented prevalence
                3   medical treatment for any reason or seeks to          3   among young adults," so it's admitting it knows
                4   reverse the medical effects of completed              4   that these people exist.
                5   gender-affirming treatment, according to the SBU,     5           And then the second sentence says "It is
                6   it is not possible to assess how common it is for     6   not possible to assess how common it is."
                7   young people to later change their perception of      7           And I thought your answer was that's
                8   their gender identity or to discontinue a             8   contradictory.
                9   gender-affirming treatment."                          9           And I guess my question is is it really
               10           Did I read that correctly?                   10   contradictory if you know that a certain number of
               11       A. You read it correctly.                        11   people experience something but you also don't
               12       Q. Do you agree that it is not possible to       12   know how common it will be for others to have that
               13   assess how common it is for young people to later    13   same experience?
               14   change their perception of their gender identity?    14       A. The word "prevalence" means how common
               15       A. I think this bullet point is somewhat         15   something is, not just that it exists.
               16   contradictory because it first says that there is    16       Q. And so you think "prevalence" does mean
               17   a documented prevalence of detransition,             17   how common something is?
               18   suggesting that we do know the number, and then it   18       A. In medicine, that's what "prevalence"
               19   goes on to say that it's not possible to know the    19   means.
               20   number.                                              20       Q. And with respect to -- with respect to
               21           There are some studies that have looked      21   determining how common it is for young people to
               22   at that question. The de Vries study followed 55     22   later change their perception of their gender
               23   adolescents through pubertal suppression,            23   identity, is it your testimony that we do have
               24   gender-affirming hormones into young adulthood.      24   good evidence of how common it would be?
               25   None of their gender identities changed.             25           MS. NOWLIN-SOHL: Object to form.
                                                              Page 243                                                  Page 245

                                                                                                        62 (Pages 242 - 245)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1036
(270 of 288), Page 270 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 270 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 63 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          THE WITNESS: We have the studies I just      1   conducting a biopsychosocial evaluation prior to
                2   described.                                          2   proceeding with treatment.
                3      Q. (BY MR. RAMER) And you think those            3           And the second is that treatment is
                4   constitute good evidence for determining how        4   offered in a step-wise fashion from most
                5   common it is for young people to later change       5   reversible to least reversible. So you would
                6   their perception of their gender identity?          6   start with pubertal suppression prior to
                7          MS. NOWLIN-SOHL: Object to form.             7   considering gender-affirming hormones, which are
                8          THE WITNESS: As a scientist, I don't         8   less reversible. And then the last resort would
                9   like words like this that don't have precise        9   be surgery.
               10   meaning, but it is evidence to that question.      10       Q. Does the criteria of the Dutch protocol
               11      Q. (BY MR. RAMER) Do you agree that some 11          require incongruence since childhood?
               12   individuals regret receiving gender-affirming      12       A. I think they've evolved in their practice
               13   medical interventions?                             13   over time. Certainly initially they focused
               14      A. Yes.                                         14   specifically on prepubertal diagnoses of gender
               15      Q. Is it possible to predict beforehand         15   dysphoria, or at least documented history of that,
               16   which individuals will come to regret those        16   but I've not checked in with them recently to know
               17   interventions?                                     17   if that's still a search criterion or not.
               18          MS. NOWLIN-SOHL: Object to form.            18       Q. I'll read the second sentence here and
               19          THE WITNESS: The goal of the                19   ask if I read it correctly.
               20   biopsychosocial evaluation is to understand the    20           It says "The criteria include the
               21   person's biological factors, psychological         21   existence of the incongruence since childhood, the
               22   factors, social environment as much as is          22   stability of gender identity over time, clear
               23   possible. And it's all designed to minimize that   23   distress caused by the onset of puberty, and the
               24   risk, but it's not certain, as with most things in 24   absence of factors that complicate the diagnostic
               25   medicine, to determine with 100 percent certainty. 25   assessment."
                                                             Page 246                                                  Page 248

                1       Q. (BY MR. RAMER) And then staying on this 1               Did I read that correctly?
                2   page, I'd like to go down. There is a section       2       A. Yes.
                3   entitled "Decisions on Treatment in an Individual   3       Q. And so the Swedish government seems to
                4   Case."                                              4   think the criteria for the Dutch protocol does
                5          Do you see that?                             5   include the incongruence since childhood, correct?
                6       A. Yes.                                         6          MS. NOWLIN-SOHL: Object to form.
                7       Q. And I'm going to read the first sentence     7          THE WITNESS: That's what that sentence
                8   and ask if I read it correctly.                     8   is implying. Again, I've not checked with the
                9          It says "To guide the decision on            9   Dutch to know if they still have that element in
               10   puberty-suppressing treatment for an adolescent in 10   place.
               11   Tanner Stage 3 and for gender-affirming hormone 11          Q. (BY MR. RAMER) If -- is that
               12   therapy, the National Board of Health and Welfare 12    requirement -- are the current WPATH guidelines
               13   recommends the criteria whose use has been         13   consistent with that requirement?
               14   documented and monitored within the framework of 14         A. They are certainly influenced by that
               15   the Dutch protocol."                               15   requirement, but they say if there's not a clear
               16          Did I read that correctly?                  16   history of gender incongruence during childhood,
               17       A. Yes.                                        17   then you should extend the biopsychosocial
               18       Q. And can you describe the criteria that      18   assessment process.
               19   has been used for the Dutch protocol?              19       Q. But a patient would be eligible for
               20       A. The WPATH guidelines are modeled off of 20       treatment under the WPATH guidelines even if that
               21   the Dutch protocol. They were the first to         21   patient did not have gender incongruence during
               22   publish in the academic literature their approach  22   childhood, correct?
               23   to these gender-affirming medical interventions    23          MS. NOWLIN-SOHL: Object to form.
               24   for adolescents with gender dysphoria.             24          THE WITNESS: They would need to go
               25          I'd say the biggest themes are, one,        25   through a longer diagnostic assessment process,
                                                             Page 247                                                  Page 249

                                                                                                       63 (Pages 246 - 249)
                                                     Veritext Legal Solutions
                                           Calendar-Idaho@veritext.com 208-343-4004
                                                         App.1037
(271 of 288), Page 271 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 271 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 64 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   but it wouldn't be considered an absolute           1             MS. NOWLIN-SOHL: Object to form;
                2   contraindication, if you will, but something that   2      foundation.
                3   would kind of raise a flag for the medical team to  3             THE WITNESS: I don't know what you mean
                4   proceed with more caution.                          4      by "less available."
                5       Q. (BY MR. RAMER) Did the Dutch protocol 5                 Q. (BY MR. RAMER) Do you treat patients
                6   assess individuals who had a nonbinary gender       6      whose gender identity -- excuse me.
                7   identity?                                           7             Do you treat patients whose gender
                8          MS. NOWLIN-SOHL: Object to form.             8      incongruence arose during adolescence as opposed
                9          THE WITNESS: Historically most of their      9      to during childhood?
               10   patients, I believe, had expressed a binary        10          A. All of my patients I can think of had
               11   understanding of their gender identity. I would    11      some degree of gender incongruence during
               12   be surprised if they haven't also treated patients 12      childhood, but it's not considered an absolute
               13   with nonbinary identities, but I can't say for     13      contraindication.
               14   sure.                                              14             Again, as the WPATH guidelines note, if
               15       Q. (BY MR. RAMER) Well, I guess the studies 15         you had a patient, they would have to meet
               16   that you cite out of the Dutch clinic -- well, no, 16      criteria for gender dysphoria, so they would need
               17   let's do it this way.                              17      to have a gender identity different than their sex
               18          Same page, paragraph below the one we       18      assigned at birth for at least six months. And
               19   were just looking at, first sentence says "The     19      then you would need to extend the diagnostic
               20   documented experience with the Dutch protocol      20      process to better understand the situation.
               21   includes only adolescents with binary gender       21          Q. So your clinical population -- let me
               22   identity. And among participating experts, there   22      rephrase.
               23   is a lack of clinical experience with              23             Your practice would not change if there
               24   puberty-suppressing and gender-affirming hormone 24        was a requirement imposed that patients needed to
               25   therapy with adolescents with nonbinary gender     25      have a history of gender incongruence in
                                                               Page 250                                                  Page 252

                1   identity."                                             1   childhood; is that right?
                2          Did I read that correctly?                      2          MS. NOWLIN-SOHL: Object to form;
                3      A. Yes.                                             3   mischaracterizes prior testimony.
                4      Q. And so are they wrong where they state           4          THE WITNESS: Some of my current patients
                5   the Dutch protocol includes only adolescents with      5   that I can think of, they all had some amount of
                6   binary gender identity?                                6   gender incongruence during childhood. But I can't
                7          MS. NOWLIN-SOHL: Object to form and             7   speak as to what patients I would have in the
                8   foundation.                                            8   future and if all of them would.
                9          THE WITNESS: Again, in the past I think         9          I think the WPATH guidelines, in
               10   the vast majority of their patients had binary        10   acknowledging that there are some patients who
               11   gender identities. I'm not sure if they still         11   come to understand their gender identity later, in
               12   have that requirement in the Dutch clinic.            12   that they explain that you need to extend the
               13      Q. (BY MR. RAMER) Did the individuals in           13   diagnostic process, highlights that patients like
               14   the de Vries 2011 or de Vries 2014 studies have a     14   that do exist.
               15   nonbinary gender identity?                            15          The Journal of Adolescent Health paper we
               16      A. I believe in the 2014 study they all had        16   talked about recently also shows there's a sizable
               17   binary gender identities.                             17   portion of patients like that.
               18          To the 2011 study, I'd have to go back         18          So I think it would be limiting care for
               19   and look at the details of the methodology.           19   those such patients who might need treatment.
               20      Q. If there was a requirement in the United        20       Q. (BY MR. RAMER) Are puberty blockers
               21   States that an adolescent could not obtain            21   available as a treatment for gender dysphoria in
               22   gender-affirming medical interventions unless the     22   the U.K.?
               23   adolescent had a history of gender incongruence       23       A. My understanding is yes. My reading of
               24   since childhood, would gender-affirming medical       24   the Cass Interim Report is that the plan was to
               25   interventions be less available?                      25   close their centralized clinic and open regional
                                                               Page 251                                                  Page 253

                                                                                                         64 (Pages 250 - 253)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1038
(272 of 288), Page 272 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 272 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 65 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   clinics around the country. I don't know what       1        policies that restricted access to
                2   their progress has been in doing that.              2        gender-affirming medical interventions?
                3       Q. So you think that minors with gender         3           A. I read it in the news.
                4   dysphoria can receive puberty blockers at those     4           Q. And did you ever try to research the
                5   regional clinics in the U.K.?                       5        evidentiary basis for that decision?
                6       A. My understanding is that that their plan,    6               MS. NOWLIN-SOHL: Object to form.
                7   to set up regional clinics so that patients could   7               THE WITNESS: I know they commissioned a
                8   access care, and that care could include pubertal   8        report that was criticized by others, but I
                9   suppression.                                        9        personally did not go through it.
               10       Q. So you do not think that access to          10           Q. (BY MR. RAMER) Okay. That's all I have
               11   pubertal suppression in the U.K. is limited to     11        on that one.
               12   research trials?                                   12               And, Dr. Turban, do you consider yourself
               13          MS. NOWLIN-SOHL: Object to form;            13        to be an expert?
               14   mischaracterizes prior testimony.                  14               MS. NOWLIN-SOHL: Object to form.
               15          THE WITNESS: I believe what they said is 15                  THE WITNESS: Are you still there?
               16   that the regional centers should have ongoing data 16           Q. (BY MR. RAMER) I didn't hear you. I'm
               17   collection. So if you would call that the          17        sorry.
               18   clinical trial, then sure.                         18               My question was do you consider yourself
               19       Q. (BY MR. RAMER) Ongoing data collection 19             to be an expert?
               20   on the administration of puberty blockers to treat 20               MS. NOWLIN-SOHL: Same objection.
               21   gender dysphoria?                                  21               THE WITNESS: Do you mean in something
               22       A. I believe it said that the regional         22        specific?
               23   clinic should have ongoing data collection, yes.   23           Q. (BY MR. RAMER) In anything.
               24       Q. And so the regional clinics, your           24           A. I would say I'm an expert in the research
               25   understanding is that they are permitted to        25        regarding the mental health treatment of
                                                                 Page 254                                                    Page 256

                1   provide puberty blockers to adolescents with             1   adolescents and children with gender dysphoria.
                2   gender dysphoria; is that correct?                       2      Q. And are you an endocrinologist?
                3          MS. NOWLIN-SOHL: Object to form. Object           3      A. No.
                4   to the extent that it calls for a legal                  4      Q. Are you a surgeon?
                5   conclusion.                                              5      A. No.
                6          THE WITNESS: I'm not certain if it's              6      Q. Are you a social worker?
                7   physically in that center, but the report makes it       7      A. No.
                8   clear that pubertal suppression is still an option       8      Q. Are you a urologist?
                9   for individual patients, and that the general            9      A. No.
               10   gender dysphoria care is being moved from that          10      Q. Are you a gynecologist?
               11   centralized clinic to regional clinics.                 11      A. I'm not.
               12          MR. RAMER: I'd like to look at -- did            12      Q. Are you a bioethicist?
               13   the Turban Exhibit 21 come through, Li?                 13      A. I've given bioethics grand rounds at Yale
               14          MS. NOWLIN-SOHL: Yes.                            14   and spoken on ethics issues, but it's not my
               15          MR. RAMER: Okay. I'd like to pull up             15   primary area of focus.
               16   Turban Exhibit 21, which has the title "Effects of      16      Q. Are you a neurologist?
               17   Gender-Affirming Therapies and People With Gender       17      A. No.
               18   Dysphoria: Evaluation of the Best Available             18      Q. And could you just briefly describe what
               19   Evidence."                                              19   your current position is?
               20         (Deposition Exhibit No. 21 was marked.)           20      A. I'm an assistant professor of child and
               21       Q. (BY MR. RAMER) And Dr. Turban, have you          21   adolescent psychiatry at the University of
               22   seen this document before?                              22   California San Francisco and affiliate faculty as
               23       A. I have not.                                      23   the chief for health policy studies there.
               24       Q. And were you aware that the Florida              24          I direct our gender psychiatry program in
               25   Agency For Healthcare Administration imposed            25   the area of child and adolescent psychiatry.
                                                                 Page 255                                                    Page 257

                                                                                                            65 (Pages 254 - 257)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1039
(273 of 288), Page 273 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 273 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 66 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1           And I serve as an attending in the eating  1            Q. Sure.
                2   disorder clinic and the adult LGBT psychiatry      2            A. I think that's reference to my
                3   program as well, in addition to my research work.  3        declaration also, that often with gender-affirming
                4       Q. And if that were not enough, are you also   4        interventions, we see improvements of mental
                5   going to be attending law school soon?             5        health but not a complete elimination of mental
                6       A. I'm enrolled in a master's of legal         6        health challenges because although these
                7   studies program.                                   7        treatments improve mental health, these people are
                8       Q. And where is that?                          8        still experiencing minority stress and societal
                9       A. UC Law San Francisco. There's an            9        stigmas that can drive anxiety, depression, et
               10   affiliation with UCSF.                            10        cetera.
               11           MR. RAMER: And, Li, did Turban            11                So if you want to have a study where
               12   Exhibit 23 come through?                          12        you're looking at whether or not the intervention
               13           MS. NOWLIN-SOHL: It did.                  13        improves, you need to either look at whether or
               14          (Deposition Exhibit No. 23 was marked.)    14        not the person improved before and after or
               15       Q. (BY MR. RAMER) And Dr. Turban, do you 15             whether those who received treatment do better
               16   recognize this document?                          16        than those who don't.
               17       A. Yes.                                       17                We've come to expect that you can't use
               18       Q. And what is it?                            18        the general population as the control group
               19       A. This is, like, a popular press article I   19        because though the treatments may improve physical
               20   wrote for a Psychology Today blog.                20        gender dysphoria, we don't expect them to improve
               21       Q. And this was initially published in        21        bullying, discrimination, et cetera.
               22   January of 2022, correct?                         22            Q. So going to the next page for study 7,
               23       A. I do not recall the date.                  23        the final sentence there says "However, because
               24       Q. On the first page below the title and the  24        subjects received psychotherapy, the authors note
               25   subheader, do you see it says "Posted January 24, 25        that the study did not provide direct evidence
                                                                Page 258                                                   Page 260

                1   2022"?                                                  1   that pubertal suppression improves mental health
                2      A. Yes.                                              2   in transgender youth."
                3      Q. And then there's a list of key points.            3           Did I read that correctly?
                4   And then a little further down there's a note that      4       A. Yes. And again, this is why I wouldn't
                5   says "This post was updated on October 11, 2022.        5   take any one study in isolation since they all
                6   In discussions of studies 5, 7, 8, and 10, the          6   have strengths and weaknesses. This was not one
                7   final sentence was appended to include further          7   of the studies that adjusted for psychotherapy. I
                8   information about the study."                           8   think we mentioned earlier some of the ones that
                9          Do you see that?                                 9   did.
               10      A. Yes.                                             10       Q. And so next page, study 10, I believe
               11      Q. And I'd like to go down and just look at         11   this is your own study. And the final sentence
               12   those.                                                 12   says "Of note, this study did not identify
               13          So study No. 5, which I think is the            13   psychotherapy as a potentially confounding
               14   fourth page in the PDF, and that is the Kaltiala       14   variable."
               15   study, correct?                                        15           Did I read that correctly?
               16      A. Yes.                                             16       A. Yes.
               17      Q. And the last sentence says "However, the         17       Q. Was this the one you were struggling to
               18   authors note that gender reassignment is not           18   remember earlier?
               19   enough to improve functioning and relieve              19       A. No. The question was whether or not it
               20   psychiatric comorbidities among adolescents with       20   adjusted for access to gender-affirming hormones.
               21   gender dysphoria," correct?                            21       Q. Which -- the question in the study or the
               22      A. Yes.                                             22   question I had earlier?
               23      Q. And then going to study 7, which is on           23       A. The question I could not recall for sure
               24   the next page --                                       24   is whether or not it adjusted for gender-affirming
               25      A. To clarify --                                    25   hormones, not psychotherapy.
                                                                Page 259                                                   Page 261

                                                                                                           66 (Pages 258 - 261)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1040
(274 of 288), Page 274 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 274 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 67 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       Q. Okay. And then just going back to               1           So they couldn't say one way or another
                2   study 8 on the previous page, the last sentence        2   for those specific subgroups.
                3   there is "Over the course of the study, there was      3           So it doesn't mean that the treatment
                4   a statistically significant decrease in depression     4   worked. It doesn't mean that the treatment
                5   scores in one group, male to female transitioners      5   doesn't work. It just means that their sample
                6   who underwent pubertal suppression only."              6   size got very small and they weren't able to tell
                7           Did I read that correctly?                     7   you one way or another.
                8       A. Yes. I generally wouldn't use the word          8       Q. (BY MR. RAMER) And going back to the
                9   "transitioners." I think these editors -- some of      9   first page of this, the second paragraph, the
               10   these edits were from -- not me but from              10   first sentence, you say -- well, maybe you, maybe
               11   Psychology Today.                                     11   the editors. I guess I'll ask you that.
               12           And the thing about this study is they        12           The sentence says "Since several U.S.
               13   found that overall there was mental health            13   states are introducing legislation to outlaw
               14   improvement, the full group. And then I think         14   gender-affirming medical care this year (despite
               15   when they went and made their subgroups that          15   opposition from just about every major medical
               16   sample size got smaller and smaller and smaller so    16   organization, including the American Medical
               17   they became underpowered to detect most               17   Association, the American Academy of Pediatrics,
               18   statistically significant differences.                18   and the American Psychiatric Association), I
               19       Q. When you say the editors were changing         19   thought this was a good time to review the
               20   things in the document, was there anything else       20   relevant research for you all."
               21   that you can think of that the editors changed        21           Did I read that correctly?
               22   without your approval?                                22       A. Yes.
               23       A. I think several things. The story here         23       Q. Did you write that sentence?
               24   was that there was someone at the Manhattan           24       A. I believe so.
               25   Institute who's been very focused on this blog        25       Q. And why did the introduction of
                                                               Page 262                                                   Page 264

                1   post and I think sent a long series of emails to    1      legislation lead you to think it was a good time
                2   Psychology Today wanting them to add information. 2        to review the relevant research for the readers of
                3           And as it's a blog post, they didn't feel   3      this blog?
                4   it was essential to devote a lot of time going      4          A. Because legislators in several states
                5   back and forth to them, so I left Psychology Today  5      were making false statements that there was not
                6   to do whatever edits they needed to do. And when    6      evidence regarding the benefits of this care, and
                7   I read them, they were generally reasonable.        7      that I thought it was important for constituents
                8       Q. Okay. So for study 8 -- well, just to        8      to know when statements by lawmakers are untrue.
                9   clarify, the individual at the Manhattan            9          Q. Is it fair to say that the -- I'm going
               10   Institute, are you referring to Leor Sapir?        10      to put it this way: In the cases where you have
               11       A. Yes.                                        11      testified as an expert, is it fair to say that the
               12       Q. And for study 8, just to unpack what's      12      laws at issue in those cases were enacted by
               13   going on there, so there was -- am I correct in    13      Republican lawmakers?
               14   reading this to conclude that there was no         14              MS. NOWLIN-SOHL: Object to form;
               15   statistically significant -- start again -- no     15      foundation.
               16   statistically significant decrease in depression   16              THE WITNESS: I believe that's true.
               17   scores for any female to male transitioners in     17              MR. RAMER: And to go back to -- I think
               18   that study; is that right?                         18      I finally have the correction, so I will send
               19           MS. NOWLIN-SOHL: Object to form.           19      that.
               20           THE WITNESS: So again, it's this issue     20          Q. (BY MR. RAMER) Okay. So I will
               21   that you shouldn't -- you can't interpret a lack   21      represent to you that what I am sending is the
               22   of statistically significant findings to mean that 22      correction to the Plos One article entitled
               23   there's not an effect, because when you start      23      "Access to Gender-Affirming Hormones During
               24   looking at smaller and smaller subgroups and parse 24      Adolescence and Mental Health Outcomes Among
               25   out your data, you lose statistical power.         25      Transgender Adults."
                                                               Page 263                                                   Page 265

                                                                                                          67 (Pages 262 - 265)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1041
(275 of 288), Page 275 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 275 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 68 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          And once you receive it, I'll just ask            1   correction -- we might need to open the original
                2   that we kind of pick up where we left off with the       2   paper to see what the cutoff was.
                3   prior version, which is Table 2.                         3       Q. Hold on. What did you say? It has a
                4          MS. NOWLIN-SOHL: So, John, are you                4   what correction?
                5   saying we should open up the prior exhibit as well       5       A. So this is what I was saying earlier that
                6   as the correction?                                       6   we try not to run a lot of comparisons because
                7          MR. RAMER: Oh, no. I was just trying to           7   when you run a lot of comparisons, it increases
                8   explain that we'll use the correction, Turban            8   the probability of you detecting something that
                9   Exhibit 24. And just go to Table 2, which was the        9   looks significant when it's not.
               10   table I was previously asking questions about, and      10          This is one of those papers where we did
               11   then --                                                 11   run a lot of analyses. So when you do that, you
               12          MS. NOWLIN-SOHL: Got it. Okay. We're             12   do something called a Bonferroni correction where
               13   still waiting on it, but I'll let you know when we      13   it takes into account how many things you looked
               14   have it.                                                14   at.
               15          MR. RAMER: Okay.                                 15          And the more statistical comparisons you
               16          Okay. Are we still waiting?                      16   make, the stricter it makes your statistical
               17          MS. NOWLIN-SOHL: We are.                         17   cutoff. So I need to look at what that number was
               18          MR. RAMER: We actually probably have             18   from the original paper.
               19   about an hour left on the clock would be my guess.      19       Q. When you say "what that number was," are
               20          Do you want to take a final break here?          20   you referring to the threshold you're using?
               21   Or if it's arrived, we can just continue.               21       A. Correct.
               22          MS. NOWLIN-SOHL: Yeah, let's do a                22       Q. So the P-value for the data in this row
               23   five-minute break.                                      23   where it says "less than .0001," I mean, that's
               24          MR. RAMER: Okay.                                 24   going to be --
               25          THE VIDEOGRAPHER: Okay. So the time is           25       A. So those would all clearly meet the
                                                                 Page 266                                                    Page 268

                1   4:07 p.m. Pacific time, and we are off the record.  1        threshold, but if you wanted to go through more, I
                2        (Break taken from 4:07 p.m. to 4:13 p.m.)      2        would need to look up what the threshold was.
                3          THE VIDEOGRAPHER: All right. So we are 3                  Q. Maybe we should do that. So that was --
                4   recording. The time is 4:13 p.m. Pacific, and we    4        the original, pre-corrections, was Turban
                5   are back on the record.                             5        Exhibit 11, I believe.
                6         (Deposition Exhibit No. 24 was marked.)       6                And you would typically report your
                7      Q. (BY MR. RAMER) Okay. And, Dr. Turban, 7                threshold of statistical significance down in the
                8   do you have -- well, I'll introduce Turban          8        statistical analyses, I would assume?
                9   Exhibit 24.                                         9            A. Yes.
               10          And does this appear to be the correction   10            Q. So that's down on page 4.
               11   you were referring to earlier today?               11            A. So it was .001.
               12      A. Yes.                                         12            Q. And where are you seeing that?
               13      Q. And I'd like to go down to page 4 and        13            A. Page 5 at the top.
               14   Table 2, and I just want to understand.            14            Q. Oh, okay. Gotcha. Okay. So the --
               15          The first row of this chart is basically    15        okay. So the threshold you were using was .001.
               16   showing that exposure to GAH, or gender-affirming 16                 Now going back to what is Turban
               17   hormones, is associated with lower odds of past    17        Exhibit 24, the correction, we can see that the
               18   year suicidal ideation; is that right?             18        P-values on those returns is less than .0001, so
               19      A. Yes.                                         19        clearly below the threshold for statistical
               20      Q. And the way to understand that is because    20        significance, correct?
               21   the adjusted odds ratio for those categories are   21            A. Yes.
               22   less than one, and you've hit your statistical     22            Q. Okay. And just staying on this row, in
               23   significance threshold of less than .0001; is that 23        looking at the first group, so those who accessed
               24   right?                                             24        gender-affirming hormones at age 13 through 15,
               25      A. I believe this paper has a bottom            25        you have an adjusted odds ratio of .4.
                                                                 Page 267                                                    Page 269

                                                                                                            68 (Pages 266 - 269)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1042
(276 of 288), Page 276 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 276 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 69 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          Do you see that?                                   1   somebody had asked us to do that, and I think we
                2       A. Yes.                                               2   did it. But I don't remember the results, to be
                3       Q. And in plain English, to the extent these          3   honest.
                4   things can be explained in plain English, does            4       Q. And so you don't recall whether there
                5   that basically mean that exposure to                      5   were any differences in outcomes based on whether
                6   gender-affirming hormones at ages 13 to 15 is             6   the individual received testosterone or estrogen;
                7   associated with a 60 percent decrease in reporting        7   is that right?
                8   past year suicidal ideation?                              8       A. I remember it cutting a lot of the sample
                9       A. 60 percent lower odds.                             9   sizes in half, so we lost a lot of the statistical
               10       Q. Okay. So you're 60 percent less likely            10   power. So it's a little bit harder to interpret
               11   to report that. Is that --                               11   the results, but I don't remember the specifics.
               12       A. Odds ratios are a little less intuitive           12   Because as you can see, for every single statement
               13   than that, but I would say the odds ratio was            13   here, we ran a ton of analyses.
               14   60 percent less.                                         14       Q. And do you think there could be a
               15       Q. Okay. If we go down to -- if we go down           15   difference in outcomes based on whether the
               16   a row to "Past Year Suicidal Ideation With Plan,"        16   individual received testosterone or estrogen?
               17   the odds ratios on this one all kind of hover            17       A. Potentially.
               18   around one, and the P-values do not really come          18          MS. NOWLIN-SOHL: Object to form.
               19   close to statistical significance.                       19          THE WITNESS: Sorry. Potentially.
               20          So basically we can't really draw any             20       Q. (BY MR. RAMER) And why?
               21   conclusions from that row; is that right?                21       A. I mean, just theoretically, when you
               22       A. Correct, one way or another.                      22   break groups up by different characteristics, it
               23       Q. And then going down to the fourth row,            23   could be that certain groups respond to things
               24   past year's suicide attempt requiring inpatient          24   differently than others, but hard to know.
               25   hospitalization, and with respect to the middle          25          I would expect so, based on clinical
                                                                  Page 270                                                      Page 272

                1   group, which accessed gender-affirming hormones at        1   experience and the general phenomenology of gender
                2   ages 16 or 17, there you have an adjusted odds            2   dysphoria.
                3   ratio of 2.2, correct?                                    3       Q. What are --
                4       A. The P-value is .01, so the -- you can't            4       A. It's a few different things. So clinical
                5   interpret it. It doesn't mean anything. It's not          5   experience we generally see, both for assigned
                6   statistically significant, so it doesn't tell you         6   males and for assigned females, tend to improve.
                7   anything one way or another.                              7          And then in terms of just the
                8       Q. And you would decline to use any sort of           8   phenomenology of gender dysphoria, we know a lot
                9   terminology like "trending towards statistical            9   of the distress is from one's physical body not
               10   significance," correct?                                  10   aligning with the secondary sex characteristics of
               11       A. No. That's technically incorrect.                 11   one's gender identity. So our hypothesis would be
               12       Q. Wait. What? No, I'm asking if you would           12   that both would help with that.
               13   use that term. And I thought --                          13          That being said, testosterone is a
               14       A. I would not. That's not appropriate               14   stronger hormone than estrogen, so its physical
               15   statistical terminology.                                 15   effects become apparent more quickly than
               16       Q. And for this paper generally, did you             16   estrogen, and it has more physical effects than
               17   ever break out data by sex assigned at birth?            17   estrogen does.
               18       A. So in the original paper, we did not.             18          So it's possible that those assigned
               19   Again, because the more comparisons you make, the        19   female at birth who were taking testosterone might
               20   more you need to do that Bonferroni correction           20   have more robust or earlier improvement, but the
               21   that makes your levels for statistical                   21   hypothesis would be that both would improve but
               22   significance more and more stringent. And if you         22   not necessarily at the same rate or to the same
               23   go too far with that, then essentially nothing           23   degree.
               24   works.                                                   24          MR. RAMER: And, Li, do you have Turban
               25           I believe as part of the correction,             25   Exhibit 25?
                                                                  Page 271                                                      Page 273

                                                                                                               69 (Pages 270 - 273)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1043
(277 of 288), Page 277 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 277 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 70 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1           MS. NOWLIN-SOHL: I believe so. Yes.         1         take care of know that it's not a universal view
                2          (Deposition Exhibit No. 25 was marked.)      2         that people think that they should be forced to
                3       Q. (BY MR. RAMER) And, Dr. Turban, do you 3               hide or that any symbols that represent that they
                4   have a -- an account on the website formerly known 4          should be proud of themselves should be removed
                5   as Twitter, now known as X?                         5         from public life.
                6       A. Yes.                                         6             Q. Do you think the legislators who enacted
                7       Q. And is your handle @jack_turban?             7         the law at issue in this case hate LGBTQ people?
                8       A. Yes.                                         8                MS. NOWLIN-SOHL: Object to form;
                9       Q. And do you have Exhibit 25 in front of       9         foundation.
               10   you?                                               10                THE WITNESS: Admittedly, I didn't follow
               11       A. Yes.                                        11         the legislative debates about this specific law in
               12       Q. And is this a Tweet that you sent?          12         Idaho, so I don't even know who introduced it.
               13       A. Yes.                                        13             Q. (BY MR. RAMER) So you think that
               14       Q. And I'll just read it first and then ask    14         somebody could support legislation like the law at
               15   if I read it correctly. It says "I'm really sick   15         issue in this case without hating LGBTQ people?
               16   of the #GOP's creative ways of signaling bigotry.  16                MS. NOWLIN-SOHL: Object to form;
               17   They don't care about the flag. They just want to  17         foundation, mischaracterizes prior testimony.
               18   signal that they: (1) hate #LGBTQ people, (2)      18                THE WITNESS: I don't think I can say
               19   want them to shut up and hide, and (3) want to     19         anything about the motivations of the people who
               20   (and feel entitled to) have power over them. It's  20         introduced this specific bill. I think it's
               21   gross."                                            21         possible that they were provided with
               22           Did I read that correctly?                 22         misinformation about the care that maybe led them
               23       A. Yes.                                        23         to want to introduce it, but I've not spoken with
               24       Q. Do you think that Republicans hate LGBTQ 24            them about their motivations.
               25   people?                                            25             Q. (BY MR. RAMER) And so you think that the
                                                                  Page 274                                                      Page 276

                1       A. So this Tweet --                                   1   legislators that you were referring to in this
                2          MS. NOWLIN-SOHL: Object to form.                   2   Tweet about the flag -- and sorry. Where was
                3          THE WITNESS: This Tweet was specifically           3   that, the flag episode that you were describing?
                4   in reference to several GOP members not wanting           4       A. This was back in June. I don't recall
                5   the LGBT Pride flag to be hung at certain events.         5   the specifics.
                6   And they were arguing that they felt that having          6       Q. It was back just a few months ago. You
                7   the flag -- the LGBTQ flag raised in certain              7   don't recall, like, what state? Was it Congress?
                8   places was disrespectful to the American flag,            8       A. There have been many instances like this
                9   which in my mind, that specific view of wanting to        9   over the past several months. I wish this one
               10   erase a symbol of LGBTQ people from public spaces        10   stood out more than others, but no, I don't
               11   was a creative way of wanting to force LGBTQ             11   remember this specific instance in June.
               12   people to hide or not be visible in society or           12           MR. RAMER: And I'd like to go to Turban
               13   telling them that they need to hide the symbols          13   Exhibit 26.
               14   that represented them.                                   14          (Deposition Exhibit No. 26 was marked.)
               15          So it's not a broad statement about all           15       Q. (BY MR. RAMER) And do you have that up?
               16   members of that political party, but in a specific       16       A. Yes.
               17   instance where people were very actively trying to       17       Q. And I'll just read this one again and ask
               18   eliminate any symbol of LGBT people from public          18   if I read it correctly.
               19   spaces, I did feel that that was a creative way of       19           "Republicans don't believe in freedom of
               20   trying to exercise power over that population,           20   speech. They silenced an elected representative
               21   which includes a lot of young patients I take care       21   because she disagreed with them on the House
               22   of who are very vulnerable and are impacted by           22   floor. It's not a coincidence that she's
               23   those messages.                                          23   transgender. They are steadfast in silencing and
               24          And I think it was important for that to          24   attacking trans Americans. American democracy is
               25   be voiced, particularly so these young patients I        25   dead."
                                                                  Page 275                                                      Page 277

                                                                                                              70 (Pages 274 - 277)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1044
(278 of 288), Page 278 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 278 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 71 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          Did I read that correctly?                   1      democracy is dead?
                2       A. Yes, with a -- there's a statement below     2              MS. NOWLIN-SOHL: Object to form.
                3   it from the representative who was forced to stop   3              THE WITNESS: I think it's very scary
                4   speaking on the House floor.                        4      that politicians would weaponize the government to
                5       Q. Do you think that Republicans are            5      silence elected representatives from being able to
                6   steadfast in attacking trans Americans?             6      speak on legislation.
                7          MS. NOWLIN-SOHL: Object to form.             7              And as someone who's aware that often
                8          THE WITNESS: I think there's been a          8      physicians don't do a good job sharing evidence
                9   clear rise in legislation that is not evidence      9      broadly and that often the information that we
               10   based and goes against the broad consensus in      10      have and this research and peer-reviewed journals
               11   medicine about how we can help these young people 11       doesn't always make its way into legislative
               12   I'm responsible for taking care of. And I have     12      debates, it's scary to imagine that the few ways
               13   been watching more and more legislation being      13      in which that research and data is supposed to get
               14   introduced that is harmful to them and that is     14      into the law-making process is in some instances
               15   concerning to me.                                  15      being prevented.
               16       Q. (BY MR. RAMER) Do you think supporters 16                   MR. RAMER: And I'd like to go to Turban
               17   of that legislation are attacking trans Americans? 17      Exhibit 27.
               18          MS. NOWLIN-SOHL: Object to form.            18             (Deposition Exhibit No. 27 was marked.)
               19          THE WITNESS: Again, I can't speak to        19          Q. (BY MR. RAMER) And do you have that up?
               20   every individual who's introducing legislation,    20          A. Yes.
               21   but I can tell you it's legislation where the      21          Q. And I'll just read it first and then ask
               22   evidence suggests that it's going to be harmful to 22      if I read it correctly.
               23   this population.                                   23              "Our country is dying and the GOP is
               24          And it's very sad to me to watch that       24      killing it. They are abusing power to attack
               25   non-evidence-based legislation be pushed forward 25        minorities, then demand that they stand silent
                                                               Page 278                                                     Page 280

                1   when all the evidence we have suggests that it's       1   while attacked. We've seen this before in
                2   going to be harmful to the young patients that I       2   history, and it's never ended well."
                3   take care of.                                          3          Did I read that part of the Tweet
                4       Q. (BY MR. RAMER) You said the previous            4   correctly?
                5   Tweet was not a categorical statement.                 5       A. I'll have to read the screenshot below it
                6          Is this Tweet where you say "Republicans        6   to know what the context was, but you read the
                7   are steadfast in attracting" -- excuse me.             7   part above the screenshot correct.
                8          "Republicans are steadfast in attacking         8       Q. And do you think that the GOP is killing
                9   trans Americans," is that a categorical statement?     9   our country?
               10          MS. NOWLIN-SOHL: Object to form;               10          MS. NOWLIN-SOHL: Object to form.
               11   mischaracterizes prior testimony.                     11          THE WITNESS: I'll need a second to read
               12          THE WITNESS: This, again, was in               12   the part you didn't read.
               13   response to a specific instance that is described     13       Q. (BY MR. RAMER) Okay.
               14   in the screenshot below the Tweet in which a bill     14       A. Okay. This seems like the same -- a
               15   was being discussed that would impact trans youth.    15   reference to the same situation as the last Tweet,
               16          And there was a representative who was         16   which, again, I think was very concerning that
               17   trying to share information about the research and    17   there was a member of this legislative body trying
               18   evidence about why that legislation would be          18   to share research and data about -- I think in
               19   harmful to young people.                              19   this case it was a ban on gender-affirming medical
               20          And these Republican lawmakers in              20   care for adolescents being dangerous.
               21   question voted to ban her from the House floor to     21          And they used different techniques to
               22   prevent her from making any more comments about       22   eventually silence that representative from being
               23   the evidence behind why this legislation was          23   able to share that information.
               24   potentially dangerous.                                24          And I think the representatives who did
               25       Q. (BY MR. RAMER) And do you think American       25   that and actively worked to try and remove
                                                               Page 279                                                     Page 281

                                                                                                           71 (Pages 278 - 281)
                                                       Veritext Legal Solutions
                                             Calendar-Idaho@veritext.com 208-343-4004
                                                           App.1045
(279 of 288), Page 279 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 279 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 72 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   evidence from debates about health policy that            1   and answered.
                2   impact young people are dangerous.                        2          THE WITNESS: I think I answered the
                3           I think when public policy doesn't                3   question.
                4   consider research and evidence and isn't based on         4      Q. (BY MR. RAMER) Are you refusing to
                5   science and data, that that's dangerous.                  5   answer the question yes or no of whether you think
                6           And as somebody who spends all of my time         6   that those certain GOP lawmakers who you just
                7   working with young people who are impacted by this        7   referenced are killing our country?
                8   legislation and it's my responsibility to protect         8          MS. NOWLIN-SOHL: Object to form;
                9   their mental health and make sure that they do            9   argumentative, asked and answered.
               10   well, I think it's important to call out when laws       10          THE WITNESS: I don't think it's a
               11   are being passed that aren't based on research and       11   yes-or-no question, and I think I answered the
               12   evidence and are not in the best interest of young       12   question.
               13   people based on what we know about the science.          13          MR. RAMER: All right. Let's go to
               14        Q. And in the first sentence of the Tweet           14   Turban Exhibit 28.
               15   you say, "Our country is dying, and the GOP is           15         (Deposition Exhibit No. 28 was marked.)
               16   killing it."                                             16      Q. (BY MR. RAMER) Do you have that up?
               17           And my question is do you think that is          17      A. Yes.
               18   true?                                                    18      Q. I'll just read this and then ask if I
               19           MS. NOWLIN-SOHL: Object to form; asked           19   read it correctly.
               20   and answered.                                            20          "I should clarify. I don't hate all
               21           THE WITNESS: I think I already answered          21   conservatives," exclamation point. "Mostly just
               22   that question.                                           22   the aggressive anti-trans Heritage folks," heart
               23        Q. (BY MR. RAMER) I don't think you did.            23   emoji. "I should use more precise terminology for
               24   I'll just ask it again.                                  24   my haters."
               25           And you say, "Our country is dying, and          25          Did I read that correctly?
                                                                  Page 282                                                   Page 284

                1   the GOP is killing it."                           1               A. Yes.
                2          And my question is do you think that is    2               Q. And what are anti-trans Heritage folks?
                3   true?                                             3               A. I don't recall the specific context of
                4          MS. NOWLIN-SOHL: Object to form; asked 4               this Tweet, but presumably it was someone similar
                5   and answered.                                     5           to this line of questioning accusing me of hating
                6          THE WITNESS: Again, this was a reference 6             all conservatives.
                7   to a situation in which certain GOP lawmakers     7                  I have many conservative friends. I have
                8   eliminated evidence that was important to be      8           all throughout my education. I'm very close with
                9   discussed and made sure that scientific evidence  9           conservatives and people across the political
               10   didn't enter discussion about laws that would    10           spectrum.
               11   impact the mental health of young people who I'm 11                  At the end of the day I work as a child
               12   responsible for taking care of.                  12           psychiatrist who takes care of a specific
               13          And I think that is a sad sign for our    13           population that I care deeply, which are the young
               14   country that we're pushing forward legislation   14           transgender youth.
               15   that's not based in science and evidence,        15                  There are individuals at the Heritage
               16   particularly when the stakes are as high as the  16           Foundation who intermittently have passed
               17   mental health of young people.                   17           misinformation or said things about this
               18       Q. (BY MR. RAMER) And do you think those 18               population or the research regarding them that's
               19   certain GOP lawmakers are killing our country?   19           not true, and it is very upsetting for me to see
               20          MS. NOWLIN-SOHL: Object to form; asked 20              people spread misinformation that's going to hurt
               21   and answered.                                    21           the young patients that I take care of.
               22          THE WITNESS: I think I answered the       22                  So again, this is meant to clarify -- I
               23   question.                                        23           think the line of questioning that you're going
               24       Q. (BY MR. RAMER) Yes or no.                 24           after is whether or not I have an issue with a
               25          MS. NOWLIN-SOHL: Object to form; asked 25              certain political party. And this Tweet is
                                                                  Page 283                                                   Page 285

                                                                                                             72 (Pages 282 - 285)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1046
(280 of 288), Page 280 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 280 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 73 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   highlighting that I don't at all, but I do very     1     opinion on everyone at the Heritage Foundation as
                2   much have a problem with attacks on young patients 2      I know very few of them.
                3   and the research that's designed to improve their   3         Q. (BY MR. RAMER) Would you put Leor Sapir
                4   mental health and keep them safe.                   4     into this bucket?
                5      Q. Who are the individuals at the Heritage       5             MS. NOWLIN-SOHL: Object to the form.
                6   Foundation you were referencing?                    6             THE WITNESS: I wasn't aware that he
                7      A. Honestly, I haven't seen reports from         7     worked at the Heritage Foundation.
                8   them for a while. This is from back in 2020. I      8         Q. (BY MR. RAMER) I'm not saying he does.
                9   think at the time they were issuing individual      9     I'm saying would you classify Leor Sapir as
               10   reports that were non-peer-reviewed scientific     10     somebody who is spreading misinformation?
               11   research to spread misinformation about various    11         A. I haven't really seen something from him
               12   forms of gender care for young people.             12     recently.
               13      Q. And so you do hate those people?             13             Is there some specific report that he
               14         MS. NOWLIN-SOHL: Object to form;             14     issued that you want me to comment on?
               15   mischaracterizes prior testimony.                  15         Q. No, I'm just asking in general.
               16         THE WITNESS: I have a strong negative        16         A. I can't think of something specific. I
               17   feeling towards people spreading misinformation    17     know I've seen him spread things in the past that
               18   that would result in public policies that would    18     I didn't think were accurate or true, but I can't
               19   harm young people.                                 19     think of anything recently.
               20      Q. (BY MR. RAMER) Is there anyone else you 20              Q. And a few times today you've discussed
               21   can think of you would group into the Heritage     21     the "minority stress." I don't know if you called
               22   Foundation bucket?                                 22     it a theory or minority stress -- a principle of
               23         MS. NOWLIN-SOHL: Object to form.             23     minority stress.
               24         THE WITNESS: I think it's a large group,     24             Just as a general matter, can you explain
               25   but specifically I believe this was years ago, and 25     that to me?
                                                              Page 286                                                    Page 288

                1   it was in reference to somebody who had written a     1      A. So minority stress is a framework that
                2   supposed research paper that they didn't submit to    2   was described by Ilan Meyer at UCLA initially used
                3   peer review, which is the standard process for        3   to described why we see mental health disparities
                4   making sure that scientific research is valid and     4   among sexual minorities to include bisexual
                5   the sort of thing that should influence public        5   cisgender men.
                6   policy because it's been checked by experts to be     6          And it describes distal factors and
                7   valid.                                                7   proximal factors. Distal factors are factors from
                8          And this person attempted to circumvent        8   the outside world that impact one's mental health,
                9   that process to spread the misinformation that        9   so things like harassment based on your sexual
               10   could have had the potential to promote public       10   orientation, discrimination, violence.
               11   policy that could have been harmful.                 11          Both described that over time, those
               12       Q. (BY MR. RAMER) When you say "it's a           12   external factors can drive internal factors,
               13   large group," what do you mean by that?              13   things like internalized homophobia, feeling that
               14       A. I mean there are many people that work at     14   you need to conceal your identity like we
               15   the Heritage Foundation, and I do not know all of    15   discussed earlier, and anticipatory anxiety where
               16   them.                                                16   people develop a constant fear that they're going
               17       Q. So is your hate only directed at the          17   to be victims of that past discrimination again in
               18   Heritage Foundation?                                 18   the future even if they're in a safe environment.
               19          MS. NOWLIN-SOHL: Object to form;              19   And they may have trouble calibrating when they're
               20   mischaracterizes prior testimony.                    20   safe and when they're not, which can drive
               21          THE WITNESS: As I just said, my hate or       21   anxiety.
               22   anger was towards the specific action that I         22          That model was later adopted for trans
               23   thought had the potential to harm young people and   23   people in the gender minority stress model
               24   lead to public policies that were harmful.           24   by Hendricks and Testa that has essentially
               25          And I wouldn't be able to give you an         25   analogous proximal and distal factors described.
                                                              Page 287                                                    Page 289

                                                                                                         73 (Pages 286 - 289)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1047
(281 of 288), Page 281 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 281 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 74 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       Q. Did external factors ever drive internal           1          So in this case, it was, I believe, go
                2   factors --                                                2   back to living as your sex assigned at birth at
                3          MS. NOWLIN-SOHL: Object to form.                   3   least for some time, so it didn't necessarily
                4          MR. RAMER: Sorry. I'm just talking                 4   imply that their gender identity changed, but
                5   slowly.                                                   5   their gender expression changed or, quote, they
                6       Q. (BY MR. RAMER) Can external factors ever           6   went into the closet, to use that colloquialism.
                7   drive internal factors to lead someone to identify        7      Q. Well, gender identity never changes,
                8   as transgender?                                           8   correct?
                9          MS. NOWLIN-SOHL: Object to form.                   9          MS. NOWLIN-SOHL: Object to form.
               10          THE WITNESS: Are you asking if -- what            10          THE WITNESS: So as we talked about
               11   kind of external factor? Like a sexual minority          11   earlier, that core, biologically determined gender
               12   stress external factor?                                  12   identity is not the way in which one ascribes body
               13       Q. (BY MR. RAMER) Well, I guess do you               13   language to it or sexualizes or understands it.
               14   think that external factors for -- let me back up.       14      Q. (BY MR. RAMER) And so the -- is living
               15          Somebody who identifies as transgender            15   as your sex assigned at birth different from
               16   and then at some point ceases identifying as             16   identifying as cisgender?
               17   transgender, the reason they can do that could be        17      A. Yes.
               18   for a number of external factors such as                 18      Q. How so?
               19   discrimination, correct?                                 19      A. One may still identify as transgender but
               20          MS. NOWLIN-SOHL: Object to form.                  20   be somewhere where it wouldn't be safe to tell
               21          THE WITNESS: I'm trying to understand             21   people that or be open about it, so they may
               22   the question.                                            22   present to the world as cisgender due to fear that
               23       Q. (BY MR. RAMER) Well, were there                   23   they would be subject to violence or harassment or
               24   individuals who responded to the U.S. Transgender        24   other maltreatment if they were to be openly
               25   Survey who said that they detransitioned at some         25   transgender.
                                                                  Page 290                                                   Page 292

                1   point in their life?                                      1      Q. And so what you were measuring -- or I
                2      A. Yes.                                                2   guess is this the point that you're making that
                3      Q. And what would you say are the                      3   the word "detransition" is complex?
                4   explanations for why they would detransition at           4      A. It can represent a broad heterogenous
                5   some point in their life?                                 5   range of experiences.
                6      A. So we published a paper on this that you            6          And when looking at the academic
                7   might be referencing in LGBT Health, I believe, in        7   research, it's important to look at how it's
                8   2021. I don't have the numbers in front of me,            8   defined.
                9   but we found that a substantial proportion of             9          Sometimes people will conflate
               10   trans adults, so people who currently are living         10   detransition with regret, or conflate detransition
               11   their lives in their gender identity, had                11   with the changing gender identity understanding.
               12   transitioned, at some point in the past                  12   So it's important to look at how the individual
               13   detransitioned. So it was presumably temporary           13   study really defines it.
               14   because they're now living as trans adults.              14      Q. And what was the last one you said,
               15           I want to say it was maybe somewhere             15   change in gender identity understanding? Is that
               16   between 10 and 15 percent said that they had that        16   right?
               17   experience in the past. And of those,                    17      A. Yeah, the way in which they conceptualize
               18   82.5 percent of them said it was due to at least         18   their gender identity.
               19   one external factor, so things like harassment and       19      Q. And could somebody -- could a transgender
               20   discrimination.                                          20   individual cease identifying as transgender for
               21      Q. And so external factors could lead                 21   reasons other than regret?
               22   someone to identify as cisgender; is that right?         22          MS. NOWLIN-SOHL: Object to form.
               23      A. That's not specifically what the study             23          THE WITNESS: Can you explain how you
               24   said. You have to be careful about the term              24   would see regret as a reason for one's identity
               25   "detransition" and how it's defined.                     25   change?
                                                                  Page 291                                                   Page 293

                                                                                                             74 (Pages 290 - 293)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1048
(282 of 288), Page 282 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 282 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 75 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1       Q. (BY MR. RAMER) Well, I'm asking can't              1   gender-affirming medical intervention?
                2   somebody do it without having regret?                     2       A. I've not had such a patient, but
                3       A. Can somebody stop a gender-affirming               3   potentially.
                4   medical intervention and not have regret? Is that         4       Q. So if individuals receive
                5   the question?                                             5   gender-affirming medical interventions and then
                6       Q. Let's start there, yes. Can somebody               6   subsequently identify with their sex assigned at
                7   cease a gender-affirming medical intervention and         7   birth, they likely would regret the
                8   not have regret?                                          8   gender-affirming medical interventions?
                9       A. Yes.                                               9          MS. NOWLIN-SOHL: Object to form;
               10       Q. And why?                                          10   mischaracterizes prior testimony.
               11       A. It can be for all sorts of reasons. I've          11          THE WITNESS: I think that's a different
               12   had patients who took testosterone, for instance,        12   question. I've not had such a patient. They
               13   and had sufficient physical effects from it that         13   could potentially. That's something that we
               14   they felt that they didn't need any more physical        14   counsel patients as a possibility.
               15   changes, so they stopped the medication but didn't       15          MR. RAMER: And I'd like to introduce
               16   regret it.                                               16   Turban Exhibit 29.
               17          We wrote about one patient who took               17          Do you have that?
               18   estrogen for a period of time and had some body          18          THE WITNESS: Yes.
               19   fat redistribution and then stopped it because           19         (Deposition Exhibit No. 29 was marked.)
               20   they identified as nonbinary, but they noted that        20       Q. (BY MR. RAMER) And you've seen this
               21   they didn't regret the body fat redistribution and       21   before, correct?
               22   felt that that experience was necessary for them         22       A. Yes. I've not read it in a while, but
               23   to understand themselves.                                23   I've seen it.
               24          Someone might lose insurance coverage and         24       Q. I'd just like to ask you one kind of
               25   not be able to access their gender-affirming             25   narrow question on -- so I'd like to go to
                                                                  Page 294                                                   Page 296

                1   medical interventions anymore. So in that case            1   page 11, right column under "Discussion," and the
                2   they would stop them, but it doesn't mean they            2   second full paragraph.
                3   regretted taking them. In fact, they might want           3          And in that paragraph, the second to last
                4   to keep taking them.                                      4   sentence -- and I'll just read it and ask if I
                5       Q. When you say the patient felt they didn't          5   read it correctly, and then that will be my first
                6   need it anymore, are you using colloquial terms to        6   question.
                7   say that the distress associated with gender              7          "To the best of our knowledge, all of the
                8   dysphoria had resolved?                                   8   letters written to the editor JAMA Psychiatry,
                9       A. That they had -- in that example,                  9   many by respected academics and clinicians who
               10   testosterone -- achieved a level of physical             10   outlined the serious problems in the study, have
               11   masculinization of their secondary sex                   11   been rejected (some of them were later submitted
               12   characteristics that their gender dysphoria              12   as non-indexed comments in the online
               13   resolved, yes.                                           13   publication)."
               14       Q. And so we were discussing why somebody --         14          Did I read that correctly?
               15   or we were discussing how and why somebody could         15       A. Yes.
               16   cease gender-affirming medical interventions and         16       Q. And were you aware of letters being
               17   not have regret.                                         17   written to the editor of JAMA Psychiatry outlining
               18          And my next question is could someone             18   problems with your study?
               19   receive a gender-affirming medical intervention          19       A. No.
               20   and later in life decide -- take the word "decide"       20       Q. Were you serving as a manuscript reviewer
               21   out of it. I'm going to restart.                         21   for JAMA Psychiatry at the time?
               22          Could someone receive a gender-affirming          22       A. I do ad hoc manuscript reviews for most
               23   medical intervention and later in life identify          23   of the top journals, so I probably intermittently
               24   with their sex assigned at birth and not have            24   reviewed papers for them.
               25   regret for having received the prior                     25       Q. Do you know if you were reviewing one at
                                                                  Page 295                                                   Page 297

                                                                                                             75 (Pages 294 - 297)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1049
(283 of 288), Page 283 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 283 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 76 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   the time that these letters to the editor were      1               THE WITNESS: Yes.
                2   being rejected?                                     2            Q. (BY MR. RAMER) And do you recognize this
                3       A. Not that I recall, but I'm kind of           3        document?
                4   reviewing a steady stream of articles for           4            A. Yes.
                5   different journals.                                 5            Q. And what is it?
                6       Q. And how often is there turnover at the       6            A. This is a paper we published in the
                7   position of editor of JAMA Psychiatry?              7        Journal of LGBT Health in 2021.
                8           MS. NOWLIN-SOHL: Object to form;            8            Q. And this is the article that either you
                9   foundation.                                         9        or I, probably me, was kind of alluding to earlier
               10           THE WITNESS: I do not know.                10        that we were kind of talking around, right?
               11       Q. (BY MR. RAMER) How do the letters to the 11               A. One of them, yes.
               12   editor -- I know they're called letters to the     12            Q. Okay. And this study used data from the
               13   editor, but, like, is the editor actually reading  13        U.S. Transgender Survey, correct?
               14   them?                                              14            A. Yes.
               15           Or, just based on your experience working  15            Q. And on 274, which I think is page 2, down
               16   at these journals, what is the process once a      16        in the left column above "Methods," the last
               17   letter to the editor is submitted?                 17        sentence you acknowledge that because the USTS
               18           MS. NOWLIN-SOHL: Object to form.           18        exclusively surveyed people who currently
               19           THE WITNESS: I think it probably varies    19        identified as TGD, that your study is restricted
               20   journal by journal, but generally they would be    20        to the examination of detransition among people
               21   read by members of the editorial board who would 21          who subsequently identified as TGD, right?
               22   read them to decide if they have scientific merit. 22            A. Yes.
               23           And if they were deemed to have            23            Q. And then in the right column below
               24   scientific merit, they would be sent to the author 24        "Quantitative Responses and Analysis," I'm just
               25   of the paper, and they would ask the author of the 25        going to read the first sentence.
                                                                 Page 298                                                     Page 300

                1   paper to respond to them, in which case the letter       1          Actually, no. It's a very long sentence.
                2   to the editor gets published and then a response.        2   I'm just going to read the first part, which says
                3           The vast majority of the time, they're           3   "Respondents who reported a history of
                4   not sent for external peer review, but sometimes         4   detransition were asked 'Why did you detransition?
                5   they are. Again, I think that's a                        5   In other words, why did you go back to living as
                6   journal-by-journal decision.                             6   your sex assigned at birth?' Mark all that
                7           MR. RAMER: And maybe it would be good if         7   apply."
                8   we just took a short break and I can clarify if          8          Do you see that?
                9   there's anything else I need to ask, but otherwise       9      A. Yes.
               10   I'm pretty close to being done.                         10      Q. And so the question you used to define
               11           MS. NOWLIN-SOHL: Yes, that's fine.              11   detransition in this study was whether the
               12           MR. RAMER: We'll go off the record.             12   participants went back to living as their sex
               13           THE VIDEOGRAPHER: Okay. So the time is          13   assigned at birth, right?
               14   4:56 p.m. Pacific time, and we are off the record.      14      A. So this is from data we did a secondary
               15         (Break taken from 4:56 p.m. to 5:04 p.m.)         15   analysis on on the U.S. Transgender Survey, so I
               16           THE VIDEOGRAPHER: All right. So we are          16   didn't design this survey question, but that's the
               17   recording. The time is 5:04 p.m. Pacific time,          17   question that was used.
               18   and we are back on the record.                          18      Q. Right, but -- so fair enough. You didn't
               19       Q. (BY MR. RAMER) And, Dr. Turban, I just           19   write the survey questions, but to use the survey
               20   wanted to kind of put more detail on the                20   data for this paper, you used that question to
               21   conversation we were trying to have earlier.            21   shape the definition of "detransition" that you
               22           MR. RAMER: And so I'll introduce Turban         22   use in this paper, right?
               23   Exhibit 30. And just let me know when you have          23      A. Yeah. I admittedly don't love the
               24   that up.                                                24   wording of the question, but it's the question
               25          (Deposition Exhibit No. 30 was marked.)          25   that was in the data set that we had available, so
                                                                 Page 299                                                     Page 301

                                                                                                             76 (Pages 298 - 301)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                            App.1050
(284 of 288), Page 284 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 284 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 77 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   that's the one that was used.                       1      study that identified 100 people.
                2       Q. What would you change about it?              2              This one, we're looking at trans people
                3       A. I just find the term "detransition" in       3      who have at least temporarily detransitioned, and
                4   general to be somewhat vague and heterogenous. So 4        it was over 2,000 people, and that was just of
                5   I prefer a more specific question like "Did you     5      this survey.
                6   regret the certain intervention? Did you stop       6              So, I mean, it's an imperfect way to look
                7   gender-affirming medical care? Did you go back to 7        at it, but it appears that there are a lot of
                8   presenting as your sex assigned at birth?"          8      people who detransition due to these external
                9           This was kind of a broad question that      9      factors.
               10   encapsulated a lot of experiences, but             10          Q. Were you just -- sorry.
               11   conveniently -- or not conveniently because it was 11              Were you just comparing the 100 people in
               12   a lot of work -- but there was a free response, so 12      that study to the 2,000 people here to draw a
               13   we were able to go through and code the 800 free   13      conclusion about the prevalence?
               14   responses, which helped us get a rich perspective  14              MS. NOWLIN-SOHL: Object to form.
               15   on what exactly people were describing as their,   15              THE WITNESS: I think you were asking,
               16   quote, detransition experiences.                   16      like, of people who detransition -- are you asking
               17       Q. And in this paragraph toward the bottom     17      if I think most people are, like, detransitioning
               18   the second to last sentence, it says in            18      in this way versus are detransitioning in the
               19   quotations, "'I realized that gender transition    19      Littman description? I'm not sure I understand
               20   was not for me'" was collapsed into a              20      the question.
               21   'fluctuations in identity/desire' category."       21          Q. (BY MR. RAMER) Sorry. Let me just
               22           Did I read that correctly?                 22      clarify. Is the Littman study -- I didn't
               23       A. Sorry. I'm just reading what it was --      23      actually hear you all that well.
               24   this paragraph.                                    24              Is the Littman study the one that you're
               25           Yeah, I think there weren't many people,   25      referring to that identified the 100 people? Did
                                                               Page 302                                                    Page 304

                1   if I remember correctly, who chose that one, which     1   you say Littman?
                2   I think is why we collapsed them together. But         2        A. Yes.
                3   that's another one where I think the wording was       3        Q. Okay. I guess what I'm asking is of
                4   pretty unclear, unfortunately.                         4   people -- let me try and ask it this way: Of
                5       Q. That was going to be my next question.          5   people who detransition using the definition you
                6          So using the definition of -- well, let         6   use in this study, do you think most of them go on
                7   me step back.                                          7   to retransition and identify as transgender?
                8          I think it's implied in what we've              8          MS. NOWLIN-SOHL: Object to the form.
                9   already discussed, but just to clarify, this study     9          THE WITNESS: I just want to be clear
               10   did not set out to tell us and does not tell us       10   that this study doesn't look at that question at
               11   anything about individuals who transitioned and       11   all.
               12   then permanently went back to living as their sex     12        Q. (BY MR. RAMER) No. I understand that.
               13   assigned at birth, correct?                           13   And that's why I'm asking.
               14       A. Correct.                                       14          I'm asking does this study capture the
               15       Q. And using the definition of                    15   typical detransitioner or not?
               16   "detransition" that you use in this study, of all     16          MS. NOWLIN-SOHL: Object to the form;
               17   individuals who have detransitioned, do you think     17   calls for speculation.
               18   the majority of them subsequently identify as         18          THE WITNESS: I don't know that we have
               19   transgender?                                          19   research because it seems there aren't enough
               20       A. It's hard to answer quantitatively, but        20   detransitioners to have a rigorous study on what
               21   the research that has worked to identify people       21   the common detransition experience is.
               22   who detransitioned -- probably the science would      22          The largest study I know is that Littman
               23   say they stopped gender-affirming medical             23   study of 100 individuals that I think I put in my
               24   interventions -- the numbers have been relatively     24   declaration, but it would be helpful if we pulled
               25   low. The lowest one that I've seen was that one       25   the paper up.
                                                               Page 303                                                    Page 305

                                                                                                          77 (Pages 302 - 305)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1051
(285 of 288), Page 285 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 285 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 78 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1          But even within there, they had              1         less common, I think this would become a less
                2   heterogenous experiences where some had regret;     2         common experience. So I don't know that I can
                3   some did not. Some felt that they benefitted from   3         predict.
                4   the transition despite the fact that they later     4             Q. Would external factors only ever drive
                5   stopped gender-affirming medical interventions;     5         somebody to detransition? Or could they ever
                6   others did not.                                     6         drive somebody to transition in the first
                7          That study is also complicated because it    7         instance?
                8   recruited from various and specific social media    8                MS. NOWLIN-SOHL: Object to form.
                9   websites, so it's really hard to know how           9                THE WITNESS: It would be pretty -- maybe
               10   representative that is.                            10         we're not having a shared definition of "external
               11          I don't know how to answer that question    11         factors."
               12   with the data.                                     12                It sounds like generally external factors
               13      Q. (BY MR. RAMER) When you say we don't 13                 are anti-trans discrimination.
               14   have enough detransitioners to properly study the  14                I'm having trouble understanding why
               15   question, are you basing that off of the fact that 15         someone would choose to transition because of
               16   Littman only identified 100 people? Or is there    16         stigma and harassment towards trans people if they
               17   something else that is leading you to that         17         weren't trans.
               18   conclusion?                                        18             Q. (BY MR. RAMER) Well, I guess --
               19      A. Just all the research we have is             19             A. That would seem counter to their personal
               20   suggesting that it's not a very common experience. 20         interests.
               21          There's that paper.                         21             Q. I guess my question is are external
               22          There's the Wiepjes paper that generally    22         factors always negative, like discrimination?
               23   looks like -- they were more looking at regret,    23                MS. NOWLIN-SOHL: Object to form.
               24   where regret rates were low, at least for surgery. 24                THE WITNESS: That's why I'm asking if we
               25          When we look at the papers, how many        25         have a shared definition.
                                                                  Page 306                                                   Page 308

                1   people take blockers and then don't go on to              1          The way they're used in the minority
                2   gender-affirming hormones, it's in the low, few           2   stress framework is they're referring to stigma
                3   percent.                                                  3   external factors.
                4          But, again, all of this is kind of                 4       Q. (BY MR. RAMER) And so in the minority
                5   muddied by what your definition of "detransition"         5   stress framework, external factors are always
                6   is.                                                       6   negative stigmatic factors; is that fair?
                7       Q. Do you expect that the -- let me put it            7       A. Definition in the way it's used in that
                8   this way: In terms of raw numbers, do you expect          8   framework.
                9   that the number of detransitioners, using the             9          They do have other -- I mean, there's
               10   definition you use in this study, will increase in       10   other elements of the framework, a buffering
               11   the next 15 years?                                       11   effect against internal and external factors of
               12          MS. NOWLIN-SOHL: Object to form; calls            12   community connectedness at pride, but I think we
               13   for speculation.                                         13   call those resilience factors.
               14          THE WITNESS: The definition of going              14       Q. And what do you mean by "pride"?
               15   back to presenting as their sex assigned at birth?       15       A. Like having pride in one -- as opposed to
               16       Q. (BY MR. RAMER) Go back to living as your          16   shame, like being proud of the trans community,
               17   sex assigned at birth, yes.                              17   recognizing that trans people make important
               18       A. I think it's really hard to predict. It           18   contributions to society, being able to have trans
               19   would depend on a lot of different factors. This         19   role models in the type of things that you want to
               20   study specifically was on -- most of the people in       20   do.
               21   the study were doing that because of some sort of        21          So say you're a young trans person who
               22   anti-trans stigma they were encountering in their        22   wants to be a physician and you don't have any
               23   communities.                                             23   role models. You might think, oh, trans people
               24          So if that were to continue to rise, this         24   can't be doctors. So meeting a trans doctor or
               25   would be a more common experience. If that became        25   seeing an example of someone in the media.
                                                                  Page 307                                                   Page 309

                                                                                                             78 (Pages 306 - 309)
                                                        Veritext Legal Solutions
                                              Calendar-Idaho@veritext.com 208-343-4004
                                                             App.1052
(286 of 288), Page 286 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 286 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 79 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1      Q. Could an external factor like that ever       1   have never seen, but something that would come up
                2   shape an internal factor?                           2   in the evaluation process as a possibility.
                3          MS. NOWLIN-SOHL: Object to form.             3       Q. And in your answer why did you say "even
                4          THE WITNESS: Those aren't called             4   in California"?
                5   external factors in the model. Those are            5       A. There's often a perception that in the
                6   resilience factors.                                 6   Bay Area where I work that there's a lot of
                7          But are you trying to ask if, like,          7   acceptance of trans young people. It's something
                8   somebody being in a community where there are       8   that people will often mention to me when they go
                9   positive views of trans people would lead them to   9   to conferences or when I'm presenting such as at
               10   transition to be trans?                            10   different academic institutions.
               11      Q. (BY MR. RAMER) Well, sure. What is the 11                But sadly I find that's often not the
               12   answer to that?                                    12   case in this area that people think of being very
               13      A. Is that the question?                        13   accepting towards young trans people.
               14      Q. Yes.                                         14       Q. And why did you reference a liberal
               15      A. Sorry. The question is kind of are           15   school?
               16   there -- you just asked --                         16       A. Because those schools people tend to
               17      Q. What did you just say? Sorry. What did       17   think of as having more acceptance towards young
               18   you just say? And that's the question.             18   trans people.
               19      A. Are there environments where there could     19       Q. And do you disagree with that perception?
               20   be a positive view of trans people that would lead 20       A. Yes, I don't think it's universal. I
               21   someone to come out as trans when they're not      21   think I've seen schools where people think of them
               22   trans?                                             22   as being very liberal, whatever that means, but
               23      Q. Yes, that question.                          23   that the kids still experience a lot of bullying
               24          MS. NOWLIN-SOHL: Object to form.            24   and harassment and stigmas when they come out as
               25          THE WITNESS: I have not experienced any 25       trans.
                                                             Page 310                                                      Page 312

                1   such environment. Even in California where I work 1           MR. RAMER: And I don't have any further
                2   in the Bay, my patients routinely have harassment  2    questions for now. I'll turn things over to your
                3   and stigma. Other people don't realize that.       3    counsel, but thank you very much, Doctor.
                4          But at one local school that people think   4          THE WITNESS: Thank you.
                5   of liberal, somebody burned a Pride flag outside   5          MS. NOWLIN-SOHL: I think I just have a
                6   to express anti-trans stigma.                      6    couple.
                7          We published a paper in Pediatrics where    7
                8   we looked at the rates of bullying victimization   8                   EXAMINATION
                9   against trans youth versus cisgender sexual        9    BY MS. NOWLIN-SOHL:
               10   minority youth, and the rates were substantially  10       Q. So, Dr. Turban, do you remember earlier
               11   higher, so I don't think that's the social        11    when we were talking about Exhibit -- I believe it
               12   environment that we live in.                      12    was 14, which is the article in the Journal of
               13          When we do a biopsychosocial evaluation,   13    Adolescent Health titled the "Age of Realization
               14   we always ask, if you were to start a             14    and Disclosure of Gender Identity Among
               15   gender-affirming medical intervention, how would 15     Transgender Adults"?
               16   your parents react? How would your peers react?   16       A. Yes.
               17   How would other people in your community react? 17             MS. NOWLIN-SOHL: John, do you want a
               18          I'll say almost universally young people   18    minute to pull that up?
               19   are afraid that there are going to be negative    19       Q. (BY MS. NOWLIN-SOHL) And I believe you
               20   reactions.                                        20    and Mr. Ramer at one point were talking about
               21          If there were a circumstance where they    21    table one, the demographics.
               22   said, "Oh, everyone is going to give me a ton of  22           Do you recall that conversation?
               23   praise and presents and positive things," then    23       A. Yes.
               24   that would be a major flag for us to try and      24       Q. And on that table, there's two kind of
               25   figure out what was going on. That's something we 25    columns for different age categories, one for the
                                                             Page 311                                                      Page 313

                                                                                                         79 (Pages 310 - 313)
                                                     Veritext Legal Solutions
                                           Calendar-Idaho@veritext.com 208-343-4004
                                                         App.1053
(287 of 288), Page 287 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 287 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 80 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1   age less than 10, and one for age 11-plus; is that    1       THE VIDEOGRAPHER: Okay. Then this
                2   correct?                                              2 concludes our video deposition with Dr. Jack
                3       A. Yes.                                           3 Turban. It is October 16, 2023. The time is
                4       Q. And I think you and Mr. Ramer were             4 5:26 p.m. Pacific time, and we are off the record.
                5   talking about the percentages in those columns        5
                6   as -- at one point it was mentioned that they         6 (Whereupon the deposition was concluded at 5:26 p.m.)
                7   didn't quite add up to 100 percent.                   7                  ****
                8          Can you help clarify what the numbers in       8            (Signature requested.)
                9   parentheses after each block number reflects?         9
               10       A. Yes. So I think the question was trying       10
               11   to get at how many participants in the overall       11
               12   study were in each of those age brackets at the      12
               13   top left, 18 to 24, 25 to 44, 45 to 64, and 65       13
               14   plus.                                                14
               15          And the question was how many of them are     15
               16   in each of those categories of percentage of the     16
               17   full population, and I was doing incorrect math.     17
               18   My apologies.                                        18
               19          So in order to calculate that, you would      19
               20   add the two numbers in each of the rows from both    20
               21   columns, and then divide that by the total number    21
               22   in the study. So the percentages I was giving        22
               23   earlier were incorrect.                              23
               24          MS. NOWLIN-SOHL: No further questions.        24
               25          MR. RAMER: Can I just ask one follow-up       25
                                                              Page 314                                                         Page 316

                1   on that?                                              1           REPORTER'S CERTIFICATE
                2                                                         2   STATE OF IDAHO  )
                                                                                       )
                3                FURTHER EXAMINATION                   3      COUNTY OF ADA    )
                4   BY MR. RAMER:                                      4
                5       Q. Which, looking at that same table,          5          I, Amy E. Simmons, Certified Shorthand Reporter and
                6   looking at the 18 to 24 group, do you agree --     6      Notary Public in and for the State of Idaho, do hereby
                7   well, sorry. I may have gotten more confused.      7      certify:
                                                                       8          That prior to being examined, the witness named in
                8          But so the 33.4 next to 18 to -- in the     9      the foregoing deposition was by me duly sworn to testify
                9   18 to 24 row, the 33.4 in parentheses, that means 10      to the truth, the whole truth, and nothing but the truth;
               10   that the 18 to 24 group makes up 33.4 percent of  11          That said deposition was taken down by me in
               11   the early realization group; is that right?       12      shorthand at the time and place therein named and
               12       A. Yes. I believe that's true.                13      thereafter reduced to typewriting under my direction, and
                                                                      14      that the foregoing transcript contains a full, true, and
               13       Q. And then when you shift over a column,     15      verbatim record of said deposition.
               14   the 18 to 24 group makes up 56.4 percent of the   16          I further certify that I have no interest in the
               15   later realization group, correct?                 17      event of the action.
               16       A. Yeah, that looks correct. Whatever 6,322   18          WITNESS my hand and seal this 19 day of October,
               17   divided by 11,218 is, which sounds roughly like   19      2023.
                                                                      20
               18   56.4.                                             21                 <%29423,Signature%>
               19          11,218 is the total number of people in    22                 AMY E. SIMMONS
               20   the late realization group.                                          ID CSR No. 685
               21       Q. Got it. Okay. I'm clear now.               23                 CA CSR No. 14453
               22          MR. RAMER: Thank you very much, Doctor.                       WA CSR No. 22012915
                                                                      24                 OR CSR No. 22-009
               23   I appreciate it. I think we're all set.                              RDR, CRR, CRC,
               24          THE VIDEOGRAPHER: All right. That's it? 25                    and Notary Public
               25          MR. RAMER: Yeah.                                   My commission expires: 6/13/28.
                                                              Page 315                                                         Page 317

                                                                                                            80 (Pages 314 - 317)
                                                      Veritext Legal Solutions
                                            Calendar-Idaho@veritext.com 208-343-4004
                                                          App.1054
(288 of 288), Page 288 of 288
                            Case: 24-142, 01/26/2024, DktEntry: 23.3, Page 288 of 288
                   Case 1:23-cv-00269-BLW Document 74-2 Filed 11/02/23 Page 81 of 177
                                       Jack Turban , M.D., MHS October 16, 2023
                1 Philip S. May                                                1 Poe, Et Al. v. Labrador, Et Al.
                2 philip.may@groombridgewu.com                                 2 Jack Turban , M.D., MHS (#6058443)
                3                  October 20, 2023                            3           ACKNOWLEDGEMENT OF DEPONENT
                4 RE: Poe, Et Al. v. Labrador, Et Al.                          4    I, Jack Turban , M.D., MHS, do hereby declare that I
                5     10/16/2023, Jack Turban , M.D., MHS (#6058443)           5 have read the foregoing transcript, I have made any
                6     The above-referenced transcript is available for         6 corrections, additions, or changes I deemed necessary as
                7 review.                                                      7 noted above to be appended hereto, and that the same is
                8     Within the applicable timeframe, the witness should      8 a true, correct and complete transcript of the testimony
                9 read the testimony to verify its accuracy. If there are      9 given by me.
               10 any changes, the witness should note those with the         10
               11 reason, on the attached Errata Sheet.                       11 ______________________________           ________________
               12     The witness should sign the Acknowledgment of           12 Jack Turban , M.D., MHS                   Date
               13 Deponent and Errata and return to the deposing attorney.    13 *If notary is required
               14 Copies should be sent to all counsel, and to Veritext at    14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
               15 Calendar-Idaho@veritext.com.                                15             ______ DAY OF ________________, 20___.
               16                                                             16
               17 Return completed errata within 30 days from                 17
               18 receipt of testimony.                                       18             __________________________
               19 If the witness fails to do so within the time               19             NOTARY PUBLIC
               20 allotted, the transcript may be used as if signed.          20
               21                                                             21
               22            Yours,                                           22
               23            Veritext Legal Solutions                         23
               24                                                             24
               25                                                             25
                                                                   Page 318                                                                 Page 320

                1 Poe, Et Al. v. Labrador, Et Al.
                2 Jack Turban , M.D., MHS (#6058443)
                3            ERRATA SHEET
                4 PAGE_____ LINE_____ CHANGE________________________
                5 __________________________________________________
                6 REASON____________________________________________
                7 PAGE_____ LINE_____ CHANGE________________________
                8 __________________________________________________
                9 REASON____________________________________________
               10 PAGE_____ LINE_____ CHANGE________________________
               11 __________________________________________________
               12 REASON____________________________________________
               13 PAGE_____ LINE_____ CHANGE________________________
               14 __________________________________________________
               15 REASON____________________________________________
               16 PAGE_____ LINE_____ CHANGE________________________
               17 __________________________________________________
               18 REASON____________________________________________
               19 PAGE_____ LINE_____ CHANGE________________________
               20 __________________________________________________
               21 REASON____________________________________________
               22
               23 ________________________________ _______________
               24 Jack Turban , M.D., MHS                Date
               25
                                                                   Page 319

                                                                                                                      81 (Pages 318 - 320)
                                                              Veritext Legal Solutions
                                                    Calendar-Idaho@veritext.com 208-343-4004
                                                                App.1055
